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                                                            FILED
                                                             U.S. DISTRICT COURT
                                                        'EASTERN DISTRICT ARKANSAS

                                                            MAY 182022

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                                                                          DEPCLERK


                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION

DANAL. DEW,                            )
       Plaintiff,                      )
V.                                     )     Case NQ J:22-cv- ();J 1'2-Z --kt}3
                                       )
GUARDIAN LIFE INSURANCE                )
COMPANY OF AMERICA, and                )
JOHN DOE 1,                            )
       Defendant.   This case assig ry ed to District Judge ~ ~ r
                    and to Magistrate Judge                Qo \ l
                                COMPLAINT

         Plaintiff Dana L. Dew pleads her complaint against Defendant

Guardian Life Insurance Company of America:

         1.    This case arises under the Employee Retirement Income Security

Act of 1974 ("ERISA"), 29 U.S.C. § 1001, et sequentes, the federal common law

construing that statute, and Arkansas state law.

         2.    This Court has jurisdiction of this action pursuant to 29 U.S.C.

§ 1132(e)(1), ERISA § 502(e)(1), and jurisdiction over the Arkansas state-law

claims under 28 U.S.C. § 1332 and§ 1367.

         3.    Venue is proper in this Court under 29 U.S.C. § 1132(e)(2), ERISA

§ 502(e)(2), because this case involves the breach of an ERISA employee benefit
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plan which occurred in the Eastern District of Arkansas and the Defendants do

business in this district, and because the state-law claims involve the breach of

an Arkansas long-term disability insurance contract. The place where Plaintiff

receives or should have received benefits under the ERISA employee benefit

plan at issue is in the Eastern District of Arkansas.

         4.    Dana L. Dew is a long-term former employee of Future Fuel

Chemical Company in Batesville, Independence County, Arkansas. Dew is a

resident and citizen of Batesville, Independence County, Arkansas. She worked

for FutureFuel for more than ten years as a Utilities Control Operator. Dew

earned $991.62 per week in that position. On May 19, 2018, Dew ceased working

at Future Fuel due to her contracting Rocky Mountain Spotted Fever and related

complicated. She earned short-term disability benefits until November 1, 2018.

         5.    During her employment with FutureFuel, Dew was insured

through a group long-term disability policy, Policy No. G-00464537, effective

January 1, 2011 through April 25, 2018, with Defendant Guardian Life Insurance

Company of America, sponsored by her employer FutureFuel Chemical

Company (the "LTD Plan").        This group long-term disability plan is an

employer-sponsored welfare benefit plan within the context of, and governed

by, ERISA. A copy of the LTD Plan is attached as Exhibit A and incorporated


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by reference. In the alternative, Guardian has taken the position that the LTD

Plan may not be governed by ERISA, so Dew is also asserted Arkansas state-law

claims in the event.

         6.    Defendant Guardian Life Insurance Company of America is a

foreign corporation organized under the laws of the state of New York with its

principle place of business in New York City, New York County, New York. It

is registered to do business in Arkansas, has paid benefits under the plan at

issue to Dew in Arkansas or should have paid benefits to Dew in Arkansas, and

has consented to jurisdiction in Arkansas by designating the Corporation

Service Company at 300 Spring Building, Suite 900, 300 S. Spring Street in Little

Rock, Arkansas, as its registered agent for service of process.

         7.    Guardian Life Insurance Company ofAmerica is both the insurer

and plan administrator of the LTD Plan.              In the alternative, the Plan

Administrator of the Plan is an unknown and unidentified entity subject to the

jurisdiction of this Court, and is John Doe     1,   which is liable to Dew for the

allegations pleaded in this Complaint. A John Doe affidavit is attached as

Exhibit B and incorporated by reference. John Doe             1   and Guardian Life

Insurance Company of America are collectively referred to hereinafter as

"Guardian." On March     12, 2021,   Dew wrote to Guardian seeking a copy of its


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ERISA-mandated disclosures, including a copy ofits summary plan description

and the identity of its plan administrator. A copy of that letter is attached as

Exhibit C and incorporated by reference. To-date, Guardian has not provided

that information, although it appears that Guardian is the de facto Plan

Administrator.

         8.      The LTD Plan provides a disability benefit for part of a covered

person's income if she becomes Disabled due to a covered Sickness or Injury.

Those payments end, as applicable to this case, after the Own Occupation

period, on the date the date she is able to perform the major duties of any

Gainful Work on a full-time basis with Reasonable Accommodation.

         9.      The LTD Plan defines a Disability or Disabled as a current

Sickness or Injury which causes physical or mental impairment to such a degree

that the covered person is, after the end of the Own Occupation period, not

able to perform, on a full-time basis, the major duties of any Gainful Work.

Sickness is an illness or disease. Injury is a bodily Injury due to an accident that

occurs, independent of all other causes, while a covered person is insured by the

LTD Plan. The Own Occupation period is the first 24 months of benefit

payments under the plan, and essentially embraces the covered person's

previous job duties and work.



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         10.   Guardian has agreed Dew meets the definition of Disabled

during the Own Occupation period and only challenges whether Dew meets the

definition of Disabled following the end of that 24-month Own Occupation

period. In short, Guardian alleged only that Dew is able to perform the major

duties of any Gainful Work on a full-time basis following that 24-month Own

Occupation period.

         11.   Gainful Work under the LTD Plan is Work for which a covered

person is, or may become, qualified by training, education, or experience. The

LTD Plan further provides that "When a covered person is able to perform such

work on a full-time basis, he or she can be expected to earn at least 60% of his

or her indexed Insured Earnings within 12 months of returning to work." Dew's

pre-disability salary was $3,759.98 per month. Her gross monthly benefit was

60% of that salary, or $2,256 per month.

         12.   In accordance with the LTD Plan, Dew gave notice of her claim

of disability to Guardian in September 2018, noting tick fever, pinched nerves,

nerve damage in back and leg, severe back and leg pain, and neck pain.

Guardian approved Dew for benefits under the LTD Plan on December 14, 2018,

with benefits commencing on November 16, 2018. An accurate copy of that

benefit decision is attached as Exhibit D and incorporated by reference.

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         13.   Guardian continued to collect medical records on Dew and

prompt her medical providers and her with questionnaires during the next 24

months of the Own Occupation Period. On August 12, 2020, Guardian notified

Dew that her definition of disability would change to the any full-time Gainful

Work standard and prompted her to provide additional information. Dew

complied with these requests in a timely fashion.

         14.   On January 8,       2021,    Guardian generated an internal

transferability of work skills report which concluded Dew could perform the

jobs of Customer Complaint Clerk, order Clerk, or Skip Tracer with a reasonable

accommodation of an ergonomic work stations and an ergonomic chair. The

majority of the comparison information in that report to Dew's reported

limitations stated "unknown."

         15.   Guardian notified Dew on January 12, 2021, that it had

determined Dew would no longer meet the definition of "disabled" following

her 24-month own occupation period. Although Guardian referenced an

internal nurse report, that report consisted of one paragraph without any detail

dated November 30, 2020. Dew wrote to Guardian on March 12, 2021, through

her counsel, requesting all information about her claim and the identity of the

plan administrator. That letter was previously referenced above as Exhibit D.

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Guardian responded on May 7, 2021, with a copy of its file. To-date, it has not

identified its Plan Administrator

         16.    On July 9, 2021, Dew appealed timely from the January 12 denial,

adding her prescription records to Guardian's file. An accurate copy of that

appeal letter, without attachments, is attached as Exhibit E and incorporated

by reference.

         17.    Dew properly exhausted her instant claims under the ERISA and

the LTD Plan. In the alternative, the above-actions substantially comply with

the exhaustion requirement or excuse that requirement.

         18.    The LTD Plan purports to grant discretion to Guardian as the

"fiduciary" of the Plan. Of course, Guardian is also the company funding the

insurance benefits under the LTD Plan policy, so it is has an inherent conflict

of interest. Its decisions here are thus not entitled to any deference and this

Court should consider that conflict when reviewing its decisions here. Metro.

Life Ins. Co. v. Glenn, 554 U.S. 105, 111-12, 115 (2008); Chronisterv. Unum Life Ins.

Co. ofAm., 563 F.3d 773, 775 (8th Cir. 2009); Wakinen v. Unum Life Ins. Co. o

Am., 531 F.3d 575, 582 (8th Cir. 2008).

         19.    At all times relevant to this Complaint, Dew satisfied the above-

described claims processing procedures and substantive requirements for

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meeting the definition of Disabled, including supplying Guardian with all of the

information it was legally allowed to request under the LTD Plan and otherwise

proving her status as an covered person with a Disability.        Guardian has

nevertheless failed and refused to pay Dew for her Disability, claiming there are

jobs in the workforce which her medical records indicate she could perform.

         20.   Under the LTD Plan, Dew would be paid benefits up through the

age of 67. Dew was 46 at the onset of her disabling condition, with a birthday

in July. There are 17 years and 4 months of benefits at issue under the LTD

plan, making the amount in controversy under the policy language, exclusive

of attorney's fees, costs, and penalties, $469,248.00. Although the LTD Plan

includes a premium payment option for certain disabled covered persons, Dew

was approved for a waiver of premium claim.

                              Medical Records

         21.   In May 2018, Dew first visited her family physician, Greg

Neaville, M.D., with complaints about muscle aches, pain, and aches

throughout her body. In June 2018, Dew was hospitalized in Mountain View,

Arkansas, after reporting chest pains. She was diagnosed with Rocky Mountain

Spotted Fever, a neurological condition, secondary to a tick bit on her back. In

June 2018, Janice Benton, APRN, treated Dew for tick fever confirmed by tick

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panel test, numbness in her left thigh, left leg pain, a rash, chest pains, heart

palpitations, and vomiting following her inpatient stay at the hospital in

Mountain View.

         22.   In July 2018, Dew reported to Dr. Neaville about the tick bite on

her back, a "ripping" pain in her leg, and rash with low back pain. Dew

developed low back pain, neck pain, and pain in her appendages. Dew had a

nerve conduction and Electromenromyography in July 2018 which objectively

noted the following conditions:        "abnormal resting muscle membrane

suggestive of acute/ ongoing motor axon loss in the left mid lumbar paraspinals,

Vastus Medialis, and Adductor Longus."           More specifically, there was

"Electrophysiologic evidence [. . .] suggesting of a radiculopathic axon loss

process on the left involving the anterior and posterior rami of the L3 nerve

root."

         23.   Her doctors eventually treated Dew with spinal injections,

beginning in September 2018. Dr. Neaville continued to note reports of blurred

vision, chronic radiating back pain, pain and numbness on the left side of her

body, and flaring nerves in her left knee.

         24.   In October 2018, Dew was noted by imaging studies to have L4-5

mild broad-based posterior annular disc bulge and arthropathy and L5-S1 disc

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dessication. Doctor Holder noted a multilevel degenerative arthropathy.

         25.   In November     2018,   Dew was seen by a neurologist who

performed an EMG test which indicated a Left L3 SNRB being pinched. An MRI

also noted a mild signal abnormality along the sacral nerves with spondyiosis.

Brad Thomas, M.D., treated Dew at that time. The nerve injection assisted with

the pain, but only temporarily.

         26.   In March    2019,   Janice Benton APRN reported that Dew

continued to experience back and leg pain and numb hands. Nurse Benton

noted Dew was not capable of performing any part-time sedentary work. Her

records indicated Dew continued to experience mild distress, anxiety, limited

range of motion in her back, shoulders, right leg, and left hand, muscle aches,

weakness, and back pain. Dew continued to receive lumber epidural injections

through May 2019.

         27.   Dr. Neaville noted in March 2019 that Dew has chronic back pain

which radiates down her lower extremities which is permanent. Dr. Neaville

noted Dew was referred to neurology, was taking extensive narcotic

medications, and has marked limitations in her ability to perform work.

Rebecca Jones, M.D., a neurologist, evaluated Dew in March 2019 as well. She

noted Dew's left L3 radiculopathy, a physical exam significant for left L3

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disruption pain and weakness in the L3 distribution, and an EMG noting an

abnormality of the L3 nerve root. Nurse Benton's March 2019 note echoed these

conclusions. Elizabeth Sullivan, M.D., also performed a nerve conduction and

EMG report on Dew in March 2019, which further objectively confirmed Dew's

condition.

          28.    In June   2019,   Dr. Jones noted Dew's condition had worsened

following new pain in her left lower extremities and her leg buckling under her

causing a fall. Dew was reported to have undergone multiple injections, nerve

blocks, and other procedures since Dew's March visit. An EMG of Dew's upper

extremities again demonstrated moderate left and mild right CTS.

          29.    A July    2019    MRI further confirmed nerve damage and

compress10n.         Dr. Jones's July report confirmed disc degeneration,

displacement, left leg pain, and general back problems requinng pain

management.       In August    2019,   Neeraj Kumar, M.D., referred Dew for a

psychological consultation before implanting a spinal cord stimulator into Dew.

Dr. Kumar continued to follow Dew beginning in August           2019,   noting in

October   2019   that Dew's pain increased with physical activity. Dr. Kuman

continued to note objective signs of Dew's significant nerve pain. Dew also




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consulted with Shahla Naoman, M.D., in August 2019 due to problems sleeping

due to her incessant pain.

          30.   H.R. Clements, M.D., psychologically evaluated Dew in October

2019   for the possibility of implanting a spinal cord stimulator. Dr. Clements

concluded Dew was an excellent candidate, but noted she had a major

depressive disorder after her tick bite which had led to significant neurological

conditions.

          31.   In March   2020,   Brad Thomas, M.D., a neurologist, and Dr.

Neaville both completed Guardian's questionnaires about Dew's condition.

Those questionnaires further noted Dew's continued narcotic use and other

problems limited her ability to engage in any gainful activities.

          32.   Cindy Rossetti, M.D., saw Dew in April             2020    for pain

management. Dew described her pain as constant with flare-ups. Dew was

evaluated by Dr. Rossetti again in June       2020.   In July   2020,   Dr. Rossetti

considered treating Dew for left wrist pain. Dr. Rossetti administered a wrist

injection. In August   2020,   Dr. Rossetti noted Dew had been counseled for

mental health concerns and was being medicated for her mental health issues.

Dr. Rossetti observed palpitation of the left side sacrolliac joint reproduced pain

and that the Left Pa tricks test was positive for pain. Palpatation of the lumbar

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joints at L3-4, L4-5, and L5-S1 reproduced back pain. Dr. Rossetti observed pain

on the left side and that the left straight leg raise tested positive for pain at 30

degrees.     This objective notation about Dew's leg pain was consistent

throughout the records.

           33.   In August 2020, Janice Benton, APRN, evaluated Dew for

swelling and pain in her left foot, bottoms of her feet, and chronic pain. Dew

reported depression and anxiety to Nurse Benton at this visit. In September

2020, Nurse Benton also completed a questionnaire, further noting Dew's

marked limitations. Nurse Benton's December 2020 questionnaire was even

more marked, noting even more limitations than her September questionnaire.

Both questionnaires indicated limitations inconsistent with sedentary work.

           34.   Additional medical records. After Guardian's first denial, Dew

supplemented the record further with her extensive opioid and benzodiazepine

medications, which was already documented in the record, 2021 treatment

reports, with noted problems ambulating, limping, continuing pain, muscle

aches and weakness, limited range of motion, swelling in the right knee, joint

pain, back pain, depression and anxiety, and dizziness. Dew had an episode in

March 2021 where she became dizzy and had problems walking through Wal-




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Mart. New records indicated Dew had developed arthritis in her right knee,

which resulted in a right knee arthroplasty.

         35.   On October 7, 2021, Guardian obtained a September 2021 report

from Kevin Kohan, DO, who opined much more liberal restrictions for Dew

than her three treating providers' opinions in the file. Dr. Kohan did not

indicate he spoke with any of Dew's providers about their opinions, nor did he

cite objective medical evidence supporting his conclusions.         In fact, his

conclusions were contrary to the objective medical evidence in the record.

         36.   On November 19, 2021, Guardian issued its final decision finding

that Dew was not capable of working in any gainful employment and noting

Dew's administrative remedies were exhausted under ERISA, if it applied. An

accurate copy of that letter is attached as Exhibit F and incorporated by

reference.

         37.   The LTD Plan requires covered persons to submit a Proof of Loss

form noting the date of disability, last day of active work, cause of disability,

extent of disability, objective medial evidence, the prognosis, ongoing care by

a medical provider, and other provisions that Dew satisfied. The LTD Plan

contains a Limitations of Actions provision that requires a Proof of Claim as a

prerequisite to suit, and an extended 3-year limitations period to file suit from

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the date of the Proof of Loss. Guardian here has taken the position that

deadline is November 19, 2024, acknowledging Dew submitted a sufficient Proof

of Loss on November 19, 2021. Dew is filing suit in advance of that supposed

deadline.

                                     COUNTI

         38.      Dew reincorporates paragraphs 1 through 37 by reference.

         39.      Dew is disabled under the terms of the LTD Plan.

         40.      Guardian's termination of LTD Plan benefits violates the ERISA.

29 U.S.C. § 1132(a)(1)(B), ERISA § 502(a)(1)(B).

            41.   Dew is entitled to the maximum LTD Plan monthly benefit of

$2,256 per month less any deductible sources of income.

            42.   Dew is entitled to judgment against Guardian for reinstatement

in the LTD Plan, retroactive benefits dating back to November 16, 2020, and

ongoing disability benefits, plus interest.

                                     COUNT II

            43.   Dew reincorporates paragraphs 1 through 42 by reference.

            44.   Dew has been forced to bring the instant action as a direct result

of Guardian's violations of the ERISA.




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         45.   As a direct result of Guardian's acts and failures to act, Dew has

incurred attorneys' fees and costs. Dew is entitled to recover his attorneys' fees

and costs pursuant to 29 U.S.C. § 1132(g), ERISA § 502(g).

                                  COUNT III

         46.   Dew reincorporates paragraphs 1 through 45 by reference.

         47.   Guardian was obligated to provide Dew with a summary plan

description and identity of the Plan Administrator within 30 days of Dew's

March 2021 request for that information. 29 U.S.C. § 1024(b)(4); 29 U.S.C. §

1132(c)(1). Yet Guardian failed and refused to do so, subjected it to statutory

penalties of $110 per day under ERISA, which is $43,780 as of May 18, 2022, as

this Court may determine in its discretion.

                                  COUNT IV

         48.   Dew reincorporates paragraphs 1 through 47 by reference.

         49.   In the event that the LTD Plan is not governed by ERISA, then

Dew pleads this claim in the alternative against Guardian under Arkansas-state

law.

         50.   Guardian was obligated to provide benefits to Dew under the

terms of the LTD Plan, which is a covered plan under Arkansas Code Annotated

§ 23-79-208(a)(1), but it has failed and refused to do so after demand for those


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benefits. Guardian is thus liable to Dew for $45,468 as of May 18, 2022, plus

prejudgment interest, plus an additional $2,526 per month through the date of

judgment, and an additional 12% penalty on the amount of that judgment, and

a reasonable attorney's fee for prosecution and collection of that loss.

           51.   Plaintiffs damages and the amount in controvsery exceed

$75,000.

           WHEREFORE, Plaintiff Dana L. Dew prays for judgment from and

against Defendant Guardian National Life Insurance Company, Inc. and John

Doe 1; an adjudication that Plaintiff meets the definition of Disabled under the

LTD Plan; an adjudication that Defendants owe Plaintiff retroactive monthly

benefits under the LTD Plan, plus interest; award Plaintiff the costs,

disbursements, and other expenses of this litigation, and reasonable attorneys'

fees pursuant to 29 U.S.C. § 1132(g), 29 U.S.C. § 502(g); award Plaintiff other

appropriate equitable relief; award Plaintiff statutory penalties against the

Defendants; award Plaintiff $45,468 plus prejudgment interest and an

additional $2,526 per month through the date of judgment, plus a 12% penalty,

plus a reasonable attorney's fee, and for all other just and proper relief to which

she may be entitled.




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                                      DANAL. DEW,

                                      Plaintiff

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                                          Bar Number 2009118
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                                          Batesville, Arkansas 72503
                                          Attorneys for Plaintiff
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                                          E-mail: bsm@hlastlaw.com




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                               The Guardian Life Insurance Company of America
                         A Mutual Company - Incorporated 1860 by the State of New York
                                 7 Hanover Square, New York, New York 10004


       POLICYHOLDER:           FUTUREFUEL CHEMICAL COMPANY


       GROUP POLICY NUMBER                         DELIVERED IN                         POLICY DATE

         G-00464537                                 Arkansas                               January 1, 2011


       POLICY ANNIVERSARIES:          January 1st of each year, beginning in 2016

       THE GUARDIAN LIFE INSURANCE COMPANY OF AMERICA (herein called the Insurance
       Company) in consideration of the Application for this Policy and of the payment of premiums as
       stated herein , AGREES to pay benefits in accordance with and subject to the terms of this Policy.

       Premiums are payable by the Policyholder as hereinafter provided . The first premium is due on the
       Policy Date, and subsequent premiums are, during the continuance of this Policy, due on the 1st of
       each month
       This Policy is delivered in the jurisdiction specified above and is governed by the laws thereof.
       The provisions set forth on the following pages are part of this Policy .
       This Policy takes effect on the Policy Date specified above.

       IN WITNESS WHEREOF, THE GUARDIAN LIFE INSURANCE COMPANY OF AMERICA has
       caused this Policy to be executed as of April 25, 2018 which is its date of issue.




                                                                         Vice President, Risk Mgt. & Chief Actuary

                                         GROUP INSURANCE POLICY
                                                 PROVIDING
                                       BENEFITS AS DESCRIBED HEREIN


                                           Dividends Apportioned Annually




GP-1
                                                                                                           EXHIBIT

                                                                                                           A
                                             00464537/00000.0/R04450'PRINT DATE: 4/25/18                             p.1
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                                                THIS IS NOT INSURANCE
                                                    Discount Programs
          Guardian planholders and covered persons can receive discounts on certain services and supplies from
          various companies .
          These services and supplies are not covered by this plan. The entire discounted price must be paid directly to
          the company.
          When this plan ends, access to these discounts for the p!anho!der and for all covered persons end. When a
LO
          covered person 's coverage under this plan ends, his or her access to the discounts ends.

-
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.....
          We reserve the right to change the terms of, or terminate, any of these programs at any time.
0
LO        Planholders and covered persons will be provided with complete details regarding each program , including: (a)
 Q)
 C)       what is discounted, (b) the amount of the discounts; (c) how the discounts can be accessed; and (d) a
 co       telephone number to call with questions about the program.
a.
          The programs are:
:s
0.        Office Max - Discounts for planholders and covered persons on many office services and supplies.
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          Dell Computers - Discounts for planholders on computers and related equipment
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("')      Epic Hearing Care - Discounts for planholders and covered persons on hearing exams and hearing aids.
Q)
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          1-800-Flowers - Discounts for planholders and covered persons on many floral products.
          GP-1-VAP-07                                                                                          P119.0004

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                             IMPORTANT INFORMATION FOR EMPLOYERS

If an employer has a question about the insurance coverages provided by this plan, he may contact the places
below:


                                The Guardian Sales Office
                                600 Emerson Road, Suite 201
                                St. Louis, Missouri 63141
                                Telephone: (314) 569-1170
                                           (800) 962-2643
                                Fax: (314) 569-2804




                                           *****

                                CLJM LLC DBA HUNTLEIGH MCGEHEE
                                , Insurance Agent
                                8235 FORSYTH BL VD
                                SAINT LOUIS MO 63105

                                           *****

If we at The Guardian Life Insurance Company fail to provide you with reasonable and adequate service, you
should feel free to contact:

                                Arkansas Insurance Department
                                Consumer Services Division
                                1200 West 3
                                Little Rock, Arkansas 72201
                                Telephone: (800) 852-5494
GP-1-R-DISC-AR-88                                                                                  P120.0069




                                        00464537 /00000. 0/R04450                                          p.3
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   SCHEDULE OF INSURANCE AND PREMIUM RATES
                           This plan 's classifications , and the option packages of benefits which are available to
                           covered persons who are members of each classification , are shown below.

                                                                                            Class Description


              Class 0001   ALL OTHER ELIGIBLE EMPLOYEES
              Class 0002   ALL ELIGIBLE LIMITED SERVICE EMPLOYEES
              Class 0003   ALL ELIGIBLE TRUCK DRIVERS
   GP-1 -SI                                                                                                P130.1566


                                                                                Option Packages Available
                           Employees may choose from the benefit packages available to members of their
                           class. The option packages are summarized in "Summary of Option Packages"
                           below.
                           GP-1-SI                                                                         P130.1710

                           Members of Class 0001 may choose from benefit option packages A.
                           GP-1-SI                                                                         P130.1568

                           Members of Class 0002 may choose from benefit option packages B.
                           GP-1 -SI                                                                        P130.1568

                           Members of Class 0003 may choose from benefit option packages E.
                           GP-1 -SI                                                                        P130.1568


                                                                            Summary of Option Packages
                           The following are summaries of the benefit option packages available. For a complete
                           explanation of the benefits provided by this plan , including all limitations and
                           exclusions, please read the entire plan .
                           GP-1 -SI                                                                        P130.1585

               Option A    Employee Basic Term Life Insurance in the amount of 150% of the employee's
                           annual earnings, rounded to the next higher $1 ,000.00, if not already a multiple
                           thereof, to a maximum of $250,000.00, but not less than $10,000.00.
                           GP-1 -SI                                                                        P130.4627
                           Employee Optional Term Life .
                           GP-1-SI                                                                         P130.3918

                           Employee Accidental Death and Dismemberment Insurance in the amount of 150% of
                           the employee's annual earnings, rounded to the next higher $1 ,000.00 , if not already
                           a multiple thereof, to a maximum of $250,000.00, but not less than $10,000.00.
                           GP-1-SI                                                                         P130.4633

                           Employee Voluntary AD&D in an amount selected by the employee.
                           GP-1-SI                                                                         P130.2609




GP-1-SI

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                                                              Summary of Option Packages (Cont.)

                       Dependent Voluntary Accidental Death &            Dismemberment      Insurance    for   an
                       employee's spouse, and dependent chi ldren .
                       GP-1-SI                                                                          P130.7537

                       Dependent Optional Term Life for an employee's spouse, and dependent children .
                       GP-1-SI                                                                          P130.3919

                       Long Term Disability Income Insurance in the amount of 60% of an employee's
                       insured earnings, rounded to the nearest dollar, if not already a multiple thereof, to a
                       maximum monthly benefit of $8 ,000.00.
                       GP-1-SI                                                                          P130.3965

                       Employee and Dependent Dental with benefits for preventive services paid at a rate of
                       100%, basic services paid at a rate of 100%, major services paid at a rate of 60%
                       and orthodontic services paid at a rate of 50% . A benefit year deductible of $75.00
                       applies to the non-orthodontic services. A lower level of benefits is paid if the covered
                       person does not use the services of a preferred provider.
                       GP-1-SI                                                                          P130.1830

                       Employee and Dependent Vision Care Expense Insurance with various copayments
                       for services and supplies from PPO providers, and various deductibles for services
                       and supplies from Non-PPO providers .
                       GP-1-SI                                                                          P130.3656

           Option B    Employee and Dependent Dental with benefits for preventive services paid at a rate of
                       100%, basic services paid at a rate of 100%, major services paid at a rate of 60%
                       and orthodontic services paid at a rate of 50%. A benefit year deductible of $75.00
                       applies to the non-orthodontic services. A lower level of benefits is paid if the covered
                       person does not use the services of a preferred provider.
                       GP-1-SI                                                                          P130.1830

                       Employee and Dependent Vision Care Expense Insurance with various copayments
                       for services and supplies from PPO providers, and various deductibles for services
                       and supplies from Non-PPO providers.
                       GP-1-SI                                                                          P130.3656

            Option E   Employee Basic Term Life Insurance in the amount of 150% of the employee's
                       annual earnings, rounded to the next higher $1,000.00, if not already a multiple
                       thereof, to a maximum of $250,000.00 , but not less than $10,000.00.
                       GP-1-SI                                                                          P130.4627

                       Employee Optional Term Life.
                       GP-1-SI                                                                          P130.3918

                       Employee Accidental Death and Dismemberment Insurance in the amount of 150% of
                       the employee's annual earnings, rounded to the next higher $1,000.00, if not already
                       a multiple thereof, to a maximum of $250,000.00, but not less than $10,000.00.
                       GP-1-SI                                                                          P130.4633

                       Employee Voluntary AD&D in an amount selected by the employee.
                       GP-1-SI                                                                          P130.2609

                       Dependent Voluntary Accidental Death &            Dismemberment      Insurance for      an
                       employee's spouse, and dependent children.
                       GP-1-SI                                                                          P130.7537


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                                                                        Summary of Option Packages (Cont.)

                                 Dependent Optional Term Life for an employee's spouse, and dependent children .
                                 GP-1-S I                                                                        P130.39 19

                                 Long Term Disabil ity Income Insurance in the amount of 60% of an employee's
                                 insured earn ings, rounded to the nearest dollar, if not already a multiple thereof, to a
                                 maximum monthly benefit of $8,000 .00.
                                 GP-1-SI                                                                         P130.3965

                                 Employee and Depen dent Dental with benefits for preventive services paid at a rate of
                                 100%, basic services paid at a rate of 100%, major services paid at a rate of 60%
                                 and orthodontic services paid at a rate of 50%. A benefit year deductible of $75.00
                                 applies to the non-orthodontic services. A lower level of benefits is paid if the covered
                                 person does not use the services of a preferred provider.
                                 GP-1-SI                                                                         P1 30.1 830

                                 Employee and Dependent Vision Care Expense Insurance with various copayments
                                 for services and supplies from PPO providers, and va rious deductibles for services
                                 and supplies from Non-PPO providers.
                                 GP-1-SI                                                                         P130.3656


   Options A and E                                                                           Schedule of Benefits
                                                                                 Employee Basic Term Life Insurance
   GP-1-SI                                                                                                      P130.1995


                                 Options A and E
              Basic Term Life    An amount equal to 150% of the employee's annual earn ings, rounded to the next
           Insurance Amount      higher $1,000.00, if not already a multiple thereof, to a maximum of $250,000 .00, but
                                 not less than $10 ,000.00 .
                                 GP-1-SI                                                                         P130.2891


                                 Options A and E
             Redetermination     Subject to any of the plan 's proof of insurability requirements , the employee's basic
                                 life insurance amount wi ll be redeterm ined each January 1st , to an amount in
                                 accordance with the parameters enumerated above, on the basis of his or her then
                                 current annual earnings. If the employee is not actively at work on a full-time basis on
                                 that date, the insurance amount will be redetermined on the date he or she returns to
                                 active full-time service. However, if the benefits were previously reduced because of
                                 an age or retirement reduction , the benefit will not be redetermined due to the change
                                 in earn ings.
                                 GP-1-SI                                                                         P1 30.2005


   Option A


           Earnings Definition   Annual earnings means an employee's annual rate of earnings excluding bonuses,
                                 commiss ions, expense accounts, overtime pay and any other extra compensation. We
                                 do not include pay for hours worked or billed over 40 per week.
                                 Any employee compensation based on such employee's annual earnings which is
                                 deposited into a cash or deferred compensation plan , or salary reduction plan ,
                                 qualified under IRC Section 401 (k) , 403(b) or 457 is included. Earnings based on
                                 excluded income and employer contributions deposited into such 401 (k) , 403(b) or
                                 457 plan are excluded.
GP-1 -SI

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                                                                                      Schedule of Benefits
                                                                             Employee Basic Term Life (Cont.)

                         Annual earnings is calculated using the earnings components described above
                         applicable as of the most current redete rmination date on which the employer has
                         provided earnings data to us. Proof of earn ings will be required . Proof may consist of:
                         (1) cop ies of the covered person's U.S. Individual Income Tax Returns; (2) a
                         statement from a certified public accountant; or (3) any other records we agree to
                         accept
                         GP-1 -SI                                                                        P130.5650


Option E


  Earnings Definition    Annual earnings means an employee's annual rate of earnings as figured from the
                         W-2 form received from the employer for the prior calendar year. We include as
                         earnings: (a) taxable earned income, including: (i) bonuses; (ii) commissions; and (iii)
                         overtime pay; (b) elective employee pre-tax deferrals to a Section 125 plan or flexible
                         spending account; and (c) contributions to a cash or deferred compensation plan , or a
                         salary reduction plan , qualified under IRC Section 401 (k), 403(b) or 457, as reported
                         on the covered person 's W-2 form .
                         We do not include as earnings: (1) expense accounts and other extra compensation ;
                         (2) stock options exercised ; or (3) employer contributions to a cash or deferred
                         compensation plan or salary reduction plan. If the employee has not worked for the
                         employer for the entire prior calendar year, his or her annual earnings are based on
                         his or her average rate of monthly earnings during such calendar year, multiplied by
                         12.
                         Annual earnings is calculated using the earnings components described above
                         applicable as of the most current redetermination date on which the employer has
                         provided earnings data to us. Proof of earnings will be required. Proof may consist of:
                         (1) copies of the covered person 's U.S. Individual Income Tax Returns; (2) a
                         statement from a certified public accountant; or (3) any other records we agree to
                         accept.
                         GP-1-SI                                                                         P130.5654


                         Options A and E
Limitations For Future   However, regardless of any of the above reductions , we limit the amount of insurance
             Entrants    for which the employee is eligible if an employee's insurance under this plan starts
                         both: (a) after this plan 's effective date; and (b) after he or she reaches age 70.
                         If an employee provides us with proof of insurability, and we approve it in writing , the
                         amount of his or her insurance will be 50% of the amount which otherwise applies to
                         his or her classification and/or option. But in no event will this reduced amount be
                         less than $1,000.00.
                         If we do not approve the employee's proof, his or her insurance amount will be
                         $1,000.00.
                         GP-1-SI                                                                         P130.2572




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Options A and E                                                                       Schedule of Benefits
                                    Employee Basic Accidental Death and Dismemberment Insurance (AD&D)
GP-1-SI                                                                                                 P130.2021


                         Options A and E
Basic AD&D Insurance     An amount equal to 150% of the employee's annual earnings, rounded to the next
             Amount      higher $1 ,000.00, if not already a multip le thereof, to a maximum of $250,000.00 , but
                         not less than $10 ,000 .00 .
                         GP- 1-SI                                                                        P130.2897


                         Options A and E
      Redetermination    Subject to any of the plan 's proof of insurability requirements, the employee's basic
                         AD&D insurance amount will be redetermined each January 1st , to an amount in
                         accordance with the parameters en umerated above, on the basis of his or her then
                         current annual earnings. If the employee is not actively at work on a full-time basis on
                         that date, the insurance amount will be redetermined on the date he or she returns to
                         active full-time service . However, if the benefits were previously reduced because of
                         an age or retirement reduction , the benefit will not be redetermined due to the change
                         in earnings.
                         GP-1-SI                                                                         P130.2 024


Option A


   Earnings Definition   Annual earnings means an employee's annual rate of earnings excluding bonuses,
                         commissions, expense accounts, overtime pay and any other extra compensation . We
                         do not include pay for hours worked or billed over 40 per week.
                         Any employee compensation based on such employee's annual earnings which is
                         deposited into a cash or deferred compensation plan, or salary reduction plan ,
                         qualified under IRC Section 401 (k), 403(b) or 457 is included . Earnings based on
                         excluded income and employer contributions deposited into such 401 (k) , 403(b) or
                         457 plan are excluded .
                         Annual earnings is calculated using the earnings components described above
                         applicable as of the most current redetermination date on which the employer has
                         provided earnings data to us. Proof of earnings will be required . Proof may consist of:
                         (1) copies of the covered person 's U.S. Individual Income Tax Returns; (2) a
                         statement from a certified public accountant; or (3) any other records we agree to
                         accept.
                         GP-1 -SI                                                                        P130.5650


Option E


   Earnings Definition   Annual earnings means an employee's annual rate of earnings as figured from the
                         W-2 form received from the employer for the prior calendar year. We include as
                         earnings: (a) taxable earned income, including: (i) bonuses; (ii) commissions ; and (iii)
                         overtime pay; (b) elective employee pre-tax deferrals to a Section 125 plan or flexible
                         spending account; and (c) contributions to a cash or deferred compensation plan , or a
                         salary reduction plan , qualified under IRC Section 401 (k) , 403(b) or 457 , as reported
                         on the covered person's W-2 form .
                         We do not include as earnings: (1) expense accounts and other extra compensation ;
                         (2) stock options exercised ; or (3) employer contributions to a cash or deferred
                         compensation plan or salary reduction plan . If the employee has not worked for the


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                                                                                     Schedule of Benefits
                         Employee Basic Accidental Death and Dismemberment Insurance (AD&D) (Cont.)
                         employer for the entire prior calendar year, his or her annual earnings are based on
                         his or her average rate of monthly earnings during such calendar year, multiplied by
                         12.
                         Annual earnings is calculated using the earnings components described above
                         applicable as of the most current redetermination date on which the employer has
                         provided earnings data to us. Proof of earnings will be required . Proof may consist of:
                         (1) copies of the covered person 's U.S. Individual Income Tax Returns; (2) a
                         statement from a certified public accountant; or (3) any other records we agree to
                         accept.
                         GP-1-SI                                                                         P130.5654


                         Options A and E
Limitations For Future   However, regardless of any of the above reductions , we limit the amount of insurance
             Entrants    for which the employee is eligible if an employee's insurance under this plan starts
                         both : (a) after this plan 's effective date; and (b) after he or she reaches age 70.

                         If an employee provides us with proof of insurability, and we approve it in writing, the
                         amount of his or her insurance will be 50% of the amount which otherwise applies to
                         his or her classification and/or option. But in no event will this reduced amount be
                         less than $1 ,000.00 .

                         If we do not approve the employee's proof, his or her insurance amount will be
                         $1 ,000.00.
                         GP-1-SI                                                                         P130.2559


Options A and E                                                                      Schedule of Benefits
                                                                   Optional Contributory Term Life Insurance
GP-1-SI                                                                                                 P130.2034


                         Options A and E
         Optional Life   The employee may choose to be insured under one of the plans of optional term life
    Enrollment Period    insurance shown below. The employee may only be insured under one plan at a time.
                         The employee must notify the employer of his or her election and pay the required
                         premium.
                         The employee may switch to another plan of optional term life insurance during the
                         optional life enrollment period. Each year, the optional life enrollment period starts on
                         October 15th and ends on November 15th. We may require proof of insurability
                         before the employee becomes insured under the new plan of benefits. See below for
                         details. If we do not require proof, the employee will become insured under the new
                         plan of benefits as of the January 1st which coincides with or next follows the end of
                         the optional life enrollment period .
                         GP-1-SI                                                                         P130.2561

    Optional Term Life   Plan A
    Insurance Amount
                         The employee may elect amounts of optional term life insurance in increments of
                         $10,000.00, but the amount may not be less than $10,000.00 and may not exceed
                         $500,000.00.
                         GP-1-SI                                                                         P130.2035




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                                                                                         Schedule of Benefits
                                                               Optional Contributory Term Life Insurance (Cont.)
                              Options A and E
   Reduction of Optional      If an employee is less tha n age 65 when his or her insurance under this plan starts,
          Life Insurance      his or her insurance amount is reduced , on the date he or she reaches age 65, by
   Amount Based on Age        35% of the amount which otherwise applies to his or her classification and/or option .
                              But in no case will such reduced amount be less than $1 ,000.00.
                              The preceding reduction also applies to an employee's initial insurance amount if his
                              or her insurance starts after he or she reaches age 65 but before he or she reaches
                              age 70.

                              If an employee is less than age 70 when his or her insurance under this plan starts,
                              the employee's optional life insurance amount is reduced , when he or she reaches
                              age 70 , by 50% of the amount wh ich otherwise applies to his or her classification
                              and/or option . But in no case will such reduced amount be less than $1,000.00.

                              The preceding reduction also applies to an employee's initial insurance amount if his
                              or her insurance starts after he or she reaches age 70.
                              GP-1-SI                                                                       P1 30.2522


                              Options A and E
      Proof of lnsurability   Proof of insurability requ irements apply to the optional term life insurance. Such
           Requirements       requirements may apply to the full benefit amount or just part of it. When proof of
                              insurability requirements apply, it means the employee must submit to us proof that
                              he or she is insurable, and we must approve that proof in writing before the
                              insurance, or the specified part becomes effective.
                              We require proof as fol lows:
                              GP-1-SI                                                                       P130.2444


                              Options A and E
                              We require proof before we will insure any employee who enrolls for optional term life
                              insurance after the time allowed for enrolling as specified in this plan.

                              Options A and E

                              We require proof for amounts of optional term life insurance in excess of $150,000.00.

                              Options A and E

                              We require proof for amounts of optional term life insurance in excess of $10,000.00,
                              if an employee's scheduled optional term life effective date is after he or she reaches
                              age 65.
                              GP-1-SI                                                                       P130.3225


                              Options A and E

                              We require proof for all amounts of optional term life insurance, if an employee's
                              scheduled optional term life effective date is after he or she reaches age 70.
                              GP-1-SI                                                                       P130.3230




GP-1-SI

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                                                                                        Schedule of Benefits
                                                              Optional Contributory Term Life Insurance (Cont.)
                              Options A and E

                              We require proof before an employee switches from his or her current increment of
                              optional term life insurance to an increment which provides a greater amount of
                              insurance.

   Options A and E
            Annual Election   After an employee initially enrolls for Employee Optional Term Life Insurance benefits
                              the employee may elect to increase the elected insurance amount by selecting a
                              higher plan from the amounts shown above, up to a maximum increase of $50,000.
                              This option is available during the Optional Life Enrollment Period , as determined by
                              the planholder. Proof of insurability will not be required for increases provided the
                              insurance amount does not exceed the amount of Employee Optional Term Life
                              Insurance for which proof of insurability is required.

                              In the event proof of insurability is required and has been submitted and approved by
                              us, proof for additional increases will be required on the second anniversary of the
                              approval date.

                              If proof of insurability was required and the employee was declined, the employee will
                              no longer be eligible for additional increases without submitting subsequent proofs of
                              insurability.

                              Dependent Optional Term Life Insurance will not automatically increase and will
                              require proof of insurability.
                              GP-1-SI                                                                      P130.9166


   Options A and E                                                                      Schedule of Benefits
                                                                          Employee Voluntary Accidental Death
                                                                         and Dismemberment Insurance (AD&D)

                              Options A and E
            Voluntary AD&D    The employee may choose to be insured under one of the plans of voluntary AD&D
          Enrollment Period   insurance which is equal to 100% of the Voluntary Life Amount not to exceed
                              $500,000.00 . The employee may only be insured under one plan at a time. The
                              employee must notify the employer of his or her election and pay the required
                              premium .

                              The employee may switch to another plan of benefits at any time, subject to any of
                              this plan 's proof of insurability requirements. The employee must notify the employer
                              of any desired switch and the amount must be 100% of the Voluntary Life amount.
                              GP-1-SI                                                                      P130.7525

             Voluntary AD&D   Plan A
          Insurance Amount
                              The employee may elect amounts of voluntary AD&D insurance in increments of
                              $10,000.00 , but the amount may not be less than $10,000.00 and may not exceed
                              $500,000.00.
                              GP-1-SI                                                                      P130.7553




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                                                                                        Schedule of Benefits
                                                                         Employee Voluntary Accidental Death
                                                                 and Dismemberment Insurance (AD&D) (Cont.)
                              Options A and E
           Reduction of       If an employee is less than age 65 when his or her insurance under this plan starts,
        Voluntary AD&D        his or her insurance amount is reduced , on the date he or she reaches age 65, by
   Amount Based on Age        35% of the amount which otherwise applies to his or her classification and/or option.
                              But in no case will such reduced amount be less than $1 ,000.00.

                              The preceding reduction also applies to an employee's initial insurance amount if his
                              or her insurance starts after he or she reaches age 65 but before he or she reaches
                              age 70.

                              If an employee is less than age 70 when his or her insurance under this plan starts,
                              the employee's voluntary life insurance amount is reduced , when he or she reaches
                              age 70, by 50% of the amount which otherwise applies to his or her classification
                              and/or option . But in no case will such reduced amount be less than $1 ,000.00.

                              The preceding reduction also applies to an employee's initial insurance amount if his
                              or her insurance starts after he or she reaches age 70.
                              GP-1 -SI                                                                    P130.2533


                              Options A and E
      Proof of lnsurability   Proof of insurability requirements apply to the voluntary AD&D insurance. Such
           Requirements       requ irements may apply to the full benefit amount or just part of it. When proof of
                              insurability requirements apply, it means the employee must submit to us proof that
                              he or she is insurable, and we must approve that proof in writing before the
                              insurance, or the specified part becomes effective.
                              We require proof as follows :
                              GP-1-SI                                                                     P130.7765


                              Options A and E

                              We require proof before we will insure any employee who enrolls for voluntary AD&D
                              insurance after the time allowed for enrolling as specified in this plan.
                              GP-1 -SI                                                                    P130.7769


                              Options A and E

                              We require proof before an employee switches from his or her current plan of
                              voluntary AD&D insurance to a plan which provides greater benefits.
                              GP-1-SI                                                                     P130.7771




GP-1-SI

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   Options A and E                                                                  Schedule of Benefits
                                                                    Dependent Optional Term Life Insurance
      Dependent Optional    The employee may choose the plan of dependent spouse optional term life insurance,
            Life Election   and the plan of dependent ch ild optional term life insurance shown below. The
                            employee must notify the employer of his or her elections and pay the requ ired
                            premium.
                            GP-1 -SI                                                                 P130.3923

      Optional Dependent    Plan A
        Spouse Term Life
       Insurance Amount     The employee may elect amounts of optional dependent spouse term life insurance in
                            increments of $5 ,000 .00, but the amount may not be less than $5,000.00 and may
                            not exceed $100,000.00.
                            GP-1-SI                                                                  P130.2509

      Optional Dependent    Plan A
          Child Insurance
                  Amount    The employee may elect amounts of optional dependent child term life insurance in
                            increments of $1,000 .00, but the amount may not be less than $1,000 .00 and may
                            not exceed $10,000.00.
                            GP-1-SI                                                                  P130.2602


                            Options A and E
                            In no event may the insurance amount of a dependent spouse exceed 50% of the
                            insurance amount of an employee.
                            GP-1-SI                                                                  P130.8886


                            Options A and E

                            In no event may the insurance amount of a dependent child exceed 10% of the
                            insurance amount of an employee.
                            GP-1-SI                                                                  P130.3792




GP-1-SI

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                                                                                        Schedule of Benefits
                                                                Dependent Optional Term Life Insurance (Cont.)
                              Options A and E
      Proof of lnsurability   Proof of insurability requirements apply to dependent optional term life insu ran ce.
           Requirements       Such requirements may apply to the full benefits amount or just part of them . When
                              proof of insurability requ irements apply, it means the employee must submit to us
                              proof that a dependent is insurable, and we must approve the proof in writing before
                              the insurance, or the specified part becomes effective.

                              We require proof as fol lows:
                              GP-1-SI                                                                      P130.2538

                              We require proof before we will insure any spouse who is enrolled for dependent
                              optional term life insurance after the time allowed for enrolling as specified in this
                              plan .
                              GP-1-SI                                                                      P1 30.2542

                              We require proof for any amount of dependent optional term life insurance in excess
                              of $25,000.00 with respect to a dependent spouse.
                              GP-1-SI                                                                      P130.2544

                              We require proof for any amount of dependent optional term life insurance in excess
                              of $5,000.00 with respect to a dependent spouse, if the dependent spouse's
                              scheduled dependent optional term life effective date is after he or she reaches age
                              65.
                              GP-1 -SI                                                                     P1 30.4246


                              Options A and E

                              We require proof before we wil l insure any ch ild who is enrolled for dependent
                              optional term life insurance after the time allowed for enrolling as specified in this
                              plan .
                              GP-1 -SI                                                                     P130.2551


                              Options A and E

                              We require proof before an employee switches from his or her current increment of
                              dependent optional term life insu rance to an increment which provides a greater
                              amount of insurance.
                              GP-1-SI                                                                      P130.3425


   Options A and E                                           Schedule of Benefits
         Dependent Voluntary Accidental Death and Dismemberment Insurance (AD&D)
     Dependent Voluntary      The employee may choose the plan of dependent spouse voluntary AD&D insurance,
          AD&D Election       and the plan of dependent child voluntary AD&D insurance which is equal to 100% of
                              the voluntary life amount as shown below.
                              GP-1 -SI                                                                     P130.7620




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                                                                                                     Schedule of Benefits
                       Dependent Voluntary Accidental Death and Dismemberment Insurance (AD&D) (Cont.)
   Options A and E
          Dependent Spouse Plan A
             Voluntary AD&D
          Insurance Amount The employee may elect amounts of voluntary dependent spouse term AD&D
                            insurance in increments of $5,000.00, but the amount may not be less than $5,000.00
                            and may not exceed $100,000.00.
                             GP-1-SI                                                                                          P130.7630


   Options A and E
            Dependent Child Plan A
             Voluntary AD&D
          Insurance Amount Child's Age At Death                                                 Benefit Amount

                             At least 14 days but less than
                             6 months .... . ............. . .. . . . .... . . an amount not less than
                                                                               $1 ,000.00, and not
                                                                               more than $10 ,000.00,
                                                                               increments of
                                                                               $1 ,000.00.

                             At least 6 months but less than
                             26 years . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . an amount not less than
                                                                                                    $1,000.00, and not
                                                                                                    more than $10,000.00,
                                                                                                    increments of
                                                                                                    $1 ,000.00.

                             At least 26 years but
                             less than 26 years if a full-time student                       an amount not less than
                                                                                             $1,000.00, and not
                                                                                             more than $10,000.00,
                                                                                             increments of
                                                                                             $1,000.00.
   GP-1 -SI                                                                                                                   P130.8100


                             Options A and E

                             In no event may the insurance amount of a dependent spouse exceed 50% of the
                             insurance amount of an employee .
                             GP-1-SI                                                                                          P130.7763


                             Options A and E

                             In no event may the insurance amount of a dependent child exceed 10% of the
                             insurance amount of an employee.
                             GP-1-SI                                                                                          P130.8885




GP-1-SI

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   Options A and E                                                                             Schedule of Benefits
                                                                   Employee Long Term Disability Income Insurance
   GP-1-SI                                                                                                       P130.6640


   Options A and E
            Own Occupation       The first 24 months of benefit payments from this plan .
                    Period
                                 GP-1-SI                                                                         P130.6646


   Options A and E
          Elimination Period     Elimination PeriodDuring Disability

                                 For disability due to injury ..... . .. .. .... ... . . . . ... ... . .. ...... 180 days

                                 For disability due to sickness .... .... . . . ... ... .. . . .. ... . ... . ... 180 days
          Maximum Payment        See the following table:
             Period for Each
                   Disability:
                                    Employee's                                         Social Security
                                   Year of Birth                                       Normal Retirement Age

                                    Before 1938 ............. .. . ... . .. .... 65
                                           1938                                  65 and 2 months
                                           1939                                  65 and 4 months
                                           1940                                  65 and 6 months
                                           1941                                  65 and 8 months
                                           1942                                  65 and 10 months
                                     1943-1954                                   66
                                           1955                                  66 and 2 months
                                           1956                                  66 and 4 months
                                           1957                                  66 and 6 months
                                           1958                                  66 and 8 months
                                           1959                                  66 and 10 months
                                     After 1959                                  67

                                 For a disability starting on or after the employee reaches age 60, the maximum
                                 payment period will be determined according to the following table:


                                          Age When                                     Maximum
                                      Disability Starts                                Payment Period

                                               Age60                                   5.00   years
                                               Age 61                                  4.00   years
                                               Age62                                   3.50   years
                                               Age 63                                  3.00   years




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                                                                                                         Schedule of Benefits
                                                              Employee Long Term Disability Income Insurance (Cont.)
                                           Age 64         ..... . ..      .. .. . . .. . .. ...   2.50   years
                                           Age 65         .. ... .. .     ..............          2.00   years
                                           Age 66         .. . . . . ..   ..............          1.75   years
                                           Age 67         ... . .. ..     ... . ..........        1.50   years
                                           Age 68         ........        ..............          1.25   years
                                    Age 69 or older       ........        ..............          1.00   year

                               But if an employee whose disability starts after age 60 reaches the end of the
                               maximum payment from this tab le before he reaches the Social Security Normal
                               Retirement Age , we will extend his maximum payment period until he reaches Social
                               Security Normal Retirement Age.
                               GP-1-SI                                                                                         P1 30.6648


   Options A and E
   Gross Monthly Benefit       60% of the covered person 's insured earnings, rounded to the nearest $1.00, if not
                               already a multiple thereof, limited to a maximum of $8,000.00.
                               Note:We integrate the covered person's gross monthly benefit with certain other
                               income he or she may receive . Read all of the terms of this planto see what income
                               we integrate with , and how.
                               GP-1-SI                                                                                         P1 30.8273


   Options A and E
             SurvivorBenefit   3 times the last month ly benefit after it is reduced by disability earningsthe covered
                               person received.
                               GP-1-SI                                                                                         P130.6666


   All Options                                                                                           Schedule of Benefits
                                                                                  Employee and Dependent Dental Expense
   GP-1-SI                                                                                                                     P130.9303


                               All Options
          Cash Deductible      PPO Benefit Year Cash Deductible for Non-Orthodontic Services:
                                 Group 1 Services . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . None
                                 Group 2 and 3 Services . .. . .. .... . ... . . . . .. . . .. .. .. . ... . .... $75.00
                                                                                                            for each covered person

                               Non-PPO Benefit Year Cash Deductible for Non-Orthodontic Services:
                                 Group 1 Services . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . None
                                 Group 2 and 3 Services . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $75.00
                                                                                                            for each covered person
                               GP-1-SI                                                                                         P130.1 446




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                                                                                                      Schedule of Benefits
                                                                   Employee and Dependent Dental Expense (Cont.)
                             All Options
            Payment Rates    Payment   Rate for Services Furnished By           A Preferred Provider:
                               Group   1 Services . . . . . . . . . . . . . .   ..................            .   ..   .   ....   . . 100%
                               Group   2 Services . . . . . . . . . . . . . .   ..................            .   ..   .   ....   . . 100%
                               Group   3 Services .. . ...... . . .. .          .. ................           .   ..   .   ....   ... 60%
                               Group   4 Services . . . . . . . . . . . . . .   ..................            .   ..   .   ....   . . . 50%

                             Payment   Rate for Services Not Furnished            By A Preferred Provider:
                               Group   1 Services . . . . . . . . . . . . . . .   ....................                 . . . . . . . 100%
                               Group   2 Services . . . . . . . . . . . . . . .   ....................                 . . . . . . . . 80%
                               Group   3 Services . . . . . . . . . . . . . . .   ....................                 . . . . . . . . 50%
                               Group   4 Services ....... . .......               . . ... .. . ... . . . . . . . ..    ........ 50%
                             GP-1-SI                                                                                              P130.1380


                             All Options
            Payment Limits   Benefit Year Payment Limit
                             for Non-Orthodontic Services - up to                                                             $1,000.00

                             Orthodontic Lifetime Maximum - up to . . . . . . . . . . . . . . . . . . . . . . . . . . $ 1,500.00

                             Note: A covered person may be eligible for a rollover of a portion of his or her
                             unused Benefit Year Payment Limit for Non-Orthodontic Services. See "Rollover of
                             Benefit Year Payment Limit for Non-Orthodontic Services" for details.

                             A "benefit year" is a 12 month period which starts on January 1st and ends on
                             December 31st of each year.
                             GP-1-SI                                                                                              P130.4989


                             All Options
              Denta/Guard    Benefits for services provided by a preferred provider in the plus program
            Preferred Plus   ("DentalGuard Preferred Plus Providers") will be reimbursed based on the
                             non-preferred provider (Non-PPO) payment rates , deductibles, benefit year and
                             lifetime payment limits, frequency and age limitations, coverages and exclusions.
                             GP-1-SI                                                                                              P130.9093


                             All Options
          Group Enrollment   A group enrollment period is held each year. The group enrollment period is a time
                    Period   period agreed to by the employer and us. During this period , eligible employees may
                             elect to enroll in dental insurance under this plan . Coverage starts on the first day of
                             the month that next follows the date of enrollment. The employee and his or her
                             eligible dependents are not subject to late entrant penalties if they enroll during the
                             group enrollment period.
                             GP-1-SI                                                                                              P130.8675




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   All Options                                                                                           Schedule of Benefits
                                                                                  Employee and Dependent Vision Expense
   GP-1-S!                                                                                                                      P130.3506


                             All Options
          PPO Copayments     Examinations . . . . . . .                 . ....... .. ... .. . . .. ... . . ... .. . . $10.00
                             Standard Frames and/or Standard Lenses . . . . . . . . . . . . . . . . . . . . . . . . . . $20.00
                             Contact Lenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $20.00

                             All Options
             Non-PPO Cash    Examinations .. ... .. ... . .. .. . .... .. ..... . ... . ....... . ... .. . $10 .00
               Deductibles   Standard Frames and/or Standard Lenses . . . . . . . . . . . . . . . . . . . . . . . . . . $20 .00
                             Contact Lenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $20 .00

                             All Options

                             If a member receives elective contact lenses from a preferred provider that is not part
                             of the formulary , we waive the plan 's materials copay. We also waive the copay for
                             elective contact lenses received from a non-preferred provider.

                             All Options
             Payment Rates   For Covered Charges .... . ..... .. . .. ... .. . . ... .. ..... .. ...... . 100%
                             GP-1-SI                                                                                            P130.3516


   All Options                                                                                          Schedule of Benefits
                                                                                  Effective Dates for Changes to Insurance
   GP-1-S!                                                                                                                      P130.3343


                             All Options
    Changes in Insurance     Any increase or decrease in the amount of insurance on any individual shall become
                Amounts      effective on the effective date of a change in the Employee's classification , except
                             that any increase in the amount of insurance on an Employee or a Qualified
                             Dependent eligible for benefits under an established benefit period shall become
                             effective:
                                       in the case of an Employee not actively at work, on the day on which he
                                       returns to active work on a full-time basis (or the day on wh ich his benefit
                                       period terminates, whichever is later) or
                                       in the case of an Eligible Dependent confined to a hospital , on the day on
                                       which the dependent is discharged from the hospital (or the day on which his
                                       benefit period terminates, whichever is later) .

                             In no event shall the insurance of an Eligible Dependent of an Employee who is not
                             actively at work on a full-time basis be increased or decreased prior to the date such
                             Employee returns to active work on a full-time basis.
                             GP-1-SI                                                                                            P130.9324


                             All Options
    Changes in Insurance     If an insured Employee's classification changes, the Employee's insurance shall be
           Classification    adjusted automatically to conform to the new classification on the first day on which
                             he is actively at work on full-time and makes a contribution , if required , applicable to
                             the new classification ; provided that if thirty-one days elapse after a change to a

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                                                                                   Schedule of Benefits
                                                        Effective Dates for Changes to Insurance (Cont.)
                   classification for which a larger amount of insurance is provided , and the Employee
                   fails to make a contribution , if required , applicable to the new classification by the first
                   day thereafter on which he is actively at work on full-time, no increase shall be
                   allowed as a result of such change or any subsequent change unless the Employee
                   furnishes evidence of insurability satisfactory to the Insurance Company. However,
                   any Employee whose benefits were previously reduced because of an age limitation
                   will be retained at the reduced benefits.
                   GP-1-SI                                                                             P130.9326




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                                                                                  Schedule of Premium Rates
                               The monthly premium rates , in U.S . dollars , for the insurance provided under this plan
                               are listed below.
                               GP-1 -SI                                                                        P130.9260


   Options A and E                                                                                 Premium Rates
                                                                                Employee Basic Term Life Insurance
   GP-1-S/                                                                                                     P130.2823


             Options A and E   Classes 0001 and 0003

                               The following set of rates represents the rate per $1 ,000.00 of coverage.

                                                    Rate per Employee
                                                        $ .19
   GP-1-SI                                                                                                     P130.2838


   Options A and E                                                                                 Premium Rates
                                          Employee Basic Accidental Death and Dismemberment Insurance (AD&D)
   GP-1-SI                                                                                                     P130.2824


             Options A and E   Classes 0001 and 0003

                               The following set of rates represents the rate per $1,000.00 of coverage.

                                                    Rate per Employee
                                                        $ .022
   GP-1-SI                                                                                                     P130.2842


   Options A and E                                                                                 Premium Rates
                                                                Employee Optional Contributory Term Life Insurance
   GP-1-SI                                                                                                     P130.2825


             Options A and E   Classes 0001 and 0003

                               The following set of rates represents the rate per $1 ,000.00 of coverage.

                               "Age" means the employee's attained age in years as of this plan's anniversary date.

                                   Age
                               From Through                 Rate per Employee
                                15           34                      $   .036
                                35           39                      $   .070
                                40           44                      $   .099
                                45           49                      $   .140
                                50           54                      $   .212
                                55           59                      $   .321
                                60           69                      $   .422
                                70           99                      $   .704
   GP-1-SI                                                                                                     P130.2848

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   Options A and E                                                                                  Premium Rates
                                                                                Employee Voluntary Accidental Death
                                                                                     and Dismemberment Insurance
   GP-1-SI                                                                                                   P130.2826


              Options A and E   Classes 0001 and 0003

                                The following set of rates represents the rate per $1,000.00 of coverage.

                                                    Rate per Employee
                                                        $ .029
   GP-1 -SI                                                                                                  P130.7574


   Options A and E                                                                                 Premium Rates
                                                                               Dependent Voluntary Accidental Death
                                                                                     and Dismemberment Insurance
   GP-1-S/                                                                                                   P130. 7611


              Options A and E   Classes 0001 and 0003

                                The following set of rates represents the rate per $1 ,000.00 of coverage.

                                                    Rate per Insured Spouse
                                                        $ .029
   GP-1 -SI                                                                                                  P130.7613


              Options A and E   Classes 0001 and 0003

                                The following set of rates represents the rate per $1,000.00 of coverage.

                                                    Rate per Insured Child Unit
                                                        $ .033
   GP-1-SI                                                                                                   P130.7602


   Options A and E                                                                                 Premium Rates
                                                                  Dependent Spouse Optional Term Life Insurance
   GP-1-SI                                                                                                   P130.2828


              Options A and E   Classes 0001 and 0003

                                The following set of rates represents the rate per $1 ,000.00 of coverage.

                                "Age" means the employee's attained age in years as of this plan 's anniversary date.

                                    Age
                                From Through                 Rate per Insured
                                                             Spouse
                                 15        34                       $   .036
                                 35        39                       $   .070
                                 40        44                       $   .099
                                 45        49                       $   .140



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                                                                                                    Premium Rates
                                                          Dependent Spouse Optional Term Life Insurance (Cont.)
                                 50           54                     $ .212
                                 55           59                     $ .321
                                 60           69                     $ .422
                                 70           99                     $ .704
   GP-1 -SI                                                                                                     P130.2878


   Options A and E                                                                                  Premium Rates
                                                                     Dependent Child Optional Term Life Insurance
   GP-1-SI                                                                                                   P130.2829


              Options A and E   Classes 0001 and 0003

                                The following set of rates represents the rate per $1,000.00 of coverage.

                                                     Rate per Insured Child Unit
                                                         $ .133
   GP-1-SI                                                                                                      P130.2858


   Options A and E                                                                                  Premium Rates
                                                                                Long Term Disability Income Insurance
   GP-1-SI                                                                                                   P130.6676


              Options A and E   Classes 0001 and 0003

                                The following set of rates represents the rate per $100.00 of monthly covered payroll
                                volume.

                                                     Rate per Employee
                                                         $ .61
   GP-1-SI                                                                                                      P130.6678


   All Options                                                                                      Premium Rates
                                                                                             Dental Expense Insurance
   GP-1-SI                                                                                                   P130.2834


                  All Options   All Classes

                                Rate per              per Employee            per Employee       per Employee
                                Employee              and One                 and Two            and Three or
                                                      Insured                 Insured            More Insured
                                                      Dependent               Dependents         Dependents
                                $ 33.20               $ 56.02                 $ 80.04            $ 80.04
   GP-1-SI                                                                                                      P130.1539




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   All Options                                                                            Premium Rates
                                                                            Vision Care Expense Insurance
   GP-1-SI                                                                                          P130.3517


             All Options   All Classes

                           Rate per           per Employee        per Employee        per Employee
                           Employee           and Insured         and Insured         and Insured
                                              Spouse with no      Child(ren) with     Family
                                              Insured Child       no Insured
                                                                  Spouse
                           $ 8.91             $ 15.08             $ 15.08             $ 23.85

   GP-1-SI                                                                                           P130.3518


   We have the right to change any premium rate(s) set forth above at the times and in the manner established
   by the provision of the group plan entitled "Premiums".
   GP-1-SI                                                                                           P130.9298




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All Options

                                        GENERAL PROVISIONS
                                                  Definitions
As used in this policy:
"Guardian ," "Insurance Company," "our," "us" and "we" mean The Guardian Life Insurance Company of
America.
"Plan" means this group insurance policy.
"Covered person" means an employee or dependent insured by this policy.
GP-1-R-GENPRO-90                                                                                      P140.0136


All Options

                                               Incontestability

This Policy shall be incontestable after two years from its policy date, except for non-payment of premiums.
No statement in any application , except a fraudulent statement, made by a person insured under this policy
shall be used in contesting the validity of his insurance or in denying a claim for a loss incurred , or for a
disability which starts, after such insurance has been in force for two years during his lifetime.
If this policy replaces the group policy of another insurer, we may rescind this policy based on
misrepresentations made in the policyholder's or a covered person 's signed application for up to two years
from th is policy's policy date.
GP-1-R-INCY-90                                                                                        P140.0150


All Options

                                        Associated Companies

An associated company is a corporation or other business entity affiliated with the policyholder through
common ownership of stock or assets.
If the policyholder asks us in writing to include an associated company under this policy, and we give our
written approval, we'll treat employees of that company like the policyholder's employees. Our written approval
will include the starting date of the company's coverage under this policy. But each eligible employee of that
company must still meet all of the terms and conditions of this policy before he'll be insured .
The policyholder must notify us in writing when a company stops being associated with him. On the date a
company stops being an associated company, this policy will end for all of that company's employees , except
those employed by the policyholder or another covered associated company as eligible employees, on such
date.
GP-1-R-AC-90                                                                                          P140.0151


All Options

                                                  Premiums

Premiums due under this policy must be paid by the policyholder at an office of the Guardian or to a
representative that we have authorized . The premiums must be paid as specified on the first page of this
policy, unless by agreement between the policyholder and the Guardian , the interval of payment is changed.
In that event, adjustment will be made to provide for payment annually, semi- annually, quarterly or monthly.
The premium due under this policy on each policy due date will be the sum of the premium charges for the
insurance coverages provided under this policy. The premium charges are based upon the rates set forth in
this policy's "Schedule of Insurance and Premium Rates" section.


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However, we may change such rates: (a) on the first day of any policy month ; (b) on any date the extent or
terms of coverage for a policyholder are changed by amendment of this policy; (c) on any date our obligation
under this policy with respect to a policyholder is changed because of statutory or other regulatory
requirements ; or (d) if this policy supplements, or coordinates with benefits provided by any other insurer,
non-profit hospital or medical service plan , or health maintenance organization, on any date our obligation
under th is policy is changed because of a change in such other benefits .
We must give the policyholder 31 days written notice of the rate change. Such change wil l apply to any
premium due on and after the effective date of the change stated in such notice.

              Adjustment of Premiums Payable Other Than Monthly or Quarterly

Under the above provision , if a premium rate is changed after an annual or semi-annual premium became
payable with respect to coverage on and after the date of such change , the premium will be adjusted by a
proportionate increase or decrease for the unexpired period for which the premium became payable. If the
adjustment results in a decrease, the amount of the decrease will be paid to the policyholder by us. If the
adjustment results in an increase, the amount of the increase will be considered a premium due on the date of
the rate change. This policy's grace period provisions will apply to any such premium due.

                    Grace in Payment of Premiums - Termination of Policy

A grace period of 31 days, without interest charge, will be allowed the policyholder for each premium payment
except the first. If any premium is not paid before the end of the grace period , this policy automatically ends at
the end of the grace period . However, if the policyholder gives us advance written notice of an earlier
termination date during the grace period , this policy will end as of such earlier date.
If this policy ends during or at the end of the grace period , the policyholder will still owe us premium for all the
time this policy was in force during the grace period .
This policy ends immediately on any date when an insurance coverage under this policy ends and , as a result,
no benefits remain in effect under this policy.
GP-1-R-PREM-90                                                                                              P140.0529


All Options

                                  Term of Policy - Renewal Privilege

This policy is issued for a term of one (1) year from the policy date shown on the first page of this policy. All
policy years and policy months will be calculated from the policy date. All periods of insurance hereunder will
begin and end at 12:01 A.M. Standard Time at the policyholder's place of business.
If this policy provides coverage on a non-contributory basis, 100% of the employees eligible for insurance
must be enrolled for coverage. If dependent coverage is provided on a non-contributory basis, all eligible
dependents must be enrolled .
The policyholder may renew this policy for a further term of one (1) year, on the first and each subsequent
policy anniversary. All renewals are subject to the payment of premiums then due, computed as provided in
this policy's "Premiums" section .
However, we have the right to decline to renew this policy, or any coverage hereunder on any policy
anniversary or premium due date, if, on that date: (a) less than 10 employees are insured under this policy ; or
(b) with respect to a non-contributory policy, less than 100% of those employees eligible are insured under
this policy; or (c) with respect to a contributory policy, less than 75% of those employees eligible are insured
under this policy.
                                                                                                            P140.0626

     with respect to contributory Vision Care Expense insurance, less than 21 % of those employees who are
     eligible for insurance under this plan are insured ; or




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        with respect to contributory Dental Expense.Voluntary Accidental Death and Dismemberment and
        Voluntary Term Life insurance, less tha n 25% of those employees who are eligible for insurance under
        this plan are insured ; or
   If this policy provides dependents coverage , we may decline to renew such coverage on any policy
   anniversary or premium due date, if: (a) with respect to a non-contributory policy, less than 100% of all eligible
   dependents are enrolled for coverage under this policy; or (b) with respect to a contributory policy, less than
   75% of those employees eligible for dependents coverage are insured as such .
   The policyholder may cancel this policy at any time by giving us 31 days advance written notice. This notice
   must be sent to our Home Office. And the employer will owe us all unpaid premiums for the period this plan is
   in force.

                                                   The Contract

   The entire contract between the Guardian and the policyholder consists of this policy, and the policyholder's
   application , a copy of which is attached hereto or endorsed hereon .
   We can amend this policy at any time, without the consent of the insured employees or any other person
   having a beneficial interest therein , as follows :
   We can amend this policy: (a) upon written request made by the policyholder and agreed to by the Guardian ;
   (b) on any date our obligation under this policy with respect to a policyholder is changed because of statutory
   or other regulatory requirements; or (c) if this policy supplements, or coordinates with benefits provided by any
   other insurer, non-profit hospital or medical service plan , or health maintenance organization , on any date our
   obligation under this policy is changed because of a change in such other benefits.
   If we amend the policy, except upon request made by the policyholder, we must give the policyholder written
   notice of such amendment.
   Any amendments to this policy will be without prejudice to any claim arising prior to the date of the change.
   No person , except by a writing signed by the President, a Vice President or a Secretary of The Guardian, has
   the authority to act for us to: (a) determine whether any contract, policy or certificate of insurance is to be
   issued ; (b) waive or alter any provisions of any insurance contract or policy, or any requirements of The
   Guardian ; or (c) bind us by any statement or promise relating to the insurance contract issued or to be issued;
   or (d) accept any information or representation wh ich is not in a signed application .
   All personal pronouns in the masculine gender used in th is policy, will be deemed to include the feminine also,
   unless the context clearly indicates the contrary.
   GP-1-R-TERM-90                                                                                           P140.0627


  All Options

                                       Clerical Error - Misstatements

   Neither clerical error by the policyholder, a participating employer or the Guardian in keeping any records
   pertaining to insurance under this policy, nor delays in making entries thereon , will invalidate insurance
   otherwise validly in force or continue insurance otherwise validly terminated . However, upon discovery of such
   error or delay, an equitable adjustment of premiums will be made.
   Premium adjustments involving return of unearned premium to the policyholder will be limited to the period of
   90 days preceding the date of our receipt of satisfactory evidence that such adjustments should be made.
  If the age of an employee, or any other relevant facts , are found to have been misstated , and the premiums
  are thereby affected , an equitable adjustment of premiums wi ll be made. If such misstatement involves
  whether or not an insurance risk would have been accepted by us , or the amount of insurance, the true facts
  will be used in determining whether insurance is in force under the terms of this policy, and in what amount.




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                                                 Statements
No statement wil l void the insurance under this policy, or be used in defense of a claim hereunder unless: (a)
in the case of the policyholder, it is contained in the application signed by him ; or (b) in the case of a covered
person , it is contained in a written instrument signed by him.
All statements will be deemed representations and not warranties.
GP-1-R-CE-90                                                                                              P140.0309


Options A and E

                                                 Assignment

An employee's right to assign any interest under this policy is governed as follows :
  With respect to any death benefits (including any basic term life , supplemental term life, optional term life or
  accidental death and dismemberment coverages provided by this policy), the employee may, subject to the
  following conditions , assign all rights or interest in such insurance which he now has, or may later acquire.
  The assignment of an employee's group term life insurance is irrevocable and absolute in form , for no
  value. The employee retains no further interest in such insurance.
  The assignment may be made only to one of the following : The employee's spouse, child, grandchild ,
  parent, grandparent, brother or sister. It may also be made to the trustee of a trust established for the
  benefit of one or more of these people.
  We will not be charged with notice of any assignment of any interest under this policy until the original
  assignment has been accepted and filed with us at our Home Office. And we assume no responsibility as
  to the validity or effect of any such assignment.
  With respect to accident and health insurance, both the employee's certificate and his right to insurance
  benefits under this policy are not assignable. However, the employee may direct us, in writing, to pay
  hospital , surgical , major medical, or dental benefits to the recognized provider who provided the covered
  service for which benefits became payable. We may honor such request at our option . But, the employee
  may not assign his right to take legal action under this policy to such provider. And we assume no
  responsibility as to the validity or effect of any such direction .

                                      Assignment By Policyholder

Assignment or transfer of the interest of the policyholder will not bind us without our written consent thereto.
GP-1-R-ASSIGN-90                                                                                          P140.0164


Option B

                                                 Assignment

An employee's right to assign any interest under this policy is governed as follows :
  Any death benefits (including any basic term life, supplemental term life, optional term life or accidental
  death and dismemberment coverages) provided by this policy, may not be assigned .
  With respect to accident and health insurance, both the employee's certificate and his right to insurance
  benefits under this policy are not assignable. However, the employee may direct us, in writing , to pay
  hospital , surgical, major medical, or dental benefits to the recognized provider who provided the covered
  service for which benefits became payable. We may honor such request at our option. But, the employee
  may not assign his right to take legal action under this policy to such provider. And we assume no
  responsibility as to the validity or effect of any such direction .




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                                      Assignment By Policyholder

Assignment or transfer of the interest of the policyholder will not bind us without our written consent thereto.
GP-1 -R-ASSIGN-90                                                                                        P140.0165


All Options

                                                  Dividends

The portion , if any, of the divisible surplus of the Guardian allocable to this policy at each policy anniversary
will be determined annually by the Board of Directors of the Guardian and will be credited to this policy as a
dividend on such anniversary, provided this policy is continued in force by the payment of all premiums to
such anniversary.
Any dividend under this policy will be paid to the policyholder in cash , or at the option of the policyholder it
may be applied to the reduction of the premiums then due.
In the event that the employees are contributing toward the cost of the coverage under any group policy
issued to the policyholder and the aggregate dividends under this policy and any other group policy or policies
issued to the policyholder are in excess of the policyholder's share of the aggregate cost, such excess will be
applied by the policyholder for the sole benefit of the employees.
Payment of any dividend to the policyholder will completely discharge our liability with respect to the dividend
so paid.
GP-1-R-DIV-90                                                                                            P140.0168


All Options

                                          Employee's Certificate

We will issue to the policyholder, for delivery to each employee insured under this policy, a certificate of
coverage. The certificate will state the essential features of the insurance to which the employee is entitled
and to whom the benefits are payable. But the certificate does not constitute a part of this policy and will in no
way modify any of the terms and conditions set forth in this policy.
In the event this policy is amended , and such amendment affects the material contained in the certificate of
coverage , a rider or revised certificate reflecting such amendment will be issued to the policyholder for
delivery to affected employees.

                                            Claims of Creditors

Except when prohibited by the laws of the jurisdiction in wh ich this policy was issued , the insurance and other
benefits under this policy will be exempt from execution, garnishment, attachment, or other legal or equitable
process, for the debts or liabilities of the covered persons or their beneficiaries.

                              Records - Information To Be Furnished.

The policyholder must keep a record of the insured employees containing, for each employee , the essential
particulars of the insurance which apply to the employee. The policyholder must periodically forward to us, on
our forms , such information concerning the employees in the classes eligible for insurance under this policy as
may reasonably be considered to have a bearing on the administration of the insurance under this policy and
on the determination of the premium rates. For benefits which are based on an employee's salary, changes in
an employee's salary must promptly be reported to us. The policyholder's payroll and other such records
which have a bearing on the insurance must be furnished to us at our request at any reasonable time.
GP-1-R-CERT-90                                                                                           P140.0167




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Options A and E

                                        Examination and Autopsy

We have the right to have a doctor of our choice examine the person for whom a claim is being made under
this policy as often as we feel necessary. And we have the right to have an autopsy performed in the case of
death , where allowed by law. We'll pay for all such examinations and autopsies.
GP-1-R-EA-90                                                                                              P140.0166


All Options

                               Accident And Health Claims Provisions

An employee's right to make a claim for any accident and health benefits provided by this plan is governed as
follows :

Notice: The employee must send us written notice of an injury or sickness for which a claim is being made
within 20 days of the date the injury occurs or the sickness starts. This notice should include his name and
plan number. If the claim is being made for one of the employee's covered dependents, the dependent's
name should also be noted.

Proof of Loss: We'll furnish the employee with forms for filing proof of loss within 15 days of receipt of
notice. But if we don't furnish the forms on time, we'll accept a written description and adequate
documentation of the injury or sickness that is the basis of the claim as proof of loss. The employee must
detail the nature and extent of the loss for which the claim is being made. He must send us written proof
within 90 days of the loss.
If this plan provides weekly loss-of-time insurance, the employee must send us written proof of loss within 90
days of the end of each period for which we're liable. If this plan provides long term disability income
insurance, he must send us written proof of loss within 90 days of the date we request. For any other loss, he
must send us written proof within 90 days of the loss.

Late Notice or Proof: We won't void or reduce a claim if the employee can't send us notice or proof of loss
within the required time. But he must send us notice and proof as soon as reasonably possible.

Payment of Benefits: We'll pay benefits for loss of income once every 30 days for as long as we're liable,
provided the employee submits periodic written proof of loss as stated above. We'll pay all other accident and
health benefits to which the employee's entitled as soon as we receive written proof of loss.
We pay all accident and health benefits to the employee , if he is living. If he's not living, we have the right to
pay all accident and health benefits, except dismemberment benefits, to one of the following: (a) his estate;
(b) his spouse; (c) his parents; (d) his children ; (e) his brothers and sisters; or (f) any unpaid provider of
health care services. See " Employee Accidental Death and Dismemberment Benefits" for how
dismemberment benefits are paid.
When the employee files proof of loss, he may direct us, in writing, to pay health care benefits to the
recognized provider of health care who provided the covered service for which benefits became payable. We
may honor such direction at our option . But we can't tell the employee that a particular provider must provide
such care. And the employee may not assign his right to take legal action under this plan to such provider.

Limitation of Actions: The employee can 't bring a legal action against this plan until 60 days from the date
he files proof of loss. And he can 't bring legal action against this plan after three years from the date he files
proof of loss.

Workers' Compensation: The accident and health benefits provided by this plan are not in place of and do
not affect requirements for coverage by Worker's Compensation .
GP-1-R-AH-90                                                                                              P140.0169




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All Options

                        AN IMPORTANT NOTICE ABOUT CONTINUATION RIGHTS

The following "Federal Continuation Rights" section may not apply to the employer's plan . The employee
must contact his employer to find out if:
  (a) the employer is subject to the "Federal Continuation Rights" section , and therefore;
  (b) the section applies to the employee.
GP-1 -R-NCC-87                                                                                           P240.0058


All Options

                                      Federal Continuation Rights

Important Notice: This notice contains important information about the right to continue group dental
coverage. In addition to the continuation rights described below, other health coverage alternatives may be
available th rough states' Health Insurance Marketplaces. Please read the information contained in this notice
carefully.
This section applies only to any dental, out-of-network point-of-service medical , major medical , prescription
drug or vision coverages wh ich are part of this plan. In this section , these coverages are referred to as "group
health benefits."
This section does not apply to any coverages which apply to loss of life, or to loss of income due to disability.
These coverages can not be continued under this section.
Under this section , "qualified continuee" means any person who, on the day before any event which would
qualify him or her for continuation under this section , is covered for group health benefits under this plan as:
(a) an active, covered employee; (b) the spouse of an active, covered employee; or (c) the dependent child of
an active, covered employee. A child born to, or adopted by, the covered employee during a continuation
period is also a qualified continuee. Any other person who becomes covered under this plan during a
continuation provided by th is section is not a qualified contin uee.

Conversion : Continuing the group health benefits does not stop a qualified continuee from converting some
of these benefits when continuation ends. But, conversion will be based on any applicable conversion privilege
provisions of this plan in force at the time the continuation ends.

If an Employee's Group Health Benefits End: If an employee's group health benefits end due to his or her
termination of employment or reduction of work hours, he or she may elect to continue such benefits for up to
18 months, if he or she was not terminated due to gross misconduct.
The continuation : (a) may cover the employee or any other qualified continuee; and (b) is subject to "When
Continuation Ends".

Extra Continuation for Disabled Qualified Continuees: If a qualified continuee is determined to be disabled
under Title II or Title XVI of the Social Security Act on or during the first 60 days after the date his or her
group health benefits would otherwise end due to the employee's termination of employment or reduction of
work hours, and such disability lasts at least until the end of the 18 month period of continuation coverage, he
or she or any member of that person's family who is a qualified continuee may elect to extend his or her 18
month continuation period explained above for up to an extra 11 months.
To elect the extra 11 months of continuation , a qualified continuee must give you written proof of Social
Security's determination of the disabled qualified continuee's disability as described in "The Qualified
Continuee's Responsibilities". If, during this extra 11 month continuation period , the qualified continuee is
determined to be no longer disabled under the Social Security Act, he or she must notify you with in 30 days
of such determination , and continuation will end , as explained in "When Continuation Ends."
This extra 11 month continuation is subject to "When Continuation Ends".


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An additional 50% of the total premium charge also may be requ ired from all qualified continuees who are
members of the disabled qualified continuee's family by you during this extra 11 month continuation period ,
provided the disabled qualified continuee has extended coverage .
GP-1-R-COBRA-96-1                                                                                        P235.0399


All Options

If an Employee Dies While Insured: If an employee dies while insured , any qualified continuee whose group
health benefits would otherwise end may elect to continue such benefits. The continuation can last for up to
36 months, subject to "When Continuation Ends".
GP-1-R-COBRA-96-2                                                                                        P235.0096


All Options

If an Employee's Marriage Ends: If an employee's marriage ends due to legal divorce or legal separation ,
any qualified continuee whose group health benefits would otherwise end may elect to continue such benefits .
The continuation can last for up to 36 months , subject to "When Continuation Ends".

If a Dependent Child Loses Eligibility: If a dependent child 's group health benefits end due to his or her
loss of dependent eligibility as defined in this plan , other than the employee's coverage ending, he or she may
elect to continue such benefits. However, such dependent ch ild must be a qualified continuee. The
continuation can last for up to 36 months, subject to "When Continuation Ends".

Concurrent Continuations: If a dependent elects to continue his or her group health benefits due to the
employee's termination of employment or reduction of work hours, the dependent may elect to extend his or
her 18 month or 29 month continuation period to up to 36 months, if during the 18 month or 29 month
continuation period , the dependent becomes eligible for 36 months of continuation due to any of the reasons
stated above.
The 36 month continuation period starts on the date the 18 month continuation period started , and the two
continuation periods will be deemed to have run concurrently.

Special Medicare Rule: If the employee becomes entitled to Medicare before a termination of employment or
reduction of work hours, a special rule applies for a dependent. The continuation period for a dependent, after
the employee's later termination of employment or reduction of work hours, will be the longer of: (a) 18
months (29 months if there is a disability extension) from the employee's termination of employment or
reduction of work hours; or (b) 36 months from the date of the employee's earlier entitlement to Medicare. If
Medicare entitlement occurs more than 18 months before termination of employment or reduction of work
hours, this special Medicare rule does not apply.

The Qualified Continuee's Responsibilities: A person eligible for continuation under this section must notify
you , in writing , of: (a) the legal divorce or legal separation of the employee from his or her spouse; (b) the
loss of dependent eligibility, as defined in this plan , of an insured dependent child ; (c) a second event that
would qualify a person for continuation coverage after a qualified continuee has become entitled to
continuation with a maximum of 18 or 29 months; (d) a determination by the Social Security Administration
that a qualified continuee entitled to receive continuation with a maximum of 18 months has become disabled
during the first 60 days of such continuation ; and (e) a determination by the Social Security Administration that
a qualified continuee is no longer disabled .
Notice of an event that would qualify a person for continuation under this section must be given to you by a
qualified continuee within 60 days of the latest of: (a) the date on which the event occurs; (b) the date on
which the qualified continuee loses (or would lose) coverage under this plan as a result of the event; or (c) the
date the qualified continuee is informed of the responsibility to provide notice to you and this plan 's
procedures for providing such notice.




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Notice of a disability determination must be given to you by a qualified continuee within 60 days of the latest
of (a) the date of the Social Security Adm inistration determination ; (b) the date of the event that would qualify
a person for continuation; (c) the date the qualified continuee loses or would lose coverage ; or (d) the date
the qualified continuee is informed of the responsibility to provide notice to you and this plan 's procedures for
providing such notice. But such notice must be given before the end of the first 18 months of continuation
coverage.
Such notice must be given to you within 60 days of either of these events.
GP-1-R-COBRA-96-3                                                                                          P235 0126


All Options

Your Responsibilities: A qualified continuee must be notified, in writing , of: (a) his or her right to continue
this plan's group health benefits; (b) the premium he or she must pay to continue such benefits; and (c) the
times and manner in which such payments must be made.
You must give notice of the following qualifying events to the plan administrator within 30 days of the event:
(a) the employee's death ; (b) the employee's termination of employment (other than for gross misconduct) or
reduction in hours of employment; (c) the employee's Medicare entitlement; or (d) in the case of a retired
employee, your bankruptcy proceeding under Title 11 of the United States Code.
Upon receipt of notice of a qualifying event from an employer or from a qualified continuee, the plan
administrator must notify a qualified continuee of the right to continue this plan 's group health benefits no later
than 14 days after receipt of notice.
If you are also the plan administrator, in the case of a qualifying event for which an employer must give notice
to a plan administrator, you must provide notice to a qualified continuee of the right to continue this plan 's
group health benefits within 44 days of the qualifying event.
If you determine that an individual is not eligible for continued group health benefits under this plan, you must
notify the individual with an explanation of why such coverage is not available. This notice must be provided
within the time frame described above.
If a qualified continuee's continued group health benefits under this plan are cancelled prior to the maximum
continuation period , you must notify the qualified continuee as soon as practical following determination that
the continued group health benefits shall terminate.

Your Liability: You will be liable for the qualified continuee's continued group health benefits to the same
extent as, and in place of, us, if: (a) you fail to remit a qualified continuee's timely premium payment to us on
time, thereby causing the qualified continuee's continued group health benefits to end ; or (b) you fail to notify
the qualified continuee of his or her continuation rights, as described above.

Election of Continuation: To continue his or her group health benefits, the qualified continuee must give you
written notice that he or she elects to continue. This must be done by the later of: (a) 60 days from the date a
qualified continuee receives notice of his or her continuation rights from you as described above; or (b) the
date coverage would otherwise end . And the qualified continuee must pay his or her first premium in a timely
manner.
The subsequent premiums must be paid to you, by the qualified continuee, in advance, at the times and in the
manner specified by you . No further notice of when premiums are due will be given .
The premium will be the total rate which would have been charged for the group health benefits had the
qualified continuee stayed insured under the group plan on a regular basis. It includes any amount that would
have been paid by you . Except as explained in "Extra Continuation for Disabled Qualified Continuees", an
additional charge of two percent of the total premium charge may also be required by you.
If the qualified continuee fails to give you notice of his or her intent to continue, or fails to pay any required
premiums in a timely manner, he or she waives his or her continuation rights.




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Grace in Payment of Premiums: A qualified continuee's premium payment is timely if, with respect to the
first payment after the qualified continuee elects to continue, such payment is made no later than 45 days
after such election. In all other cases , such premium payment is timely if it is made within 31 days of the
specified due date. If timely payment is made to the plan in an amount that is not significantly less than the
amount the plan requires to be paid for the period of coverage , then the amount paid is deemed to satisfy the
requirement for the premium that must be paid ; unless you notify the qualified continuee of the amount of the
deficiency and grant an additional 30 days for payment of the deficiency to be made. Payment is calculated to
be made on the date on which it is sent to you.

When Continuation Ends : A qualified continuee's continued group health benefits end on the first of the
following :
  (1) with respect to continuation upon the employee's termination of employment or reduction of work
      hours, the end of the 18 month period wh ich starts on the date the group health benefits would
      otherwise end ;
  (2) with respect to a qualified continuee who has an additional 11 months of continuation due to disability,
      the earlier of: (a) the end of the 29 month period wh ich starts on the date the group health benefits
      would otherwise end; or (b) the first day of the month which coincides with or next follows the date
      which is 30 days after the date on which a final determination is made that the disabled qualified
      continuee is no longer disabled under Title II or Title XVI of the Social Security Act ;
  (3) with respect to continuation upon the employee's death , the employee's legal divorce, or legal
      separation, or the end of an insured dependent's eligibility, the end of the 36 month period which starts
      on the date the group health benefits would otherwise end ;
  (4) the date you cease to provide any group health plan to any employee;
  (5) the end of the period for wh ich the last premium payment is made;
  (6) the date, after the date of election , he or she becomes covered under any other group health plan
      wh ich does not contain any pre-existing condition exclusion or limitation affecting him or her; or
  (7) the date, after the date of election , he or she becomes entitled to Medicare.
GP-1-R-COBRA-96-4                                                                                       P235.0142


All Options

                             Uniformed Services Continuation Rights
An employee who enters or returns from military service, may have special rights under this plan as a result of
the Uniformed .Services Employment and Reemployment Rights Act of 1994 ("USERRA").
If an employee's group health benefits under this plan would otherwise end because he or she enters into
active military service , this plan will allow the employee , or his or her dependents, to continue such coverage
in accord with the provisions of USERRA. As used here, "group health benefits" means any dental,
out-of-network point-of service medical , major medical, prescription drug or vision coverages which are part of
this plan .
Coverage under this plan may be continued while the employee is in the military for up to a maximum period
of 24 months beginning on the date of absence from work. Continued coverage will end if the employee fails
to return to work in a timely manner after military service ends as provided under USERRA You must provide
the employee with details about this continuation provision including required premium payments.
GP-1-R-COBRA-96-4                                                                                       P235.0139




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Options A and E
         A TOTALLY DISABLED EMPLOYEE'S RIGHT TO CONTINUE GROUP LIFE BENEFITS

Important Notice: This section applies to an employee's group term life benefits. These benefits are referred
to as "group life benefits."

This section does not apply to accidental death and dismemberment benefits.

If an Employee is Totally Disabled: If an employee's group life benefits end while the employee is totally
disabled, he may continue such benefits for a limited period of time subject to the payment of premiums. In
th is section, an employee is totally disabled if: (a) he is not able to perform any work for wage or profit due to
a sickness or an injury; and (b) he becomes so disabled while insured by this group plan .

This continuation will end on the later of: (a) six months, starting on the date the total disability began; (b) for
employees who meet our standard for total disability under the extended life benefits section of this plan, the
end of the waiting period which applies to the permanent disability provision under that section.

The monthly premium the employee must pay to continue his group life benefits will be the amount which he
would have been required to pay had he stayed insured by this group plan on a regular basis. He must make
this payment to his employer at the times and in the manner specified by his employer. If the employee fails
to pay this amount on time, he waives his right to continue his group life benefits.

If the employer fails, after timely receipt of any required employee payment, to pay us on behalf of such
employee, thereby causing the employee's group life benefits to end , then the employer will become liable for
the employee's group life benefits to the same extent as, and in place of, us.

When the Continued Group Life Benefits End: An employee's continued group life benefits end on the first
of the following:

  (a)   the end of the applicable continuation period ;

  (b)   the end of the period for which the last total monthly premium payment was made to us;

  (c)   the date the group plan ends or is amended to end benefits for the class of employees to which the
        employee belonged;

  (d)   the date the employee is no longer totally disabled; or

  (e)   the date the employee is approved by us in writing for coverage under any permanent disability
        provision of the extended life benefits section of this plan.

Conversion Rights and Extended Life Benefits: Any applicable conversion rights will still be in effect when
the continuation period ends. Continuing his group life benefits under this section does not stop an employee
from claiming his rights under the extended life benefits section of this plan.
GP-1-R-CC-83                                                                                              P240.9000




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Options A and E
                  ELIGIBILITY FOR LIFE AND DISMEMBERMENT COVERAGES
                                                                                                            P264 .0017


Class 0001

                                          EMPLOYEE COVERAGE
                                              Eligible Employees

Subject to the Conditions of Eligibility set forth below, and to all of the other conditions of the plan , all of your
employees who are in an eligible class will be eligible if they are active full-time employees.
For purposes of this plan , we will treat partners and proprietors like employees if they meet this plan's
conditions of eligibility.
                                           Conditions of Eligibility
An employee is eligible for coverage if he or she is:
  (a) legally working in the United States.
  (b) regularly working at least the number of hours in the normal work week set by the employer (but not
      less than 24 hours per week) , at:
       (i)     the employer's place of business;
       (ii)    some place where the employer's business requires the employee to travel; or
       (iii)   any other place the employee and the employer have agreed upon for performance of
               occupational duties.
Note: An employee working outside the United States on a temporary assignment who meets all other
conditions of eligibility will be covered by this plan ; except that: (1) if he or she is on an assignment exceeding
one year; or (2) if he or she is assigned in a country or region that is under a travel warning issued by the US
Department of State; coverage must be approved by us in writing .
Temporary or seasonal employees are not eligible.
GP-1-EC-90-1.0                                                                                              P264 .0522




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Class 0003

                                          EMPLOYEE COVERAGE
                                               Eligible Employees

Subject to the Conditions of Eligibility set forth below, and to all of the other conditions of the plan, all of your
employees who are in an eligible class will be eligible if they are active full-time employees.
For purposes of this plan, we will treat partners and proprietors like employees if they meet this plan 's
conditions of eligibility.

                                          Conditions of Eligibility
An employee is eligible for coverage if he or she is:
   (a) legally working in the United States.
   (b) regularly working at least the number of hours in the normal work week set by the employer (but not
       less than 24 hours per week), at:
       (i)     the employer's place of business;
       (ii)    some place where the employer's business requires the employee to travel; or
       (iii)   any other place the employee and the employer have agreed upon for performance of
               occupational duties.
Note: An employee working outside the United States on a temporary assignment who meets all other
conditions of eligibility .will be covered by this plan; except that: (1) if he or she is on an assignment exceeding
one year; or (2) if he or she is assigned in a country or reg ion that is under a travel warning issued by the US
Department of State; coverage must be approved by us in writing.
Temporary or seasonal employees are not eligible.
GP-1-EC-90-1.0                                                                                             P264.0522


Options A and E

Enrollment Requirement: If an employee must pay all or part of the cost of employee coverage , we won't
insure him or her until he or she enrolls and agrees to make the requ ired payments. If he or she does this: (a)
more than 31 days after he or she first becomes eligible; or (b) after he or she previously had coverage which
ended because he or she failed to make a required payment, we will ask for proof that he or she is insurable.
And the employee won 't be covered until we approve that proof in writing .
GP-1-EC-90-2.0                                                                                             P264.0992


Options A and E

Proof of lnsurability Requirements: Part or all of an employee's insurance amounts may be subject to proof
that he or she is insurable. The Schedule of Insurance explains if and when we require proof. An employee
won't be covered for any amount that requires such proof until he or she gives the proof to us and we
approve that proof in writing.
An employee whose active full-time service ends before he or she meets any proof of insurability
requirements that apply to him or her will still have to meet those requirements if he or she is later
re-employed by you or an associated company.
GP-1-EC-90-3.0                                                                                             P264.0066




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Options A and E

The Waiting Period: Employees in an eligible class are eligible for life and dismemberment insurance under
this plan after they complete the service waiting period established by the employer, if any.
GP-1-EC-90-4.0                                                                                        P264.0020


Options A and E

Multiple Employment: If an employee works for both you and a covered associated company, or for more
than one covered associated company, we will treat him as if only one firm employs him. And such an
employee will not have multiple coverage under this plan . But, if this plan uses the amount of an employee's
earnings to set the rates , determine class , figure benefit amounts, or for any other reason , such employee's
earnings will be figured as the sum of his earnings from all covered employers.
GP-1-EC-90-5 .0                                                                                       P180.0328




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Options A and E

                                  When Employee Coverage Starts
An employee must be fully capable of performing the major duties of his or her regular occupation for the
employer on a full-time basis at 12:01 A.M. Standard Time for his or her place of residence on the date his or
her coverage is scheduled to start. Also he or she must have met all of the conditions of eligibility which apply
to him or her. If an employee is not fully capable of performing the major duties of his or her regular
occupation on his or her scheduled effective date, we will postpone the start of his or her coverage. We will
postpone coverage until he or she is so capable and is working his or her regular numbers of hours for one
full day, with the expectation that he or she could do so for one full week.
Sometimes, a scheduled effective date is not a regularly scheduled work day. If the scheduled effective date
falls : on a holiday; on a vacation day; on a non-scheduled work day; or during an approved leave of absence,
not due to sickness or injury, of 90 days or less; and if the employee was performing the major duties of his
or her regular occupation and working his or her regular number of hours on his or her last regularly
scheduled work day, that employee's coverage will start on the scheduled effective date. However, any
coverage or part of coverage for which an employee must elect and pay all or part of the cost, will not start if
the employee is on an approved leave and such coverage or part of coverage was not previously in force for
the employee under a prior plan which this plan replaced .
Whether an employee must pay all or part of the cost of employee coverage, he or she must elect to enroll
and agree to make the required payments. If he or she does this on or before the eligibility date, or within 31
days of his or her eligibility date, coverage is scheduled to start on the eligibility date. However, if he or she
elects to enroll and agrees to make the required payments more than 31 days after his or her eligibility date,
his or her coverage won't start until he or she sends us proof that he or she is insurable. Once we've
approved it, his or her coverage is scheduled to start on the effective date shown in the endorsement section
of his or her application.
Any part of an employee's coverage which is subject to proof that he or she is insurable won't start unless he
or she sends this proof to us, and we approve it in writing . Once we have approved it, that part of his or her
coverage is scheduled to start on the effective date shown in the endorsement section of his or her
application.
GP-1-EC-90-6.0                                                                                           P264.0896


Options A and E

Delayed Effective Date For Employee Optional Life Coverage: With respect to this plan 's employee
optional group term life insurance, if an employee is not actively at work on a full-time basis on the date his or
her coverage is scheduled to start, due to sickness or injury, we'll postpone coverage for an otherwise
covered loss due to that condition. We'll postpone such coverage until he or she completes 10 consecutive
days of active full- time service without missing a work day due to the same condition.
Coverage for an otherwise covered loss due to all other conditions will start on the date the employee returns
to active full-time service.
GP-1-DEF-97                                                                                              P270.0365




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Options A and E for Classes 0001 and 0003

                                   When Employee Coverage Ends

When Employee Coverage Ends: Except as explained in the "When Active Service Ends" section of this
plan , an employee's insurance will end on the first of the following dates:
      the date an employee's active full-time service ends for any reason . Such reasons include disability,
      death , retirement , lay-off, leave of absence, and the end of employment.
      the date an employee stops being an eligible employee under this plan .
      the date an employee is no longer working in the United States, unless he or she is on a temporary
      assignment; (1) not exceeding one year in a country or region that is not under a travel warning issued
      by the US Department of state; or (2) for which we have agreed , in writing , to provided coverage.
      the date the group plan ends, or is discontinued for a class of employees to which the employee
      belongs.
      the last day of the period for which required payments are made for the employee.
Also, an employee may have the right to continue certain group benefits for a limited time after his or her
coverage would otherwise end. And an employee may have the right to replace certain group benefits with
converted policies. The plan's benefit provisions explain these situations. Read the plan 's provisions carefully.
GP-1-EC-90-8.0                                                                                           P264.0922


Options A and E for Classes 0001 and 0003

When Active Service Ends: You may continue an employee's life and dismemberment insurance under th is
plan after his active service with you ends only as follows :
      If an employee's active service ends because he is disabled you may continue his insurance subject to
      all of the terms of this plan .
      If an employee's active service ends because he goes on a leave of absence or is laid off, you may
      continue his insurance for the rest of the policy month in which the leave or layoff starts, plus 01 more
      full policy month(s) . However, if the employee joins any armed force before this period ends, you may
      continue his insurance until the date he becomes a member of such armed force .
      If you continue an employee's benefits under this plan as set forth above, it must be based on a plan
      which prevents individual selection by you .
      And , any such continuation is subject to the payment of premiums, and to all of the other terms and
      conditions of this plan.
      The amount of an employee's insurance during any such Continuation will be the amount in force on his
      last day of active service, Subject to any reductions that would have otherwise applied if he had
      remained an active employee.
GP-1-EC-90-7 .0                                                                                          P264.0021




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Options A and E
                                    An Employee's Right To Continue
                          Group Life and Accidental Death and Dismemberment
                              Insurance During A Family Leave Of Absence

Important Notice: This section may not apply to your plan. The employee must contact you to find out if you
must allow for a leave of absence under federal law. In that case the section applies.

Which Coverages Can Be Continued: Life and accidental death and dismemberment coverages may be
continued, under a uniform , non-discriminatory policy applicable to all employees. The employee must contact
you to find out if he or she may continue these coverages.

If An Employee's Group Insurance Would End: Group life and accidental death and dismemberment
insurance may normally end for an employee because he or she ceases work due to an approved leave of
absence. But, the employee may continue his or her group life and accidental death and dismemberment
insurance coverages if the leave of absence has been granted: (a) to allow the employee to care for a
seriously injured or ill spouse, child or parent; (b) after the birth or adoption of a child ; (c) due to the
employee's own serious health condition ; or (d) because of any serious injury or illness arising out of the fact
that a spouse, child, parent, or next of kin, who is a covered servicemember, of the employee is on active
duty (or has been notified of an impending call or order to active duty) in the Armed Forces in support of a
contingency operation. The employee will be required to pay the same share of the premium as he or she
paid before the leave of absence.

When Continuation Ends: Insurance may continue until the earliest of the following:
     The date the employee returns to active work.
     In the case of a leave granted to the employee to care for a covered servicemember: The end of a total
     leave period of 26 weeks in one 12 month period. This 26 week total leave period applies to all leaves
     granted to the employee under this section for all reasons . If the employee takes an additional leave of
     absence in a subsequent 12 month period , continued coverage will cease at the end of a total leave
     period of 12 weeks.
     In any other case: The end of a total leave period of 12 weeks in any 12 month period.
     The date on which the Employer's Plan is terminated or the employee is no longer eligible for coverage
     under this Plan .
     The end of the period for which the premium has been paid.

Definitions: As used in this section, the terms listed below have the meanings shown below:

     Active Duty: This term means duty under a call or order to active duty in the Armed Forces of the
     United States.

     Contingency Operation: This term means a military operation that: (a) is designated by the Secretary
     of Defense as an operation in which members of the armed forces are or may become involved in
     military actions, operations, or hostilities against an enemy of the United States or against an opposing
     military force; or (b) results in the call or order to, or retention on , active duty of members of the
     uniformed services under any provision of law during a war or during a national emergency declared by
     the President or Congress.

     Covered Servicemember: This term means a member of the Armed Forces, including a member of the
     National Guard or Reserves, who for a serious injury or illness: (a), is undergoing medical treatment,
     recuperation , or therapy; (b) is otherwise in outpatient status; or (c) is otherwise on the temporary
     disability retired list.

     Next Of Kin: This term means the nearest blood relative of the employee.


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     Outpatient Status: Th is term means, with respect to a covered servicemember, that he or she is
     assigned to: (a) a military medical treatment facility as an outpatient; or (b) a unit established for the
     purpose of providing command and control of members of the Armed Forces receiving medical care as
     outpatients.

     Serious Injury Or Illness: This term means, in the case of a covered servicemember, an injury or
     illness incurred by him or her in line of duty on active duty in the Armed Forces that may render him or
     her med ically unfit to perform the duties of his or her office, grade, rank, or rating.
GP-1-EC-90-7.0                                                                                          P264.1704


Options A and E

                                                Definitions
GP-1-EC-90-DEF-1                                                                                        P1800155


Options A and E

Eligible Dependent is defined in the provision entitled "Dependent Life Coverage".
GP-1-EC-90-DEF-2                                                                                        P264 .0018


Options A and E

Employee means a person who works for the employer at the employer's place of business, and whose
income is reported for tax purposes using a W-2 form .
GP-1-EC-90-DEF-3                                                                                        P180.0311


Classes 0001 and 0003

Full-time means the employee regularly works at least the number of hours in the normal work week set by
the employer (but not less than 24 hours per week) , at his employer's place of business.
GP-1-EC-90-DEF-4                                                                                        P180.0493


Options A and E

Plan means the Guardian group plan purchased by the employer.
GP-1-EC-90-DEF-6                                                                                        P180.0975


Options A and E

Proof or Proof of lnsurability means an application for insurance showing that a person is insurable.
GP-1-EC-90-DEF-7                                                                                        P180.0161


Options A and E

We, Us, Our and Guardian mean The Guardian Life Insurance Company of America .
GP-1-EC-90-DEF-9                                                                                        P180.0163


Options A and E

You and Your means the employer who purchased this plan .
GP-1-EC-90-DEF-10                                                                                       P180.0164




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Options A and E

            Dependent Life and Accidental Death and Dismemberment Coverage
GP-1 -DEP-90-1 .0                                                                                     P264.0509


Options A and E

Eligible Dependents For Optional Dependent Life Benefits: An employee's eligible dependents are: his or
her legal spouse who is under age 70; and his or her unmarried dependent children who are 14 or more days
old, until they reach age 26 and his or her unmarried dependent children , from age 26 until they reach age 26,
who are enrolled as full-time students at accredited schools.
GP-1-DEP-90-3 .0                                                                                      P264.0435


Options A and E

Adopted Children and Step-Children: An employee's "unmarried dependent children" include his or her
legally adopted children and , if they depend on the employee for most of their support and maintenance, his
or her step-children. We treat a child as legally adopted from the time the child is placed in the employee's
home for the purpose of adoption. We treat such a child this way whether or not a final adoption order is ever
issued .

Dependents Not Eligible: We exclude any dependent who is on active duty in any armed force.
GP-1-DEP-90-3.0                                                                                       P264.0443

Options A and E

Proof of lnsurability: We require proof that a dependent is insurable, if the employee: (a) enrolls a dependent
and agrees to make the required payments after the end of the enrollment period; (b) in the case of a newly
acquired dependent, other than the first newborn child, has other eligible dependents who he has not elected
to enroll ; or (c) in the case of a newly acquired dependent, has other eligible dependents whose coverage
previously ended because he failed to make the required contributions, or otherwise chose to end such
coverage.
A dependent is not insured by any part of th is plan that requires such proof until the employee gives us this
proof, and we approve it in writing.
If the employee's dependent coverage ends for any reason , including failure to make the required payments,
his dependents won 't be covered by this plan again until he gives us new proof that they're insurable and we
approve that proof in writing.
GP-1-DEP-90-5.0                                                                                       P200.0319




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Options A and E for Classes 0001 and 0003

When Dependent Coverage Starts: In order for an employee's dependent coverage to begin he must
already be insured for employee coverage or enroll for employee and dependent coverage at the same time.
Subject to the "Exception" stated below and to all of the terms of this plan , the date an employee's
dependent coverage starts depends on when he elects to enroll his initial dependents and agrees to make any
required payments.
If the employee does this on or before his elig ibility date, the dependent's coverage is scheduled to start on
the later of the employee's eligibility date and the date the employee becomes insured for employee coverage.
If the employee does this within the enrollment period , the coverage is scheduled to start on the date the
employee becomes insured for employee coverage.
If the employee does this after the enrollment period ends , the employee's dependent coverage is subject to
proof of insurability and won't start until we approve that proof in writing .
Once an employee has dependent coverage for his initial dependents, he must notify us when he acquires
any new dependents and agree to make any additional payments required for their coverage.
A newly acquired dependent will be covered for those dependent benefits not subject to proof of insurability
from the date the newly acquired dependent is first eligible, if the employee notifies us and agrees to make
any add itional payments within 31 days after the date the dependent becomes eligible. If the employee does
this more than 31 days after the date the dependent becomes eligible, a newly acquired dependent will be
covered from the date the employee notifies us and agrees to make any additional payments.
If proof of insurability is required for dependent benefits as explained above, those benefits are scheduled to
start, subject to the "Exception" stated below, on the effective date shown in the "Endorsement" section of
the employee's application , provided that the employee sends us the proof we require ; and we approve that
proof in writing.
A copy of the approved application is furnished to the employee.
GP-1-DEP-90-6 .0                                                                                          P264.0822


Options A and E

Exception: If a dependent, other than a newborn child , is confined to a hospital or other health care facility ; or
is home-confined; or is unable to carry-out the normal activities of someone of like age and sex on the date
his or her dependent benefits would otherwise start, we'll postpone the effective date of such benefits until the
day after his or her discharge from such facility; until home confinement ends ; or until he or she resumes the
normal activities of someone of like age and sex.
GP-1-DEP-90-7 .0                                                                                          P200.0707


Options A and E for Classes 0001 and 0003

When Dependent Coverage Ends: Dependent coverage ends for all of an employee's dependents when his
employee coverage ends. Dependent coverage also ends for all of an employee's dependents when the
employee stops being a member of a class of employees eligible for such coverage. And it ends when this
plan ends, or when dependent coverage is dropped from this plan for all employees or for an employee's
class.
If an employee is required to pay part of the cost of dependent coverage, and he fails to do so, his dependent
coverage ends. It ends on the last day of the period for which he made the required payments, unless
coverage ends earlier for other reasons .




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An individual dependent's coverage ends when he stops being an eligible dependent. This happens to a child
at 12:01 a.m. on the date the child attains this plan's age limit, when he marries, or when a step-child is no
longer dependent on the employee for support and maintenance. It happens to a spouse when a marriage
ends in legal divorce or annulment, and with respect to optional life coverage, it happens at 12:01 a.m. on the
date the spouse reaches age 70 .
Read this plan carefully if dependent coverage ends for any reason. Dependents may have the right to
continue certain group benefits for a limited time. And they may have the right to replace certain group
benefits with converted policies.
GP-1-DEP-90-9.0                                                                                       P200.0812


Options A and E
                                                Definitions
GP-1-DEP-90-DEF-1                                                                                     P200.0210


Options A and E

Eligibility Date for dependent coverage is the earliest date on which: (a) the employee has dependents; and
(b) is eligible for dependent coverage.
GP-1-DEP-90-DEF-2                                                                                     P200.0211


Options A and E

Eligible Dependent is defined in the provision entitled "Dependent Coverage."
GP-1-DEP-90-DEF-3                                                                                     P200.0212


Options A and E

Enrollment Period means the 31 day period which starts on the date that the employee is eligible for
dependent coverage.
GP-1-DEP-90-DEF-4                                                                                     P200.0213


Options A and E

Initial Dependents means those eligible dependents the employee has at the time he or she first becomes
eligible for employee coverage. If at this time he or she does not have any eligible dependents, but later
acquires them, the first eligible dependents he or she acquires are his or her initial dependents.
GP-1-DEP-90-DEF-8                                                                                     P200.0217


Options A and E

Newly Acquired Dependent means an eligible dependent the employee acquires after he or she already has
coverage in force for initial dependents.
GP-1-DEP-90-DEF-9                                                                                     P200.0218


Options A and E

Plan means the Guardian group plan purchased by the employer.
GP-1-DEP-90-DEF-11                                                                                    P264.0065




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Options A and E

Proof or Proof of lnsurabil ity means an application for insurance showing that a person is insurable.
GP-1-DEP-90-DEF-12                                                                                       P200.0221


Options A and E

We, Us, Our and Guardian means The Guardian Life Insu rance Company of America .
GP-1-DEP-90-DEF-14                                                                                       P200.0223

Options A and E

You and Your means the employer who purchased this plan.
GP-1-DEP-90-DEF-15                                                                                       P200.0224




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Options A and E
                               Employee Group Term Life Insurance

Basic Life Benefit: If an employee dies while insured for this benefit, we'll pay his beneficiary the amount
shown in the schedule.

Proof of Death: We'll pay this insurance as soon as we receive written proof of death . This should be sent to
us as soon as possible.

The Beneficiary: The employee decides who gets th is insurance if he dies. He should have named his
beneficiary on his en rollment form. The employee can change his beneficiary at any time by giving the
employer written notice, unless he's assigned this insurance. But, the change won't take effect until the
employer gives the employee written confirmation of the change.
If the employee named more than one person , but didn 't tell us what their shares should be, they'll share
equally. If someone he named dies before he does, that person 's share will be divided equally by the
beneficiaries still alive, unless the employee has told us otherwise.
If there is no beneficiary when an employee dies, we'll pay this insurance to one of the following : (a) his
estate; (b) his spouse; (c) his parents; (d) his children ; or (e) his brothers and sisters.

Assigning This Life Insurance: If an employee assigns this insurance, he permanently transfers all his rights
under this insurance to the assignee. Only one of the following can be an assignee: (a) his spouse; (b) one of
his parents or grandparents; (c) one of his children or grandchildren; (d) one of his brothers or sisters; or (e)
the trustee(s) of a trust set up for the benefit of one or more of these relatives .
We suggest the employee speak to his lawyer before he makes any assignment. If he decides he wants to
assign this insurance, he should ask the employer for details or write to us.

Payment to a Minor or Incompetent: If the employee's beneficiary is a minor or incompetent, we have the
option of paying this insurance in monthly installments . We would pay them to the person who cares for and
supports his beneficiary.

Payment of Funeral or Last Illness Expenses: We have the option of paying up to $2 ,000.00 of this
insurance to any person who incurred expenses for the employee's funeral or last illness.

Settlement Option: If the employee or his beneficiary asks us, we'll pay all or part of this insurance in
installments. Any request must be made to us in writing. The amounts of the installments and how they would
be paid depend on what we offer at the time the request is made.
GP-1-R-LB-90                                                                                            P270.0164


Options A and E

                                           Portability Privilege

Applicability: This provision applies only to this plan's employee Basic group term life insurance. It does not
apply to supplemental life insurance, if any is included in this plan . And it does not apply to Accidental Death
and Dismemberment Insurance.

Important Restriction: The employee must provide proof of insurability satisfactory to us.

Portability of Basic Group Term Life Insurance: An employee may elect to continue all or part of his or her
employee Basic group term life insurance, by choosing a portable certificate of coverage, subject to the
following terms.
The employee may port his or her coverage if coverage under this plan ends because he or she: (a) has
terminated employment; or (b) stops being a member of an eligible class of employees.


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The employee may not port his or her coverage , if he or she: (a) has reached his or her 70th birthday on the
day coverage under this plan ends; or (b) is eligible for this plan 's Basic Group Term Life Insurance Extended
Life Benefit.
The employee may not port his or her coverage if coverage under this plan ends due to: (a) failure to pay any
required premium ; or (b) the end of this group plan .
The employee may port: (a) the full amount(s) of his or her Basic term life insurance as of the day his or her
coverage under this plan ends, or (b) 50% of such amount, if such amount under this plan is at least
$50,000.00.

The Portable Certificate of Coverage: The employee can port to a portable certificate of coverage. The
certificate provides group term insurance. It does not provide any: (a) accidental death and dismemberment
benefits; (b) income replacement benefits; or (c) extended life benefits or waiver of premium privileges. The
benefits provided by the portable certificate of coverage may not be the same as the benefits of this group
plan .
The premium for the portable certificate of coverage will be based on: (a) the employee's rate class under this
plan ; and (b) the employee's age bracket as shown in the Basic Life Portability Coverage Premium Notice.

How to Port: To get a portable certificate of coverage, the employee must: (a) apply to us in writing : and (b)
pay the required premium. He or she has 31 days from the date his or her coverage under this plan ends to
do this. We require proof of insurability satisfactory to us.

Defined Term: As used in this provision, the term "port" means to choose a portable certificate of coverage
which provides group term life insurance.
GP-1-R-LP-00                                                                                           P270.0372


Options A and E
                          Information About Conversion and Portability
No covered person is allowed to convert his or her coverage , and elect a portable certificate of coverage at
the same time. If a situation arises in which a covered person would be eligible to both convert and port, he or
she may only exercise one of these privileges . A covered person may never be insured under both a
converted policy and a portable certificate of coverage at the same time. The covered person should read his
or her plan , as well as any related materials carefully before making an election .
GP-1-R-LPN-95                                                                                          P270.0300




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Options A and E
                          Employee Optional Group Term Life Insurance

Life Benefit: Subject to the limitations and exclu sions below, if the employee dies while insured for th is
benefit, we'll pay his or her beneficiary the amount shown in the schedule for the plan of benefits the
employee has elected . The life benefit may be subject to reductions based on the employee's age. These
reductions are also shown in the schedule. The employee's benefit amount, a portion thereof, or increases in
such amount may not become effective until he or she submits proof of insurability to us, and we approve it in
writing. These requ irements are also shown in the schedule.

Proof of Death: Subject to all of the terms of th is pla n, we'l l pay th is insurance as soon as we receive written
proof of death which is acceptable to us. This shou ld be sent to us as soon as possible.

Suicide Exclusion: We pay no benefits if the employee's death is due to suicide, if such death occurs within
two years from the employee's optional group term life insurance effective date under this plan . Also, we pay
no increased benefit amount if the employee's death is due to suicide, if such death occurs within two years
from the effective date of the increase.

Seatbelt and Airbag Benefits: If the employee dies as a direct result of an automobile accident while
properly wearing a seatbelt, we will increase his or her benefit amount by $10,000.00. And if the employee
dies as a direct result of an automobile accident while both properly wearing a seatbelt, and sitting in a seat
equipped with an airbag , we'll increase his or her benefit amount by an additional $5,000.00 , for a total
increase of $15,000.00.

The Beneficiary: The employee decides who gets this insurance if he or she dies. He or she should have
named a beneficiary on his or her enrollment form . The employee can change his or her beneficiary at any
time by giving you written notice, unless he or she has assigned this insurance. But the change won 't take
effect until you give the employee written confirmation of the change.
If the employee named more than one person , but didn 't tell us what their shares should be, they'll share
equally. If someone named dies before the employee does, his or her share will be divided equally by the
beneficiaries still alive, unless the employee tells us otherwise .
If there is no beneficiary when the employee dies, we'll pay the insurance to one of the following : (a) his or
her estate; (b) his or her spouse; (c) his or her parents; (d) his or her ch ildren ; or (e) his or her brothers and
sisters.

Assigning This Life Insurance: If the employee assigns th is insurance, he or she permanently transfers all
of his or her rights under this insurance to the assignee. Only one of the following can be an assignee: (a) the
employee's spouse; (b) one of the employee's parents or grandparents; (c) one of the employee's children or
grandchildren; (d) one of the employee's brothers or sisters; or (e) the trustee(s) of a trust set up for the
benefit of one or more of these relatives.
We will recognize an assignee as the owner of the rights assigned only if: (a) the assignment is in writing and
signed by the employee; and (b) a signed or certified copy of the written assignment has been received and
approved by us.
We wil l not be responsible for legal , tax or other effects of any assignment, or for any benefits we pay under
this plan before we receive and approve any assignment.
We suggest the employee speaks to a lawyer before he or she makes any assignment. If the employee
decides he or she wants to assign this insurance, write to us for details.

Payment to a Minor or Incompetent: If the employee's beneficiary is a minor or incompetent, we have the
option of paying this insurance in monthly installments. We would pay them to the person who cares for and
supports the beneficiary.




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Payment of Funeral or Last Illness Expense: We have the option of paying up to $2 ,000.00 of this
insurance to any person who incurs expenses for the employee's funera l or last illness.

Settlement Option: If the employee or his or her beneficiary asks us, we'll pay all or part of this insurance in
installments. Any request must be made to us in writing . The amounts of the installments and how they would
be paid depend on what we offer at the time the request is made.
GP-1-R-EOPT-96                                                                                           P273.0388


Options A and E

                                            Portability Privilege

Applicability: This prov1s1on applies only to this plan 's employee and dependent Optional group term life
insurance. It does not apply to supplemental life insurance, if any is included in this plan . And it does not
apply to Accidental Death and Dismemberment Insurance.

Important Restriction: No employee may elect a portable certificate of coverage unless he or she has been
covered by this group plan , or the one it replaced , for employee Optional group term life insurance for at least
three consecutive months prior to the date his or her coverage under this plan ends.

Portability of Optional Group Term Life Insurance: An employee may elect to continue all or part of his or
her employee Optional group term life insurance and dependent Optional group term life insurance, by
choosing a portable certificate of coverage , subject to the following terms.
The employee may port his or her coverage if coverage under this plan ends because he or she: (a) has
terminated employment; or (b) stops being a member of an eligible class of employees.
The employee may not port his or her coverage or coverage for any of his or her dependents, if he or she: (a)
has reached his or her 70th birthday on the day coverage under this plan ends; or (b) is eligible for this plan 's
Optional Group Term Life Insurance Extended Life Benefit.
The employee may not port his or her coverage or coverage for any of his or her dependents if coverage
under this plan ends due to: (a) failure to pay any required premium ; or (b) the end of this group plan.
The employee may port: (a) the full amount(s) of his or her Optional term life insurance as of the day his or
her coverage under this plan ends, or (b) 50% of such amount, if such amount under this plan is at least
$50,000.00.
The employee may port: (a) the full amount(s) of his or her dependent Optional term life insurance as of the
day his or her coverage under this plan ends; or (b) 50% of such amount(s) if: (i) his or her dependent
spouse amount under this plan is at least $20,000.00; and (ii) his or her dependent child amount under this
plan is at least $4,000.00. However, if the employee ports the full amount of his or her insurance, any
dependent amount(s) ported must be a full amount. And , if the employee elects to port 50% of his or her
insurance, any dependent amount(s) ported must be 50% of such amount(s) .
The employee may port: (a) his or her insurance only; (b) his or her insurance and insurance of his or her
covered spouse; (c) his or her insurance and the insurance of all of his or her covered dependents; or (d) if
the employee is a single parent, his or her insurance and the insurance of all of his or her covered dependent
children. No other combinations will be allowed.
To be eligible to port, a dependent must be insured as of the day the employee's coverage under this plan
ends.

If An Employee Dies While Insured: If an employee dies while insured for dependent Optional term life
insurance, the employee's spouse may port the insurance of the employee's dependents as described above.
But, the spouse and dependents must be insured on the date of death . No dependents will be allowed to port
if: (a) there is no surviving spouse; or (b) the surviving spouse has reached his or her 70th birthday on the
day the employee dies.




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The Portable Certificate of Coverage: The employee or surviving spouse can port to a portable certificate
of coverage. The certificate provides group term insurance. It does not provide any: (a) accidental death and
dismemberment benefits; (b) income replacement benefits; or (c) extended life benefits or waiver of premium
privileges. The benefits provided by the portable certificate of coverage may not be the same as the benefits
of this group plan.
The premium for the portable certificate of coverage will be based on : (a) the employee's and/or dependent's
rate class under this plan ; and (b) the employee's or surviving spouse's age bracket as shown in the Optional
Life Portability Coverage Premium Notice.

How to Port: To get a portable certificate of coverage , the employee or surviving spouse must: (a) apply to
us in writing: and (b) pay the required premium. He or she has 31 days from the date his or her coverage
under this plan ends to do this. We won't ask for proof that he or she is insurable.

Defined Term: As used in this provision , the term "port" means to choose a portable certificate of coverage
which provides group term life insurance.
GP-1-R-LP-00                                                                                           P273.0735


Options A and E
                          Information About Conversion and Portability
No covered person is allowed to convert his or her coverage , and elect a portable certificate of coverage at
the same time. If a situation arises in which a covered person would be eligible to both convert and port, he or
she may only exercise one of these privileges. A covered person may never be insured under both a
converted policy and a portable certificate of coverage at the same time. The covered person should read his
or her plan, as well as any related materials carefully before making an election.
GP-1-R-LPN-95                                                                                          P270.0300


Options A and E

THE FOLLOWING PROVISION APPLIES TO EMPLOYEE BASIC TERM LIFE INSURANCE:

Options A and E

                           Converting This Group Term Life Insurance

If Employment or Eligibility Ends: The employee's group life insurance ends if: (a) his or her employment
ends; or (b) he or she stops being a member of an eligible class of employees. If either happens, the
employee can convert his or her group life insurance to an individual life insurance policy. Conversion choices
are based on the employee's disability status.
If the employee is not disabled, as defined in the section labeled "Extended Life Benefit With Waiver of
Premium", he or she can convert to a permanent life insurance policy. The employee can convert the amount
for which he or she was covered under this plan , less any group life benefits he or she becomes eligible for in
the 31 days after this insurance ends.
If the employee: (a) is disabled, as defined in the section labeled "Extended Life Benefit With Waiver of
Premium"; and (b) has not yet been approved for the Extended Life Benefit, he or she can convert to: (a) a
permanent life insurance policy; or (b) an interim term insurance policy, as explained in the section labeled
"Interim Term Insurance". The employee can convert the full amount for which he or she was covered under
this plan.
If the disabled employee is later approved for the Extended Life Benefit, then the converted policy, if any, is
cancelled as of our approval date.




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If The Group Plan Ends or Group Life Insurance Is Dropped: The employee's group life insurance also
ends if: (a) th is group plan ends; or (b) life insurance is dropped from the group plan for all employees or for
his or her class. If either happens, the employee may be eligible to convert as explained below. Conversion
choices are based on the employee's disability status.
If the employee: (a) is not disabled , as defined in the section labeled "Extended Life Benefit With Waiver of
Premium", when this coverage ends; and (b) the employee has been insured by a Guardian group life plan for
at least five years, he or she can convert to a permanent life insurance policy. But, the amount the employee
can convert is limited to the lesser of: (a) $10,000.00; or (b) the amount of his or her insurance under this
plan , less any group life benefits he or she becomes eligible for in the 31 days after this insurance ends.
If the employee: (a) is disabled , as defined in the section labeled "Extended Life Benefit With Waiver of
Premium"; and (b) has not yet been approved for the Extended Life Benefit, he or she can convert to: (a) a
permanent life insurance policy; or (b) an interim term insurance policy. The employee can convert the full
amount for which he or she was covered under this plan .
If the disabled employee is later approved for the Extended Life Benefit, then the converted policy, if any, is
cancelled as of our approval date.

The Converted Policy: The premium for the converted policy will be based on the employee's age on the
converted policy's effective date. The converted policy will start at the end of the period allowed for
conversion . The converted policy does not include disability or dismemberment benefits.

Interim Term Insurance: If the employee: (a) is disabled , as defined in the section labeled "Extended Life
Benefit With Waiver of Premium" and (b) has not yet been approved for the Extended Life Benefit, the
employee has the option to convert his or her coverage to an individual term life insurance policy. The
individual term policy requires lower premiums than an individual permanent insurance policy.
This Interim term policy is available for only one year from the date the employee becomes disabled . During
this year, if the employee is approved for the Extended Life Benefit, the interim term insurance is cancelled ,
as of our approval date. If, after one year, we have not approved the employee for the Extended Life Benefit,
he or she must convert to an individual permanent life insurance policy, or coverage will end . Premiums for
the individual permanent life insurance policy will be based on the employee's age as of the date he or she
converts from the interim term insurance policy.

How and When to Convert: To get a converted policy, the employee must apply to us in writing and pay the
required premium . He or she has 31 days after his or her group life insurance ends to do this. We won't ask
for proof that he or she is insurable.

Death During the Conversion Period: If an employee dies in the 31 days allowed for conversion , we'll pay
his or her beneficiary the amount he or she could have converted . We'll pay whether or not he or she applied
for conversion.
GP-1-R-LCONV-99                                                                                         P275.0061


Options ·A and E

THE FOLLOWING PROVISION APPLIES TO EMPLOYEE OPTIONAL GROUP TERM LIFE INSURANCE:




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Options A and E

                           Converting This Group Term Life Insurance

If Employment or El igibility Ends: The employee's group life insurance ends if: (a) his or her employment
ends; or (b) he or she stops being a member of an eligible class of employees. If either happens, the
employee can convert his or her group life insurance to an individual life insurance policy. Conversion choices
are based on the employee's disability status .
If the employee is not disabled, as defined in the section labeled "Extended Life Benefit With Waiver of
Premium", he or she can convert to a permanent life insurance policy. The employee can convert the amount
for which he or she was covered under this plan, less any group life benefits he or she becomes eligible for in
the 31 days after this insurance ends.
If the employee: (a) is disabled , as defined in the section labeled "Extended Life Benefit With Waiver of
Premium"; and (b) has not yet been approved for the Extended Life Benefit, he or she can convert to: (a) a
permanent life insurance policy; or (b) an interim term insurance policy, as explained in the section labeled
"Interim Term Insurance". The employee can convert the full amount for which he or she was covered under
this plan .
If the disabled employee is later approved for the Extended Life Benefit, then the converted policy, if any, is
cancelled as of our approval date.

If The Group Plan Ends or Group Life Insurance Is Dropped: The employee's group life insurance also
ends if: (a) this group plan ends; or (b) life insurance is dropped from the group plan for all employees or for
his or her class. If either happens, the employee may be eligible to convert as explained below. Conversion
choices are based on the employee's disability status.
If the employee: (a) is not disabled , as defined in the section labeled "Extended Life Benefit With Waiver of
Premium", when this coverage ends; and (b) the employee has been insured by a Guardian group life plan for
at least five years , he or she can convert to a permanent life insurance policy. But, the amount the employee
can convert is limited to the lesser of: (a) $10,000 .00; or (b) the amount of his or her insurance under this
plan, less any group life benefits he or she becomes eligible for in the 31 days after this insurance ends.
If the employee: (a) is disabled , as defined in the section labeled "Extended Life Benefit With Waiver of
Premium"; and (b) has not yet been approved for the Extended Life Benefit, he or she can convert to: (a) a
permanent life insurance policy; or (b) an interim term insurance policy. The employee can convert the full
amount for which he or she was covered under this plan .
If the disabled employee is later approved for the Extended Life Benefit, then the converted policy, if any, is
cancelled as of our approval date.

The Converted Policy: The premium for the converted policy will be based on the employee's age on the
converted policy's effective date. The converted policy will start at the end of the period allowed for
conversion . The converted policy does not include disability or dismemberment benefits.

Interim Term Insurance: If the employee: (a) is disabled , as defined in the section labeled "Extended Life
Benefit With Waiver of Premium" and (b) has not yet been approved for the Extended Life Benefit, the
employee has the option to convert his or her coverage to an individual term life insurance policy. The
individual term policy requires lower premiums than an individual permanent insurance policy.
This Interim term policy is available for only one year from the date the employee becomes disabled. During
this year, if the employee is approved for the Extended Life Benefit, the interim term insurance is cancelled ,
as of our approval date. If, after one year, we have not approved the employee for the Extended Life Benefit,
he or she must convert to an individual permanent life insurance policy, or coverage will end. Premiums for
the individual permanent life insurance policy will be based on the employee's age as of the date he or she
converts from the interim term insurance policy.

How and When to Convert: To get a converted policy, the employee must apply to us in writing and pay the
required premium. He or she has 31 days after his or her group life insurance ends to do this. We won't ask
for proof that he or she is insurable.


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Death During the Conversion Period: If an employee dies in the 31 days allowed for conversion, we'll pay
his or her beneficiary the amount he or she could have converted . We'll pay whether or not he or she applied
for conversion.
GP-1-R-LCONV-99                                                                                          P275.0061


Options A and E
                                 Employee Accelerated Life Benefit

IMPORTANT NOTICE: USE OF THE BENEFIT PROVIDED BY THIS SECTION MAY HAVE TAX
IMPLICATIONS AND MAY AFFECT GOVERNMENT BENEFITS OR CREDITORS. THE EMPLOYEE
SHOULD CONSULT WITH HIS OR HER TAX OR FINANCIAL ADVISOR BEFORE APPLYING FOR THIS
BENEFIT.

PLEASE NOTE: THE AMOUNT OF GROUP TERM LIFE INSURANCE IS PERMANENTLY REDUCED BY
THE GROSS AMOUNT OF THE ACCELERATED LIFE BENEFIT PAID TO THE EMPLOYEE.

Accelerated Life Benefit: If an employee has a medical condition that is expected to result in his or her
death within 6 months, such employee may apply for an Accelerated Life Benefit. An Accelerated Life Benefit
is a payment of part of an employee's group term life insurance made to him or her before he or she dies.
We subtract the gross amount paid to an employee as an Accelerated Life Benefit from the amount of his or
her group term life insurance under th is plan. The remaining amount of his or her group term life insurance is
permanently reduced by the gross amount paid to the employee.
By "group term life insurance" we mean any Employee Basic Group Term Life Insurance for which an
employee is insured under this plan. "Group term life insurance" does not mean Accidental Death and
Dismemberment Benefits, any insurance provided under this plan for covered persons other than the
employee or any scheduled increase in the amount of any Employee Group Term Life Insurance that is due
within the 6 month period after the date the employee applies for the Accelerated Life Benefit.
By "gross amount" we mean the amount of an Accelerated Life Benefit elected by an employee, before the
discount and the processing fee are subtracted .
For the purposes of this provision , "terminal condition" means a medical condition that is expected to result in
the employee's death within 6 months.
The employee may use the Accelerated Life Benefit in any way he or she chooses. But he or she may
receive only one Accelerated Life Benefit during his or her lifetime. If he or she lives longer than 6 months, or
if he or she recovers from the condition , the benefit does not have to be repa id. But the amount of this benefit
is not restored to the employee's remaining group term life insurance. And the employee may not receive
another Accelerated Life Benefit if he or she has a relapse or develops another terminal condition .

Maximum Benefit Amount: The amount of the Accelerated Life Benefit for which the employee may apply is
based on the amount of such employee's group term life insurance for which he or she is insured on the day
before he or she applies for the benefit. The minimum benefit amount is the lesser of: (a) $10,000.00; or (b)
50% of the inforce amount. The maximum benefit amount is the lesser of: (a) $250,000.00; or (b) 50% of the
inforce amount.

Discount: The amount for which the employee applies is discounted to the present value in 6 months from
the date the benefit is paid, based on the maximum adjustable policy loan interest rate permitted in the state
in which the employer is located.
A detailed statement of the method of computing the amount of the Accelerated Life Benefit is filed with each
state insurance department. This statement is available from The Guardian upon request.

Processing Fee: A fee of up to $150.00 may also be required for the administrative cost of evaluating and
processing an employee's Accelerated Life Benefit. This fee is deducted from the amount of the Accelerated
Life Benefit paid to the employee.



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Payment of An Accelerated Life Benefit: If we approve an employee's application for an Accelerated Life
Benefit, we pay the amount he or she has elected , less the discount and the processing fee .We pay the
benefit to the employee in one lump sum. And what we pay is subject to all of the other terms of this plan.

How And When To Apply: To receive the Accelerated Life Benefit, the employee must send us written proof
from a licensed doctor who is operating within the scope of his or her license that the employee's medical
condition is expected to result in such employee's death within 6 months of the date of the written edical
proof. We must approve such proof in writing before the Accelerated Life Benefit will be paid .
We can have the employee examined by a doctor of our choice to verify the terminal condition . We'll pay the
cost of such examination. We will not pay the Accelerated Life Benefit if our doctor does not verify the
terminal condition .
If we approve an employee to receive an Accelerated Life Benefit, we give the employee a statement which
shows: (a) the amount of the maximum Accelerated Life Benefit for which the employee is eligible; and (b) the
amount by which the employee's group term life insurance will be reduced if he or she elects to receive the
maximum Accelerated Life Benefit; and (c) the amount of the processing fee .
Even if an employee is receiving an Extended Life Benefit under this plan , he or she can still apply for an
Accelerated Life Benefit. However, once an employee converts his or her group term life insurance, the terms
of the converted life policy will apply. Any amount to which the employee could otherwise convert is
permanently reduced by the gross amount of the Accelerated Life Benefit paid to the employee.
Please read "The Employee's Remaining Group Term Life Insurance" provision for restrictions that may apply.

If An Employee Has Assigned His or Her Group Term Life Insurance: If an employee has already
assigned his or her group term life insurance, according to the terms of this plan, he or she can't apply for an
Accelerated Life Benefit.

If The Employee Is Incompetent: If the employee is determined to be legally incompetent, the person the
court appoints to handle the employee's legal affairs may apply for the Accelerated Life Benefit for the
employee.

The Employee's Remaining Group Term Life Insurance: The remaining amount of group term life
insurance for which an employee is covered after receiving an Accelerated Life Benefit payment is subject to
any increases or cutbacks that would otherwise apply to the employee's insurance. Applicable cutbacks are
applied to the amount of group term life insurance for which the employee is insured on the day before he or
she applies for the Accelerated Life Benefit.
The premium cost of the employee's remaining coverage is based on the amount of his or her group term life
insurance for which he or she is insured on the day before he or she applies for the Accelerated Life Benefit.
The employee may be required to provide proof of insurability for increased amounts. If he or she is, we must
approve that proof in writing before the employee is covered for the new amount.
The total amount of group term life insurance the beneficiary would otherwise receive upon the employee's
death is reduced by the gross amount of the Accelerated Life Benefit paid to the employee.
If the employee dies after electing the Accelerated Life Benefit, but before we send the benefit to him or her,
the beneficiary will receive the amount of the employee's group term life insurance for which such employee
is insured on the day before he or she applies for the Accelerated Life Benefit.

Restrictions: We will not pay an Accelerated Life Benefit to an employee who:
     is required by law to use the payment to meet the claims of creditors, whether or not the employee is in
     bankruptcy; or
     is required by court order to pay all or part of the benefit to another person; or
     is required by a government agency to use the payment to apply for, to receive or to maintain a
     governmental benefit or entitlement; or




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     loses his or her coverage under the group plan for any reason after he or she elects the Accelerated Life
     Benefit but before we pay such benefit to him or her.
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Options A and E

                                 Employee Accelerated Life Benefit

IMPORTANT NOTICE: USE OF THE BENEFIT PROVIDED BY THIS SECTION MAY HAVE TAX
IMPLICATIONS AND MAY AFFECT GOVERNMENT BENEFITS OR CREDITORS. THE EMPLOYEE
SHOULD CONSULT WITH HIS OR HER TAX OR FINANCIAL ADVISOR BEFORE APPLYING FOR THIS
BENEFIT.

PLEASE NOTE: THE AMOUNT OF GROUP TERM LIFE INSURANCE IS PERMANENTLY REDUCED BY
THE GROSS AMOUNT OF THE ACCELERATED LIFE BENEFIT PAID TO THE EMPLOYEE.

Accelerated Life Benefit: If an employee has a medical condition that is expected to result in his or her
death within 6 months, such employee may apply for an Accelerated Life Benefit. An Accelerated Life Benefit
is a payment of part of an employee's group term life insurance made to him or her before he or she dies.
We subtract the gross amount paid to an employee as an Accelerated Life Benefit from the amount of his or
her group te rm life insurance under this plan . The remaining amount of his or her group term life insurance is
permanently reduced by the gross amount paid to the employee.
By "group term life insurance" we mean any Employee Optional Group Term Life Insurance for which an
employee is insured under this plan. "Group term life insurance" does not mean Accidental Death and
Dismemberment Benefits, any insurance provided under this plan for covered persons other than the
employee or any scheduled increase in the amount of any Employee Group Term Life Insurance that is due
with in the 6 month period after the date the employee applies for the Accelerated Life Benefit.
By "gross amount" we mean the amount of an Accelerated Life Benefit elected by an employee, before the
discount and the processing fee are subtracted.
For the purposes of this provision , "terminal condition" means a medical condition that is expected to result in
the employee's death within 6 months.
The employee may use the Accelerated Life Benefit in any way he or she chooses. But he or she may
receive only one Accelerated Life Benefit during his or her lifetime. If he or she lives longer than 6 months, or
if he or she recovers from the condition , the benefit does not have to be repaid . But the amount of this benefit
is not restored to the employee's remain ing group term life insurance. And the employee may not receive
another Accelerated Life Benefit if he or she has a relapse or develops another terminal condition.

Maximum Benefit Amount: The amount of the Accelerated Life Benefit for which the employee may apply is
based on the amount of such employee's group term life insurance for which he or she is insured on the day
before he or she applies for the benefit. The minimum benefit amount is the lesser of: (a) $10,000.00; or (b)
50% of the inforce amount. The maximum benefit amount is the lesser of: (a) $250 ,000.00; or (b) 50% of the
inforce amount.

Discount: The amount for which the employee applies is discounted to the present value in 6 months from
the date the benefit is paid , based on the maximum adjustable policy loan interest rate permitted in the state
in which the employer is located.
A detailed statement of the method of computing the amount of the Accelerated Life Benefit is filed with each
state insurance department. This statement is available from The Guardian upon request.

Processing Fee: A fee of up to $150.00 may also be required for the administrative cost of evaluating and
processing an employee's Accelerated Life Benefit. This fee is deducted from the amount of the Accelerated
Life Benefit paid to the employee.




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Payment of An Accelerated Life Benefit: If we approve an employee's application for an Accelerated Life
Benefit, we pay the amount he or she has elected , less the discount and the processing fee.We pay the
benefit to the employee in one lump sum. And what we pay is subject to all of the other terms of this plan.

How And When To Apply: To receive the Accelerated Life Benefit, the employee must send us written proof
from a licensed doctor who is operating within the scope of his or her license that the employee's medical
cond ition is expected to result in such employee's death with in 6 months of the date of the written medical
proof. We must approve such proof in writing before the Accelerated Life Benefit will be paid .
We can have the employee examined by a doctor of our choice to verify the terminal condition . We'll pay the
cost of such examination. We will not pay the Accelerated Life Benefit if our doctor does not verify the
terminal condition .
If we approve an employee to receive an Accelerated Life Benefit, we give the employee a statement which
shows: (a) the amount of the maximum Accelerated Life Benefit for which the employee is eligible; and (b) the
amount by which the employee's group term life insurance will be reduced if he or she elects to receive the
maximum Accelerated Life Benefit; and (c) the amount of the processing fee.
Even if an employee is receiving an Extended Life Benefit under this plan , he or she can still apply for an
Accelerated Life Benefit. However, once an employee converts his or her group term life insurance, the terms
of the converted life policy will apply. Any amount to which the employee could otherwise convert is
permanently reduced by the gross amount of the Accelerated Life Benefit paid to the employee.
Please read "The Employee's Remaining Group Term Life Insurance" provision for restrictions that may apply .

If An Employee Has Assigned His or Her Group Term Life Insurance: If an employee has already
assigned his or her group term life insurance, according to the terms of this plan , he or she can't apply for an
Accelerated Life Benefit.

If The Employee Is Incompetent: If the employee is determined to be legally incompetent, the person the
court appoints to handle the employee's legal affairs may apply for the Accelerated Life Benefit for the
employee.

The Employee's Remaining Group Term Life Insurance: The remaining amount of group term life
insurance for which an employee is covered after receiving an Accelerated Life Benefit payment is subject to
any increases or cutbacks that would otherwise apply to the employee's insurance. Applicable cutbacks are
applied to the amount of group term life insurance for which the employee is insured on the day before he or
she applies for the Accelerated Life Benefit.
The premium cost of the employee's remaining coverage is based on the amount of his or her group term life
insurance for which he or she is insured on the day before he or she applies for the Accelerated Life Benefit.
The employee may be required to provide proof of insurability for increased amounts. If he or she is, we must
approve that proof in writing before the employee is covered for the new amount.
The total amount of group term life insurance the beneficiary would otherwise receive upon the employee's
death is reduced by the gross amount of the Accelerated Life Benefit paid to the employee.
If the employee dies after electing the Accelerated Life Benefit, but before we send the benefit to him or her,
the beneficiary will receive the amount of the employee's group term life insurance for which such employee
is insured on the day before he or she applies for the Accelerated Life Benefit.

Restrictions: We will not pay an Accelerated Life Benefit to an employee who:
     is required by law to use the payment to meet the claims of creditors, whether or not the employee is in
     bankruptcy; or
     is required by court order to pay all or part of the benefit to another person; or
     is required by a government agency to use the payment to apply for, to receive or to maintain a
     governmental benefit or entitlement; or




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     loses his or her coverage under the group plan for any reason after he or she elects the Accelerated Life
     Benefit but before we pay such benefit to him or her.
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Options A and E
                                Extended Life Benefit With Waiver of Premium

Important Notice: This section applies to the employee's basic life benefit. But, it does not apply to his or
her accidental death and dismemberment benefits; nor to any of his or her dependent's insurance under this
group plan. In order to continue dependent basic life insurance, the employee must convert his or her
dependent coverage. To convert dependent coverage, he or she must choose an ind ividual permanent policy.

If an Employee is Disabled: An employee is disabled if he or she meets the definition of total disability, as
stated below. If a disabled employee meets the requirements in the "How and When to Apply" provision, we'll
extend his or her basic life insurance under this section without payment of prem iums from you or the
employee.
Total Disability or Totally Disabled means, due to sickness or injury, an employee is:
  (a) not able to perform any work for wages or profit; and
  (b) he or she is receiving regular doctor's care appropriate to the cause of disability.

How and When To Apply: To apply for this extension, the employee must submit acceptable written medical
proof of his or her total disability. He or she must provide this proof within one year of the onset of that
disability. Any claim filed after one year from the onset of total disability will be denied . We will deny the claim
unless we receive written proof that: (a) the employee lacked the legal capacity to file the claim ; or (b) it was
not reasonably possible for the employee to file the claim .
Also, in order to be eligible for this extension , the employee must:
  (a) become totally disabled before he or she reaches age 60 and while insured by the group plan ; and
  (b) remain totally disabled for 09 continuous months.
The employee may apply for th is benefit immed iately upon the onset of disability.

Continued Eligibility For Extended Life Benefit: We require periodic written proof that the employee
remains totally disabled to maintain this extension . This written proof of the employee's: (a) continued
disability; and (b) doctor's care , must be provided to us within 30 days of the date we make each such
request.
We can require the employee to take part in a medical assessment, with a medical specialist of our choice.
During the first two years of this extension , we may require this as often as we feel is reasonably necessary.
But after two years, we can 't have the employee examined more than once a year.

Until We've Approved an Employee for this Extended Life Benefit: An employee's life insurance under
the group plan may end after he or she's become totally disabled, but before we've approved him or her for
this extension. During this time period , the employee may either:
  (a) continue group premium payments, including any portion which would have been paid by the employer,
      until he or she is approved or declined for this extended life benefit; or
  (b) convert to an individual permanent or term policy. Please read the section labeled "Converting This
      Group Term Life Insurance" for details on how to convert.
However, the employee must convert if: (i) this group plan terminates; and (ii) he or she is totally disabled and
eligible, but not yet approved, for this extended benefit. He or she must remain insured under such policy until
approved by us for the extended benefit.




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Converting does not stop th e employee from claiming his or her rights under this section . But if he or she
converts and we later approve him or her for this extended benefit, we'll cancel the converted policy as of our
approval date. Once an employee is approved for this extended benefit, his or her group term life coverage
will be reinstated at no further cost to you or the employee.

When This Extension Begins: Once approved by us, an employee's extended benefit will be effective on the
later of:
  (a) 09 continuous months from the date active full-time service ends due to total disability; or
  (b) the date we approve the employee for this benefit.
GP-1-R-LW-TD-99-1-MD                                                                                   P275.0496


Options A and E

When This Extension Ends: An employee's extension will end on the earliest of:
  (a) the date he or she is no longer disabled ;
  (b) the date we ask an employee to be examined by our doctor, and he or she refuses ;
  (c) the date the employee does not give us the proof of disability we require;
  (d) the date the employee is no longer receiving regular doctor's care appropriate to the cause of disability;
      or
  (e) the day before the date the employee reaches age 65.
If the extension ends, and the employee is not insured by the group plan again as an active fu ll-time
employee, the employee can convert as if his or her employment just ended . Read the section labeled
"Converting This Group Term Life Insurance".

If an Employee Dies While Covered By This Extension: If an employee dies while covered by th is
extension we'll pay his or her beneficiary the amount for which he or she was covered as of his or her last
day of active full-time work, subject to all reductions which would have applied had he or she stayed an active
employee.

Proof of Death: We'll pay as soon as we receive :
  (a) written proof of the employee's death , that is acceptable to us; and
  (b) medical proof that the employee was continuously disabled until his or her death . This must be sent
      within one year of the employee's death .
GP-1-R-LW-TD-99-2                                                                                      P275.0049


Options A and E
                              Extended Life Benefit With Waiver of Premium

Important Notice: This section applies to the employee's optional life benefit. But, it does not apply to his or
her accidental death and dismemberment benefits; nor to any of his or her dependent's insurance under this
group plan . In order to continue dependent optional life insurance, the employee must convert his or her
dependent coverage. To convert dependent coverage , he or she must choose an individual permanent policy.

If an Employee is Disabled: An employee is disabled if he or she meets the definition of total disability, as
stated below. If a disabled employee meets the requirements in the "How and When to Apply" provision , we'll
extend his or her optional life insurance under th is section without payment of premiums from you or the
employee.




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Total Disability or Totally Disabled means, due to sickness or injury, an employee is:
  (a) not able to perform any work for wages or profit; and
  (b) he or she is receiving regular doctor's care appropriate to the cause of disability.

How and When To Apply: To apply for th is extension , the employee must submit acceptable written medical
proof of his or her total disability. He or she must provide this proof within one year of the onset of that
disability. Any claim filed after one year from the onset of total disability will be denied . We will deny the claim
unless we receive written proof that: (a) the employee lacked the legal capacity to file the claim ; or (b) it was
not reasonably possible for the employee to file the claim.
Also, in order to be eligible for this extension , the employee must:
  (a) become totally disabled before he or she reaches age 60 and while insured by the group plan ; and
  (b) remain totally disabled for 09 continuous months.
The employee may apply for this benefit immediately upon the onset of disability.

Continued Eligibility For Extended Life Benefit: We require periodic written proof that the employee
remains totally disabled to maintain this extension . This written proof of the employee's: (a) continued
disability; and (b) doctor's care, must be provided to us within 30 days of the date we make each such
request.
We can require the employee to take part in a medical assessment, with a medical specialist of our choice.
During the first two years of this extension, we may require this as often as we feel is reasonably necessary.
But after two years, we can't have the employee examined more than once a year.

Until We've Approved an Employee for this Extended Life Benefit: An employee's life insurance under
the group plan may end after he or she's become totally disabled, but before we've approved him or her for
this extension . During this time period , the employee may either:
   (a) continue group premium payments, including any portion which would have been paid by the employer,
       until he or she is approved or declined for this extended life benefit; or
  (b) convert to an individual permanent or term policy. Please read the section labeled "Converting This
      Group Term Life Insurance" for details on how to convert.
However, the employee must convert if: (i) this group plan terminates; and (ii) he or she is totally disabled and
eligible, but not yet approved, for this extended benefit. He or she must remain insured under such policy until
approved by us for the extended benefit.
Converting does not stop the employee from claiming his or her rights under this section. But if he or she
converts and we later approve him or her for this extended benefit, we'll cancel the converted policy as of our
approval date. Once an employee is approved for this extended benefit, his or her group term life coverage
will be reinstated at no further cost to you or the employee.

When This Extension Begins: Once approved by us, an employee's extended benefit will be effective on the
later of:
  (a) 09 continuous months from the date active full-time service ends due to total disability; or
  (b) the date we approve the employee for this benefit.
GP- 1-R-LW-TD-99-1-MD                                                                                      P275.0520




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Options A and E

When This Extension Ends: An employee's extension will end on the earliest of:
   (a) the date he or she is no longer disabled ;
   (b) the date we ask an employee to be examined by our doctor, and he or she refuses ;
   (c) the date the employee does not give us the proof of disability we require;
   (d) the date the employee is no longer receiving regular doctor's care appropriate to the cause of disability;
       or
   (e) the day before the date the employee reaches age 65.
If the extension ends, and the employee is not insured by the group plan again as an active full-time
employee, the employee can convert as if his or her employment just ended. Read the section labeled
"Converting This Group Term Life Insurance".

If an Employee Dies While Covered By This Extension: If an employee dies while covered by this
extension we'll pay his or her beneficiary the amount for which he or she was covered as of his or her last
day of active full-time work , subject to all reductions which would have applied had he or she stayed an active
employee.

Proof of Death: We'll pay as soon as we receive :
   (a) written proof of the employee's death, that is acceptable to us; and
   (b) medical proof that the employee was continuously disabled until his or her death. This must be sent
       within one year of the employee's death.
GP-1 -R -LW-TD-99-2                                                                                     P275 0049




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Options A and E
                   COMPUTATION OF GROUP LIFE INSURANCE PREMIUMS
Definitions:
"Plan" means the Guardian group life insurance plan purchased by the employer.
"We", "us", and "our" mean the Guardian Life Insurance Company of America .
"You" and "your" mean the employer who purchased this plan .
How Group Life Rates Are Computed:
The "Table of Individual Rates" shown below will , subject to our rating methods, be used in computing the
premium charges for this plan 's group life insurance. As stated in this plan 's "Premiums" section, we can
change that table.
When this plan 's group life insurance starts, we'll compute a preliminary monthly rate . We do this by: (1)
multiplying the individual rates by the amounts of insurance in force at the respective ages, nearest birthday,
of all employees; and (2) dividing the result by the total amount of insurance in force. Using the characteristics
of your group, and our rating methods, we'll modify such preliminary rate and compute your final premium
rate.
We may also compute your final premium rate by any other method we and you agree upon, which produces
approximately the same total premium .
If We Provide Supplemental Term Life Insurance: If we provide Supplemental Term Life Insurance, we'll
use the employee's rated age to compute premium rates, if the employee is placed in a substandard class.
If You Pay Monthly Premiums: If you pay monthly premiums, each monthly payment will be equal to the
product of the total amount of insurance in force on the premium 's due date and the monthly rate in effect for
each employee.
If You Pay Annual, Semi-Annual, or Quarterly Premiums: If you pay annual, semi-annual or quarterly
premiums, we'll compute the applicable rate by multiplying the monthly rate so obtained by 11.823, 5.956, or
2.985, respectively.
                                         Table of Individual Rates
                                         Group Term Life Insurance
                          Monthly Premiums Per $1 ,000 .00 of Employee Life Insurance

Age                         Age                          Age                        Age
Nearest        Monthly      Nearest      Monthly         Nearest      Monthly       Nearest       Monthly
Birthday       Rate         Birthday     Rate            Birthday     Rate          Birthday      Rate

    15         $    .19         32       $       .28         49       $     .97          66       $    4.11
    16              .20         33               .29         50            1.06          67            4.48
    17              .21         34               .30         51            1.16          68            4.89
    18              .22         35               .32         52            1.26          69            5.34
    19              .23         36               .34         53            1.38          70            5.81
    20              .23         37               .36         54            1.51          71            6.32
    21              .24         38               .38         55            1.65          72            6.84
    22              .24         39               .41         56            1.80          73            7.38
    23              .25         40               .45         57            1.97          74            7.95
    24              .25         41               .49         58            2.14          75            8.56
    25              .25         42               .53         59            2.32          76            9.24
    26              .25         43               .58         60            2.51          77           10.00
    27              .26         44               .63         61            2.72          78           10.86




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Age                         Age                          Age                        Age
Nearest        Monthly      Nearest      Monthly         Nearest     Monthly        Nearest      Monthly
Birthday       Rate         Birthday     Rate            Birthday    Rate           Birthday     Rate

     28               .26       45              .68          62           2.96          79           11.81
     29               .26       46              .74          63           3.21          80           12.83
     30               .27       47              .81          64           3.48
     31               .27       48              .89          65           3.78

Upon request we will furnish rates for ages not shown.

Employee Contributions: Employees' required contributions towards the cost of th is insurance may not vary
solely by sex.

When Rates Can Be Changed: We or you may require appropriate rate changes on each Policy Anniversary
after the effective date of this plan , or on any date on wh ich the above table is changed.
GP- 1-R-LRMP-86- 1                                                                                      P270.0023


Options A and E

                     Dependent Spouse and Child Optional Term Life Insurance

The Benefit: Subject to the limitations and exclusions shown below, if one of the employee's dependents dies
while insured for this benefit, we pay the amount shown in the schedu le for the plan the employee has
elected . We pay this in a lump sum when we rece ive written proof of death which is acceptable to us. The
employee must send the proof to us as soon as soon as possible.
We pay the employee, if he or she is living . If the employee is not living , and the dependent was the
employee's child , we pay the employee's spouse. If the employee's spouse is not living , we pay the child 's
living brothers and sisters in equal shares. If there are none, we pay the chi ld's estate. If the dependent was
the employee's spouse, we pay the spouse's estate.

Suicide Exclusion: We pay no benefits if the dependent's death is due to suicide, if such death occurs within
two years from the effective date of the dependent's optional term life insurance under this plan . Also , we pay
no increased benefit amount if the dependent's death is due to suicide , if such death occurs within two years
from the effective date of the increase.

Seatbelt and Airbag Benefits: If a dependent dies as a direct result of an automobile accident while properly
wearing a seatbelt, we will increase the benefit amount by $5,000.00. And if a dependent dies as a direct
result of an automobile accident wh ile both properly wearing a seatbelt, and sitting in a seat equipped with an
airbag , we'll increase the benefit amount by an additional $2 ,500.00, for a total increase of $7,500.00 .

Payment to a Minor or Incompetent: If the beneficiary is a minor or not competent, we have the right to
pay in monthly installments. We would pay the person who cares for and supports the beneficiary. We
completely discharge our liability for any amounts paid this way.
GP-1-R-DOPT-96                                                                                          P293.0136




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Options A and E

                           Converting This Dependent Term Life Insurance

If the Employee's Group Life Insurance Ends or He or She Stops Being Eligible: Dependent term life
insu rance ends for all of an employee's dependents when his or her group life insurance ends. The
employee's insurance ends when : (a) his or her active full -time employment ends; (b) he or she stops being a
member of a class of employees eligible for employee group life insurance; (c) his or her group life insurance
is extended under the Extended Life Benefit provision; or (d) he or she dies.
Dependent term life insurance ends when an employee stops being a member of a class of employees eligible
for dependent term life insurance.
If one of the above happens, each dependent who was insured may convert all or part of his or her insurance.

If This Plan Ends or Life Insurance is Dropped: Dependent term life insurance also ends for all of an
employee's dependents when this plan ends. And it ends if either employee or dependent term life insurance
is dropped from this plan for all employees or for the employee's class.
If one of the above happens, and an employee's dependents have been insured by a Guardian group plan for
at least five years , they can convert. But we limit the amount each dependent can convert to the lesser of: (a)
$10,000.00; and (b) the amount of his or her insurance under this plan less any group life benefits for which
he or she becomes eligible in the 31 days after th is insurance ends.

If a Dependent Stops Being Eligible: A dependent's term life insurance ends when he or she stops being
an elig ible dependent as defined by this plan . If a dependent stops being eligible, that dependent can convert
all or part of his or her insurance.

The Converted Policy: The dependent can convert to one of the individual life insurance policies we
normally issue. That policy can 't include disability benefits. And it can 't be a term policy.
The premium for the converted policy will be based on; (a) the dependent's risk and rate class under this
plan; and (b) the dependent's age when the converted policy takes effect. The converted policy takes effect at
the end of the period allowed for conversion .
Write to us for details.

How and When to Convert: To get a converted policy, the dependent must apply to us in writing and pay
the required premium . He or she has 31 days after his or her group insurance ends to do th is. We won 't ask
for proof that he or she is insurable.
If the dependent is a minor or not competent, the person who cares for and supports the dependent may
apply for him or her.

Death During the Conversion Period: If a dependent dies in the 31 days allowed for conversion , we pay the
amount he or she could have converted , as stated above. We do this whether or not he or she applied for
conversion .

Notice of Conversion Right: If the dependent is entitled to obtain a converted policy under this section, full
compliance with this provision for Notice of Conversion Right will be satisfied by written notice given: (a) to
the employee by the employer; (b) mailed to the employee by the employer at the employee's last known
address; or (c) mailed to the employee by us at the employee's last known address that is supplied to us by
the employer.
The notice should be given at least 15 days before the end of the 31 day period allowed for conversion as
described in "How and When to Convert." If the notice is not given at least 15 days before the end of such
period , the dependent will have an additional period of 31 days to apply for the converted policy and pay the
required premium .
GP-1 -R-DEPL-03-N -AR                                                                                  P295.0065




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Options A and E
               Employee Basic Accidental Death And Dismemberment Benefits

The Benefit: We'll pay the benefits described below if an employee suffers an irreversible covered loss due
to an accident that occurs while he or she is insured . The loss must be a direct result of the accident,
independent of all other causes. And , it must occur within 365 days of the date of the accident.

Covered Losses: Benefits will be only for losses identified in the following table. The Insurance Amount is
shown in the Schedule of Benefits.


       ACCIDENTAL DEATH AND DISMEMBERMENT

       Covered Loss                                                 Benefit

       Loss of Life                                                 100% of Insurance Amount

       Loss of a hand                                               50% of Insurance Amount

       Loss of a foot                                               50% of Insurance Amount

       Loss of sight in one eye                                     50% of Insurance Amount

       Loss of thumb and index finger of same hand                  25% of Insurance Amount
For covered multiple losses due to the same accident, we will pay 100% of the Insurance Amount. We won 't
pay more than 100% of the Insurance Amount for all losses due to the same accident.
Loss of:
   (a) a hand or foot means it is completely cut off at or above the wrist or ankle.
   (b) sight means the total and permanent loss of sight.

Payment of Benefits: For covered loss of life, we pay the beneficiary of the employee's basic group term life
insurance.
For all other covered losses, we pay the employee, if he or she is living. If not, we pay the beneficiary of the
employee's basic group term life insurance.
We pay all benefits in a lump sum, as soon as we receive proof of loss which is acceptable to us. This should
be sent to us as soon as possible.
GP- 1-R-ADCL 1-00                                                                                      P310.1053


Options A and E

Exclusions: We won't pay for any loss caused directly or indirectly:
       by willful self-injury, suicide, or attempted suicide;
       by sickness, disease, mental infirmity, medical or surgical treatment;
       by the employee taking part in a riot or other civil disorder; or in the commission of or attempt to
       commit a felony;
       by travel on any type of aircraft if the employee is an instructor or crew member; or has any duties at
       all on that aircraft;
       by declared or undeclared war or act of war or armed aggression;
       while the employee is a member of any armed force;
       while the employee is a driver in a motor vehicle accident, if he or she does not hold a current and


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      val id driver's license;
      by the employee's legal intoxication ; this includes, but is not limited to, the employee's operation of a
      motor vehicle; or
      by the employee's voluntary use of a controlled substance, unless : (1) it was prescribed for the
      employee by a doctor; and (2) it was used as prescribed . A controlled substance is anything called a
      controlled substance in Title II of the Comprehensive Drug Abuse Prevention and Control Act of 1970,
      as amended from time to time.
GP-1-R-ADCL2-00                                                                                        P310.0980


Options A and E

           Employee Voluntary Accidental Death And Dismemberment Benefits

The Choices: The employee may elect to be insured for any of the plans of employee voluntary accidental
death and dismemberment (ADD) insurance offered by you. These plans are shown in the schedule. However,
the employee can only be insured under one plan at a time. The employee must notify you of his or her
election and pay the required premium.
The employee may switch to another plan of benefits at any time, subject to any of this plan's proof of
insurability requirements . The employee must notify you of any desired switch .

The Benefit: We'll pay the benefits described below if an employee suffers an irreversible covered loss due
to an accident that occurs whi le he or she is insured. The loss must be a direct result of the accident,
independent of all other causes. And , it must occur within 365 days of the date of the accident.

Covered Losses: Benefits will be paid according to the plan the employee has elected, only for losses
identified in the following table. The Insurance Amount is shown in the Schedule of Benefits.


      ACCIDENTAL DEATH AND DISMEMBERMENT

      Covered Loss                                                 Benefit

      Loss of Life                                                 100% of Insurance Amount

      Loss of a hand                                               50% of Insurance Amount

      Loss of a foot                                               50% of Insurance Amount

      Loss of sight in one eye                                     50% of Insurance Amount

      Loss of thumb and index finger of same hand                  25% of Insurance Amount
For covered multiple losses due to the same accident, we will pay 100% of the Insurance Amount. We won't
pay more than 100% of the Insurance Amount for all losses due to the same accident.
Loss of:
  (a) a hand or foot means it is completely cut off at or above the wrist or ankle.
  (b) sight means the total and permanent loss of sight.

Payment of Benefits: For covered loss of life, we pay the beneficiary described below.
For all other covered losses, we pay the employee, if he or she is living . If not, we pay the beneficiary
described below.
We pay all benefits in a lump sum, as soon as we receive proof of loss which is acceptable to us. This should
be sent to us as soon as possible.



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The Beneficiary: The employee decides who gets this insurance if he or she dies. He or she should have
named a beneficiary on his or her enrollment form. The employee can change his or her beneficiary at any
time by giving us notice, unless he or she has assigned insurance. But the change won't take effect until we
give you confirmation of the change.
If the employee named more than one person, but didn't tell us what their shares should be, his or her
insurance will be divided equally by the beneficiaries still alive, unless the employee tells us otherwise.
If there is no beneficiary when the employee dies, we'll pay the insurance to one of the following: (a) his or
her estate; (b) his or her spouse; (c) his or her parents; (d) his or her children ; or (e) his or her brothers and
sisters.
GP-1-R-ADCL 1-00                                                                                          P310.2089


Options A and E

Exclusions: We won't pay for any loss caused directly or indirectly:
       by willful self-injury, suicide, or attempted suicide;
       by sickness, disease, mental infirmity , medical or surgical treatment;
       by the employee taking part in a riot or other civil disorder; or in the commission of or attempt to
       commit a felony;
       by travel on any type of aircraft if the employee is an instructor or crew member; or has any duties at
       all on that aircraft;
       by declared or undeclared war or act of war or armed aggression;
       while the employee is a member of any armed force;
       while the employee is a driver in a motor vehicle accident, if he or she does not hold a current and
       valid driver's license;
       by the employee's legal intoxication ; this includes, but is not limited to, the employee's operation of a
       motor vehicle; or
       by the employee's voluntary use of a controlled substance, unless: (1) it was prescribed for the
       employee by a doctor; and (2) it was used as prescribed. A controlled substance is anything called a
       controlled substance in Title 11 of the Comprehensive Drug Abuse Prevention and Control Act of 1970,
       as amended from time to time.
GP-1-R-ADCL2-00                                                                                           P310.1917


Options A and E
          Dependent Voluntary Accidental Death And Dismemberment Benefits

The Benefit: We'll pay the benefits described below if a covered dependent suffers an irreversible covered
loss due to an accident that occurs while he or she is insured . The loss must be a direct result of the
accident, independent of all other causes. And , it must occur within 365 days of the date of the accident.

Covered Losses: Benefits will be paid only for losses identified in the following table. The Insurance Amount
is shown in the Schedule of Benefits.


       ACCIDENTAL DEATH AND DISMEMBERMENT

       Covered Loss                                                  Benefit

       Loss of Life                                                  100% of Insurance Amount

       Loss of a hand                                                50% of Insurance Amount



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       Loss of a foot                                               50% of Insurance Amount

       Loss of sight in one eye                                     50% of Insurance Amount

       Loss of thumb and index finger of same hand                  25% of Insurance Amount
For covered multiple losses due to the same accident, we will pay 100% of the Insurance Amount. We won't
pay more than 100% of the Insurance Amount for all losses due to the same accident.
Loss of:
  (a) a hand or foot means it is completely cut off at or above the wrist or ankle.
  (b) sight means the total and permanent loss of sight.

Payment of Benefits: For all covered losses, we pay the employee, if he or she is living. If the employee is
not living, and the dependent was the employee's child , we pay the employee's spouse. If the employee's
spouse is not living , we pay the child 's living brothers and sisters in equal shares. If there are none, we pay
the child's estate. If the dependent was the employee's spouse, we pay the spouse's estate .
We pay all benefits in a lump sum, as soon as we receive proof of loss which is acceptable to us. This should
be sent to us as soon as possible.
GP-1-R-DADCL 1-00                                                                                       P310.2096


Options A and E

Exclusions: We won't pay for any loss caused directly or indirectly:
       by willful self-injury, suicide, or attempted suicide;
       by sickness, disease, mental infirmity, medical or surgical treatment;
       by a dependent taking part in a riot or other civil disorder; or in the commission of or attempt to commit
       a felony;
       by travel on any type of aircraft if the dependent is an instructor or crew member; or has any duties at
       all on that aircraft;
      by declared or undeclared war or act of war or armed aggression;
      while the dependent is a member of any armed force ;
      while the dependent is a driver in a motor vehicle accident, if he or she does not hold a current and
      valid driver's license;
      by the dependent's legal intoxication; this includes, but is not limited to, the dependent's operation of a
      motor vehicle; or
      by the dependent's voluntary use of a controlled substance, unless: (1) it was prescribed for the
      dependent by a doctor; and (2) it was used as prescribed . A controlled substance is anything called a
      controlled substance in Title II of the Comprehensive Drug Abuse Prevention and Control Act of 1970,
      as amended from time to time.
GP-1-R-DADCL2-00                                                                                        P310.1959




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Options A and E
                 ELIGIBILITY FOR DISABILITY INCOME REPLACEMENT COVERAGE
                                                                                                            P329.0002


Options A and E

                                            EMPLOYEE COVERAGE
                                               Eligible Employees
Subject to the Conditions of Eligibility set forth below, and to all of the other conditions of the plan, all of your
employees who are in an eligible class will be eligible if they are active full-time employees.
For purposes of this plan, we will treat partners and proprietors like employees if they meet this plan's
conditions of eligibility.
                                             Conditions of Eligibility
An employee is eligible for coverage if he or she is:
   (a) legally working in the United States.
   (b) regularly working at least the number of hours in the normal work week set by the employer (but not
       less than 24 hours per week), at:
        (i)      the employer's place of business;
        (ii)     some place where the employer's business requires the employee to travel; or
        (iii)    any other place the employee and the employer have agreed upon for performance of
                 occupational duties.
Note: An employee working outside the United States on a temporary assignment who meets all other
conditions of eligibility will be covered by this plan; except that: (1) if he or she is on · an assignment exceeding
one year; or (2) if he or she is assigned in a country or region that is under a travel warning issued by the US
Department of State; coverage must be approved by us in writing .
Temporary or seasonal employees are not eligible.
GP-1-EC-90-1.0                                                                                             P329.0113


Options A and E

Proof of lnsurability Requirements: Part or all of an employee's insurance amounts may be subject to proof
that he or she is insurable. The Schedule of Insurance explains if and when we require proof. An employee
won't be covered for any amount that requires such proof until he or she gives the proof to us and we
approve that proof in writing.
An employee whose active full-time service ends before he or she meets any proof of insurability
requirements that apply to him or her will still have to meet those requirements if he or she is later
re-employed by you or an associated company.
GP-1-EC-90-3 .0                                                                                            P264.0066


Options A and E

The Waiting Period: Employees in an eligible class are eligible for disability income replacement insurance
under this plan after they complete the service waiting period established by the employer, if any.
GP-1-EC-90-4 .0                                                                                            P329.0003




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Options A and E

Multiple Employment: If an employee works for both you and a covered associated company, or for more
than one covered associated company, we will treat him as if only one firm employs him. And such an
employee will not have multiple coverage under this plan. But, if this plan uses the amount of an employee's
earnings to set the rates, determine class, figure benefit amounts, or for any other reason , such employee's
earnings will be figured as the sum of his earnings from all covered employers.
GP-1-EC-90-5.0                                                                                      P180.0328




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Options A and E
                                   When Employee Coverage Starts
An employee must be fully capable of performing the major duties of his or her regular occupation for the
employer on a full-time basis at 12:01 A. M. Standard Time for his or her place of residence on the date his or
her coverage is scheduled to start. Also he or she must have met all of the conditions of eligibility which apply
to him or her. If an employee is not fully capable of performing the major duties of his or her regular
occupation on his or her scheduled effective date, we wi ll postpone the start of his or her coverage. We will
postpone coverage until he or she is so capable and is working his or her regular numbers of hours for one
full day, with the expectation that he or she cou ld do so for one full week.
Sometimes, a schedu led effective date is not a regularly scheduled work day. If the schedu led effective date
falls : on a holiday; on a vacation day; on a non-scheduled work day; or during an approved leave of absence,
not due to sickness or injury, of 90 days or less; and if the employee was performing the major duties of his
or her regular occupation and working his or her regular number of hou rs on his or her last regularly
scheduled work day, that employee's coverage will start on the scheduled effective date. However, any
coverage or part of coverage for which an employee must elect and pay all or part of the cost , will not start if
the employee is on an approved leave and such coverage or part of coverage was not previously in force for
the employee under a prior plan which this plan replaced .
Whether an employee must pay all or part of the cost of employee coverage , he or she must elect to enroll
and agree to make the required payments. If he or she does this on or before the eligibility date, or within 31
days of his or her eligibility date , coverage is scheduled to start on the eligibility date. However, if he or she
elects to enroll and agrees to make the required payments more than 31 days after his or her eligibility date,
his or her coverage won 't start until he or she sends us proof that he or she is insurable. Once we've
approved it, his or her coverage is scheduled to start on the effective date shown in the endorsement section
of his or her application.
Any part of an employee's coverage which is subject to proof that he or she is insurable won 't start unless he
or she sends this proof to us, and we approve it in writing . Once we have approved it, that part of his or her
coverage is scheduled to start on the effective date shown in the endorsement section of his or her
application .
GP-1-EC-90-6.0                                                                                            P329.0212




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Options A and E for Classes 0001 and 0003
                                        When Employee Coverage Ends

When Employee Coverage Ends: An employee's long term disability insurance under th is plan will end on
the first of the following dates:
     the date an employee's active full-time service ends for any reason .
     the date an employee stops being an eligible employee under this plan .
     the date an employee is no longer worki ng in the United States, unless he or she is on a temporary
     assignment: (1) not exceeding one yea r in a country or reg ion that is not under a travel warning issued
     by the US Department of State; or (2) for which we have agreed, in writing , to provide coverage.
     the date the group plan ends, or is discontinued for a class of employees to wh ich the employee
     belongs.
     the last day of the period for which requ ired payments are made for the employee.
However, if an employee is disabled , as defined by this plan when his or her active full-time service ends,
coverage remains in force during : (a) the elimination period , subject to premium payment, if: (i) the disability is
not excluded under the plan ; and (ii) benefits are not excluded due to application of this plan 's pre-existing
condition provision ; and (b) the period for which benefits are payable under the plan .
GP-1-EC-90-8.0                                                                                             P329.0243




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Options A and E
                                    An Employee's Right To Continue
                               Group Long Term Disability Income Insurance
                                    During A Family Leave Of Absence

Important Notice: This section may not apply to your plan. The employee must contact you to find out if you
must allow for a leave of absence under federal law. In that case the section applies.

Which Coverage Can Be Continued: Long Term Disability income coverage may be continued , under a
uniform, non-discriminatory policy applicable to all employees. The employee must contact you to find out if
he or she may continue this coverage.

If An Employee's Group Insurance Would End: Group long term disability income insurance may normally
end for an employee because he or she ceases work due to an approved leave of absence. But, the
employee may continue his or her group long term disability income insurance coverage if the leave of
absence has been granted: (a) to allow the employee to care for a seriously injured or ill spouse, child or
parent; (b) after the birth or adoption of a child; (c) due to the employee's own serious health condition; or (d)
because of any serious injury or illness arising out of the fact that a spouse, child , parent, or next of kin , who
is a covered servicemember, of the employee is on active duty (or has been notified of an impending call or
order to active duty) in the Armed Forces in support of a contingency operation . The employee will be
required to pay the same share of the premium as he or she paid before the leave of absence.

When Continuation Ends: Insurance may continue until the earliest of the following:
      The date the employee returns to active work .
       In the case of a leave granted to the employee to care for a covered servicemember: The end of a total
       leave period of 26 weeks in one 12 month period. This 26 week total leave period applies to all leaves
       granted to the employee under this section for all reasons . If the employee takes an additional leave of
       absence in a subsequent 12 month period , continued coverage will cease at the end of a total leave
       period of 12 weeks.
       In any other case: The end of a total leave period of 12 weeks in any 12 month period.
      The date on which the Employer's Plan is terminated or the employee is no longer eligible for coverage
      under this Plan.
      The end of the period for which the premium has been paid.

Definitions: As used in this section , the terms listed below have the meanings shown below:
      Active Duty: This term means duty under a call or order to active duty in the Armed Forces of the
      United States.
      Contingency Operation: This term means a military operation that: (a) is designated by the Secretary
      of Defense as an operation in which members of the armed forces are or may become involved in
      military actions, operations, or hostilities against an enemy of the United States or against an opposing
      military force; or (b) results in the call or order to, or retention on, active duty of members of the
      uniformed services under any provision of law during a war or during a national emergency declared by
      the President or Congress.
      Covered Servicemember: This term means a member of the Armed Forces, including a member of
      the National Guard or Reserves, who for a serious injury or illness: (a) , is undergoing medical
      treatment, recuperation, or therapy ; (b) is otherwise in outpatient status; or (c) is otherwise on the
      temporary disability retired list.
       Next Of Kin: This term means the nearest blood relative of the employee.




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       Outpatient Status: This term means, with respect to a covered servicemember, that he or she is
       assigned to: (a) a military medical treatment facility as an outpatient; or (b) a unit established for the
       purpose of providing command and control of members of the Armed Forces receiving medical care as
       outpatients.
       Serious Injury Or Illness: This term means, in the case of a covered servicemember, an injury or
       illness incurred by him or her in line of duty on active duty in the Armed Forces that may render him or
       her medically unfit to perform the duties of his or her office, grade, rank , or rating.
GP-1-EC-90-7.0                                                                                          P329 0856


Options A and E
                                                 Definitions
GP-1-EC-90-DEF-1                                                                                        P180.0155


Options A and E

Employee means a person who works for the employer at the employer's place of business, and whose
income is reported for tax purposes using a W-2 form .
GP-1-EC-90-DEF-3                                                                                        P180.0311


Classes 0001 and 0003

Full-time means the employee regularly works at least the number of hours in the normal work week set by
the employer (but not less than 24 hours per week) , at his employer's place of business.
GP-1-EC-90-DEF-4                                                                                        P180.0493


Options A and E

Plan means the Guardian group plan purchased by the employer, except in the provision entitled
"Coordination of Benefits" where "plan" has a special meaning. See that provision for details.
GP-1-EC-90-DEF-6                                                                                        P180.0160


Options A and E

Proof or Proof of lnsurability means an application for insurance showing that a person is insurable.
GP-1-EC-90-DEF-7                                                                                        P180.0161


Options A and E

We, Us, Our and Guardian mean The Guardian Life Insurance Company of America.
GP-1-EC-90-DEF-9                                                                                        P180.0163


Options A and E

You and Your means the employer who purchased this plan .
GP-1-EC-90-DEF-10                                                                                       P180.0164




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Options A and E
                                    Long Term Disability Income Insurance
Th is insurance replaces part of a covered person 's income if he or she becomes disabled due to a covered
sickness or injury. What we pay is governed by all the terms of this plan.
All terms in italics are defined terms with special meanings. See the definitions section of th is plan. Other
terms with special meanings are defined where they are used .
                                               Benefit Provisions

How Payments Start: To start getting payments from th is plan, a covered person must meet all of the
conditions listed below.
   (a)   he or she must: (i) become disabled while insured by this plan; and (ii) remain disabled and insured
         for this plan's elimination period.
   (b)   he or she must provide proof of loss, as described in th is plan's Claim Provisions section.
Benefits accrue as of the first day following the end of the elimination period, subject to all plan terms.
A covered person can satisfy the elimination period while working, provided he or she is disabled as defined
by this plan.

Waiver of Premium: We waive a covered person 's premiums for this insurance and for short term disability
insurance, if included in the plan sponsor's plan of insurance while he or she is entitled to receive a monthly
benefit payment from this plan.

When Payments End: A covered person 's benefits from this plan will end on the earliest of the dates shown
below:
   (a)   The date he or she is no longer disabled.
   (b)   The date he or she fails to provide proof of loss as required by this plan.
   (c)   The date he or she earns, or is able to earn , the maximum earnings allowed while disabled under this
         plan.
   (d)   The date he or she is able to perform the major duties of his or her own occupation on a full-time
         basis with reasonable accommodation.
   (e)   After the own occupation period , the date he or she is able to perform the major duties of any gainful
         work on a full-time basis with reasonable accommodation.
   (f)   The date he or she has been outside the United States and/or Canada for more than 2 months in a 12
         month period .
   (g)   The date he or she dies.
   (h)   The end of the maximum payment period.
   (i)   The date no further benefits are payable under any provision in this plan that limits the maximum
         payment period.
   U)    The date he or she is no longer receiving regular and appropriate care from a doctor.
   (k)   The date payments end in accord with a rehabilitation agreement.
   (I)   The date he or she refuses to take part in a rehabilitation program.
GP-1 -LTD08-1 .0                                                                                              P383.0030




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Options A and E

Maximum Payment Period: The maximum payment period is the longest time that benefits are paid by this
plan for a covered person's disability. It is determined by the table shown below.
But, it may be less than that shown due to: (a) the nature of the covered person 's disability; (b) the date the
covered person was first treated for the cause of his or her disability; and (c) the length of time the covered
person has been insured by th is plan. See "Disabilities with a Limited Maximum Payment Period " and
"Pre-Existing Conditions ."
For a disability starting before the employee reaches age 60, the maximum payment period will last until the
Social Security Normal Retirement Age as shown in the following table:


                           Employee's                                           Social Security
                           Year of Birth                                        Normal Retirement Age

                           Before 1938 . . . . . . . ... .. .. .. . .. . .. .. . . 65
                                  1938                                             65 and 2 months
                                  1939                                             65 and 4 months
                                  1940                                             65 and 6 months
                                  1941                                             65 and 8 months
                                  1942                                             65 and 10 months
                            1943-1954                                              66
                                  1955                                             66 and 2 months
                                  1956                                             66 and 4 months
                                  1957                                             66 and 6 months
                                  1958                                             66 and 8 months
                                  1959                                             66 and 10 months
                            After 1959                                             67
For a disability starting on or after the employee reaches age 60, the maximum payment period will be
determined according to the following table:

                                 Age When                                       Maximum
                             Disability Starts                                  Payment Period

                                   Age 60                                       5.00   years
                                   Age 61                                       4.00   years
                                   Age 62                                       3.50   years
                                   Age 63                                       3.00   years
                                   Age 64                                       2.50   years
                                   Age 65                                       2.00   years
                                   Age 66                                       1.75   years
                                   Age 67                                       1.50   years
                                   Age68                                        1.25   years
                            Age 69 or older                                     1.00   year
But if an employee whose disability starts after age 60 reaches the end of the maximum payment from this
table before he or she reaches the Social Security Normal Retirement Age, we will extend the maximum
Payment period until He or she reaches Social Security Normal Retirement Age.
GP-1-L TD0?-2.0                                                                                         P383.0065




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Options A and E

Recurring Disability: Benefits from this plan end if a covered person ceases to be disabled. But, a later
disability may be treated as a recurring disability, if all of the terms listed below are met:
(a)    The covered person must return to active work right after his or her benefits end;
(b)    The disability must recur less than six months after the covered person was last entitled to benefits;
(c)    The later disability must be due to the same or related cause of the covered person's earlier disability;
(d)    This plan must not end during the covered person's return to active work;
(e)    The covered person must not become covered under any other similar group income replacement plan
       during the time he or she returns to active work;
(f)    During the time the covered person returns to active work, he or she must: (i) stay insured by this plan;
       and (ii) premium payments must be made on his or her behalf; and
(g)    The covered person's benefits must not have ended because he or she has used up the maximum
       payment period.
If the later disability is a recurring disability, the covered person will not need to complete a new elimination
period. The recurring disability will be subject to all the terms of the plan in effect on the date the earlier
disability began.
If all of the terms listed above are not met, the later disability will be treated as a new period of disability. The
covered person will be required to complete a new elimination period. The new period of disability will be
subject to all the terms of the plan in effect on the date the new period of disability occurs.
GP-1-LTD07-3.0                                                                                              P383.0054


Options A and E

Calculation of Monthly Benefit: A covered person's benefit is governed by the terms of the plan in effect on
the date disability occurs. Any changes to this plan that take place: (a) while the covered person is disabled;
or (b) during a period of active work that occurs between an initial period of disability and a recurring disability;
will not affect his or her benefit.
We calculate a covered person 's gross monthly benefit according to the Schedule of Benefits.
From the covered person 's gross monthly benefit, subtract the amount of any income listed in Other Income
Benefits that he or she receives or is entitled to receive . The result is his or her monthly benefit.
GP-1 -LTD0?-4.0                                                                                             P383.0055


Options A and E

Redetermination: This plan redetermines insured earnings for each covered person on January 1st . Each
January 1st , the plan sponsor must report current insured earnings for all covered persons under the plan.
Changes to a covered person's insured earnings are subject to any proof of insurability requirements of this
plan. As of this plan's redetermination date, we use a covered person's insured earnings on record with us to:
(a) set rates; (b) project benefit amounts and limits; and (c) calculate premium payable under this plan.
However, the covered person must be actively-at-work on a full-time basis on that date. If he or she is not, we
do not do this until the date he or she returns to active work on a full-time basis. But, changes in earnings will
not apply to a recurring disability.
GP-1-L TD0?-4.1                                                                                             P383.0058




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Options A and E

Other Income Benefits: A covered person may receive , or be entitled to receive, income shown in the list
below. We will reduce his or her gross monthly benefitby such other income benefits to determine his or her
monthly benefitfrom this plan.
        Commissions or monies: (1) received ; (2) payable but deferred ; or (3) paid after disabilitybenefits start.
        This includes: (a) vested and nonvested renewal commissions ; (b) bonuses; (c) royalties; and (d)
        other distributions.
        Disability benefits from any mandated benefit act or law. This includes all temporary disability or state
        disability benefits required by law.
        Disability benefits from all group plans of: (1) the plan sponsor; or (2) the employer. This includes
        payments made by a group life insurance plan due to the covered person 's disability. This does not
        include payments made from a group life insurance plan 's: (a) accelerated death benefit; or (b) like
        provision that allows payment of such plan 's proceeds due to terminal illness.
        Disability benefits from any other group plan ; but, if the other group plan was in force prior to this
        plan, and the other group plan also deducts for disability benefits from any other group plan , we will not
        deduct these other group disability benefits.
        Income from a sick leave, salary continuance or Paid Time Off plan , but only to the extent that such
        income plus the amount of the covered person's gross monthly benefit is more than 100% of his or
        her insured earnings. This applies whether such plan is sponsored on a formal or informal basis. This
        includes donated , lump sum and recurrent payments of accrued sick leave benefits. But, if a covered
        person is working while disabled, we will account for such income as described in this plan 's
        "Adjustment of Monthly Benefit for Disability Earnings".
        Benefits as shown below from: (1) the United States Social Security Act; (2) the Railroad Retirement
        Act ; or (3) any other like U.S. or Canadian plan or act.
  (a)     All disability benefits for which: (i) the covered person is entitled ; and (ii) his or her spouse and
          children are entitled due to the covered person 's disability;
  (b)     All unreduced retirement benefits for which: (i) the covered person is entitled ; and (ii) his or her
          spouse and children are entitled due to the covered person's entitlement; and
  (c)     All reduced retirement benefits paid to: (i) the covered person ; and (ii) his or her spouse and
          children due to the covered person's receipt of such benefits.
  We do not reduce the covered person's gross monthly benefit by the retirement benefits described in (b)
  and (c) above, to the extent that the covered person and his or her dependents were entitled to receive
  such income prior to the start of disability. We will reduce the gross monthly benefit by marginal increases
  in such income the covered person and his or her dependents were entitled to receive after disability
  begins.
  We will reduce the covered person's gross monthly benefit by benefits referred to in (a), (b) and (c) above,
  net of attorney fees approved by the Social Security Administration .
  We will reduce the covered person's gross monthly benefit by benefits referred to in (a), (b) and (c) above
  to which his or her spouse and children are entitled due to the covered person 's receipt of, or entitlement
  for, disability benefits. We do this without regard to: (a) his or her marital status; (b) where he or she lives;
  (c) where his or her spouse lives; (d) where his or her child lives; or (e) any custody arrangements made
  on behalf of his or her child .
        Income of the type that is included in a covered person's insured earnings for purposes of
        determining his or her gross monthly benefit under this plan.
        That portion of retirement plan retirement benefits which the employer funds .
        That portion of retirement plan disability benefits which the employer funds.
        Retirement benefits or retirement plan disability benefits, due to the covered person's disability, from
        any government plan other than those shown above.


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         Disability benefits from any: (1) no-fault motor vehicle coverage; (2) motor vehicle financial
         responsibility act; or (3) like law.
         Payment or settlement, with or without admission of liability, from: (1) a Workers' Compensation law;
         (2) an occupational disease law; or (3) any other act or law of like intent. This includes: (a) the Jones'
         Act ; (b) the Longshoreman's and Harbor Workers' Compensation Act; or (c) any Maritime doctrine of
         Maintenance, Wages or Cure. If the covered person receives a payment net of attorney fees approved
         by the Workers' Compensation Board or similar authority, we reduce our benefit by the net payment.
         Disability benefits from any third party when the covered person's disability is the result of the
         neg ligence or intentional tort liability of that third party.
         Unemployment compensation benefits.
         Payment from the covered person 's employer as part of a termination or severance agreement.
We integrate a covered person's gross monthly benefit with income shown above that he or she is entitled to
receive without regard to the reason he or she is entitled to receive it.
Our right to reduce a covered person 's benefit by such income shall not be negated by a transfer of claim
liability to a third party. Payment by such third party by law, settlement, judgment, waiver or otherwise shall
not negate our right.
GP-1-L TD07-4.2                                                                                           P383.0231


Options A and E

Other Income Not Subject to Deduction: We will not reduce a covered person 's gross monthly benefit by
any income he or she receives or is entitled to receive from the list below.
   Deferred compensation arrangements such as 401 (k) , 403(b) or 457 plans;
   Profit sharing plans;
   Thrift plans;
   Tax sheltered annuities;
   Stock ownership plans;
   Individual Retirement Accounts (IRA) ;
   Individual disability income plans;
   Credit disability insurance;
   Non qualified plans of deferred compensation;
   Pension plans for partners;
   Retirement plans of another employer not affiliated with this plan;
   Military pension and disability plans;

Lump Sum Payments of Other Income: Income with which we integrate may be paid in a lump' sum. In this
case , we take the equivalent monthly rate stated in the award into account when we determine a covered
person's monthly benefit. If no monthly rate is given , we pro-rate the lump sum over the lesser of: (a) 60
months; or (b) the expected remaining number of months for which the covered person would be entitled to
benefits from this plan, based on the proof of loss submitted to us.

Cost of Living Freeze: A covered person may receive a cost of living increase in other income with which
we integrate. In this case , we do not further reduce his or her monthly benefit by the amount of such increase.

Application for Other Income: A covered person must apply for other income benefits to which he or she
may be entitled . If these benefits are denied, the covered person must appeal until: (a) all possible appeals
have been made; or (b) we notify him or her that no further appeals are required .



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If we feel the covered person is entitled to receive such income benefits, we will estimate the amount due to
him or her and his or her spouse and children . We will take this estimated amount into account when we
determine the covered person 's monthly benefit. But, we will not take this estimated amount into account if he
or she signs our reimbursement agreement. In this agreement the covered person promises: (a) to apply for
any benefits for wh ich he or she may be eligible; (b) to appeal any denial of such benefits until all possible
appeals have been made; and (c) to repay any amount we overpaid due to an award of such benefits.
If we do reduce the covered person's gross monthly benefit by an estimated amount, we will adjust his or her
monthly benefit when we receive written proof: (a) of the amount awarded ; or (b) that the other income
benefits have been denied ; and no further appeals are possible. If we underpaid the covered person, we pay
the full amount of the underpayment in a lump sum.
We will assist the covered person in applying for other income benefits.
GP-1-LTD07-4 .3                                                                                        P383.0235

Options A and E

Adjustment of Monthly Benefit for Disability Earnings: We adjust the monthly benefit for disability earnings
as follows.
For each of the first 12 months of payments, following the date the covered person first has disability
earnings, add his or her gross monthly benefit and his or her disability earnings.
   (a) If the sum is not more than 100% of the covered person 's indexed insured earnings, we do not reduce
       his or her monthly benefit.
   (b) If the sum is more than 100% of the covered person 's indexed insured earnings, we reduce his or her
       monthly benefit by the amount over 100% of his or her indexed insured earnings.
For each month thereafter, we pay the greater of the amount calculated under Method 1 or Method 2.
   Method 1:
   (a) If the covered person's disability earnings are less than 20% of his or her indexed insured earnings, we
       do not reduce his or her monthly benefit.
   (b) If the covered person's disability earnings are 20% or more of his or her indexed insured earnings, we
       reduce his or her monthly benefit by 50% of his or her disability earnings.
   Method 2:
   (a) Subtract the covered person's disability earnings from his or her indexed insured earnings.
   (b) Divide the result in (a) above by the covered person 's indexed insured earnings.
   (c) Multiply the result in (b) above by the covered person 's monthly benefit. This is the amount we pay.
If a covered person's disability earnings fluctuate widely from month to month , we may adjust his or her
monthly benefit using an average disability earnings amount. The average disability earnings amount will be
computed using the covered person 's most current month's disability earnings and the prior two months
disability earnings.

Maximum Allowable Disability Earnings: This plan limits the amount of income a covered person may earn ,
or may be able to earn , and still be considered disabled.
If the covered person's disability earnings_are more than the limit shown below , payments from this plan will
end . Payments from this plan will also end if he or she is able to earn more than the limit shown below:
   (a) During the elimination period and the own occupation period , the limit is 80% of the covered person's
       indexed insured earnings.
   (b) After this plan has paid benefits for 24 months in a row , the limit is 60% of the covered person's
       indexed insured earnings.
GP-1-L TD07-5 .0                                                                                       P383.0293




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Options A and E

Indexing: We apply an indexing factor to a covered person 's insured earnings on the date he or she has
received 12 consecutive monthly payments and each anniversary thereafter. This factor increases the amount
of income the covered person may earn and still be considered disabled. This adj ustment does not increase
his or her gross monthly benefit, monthly benefit, or any other benefit under this plan.
To make the first adjustment, we multiply the covered person's insured earnings by the indexing factor for
that year. To make adjustments in each later yea r, we multiply the amount of his or her last indexed insured
earnings by the indexing factor for the current year.
The indexing factor is the lesser of: (a) 10%; or (b) one-half of the CPI-W from the prior December.

Minimum Payment: The minimum monthly payment for disability under this plan is the larger of: (a) 15% of
the covered person's gross monthly benefit; or (b) $100.00.
GP-1-LTD07-5.1                                                                                         P383.0162


Options A and E
                                             Limitations and Exclusions

Disabilities with a Limited Maximum Payment Period: We limit the maximum payment period, if the
covered person is disabled due to: (a) a mental illness; (b) drug or alcohol abuse; or (c) a specific condition
listed below. However, if the covered person has a coexistent condition , not subject to the limitations in this
section, which is disabling in and of itself, we will not limit benefits as described below.
The maximum payment period for all periods of disability due to: (a) a mental illness; (b) drug or alcohol
abuse; or (c) a specific condition listed below is 24 months. This is a combined maximum for all such
conditions and all periods of disability.
The specific conditions subject to a limited maximum payment period include the following :
       Musculoskeletal and connective tissue disorders including, but not limited to:
                 Sprains or strains of joints and muscles
                 Soft tissue conditions
                 Repetitive motion syndromes or injuries
                 Fibromyalgia
       Chronic fatigue conditions including, but not limited to:
                 Chronic fatigue syndrome
                 Chronic fatigue immunodeficiency syndrome
                 Epstein-barr syndrome
       Chemical and environmental sensitivities
       Headache
       Chronic pain, Myofascial pain
       Gastro-esophageal reflux disorder
       Irritable bowel syndrome
       Vestibular dysfunction , vertigo, dizziness
This limitation will not apply to disabilities caused or contributed to by the following conditions:
       Arthritis
       Ruptured intervertebral discs



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        Spinal fractures
        Osteopathies
        Spin al tumors , mal ignancy or vascu lar malformations
        Radiculopathies, documented by EMG
        Spondylolisthesis, Grade II or higher
        Myelopathies
        Demyelinating diseases
        Traumatic spinal cord necrosis
No benefits will be paid for disability due to a mental illness or drug or alcohol abuse if the covered person is
not receivi ng treatment for the cause of the disability from a provider, or in a facility that is: (a) licensed by the
state to provide treatment for such condition ; and (b) accredited or approved by the Joint Commission on the
Accreditation of Health Care Facilities or Medicare.
If payments under th is plan would end due to the limits in th is section , we may extend such payments, as
shown below. But, the covered person must meet all of the following conditions: (a) he or she must be
disabled due to a condition named above; (b) he or she must be an inpatient in a qualified institution because
of his or her disability; and (c) he or she must have been treated as an inpatient for at least 14 days in a row.
In such case, we extend payments until the earliest of: (i) 90 days from the date of his or her discharge; (ii)
the end of this plan's maximum payment period; or (iii) the date his or her disability ends .
The term "qualified institution" means a legally operated hospital or other public or private facility licensed to
provide inpatient medical care and treatment for the cause of the covered person 's disability.
GP-1 -LTD0?-6 .0                                                                                             P383. 0279


Options A and E

Pre-Existing Cond itions: A pre-existing con dition is an injury or sickness, whether diagnosed or
misdiagnosed , and any symptoms thereof, for which, in th e look back period , a covered person:
(a)     rece ives advice or treatment from a doctor;
(b)     undergoes diagnostic procedures other than routine screening in the absence of symptoms or suspicion
        of disease process by a doctor;
(c)     is prescribed or takes prescription drugs ; or
(d)     rece ives other medical ca re or treatment, includ ing consultation with a doctor.
The "look back period" is the three months before the latest of: (a) the effective date of the covered person's
insurance under th is plan; (b) the effective date of a change that increases the benefits payable by this plan;
and (c) the effective date of a change in the covered person's benefit election that increases the benefit
payable by this plan.
No benefits are payable for disability: (a) caused by; (b) contributed to by; or (c) resulting from ; a pre-existing
condition ; unless the disability starts after the covered person completes at least one full day of active work
after the date he or she is insured under this plan for 12 months in a row.
A covered person 's disability: (a) caused by; (b) contributed to by; or (c) resulting from ; a pre-existing
cond ition may begin after: (a) a change which provides for an increase in the benefits payable by th is plan; or
(b) a change in his or her benefit election which increases the benefit payable by this plan. In this case , the
covered person 's benefit will be limited to the amount that would have been payable had the change not taken
place. But, this limit does not apply if the covered person 's disability starts after he or she completes at least
one full day of active work after the change has been in force for 12 months in a row.
We do not cover any disability that starts before the covered person 's insurance under this plan.
GP-1-LTD07-6.1                                                                                               P383.0241




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Options A and E

Prior Coverage Credit: If this plan replaces a similar income replacement plan the plan sponsor had with
another insurer, the pre-existing condition provision may not apply to a covered person . This plan must start
within 60 days after the old plan ends.
The pre-existing condition provision will be waived for any covered person who: (a) is actively working on the
effective date of this plan; and (b) fulfilled the requirements of any pre-existing condition provision of the old
plan.
If the covered person : (a) was covered under the old plan when it ended ; (b) enrolls for insurance under this
plan on or before this plan 's effective date; and (c) is actively working on the effective date of this plan; but
(d) has not fulfilled the requirements of any pre-existing condition provision of the old plan; we credit any time
used to meet the old plan's pre-existing condition provision toward meeting this plan 's pre-existing condition
provision .
But, we limit a covered person 's maximum monthly benefit under this plan if: (a) it is more than the maximum
monthly benefit for which he or she was insured under the old plan ; (b) he or she becomes disabled due to a
pre-existing condition ; and (c) this plan pays benefits for such disability because we credit time as explained
above. In this case , we limit the maximum monthly benefit to the amount the covered person would have been
entitled to under the old plan.
We deduct all payments made by the old plan under an extension provision .
GP-1-L TD0?-6.2-AR                                                                                         P383.1046


Options A and E

Exclusions: This plan does not pay benefits for disability caused by, or related to:
   (a)   declared or undeclared war, act of war, or armed aggression ;
   (b)   service in the armed forces , National Guard , or military reserves of any state or country;
   (c)   a covered person taking part in a riot or civil disorder;
   (d)   a covered person's commission of, or attempt to commit a felony, for which he or she has been
         convicted;
   (e)   the covered person's voluntary use of any poison , chemical , prescription or non-prescription drug or
         controlled substance unless: (a) it was prescribed for him or her by a doctor; and (b) it was used as
         prescribed. In the case of a non-prescription drug , we do not pay for any loss resulting from or
         contributed to by the covered person 's use in a manner inconsistent with package instructions. A
         controlled substance is anything called a controlled substance in Title II of the Comprehensive Drug
         Abuse Prevention and Control Act of 1970, as amended from time to time; or
   (f)   intentional self-inflicted injuries.
We do not pay any benefits for any period of disability:
   (1)   during which the covered person is confined to a facility as a result of his or her conviction of a crime;
   (2)   during which the covered person is receiving medical treatment or care outside the United States or
         Canada unless expressly authorized by us;
   (3)   which starts before the covered person is insured by this plan; or
   (4)   during which the covered person 's loss of earnings is not solely due to his or her disability.
GP-1-L TD0?-7.0                                                                                            P383.1901




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Options A and E
                                                    Services

Social Security Assistance: This plan requires all disabled covered persons to apply for Social Security
benefits. (See the "Application for Other Income" section of th is plan .) If we believe a covered person to be
eligible for such benefits , we may offer to assist him or her in applying for them. Receiving Social Security
benefits will protect a covered person 's earnings record for retirement and enable him or her to qualify for
Medicare coverage after 24 months.
Services we can provide include:
(a)   Help in completing the covered person 's application for such benefits, and any related forms ;
(b)   Assistance finding suitable legal counsel ; and
(c)   Copies of medical and vocational data needed to fi le the covered person 's cla im.
We may also provide these and other services if a covered person's benefits are under review for possible
termination by the Social Security Administration .
The covered person must apply for all income benefits for which he or she may be eligible, whether or not he
or she uses our help. Using our help does not cancel the covered person 's duties shown in the "Application
for Other Income" section of this plan.

Rehabilitation and Case Management: We will review the covered person's disability to see if certain
services are likely to help him or her return to gainful work. If needed , we may ask for more medical or
vocational information.
When our review is complete, we may offer the covered person a rehabilitation program. We have the right to
suspend or end his or her monthly benefit if he or she does not accept it.
The rehabilitation program will start when a written rehabilitation agreement is signed by: (1) the covered
person ; (2) us; and (3) the covered person's employer, if needed . The program may include, but is not limited
to:
(a)   vocational assessment of the covered person 's work potential ;
(b)   coordination and transition planning with an employer for the covered person's return to work ;
(c)   consulting with the covered person's doctor on his or her return to work and need for accommodations;
(d)   training in job seeking skills and resume preparation ;
(e)   retraining ; and
(f)   assistance with fami ly care expenses a covered person incurs in order to participate in a rehabilitation
      program. (See the "Dependent Care Expenses" section of this plan.)
We have the right to determine which services are appropriate.
If the covered person accepts the rehabilitation agreement, we will pay an enhanced benefit. The enhanced
benefit will be 110% of the monthly benefit that would otherwise be paid. This enhanced benefit will be
payable as of the first monthly benefit after the rehabilitation program starts.
We stop paying the enhanced benefit on the earliest of:
(a)   The date the covered person 's benefits from this plan end;
(b)   The date the covered person violates the terms of the rehabilitation agreement;
(c)   The date the covered person ends the rehabilitation program; and
(d)   The date the rehabilitation agreement ends.
If the covered person ends a rehabilitation program without our consent, he or she must repay any enhanced
benefits paid .




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Dependent Care Expenses: While a covered person is participating in a rehabilitation program, we will pay a
dependent care expense benefit, when all of the following conditions are met:
(a)     the covered person incurs expense to provide care for a qualified dependent;
(b)     the care is provided by a licensed provider other than a family member.
A qualified dependent is: (a) dependent upon the covered person for main support and maintenance; and (b)
under the age of fourteen and a covered person 's: (i) biological ch ild; (ii) lawfully adopted child; (iii) stepchild;
or (iv) any other child who is living with him or her in a regular parent-child relationship; or (c) a family
member age 14 or over who is physically or mentally incapable of caring for him or herself; or (c) a family
member age 14 or over who is physically or mentally incapable of caring for him or herself.
The dependent care expense benefit will be the lesser of: (a) $350 per month per qualified dependent; not to
exceed $1 ,000 per month for all qualified dependents combined; and (b) the actual monthly day care expense
incurred by the covered person.
We will stop paying the dependent care expense benefit on the earlier of the date the covered person is no
longer: (a) incurring dependent care expenses for a qualified dependent; (b) participating in a rehabilitation
program; or (c) entitled to receive a monthly benefit from this plan.
GP-1-L TD0?-8.0                                                                                              P383.2133


Options A and E

Worksite Modification Benefit: In order to accommodate a covered person 's disability, an employer may
incur a cost to modify his or her worksite. We may reimburse the employer, up to $2,500 for the cost of the
worksite modification. We make this payment if we agree that the modification will enable the covered person
to: (a) return to work; or (b) remain at work.
GP-1 -LTD0?-8 .1                                                                                             P383.0252


Options A and E

Early Intervention Services: This plan includes Early Intervention services as part of our disability
management program. The intent of these services is to: (a) assist disabled persons in reaching better
outcomes; and (b) support the employer's absence management goals by promoting stay-at work and
return-to work agendas where possible.
The key to success of an early intervention program is prompt notification of work absences which have the
potential to exceed this plan's elimination period. With prompt notification , we are able to more effectively
manage the potential claim.
When a covered person is disabled from one of the conditions listed below, a long term disability claim form
should be completed as soon as possible following the date of disability. To facilitate an immediate
intervention , the form should be submitted to us within one week of the date the covered person's disability
begins.

         Chronic fatigue conditions, including Epstein-barr syndrome
         Mental illness
         repetitive motion syndromes or injuries
         Fibromyalgia
         Back pain/strain
         Neck pain/strain
         Chronic pain
         Diabetes
         Cardiovascular conditions



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Upon receipt of the completed cla im form , we will determine whether the claim is appropriate for Early
Intervention services . The covered person will be notified of our decision . Examples of services, which we
may provide, at our discretion , include, but are not limited to: (a) job accommodation ; (b) ergonomic
adjustments to workstations; (c) proactive case management consultations with a disabled covered person's
doctor or other providers of medical care.
GP-1-L TD07-8. 2                                                                                            P383.0254


Options A and E

The Survivor Benefit: We may pay a survivor benefit if a covered person dies after he or she: (a) had been
disabled for at least six months in a row; and (b) was entitled to receive at least one full monthly benefit.
When we receive proof of the covered person 's death , we pay his or her eligible survivor a lump sum benefit.
We pay a benefit equal to 3 times the amount of the covered person's last monthly benefit after it is reduced
by disability earnings. But, we first apply such benefit to reduce any overpayment he or she may owe us.

If the covered person has no eligible survivor, no survivor benefit is paid .
The covered person 's eligible survivor is his or her spouse, if living.
If the covered person's spouse is not living , his or her eligible survivor is his or her: (a) unmarried child under
age 20; and (b) unmarried child under age 26 who is enrolled as a full-time student at an accredited school. If
there is more than one such child when the covered person dies, this benefit will be paid to each child in
equal shares.

Accelerated Survivor Benefit: If a covered person has a terminal illness , we may accelerate payment of this
plan 's survivor benefit.
For purposes of the accelerated survivor benefit, a terminal illness means a medical condition that is expected
to result in the covered person 's death within 6 months.
To receive an accelerated survivor benefit, the covered person must: (a) be entitled to receive a monthly
benefit from this plan; (b) request this benefit in writing ; and (c) provide written proof of terminal illness from a
doctor. However, we will not pay an accelerated survivor benefit if there are less than 6 months remaining in
the maximum benefit period.
If the covered person elects to receive an accelerated survivor benefit. no survivor benefit is payable upon his
or her death .
GP-1-LTD07-9.1                                                                                              P383.0271


Options A and E

Critical Care FMLA Benefit: A covered person may go on a family medical leave of absence to provide
full-time care for a dependent. If so, he or she may be eligible for this benefit.
To start getting this benefit, the covered person must meet all of the conditions shown below:
(a)     He or she must have been employed by the employer from whom he or she is requesting the leave for
        at least: (i) 12 months prior to the date the leave is to start; and (ii) 1250 hours of service during the
        prior 12 month period ;
(b)     He or she must be insured by this plan at the start of his or her leave;
(c)     He or she must provide proof that the employer has approved his or her leave within the Federal Family
        and Medical Leave Act of 1993 guidelines;
(d)     His or her leave must extend for at least 30 days;
(e)     He or she must not be working on a full-time or part-time basis during his or her leave; and
(f)    The purpose of his or her leave must be to permit him or her to provide full-time care for a dependent
       who suffers from a sickness or injury.



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Subject to all the terms of this plan, we pay $500.00 per month while the covered person is on leave.
If the covered person's leave is for part of a month , we compute his or her payment as 1130th of the benefit
to which he or she would be entitled for the full month times the number of days he or she is on leave.
Payment will not be made for more than 30 days in any month. This benefit is paid monthly, in arrears.
We stop paying this benefit on the earliest of the dates shown below:
(a)     The date the covered person goes back to work on a full-time or part-time basis;
(b)     The date the covered person becomes disabled;
(c)     The date the covered person 's employment with his or her employer ends;
(d)     The date this plan ends;
(e)     The date this plan is amended to end insurance for the covered person's class;
(f)     The date the covered person's employer approved family medical leave ends; and
(g)     The end of the maximum payment period for this benefit.
The lifetime maximum payment period for th is benefit is 12 weeks.
GP-1-L TD07-9 .2                                                                                         P383.0273


Options A and E

Income Recovery Benefit: This plan may pay an Income Recovery Benefit, if monthly benefits cease
because a covered person is no longer disabled.
To be eligible for the Income Recovery Benefit, the covered person must be:
(a)     able to perform the major duties of his or her own occupation; or
(b)     if this plan has already paid benefits for the own ocCL1pation period, able to perform the major duties of
        any gainful occupation; and
(c)     working in his or her own occupation the same number of hours as he or she did prior to disability; and
(d)     unable to earn this plan's maximum allowable disability earnings, due to the sickness or injury which
        caused the prior disability.
We pay this benefit monthly, in arrears. We determine the amount we pay in two steps. In step one, we
compute the following : (a) the covered person's gross monthly benefit as of the last month he or she was
disabled under the terms of this plan; less (b) any other income this plan integrates with that he or she is
entitled to receive. In step two we make a current earnings adjustment. We add: (a) the covered person's
gross monthly benefit as of the last month he or she was disabled under the terms of this plan; and (b) his or
her current disability earnings. If such sum exceeds 100% of the covered person 's insured earnings, we pay
the amount in step one less the excess over 100%. If such sum does not exceed 100%, we pay the amount
in step one.
We stop paying this benefit on the earliest of:
(a)     the date the covered person is able to earn this plan's maximum allowable disability earnings;
(b)     the date the covered person becomes disabled;
(c)     the date the covered person stops working ;
(d)     the date 12 consecutive months after the first Income Recovery Benefit is paid; or
(e)     the end of the maximum payment period.
We will not pay more than 12 monthly Income Recovery Benefit payments following any one period of
disability, including any recurrent disability
GP-1-L TD07-9.5                                                                                          P383.0274




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Options A and E
                                                  Claim Provisions

Administration:We,as part of our routine operations, apply the terms of this Planfor making decisions,
including making determinations regarding eligibility, receipt of benefits and claims, or explaining our
administrative policies, procedures, and processes. All such determinations are conclusive and binding , except
that they may be modified or reversed by a court or regulatory agency with appropriate jurisdiction .

Notice: A covered person must send us written notice of his or her intent to file a claim under this plan as
described in "Accident and Health Claims Provisions."
For details, the covered person can call Guardian at 1-800-538-4583.

Proof of Loss: When we receive a covered person 's notice, we will provide him or her with a claim form for
filing proof of loss. This form requires data from the employer, the covered person , and the doctor(s) treating
the covered person for his or her sickness or injury. Proof of loss must be given to us within the time stated
in "Accident and Health Claims Provisions." If the covered person does not receive a claim form within 15
days of the date he or she sent his or her notice, he or she should send us written proof of loss without
waiting for the form.
Proof of loss, provided at the covered person 's expense, consists of the following. Failure to provide this
information may delay, suspend , reduce or terminate the covered person's benefits.
  (a) The date disability began ;
  (b) The covered person's last day of active work;
  (c) The cause of disability;
  (d) The extent of disability, including limitations and restrictions preventing the covered person from
      performing the major duties of his or her own occupation and any gainful occupation.
  (e) If the covered person's occupation requires that he or she carry liability or malpractice insurance, any
      changes to such insurance that become effective on or after the date of disability;
  (f) Objective medical evidence in support of the covered person 's limitations and restrictions, beginning
      with the date disability began ;
  (g) The prognosis of disability;
  (h) The name and address of all doctors, hospitals and health care facilities where the covered person has
      been treated for his or her disability since the date disability began ;
  (i)   Proof that the covered person: (i) is currently; and (ii) has been receiving regular and appropriate care
        from a doctor, from the date disability began ;
  U)    Proof of insured earnings, and , if applicable, disability earnings;
  (k) Payroll or absence data from the employer for the three months prior to the date disability began , or
      other period we specify;
  (I)   Proof of application for all other sources of income to which the covered person may be entitled, that
        may affect his or her payment from this plan; and
  (m) Proof of receipt of other income that may affect the covered person 's payment from this plan.
The covered person must provide objective medical evidence from a doctor who is not him or herself, his or
her spouse, ch ild, parent, sibling or business associate.
Proof of insured earnings and disability earnings may consist of: (1) copies of the covered person 's W-2
forms ; (2) payroll records from the covered person 's employer(s); (3) copies of the covered person's U.S.
Individual Income Tax Returns; (4) cop ies of the U.S. income tax returns from any business in which the
covered person holds an ownership or shareholder interest; (5) a statement from a certified public accountant;
(6) copies of any income records accepted or required by the I.RS; or (7) any other records we deem
necessary .


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Proof of loss and other claim data should be submitted to:

                               The Guardian Life Insurance Company of America
                                Group Long Term Disability Claims Department
                                               P.O. Box 26025
                                        Lehigh Va lley, PA 18002-6025

Authorization Required : The covered person must provide us with written , unaltered authorizations to obtain
medical, financial , vocational , occupational , and governmental information requi red to determine our liability
under this plan. The covered person must provide us with such authorizations as often as we may require , in
orde r that they remain current. Failure to provide such authorizations may delay, suspend or terminate the
covered person's benefits.

Right to Request Medical, Financial or Vocational Assessment: We may ask a covered person to take
part in a medical, financial, vocational or other assessment that we feel is necessary to determine whether the
terms of the plan are met. We may require this as often as we feel is reasonably necessary. We will pay for
all such assessments. But, if the covered person postpones a scheduled assessment without our approval ,
the covered person will be responsible for any rescheduling fees . If the covered person does not take part in
or cooperate with the assessment, we have the rig ht to stop or suspend his or her payments under this plan.

Ongoing Proof of Loss: To continue to receive payments from this plan, a covered person must give us
current proof of loss as often as we may reasonably require. Ongoing proof of loss must be provided to us
within 30 days of the date we request it.

Payment of Benefits: We pay benefits to the covered person , if he or she is legally competent. If he or she
is not, we pay benefits to the legal representative of his or her estate. Benefits are paid in US dollars.
We pay benefits once each month at the end of the period for which they are payable.
No benefits are payable for this plan's elimination period
Benefits to which the covered person is entitled may remain unpaid at his or her death. Such benefits may be
paid at our discretion to: (a) his or her estate; or (b) his or her spouse, parents, ch ildren , or brothers and
sisters.

Partial Month Payment: A covered person may be disabled for only part of a month . In this case, we
compute his or her payment as 1130th of the benefit to which he or she would be entitled for the full month
times the number of days he or she is disabled. Payment will not be made for more than 30 days in any
month.

Overpayment Recovery: If we overpaid a covered person , he or she must repay us in full. We have the right
to reduce his or her payment or apply any benefits payable, including the minimum payment, toward recovery
of the overpayment.
GP-1-L TD0?-11 .0                                                                                        P383.2159




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Options A and E
                                                    Definitions

Active Work, Actively-At-Work or Actively Working: A covered person is able to perform and is performing
all of the regular duties of his or her work for his or her employer, on a full- time basis at: (a) one of his or her
employer's usual places of business ; (b) some place where his or her employer's business requires him or
her to travel ; or (c) any other place he or she and his or her employer have agreed on for his or her work.

CPI-W: That part of the United States Department of Labor Consumer Price Index that measures the relative
value of the cost of a typical urban wage earner's purchase of certain goods and services. If the Department
of Labor stops publishing the CPI-W, we have the right to use some other similar standard.
GP-1-LTD07-12.0                                                                                            P383.0101


Options A and E

Disability or Disabled: These terms mean that a current sickness or injury causes physical or mental
impairment to such a degree that the covered person is:
  (1) During the elimination period and the own occupation period, not able to perform , on a full-time basis,
      the major duties of his or her own occupation.
  (2) After the end of the own occupation period , not able to perform, on a full-time basis, the major duties of
      any gainful work.
The covered person is not disabled if he or she earns, or is able to earn , more than this plan's maximum
allowed disability earnings.
The covered person may be required, on average, to work more than 40 hours per week. In this case, he or
she is not disabled if he or she is able to work for 40 hours per week.
Neither: (a) loss of a professional or occupational license; or (b) receipt of or entitlement to Social Security
disability benefits; in and of themselves constitute disability under this plan.
GP-1-LTD07-12.1                                                                                            P383.0103


Options A and E

Disability Earnings: The monthly income a covered person earns from working while disabled. It includes
salaries, wages, commissions , bonuses and any other compensation earned or accrued while working
including pension, profit sharing contributions, sick pay, paid time off, holiday and vacation pay. When the
covered person has an ownership interest in the business, disability earnings also includes business profits ,
attributable to him or her, whether received or not. It includes any income the covered person earns while
disabled and returns to his or her employer, partnership, or any other similar business arrangement to cover
any business or overhead expenses. If the covered person has the ability to work on a part-time or full-time
basis, following the earlier of the date he or she: (a) has been terminated from employment with the employer;
(b) has been disabled for 12 months in a row; or (c) has been offered a job or workplace modification by the
employer and he or she does not return to work ; disability earnings also includes maximum capacity earnings.

Doctor: Any medical practitioner we are required by law to recognize. He or she must: (a) be properly
licensed or certified by the laws of the state where he or she practices; and (b) provide services that are
within the lawful scope of his or her practice.

Elimination Period: The period of time a covered person must be disabled, due to a covered disability,
before this plan 's benefits are payable.




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Any days during which the covered person returns to work earning more than 80% of his or her insured
earnings will not count toward the elimination period. If he or she is or becomes eligible under any other
similar group income replacement plan while he or she is working during the elimination period, he or she will
not be entitled to benefits from this plan.
We do not require a covered person to complete an elimination period if: (a) he or she was covered under a
similar income replacement plan the plan sponsor had with another insurer on the day before this plan starts;
(b) the covered person's disability would have been a recurring disability under the prior plan had it remained
in effect.

Employer: The business entity that employs a covered person and is: (a) the plan sponsor; or (b) associated
with the plan sponsor.

Gainful Occupation or Gainful Work: Work for which a covered person is, or may become, qualified by: (a)
training ; (b) education ; or (c) experience. When a covered person is able to perform such work on a full-time
basis, he or she can be expected to earn at least 60% of his or her indexed insured earnings within 12
months of returning to work.

Government Plan: Any of the following: (1) the United States Social Security Act; (2) the Railroad Retirement
Act; (3) the Canadian Pension Plan; or (4) any other plan provided under the laws of a state, province or any
other political subdivision. It also includes: (a) any public employee retirement plan; or (b) any plan provided in
place of the above named plan or acts. It does not include: (i) any Workers ' Compensation Act or similar law;
(ii) the Jones' Act; (iii) the Longshoreman 's and Harbor Workers' Compensation Act; or (iv) the Maritime
Doctrine of Maintenance, Wages, or Cure.

Gross Monthly Benefit: This plan 's monthly benefit before it is integrated with other income and earnings.

Injury: A bodily injury due to an accident that occurs, independent of all other causes , while a covered person
is insured by this plan . We will cover a disability caused by an injury when the disability starts within 90 days
of the date of such injury.
GP-1-L TD07-12 .12                                                                                        P383.0202


Option A

Insured Earnings: Only a covered person's earnings from the employer will be included as insured earnings.
We calculate benefit amounts and limits based on the amount of the covered person's insured earnings as of
the Redetermination date immediately prior to the start of his or her disability. See the "Redetermination"
section of this plan.
For Partners and S Corporation Shareholders:
Insured earnings means the sum of the amounts listed below, divided by 12.
(a)    His or her compensation as an employee or S Corporation shareholder, as reported on his or her
       Federal Income Tax Return, Form 1040, for the prior calendar year, less the gross total of unadjusted
       employee business expenses as included on the corresponding Schedule A-Itemized Deductions;
(b)     His or her non-passive income (loss) from trade or business as reported on Schedule E-Part II of his or
        her Federal Income Tax Return , Form 1040, for the prior calendar year, less any expenses incurred and
        reported elsewhere on his or her Return ; and
(c)    His or her contributions during the prior calendar year, deposited into a: (a) cash or deferred
       compensation plan , or salary reduction plan , qualified under IRC Section: 401 (k); 403(b); 457; or similar
       plan; and (b) elective employee pre-tax deferrals to a Section 125 plan or flexible spending account.
The covered person may not have been a partner or S Corporation shareholder for the entire previous
calendar year. In this case, the covered person 's earnings are based on the monthly average of the sum of
the listed amounts, averaged for the full number of months that he or she was a partner or an S Corporation
shareholder during such calendar year.



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For Sole Proprietors:
Insured earnings means: (a) the average monthly net profit as determined from Schedule C - Part II of the
covered person 's Federal Income Tax Returns, Form 1040, for the prior calendar year; plus (b) the covered
person 's average monthly contribution during the prior calendar year deposited into a: (i) cash or deferred
compensation plan , or salary reduction plan , qualified under IRC Section: 401 (k); 403(b) ; 457; or similar plan;
and (ii) a Section 125 plan or flexible spending account. Monthly net profit is calcu lated as gross income less
total expenses. The covered person may not have been a sole proprietor for the previous calendar year. In
this case , we calculate average monthly net profit and average monthly contributions using the full number of
months that he or she was a sole proprietor during such calendar year.
For Covered Persons Who Are Compensated on Less Than a 12 Month Basis:
Insured earnings means the covered person's average rate of monthly earnings determined from his or her
annual contract salary. Insured earnings also includes the covered person 's contributions deposited into a: (a)
cash or deferred compensation plan , or salary reduction plan , qualified under IRC Section : 401 (k) ; 403(b) ;
457 ; or similar plan ; and (b) elective employee pre-tax deferrals to a Section 125 plan or flexible spending
account. Insured earnings does not include bonuses, commissions , overtime pay, expense accounts, stock
options and any other extra compensation . We do not include pay for hours worked or billed over 40 per
week. Earnings based on excluded income and employer contributions deposited into such 401 (k); 403(b);
457 ; or similar plan are excluded .
For Covered Persons Whose Income Is Reported on a IRS Form 1099:
Insured earnings means the covered person's average rate of monthly earnings as figured from the 1099 form
received from the employer for the prior calendar year, calculated as (a) minus (b), divided by 12 or the
number of months the covered person worked for the employer during such calendar year, if less than 12.
(a)    his or her earned income as reported on the 1099 form .
(b)    business expenses, as reported on Schedule C - Part II of his or her Federal Income Tax Return, Form
       1040.
Insured earnings also includes the covered person 's contributions deposited into a: (a) cash or deferred
compensation plan , or salary reduction plan , qualified under IRC Section: 401 (k); 403(b) ; 457; or similar plan ;
and (b) elective employee pre-tax deferrals to a Section 125 plan or flexible spending account.
Earnings based on excluded income and employer contributions deposited into such 401 (k); 403(b); 457; or
similar plan are excluded .
For All Other Covered Persons:
Insured earnings means a covered person 's base monthly salary. Insured earnings also includes the covered
person's contributions deposited into a: (a) cash or deferred compensation plan , or salary reduction plan ,
qualified under IRC Section: 401 (k) ; 403(b) ; 457; or similar plan ; and (b) elective employee pre-tax deferrals to
a Section 125 plan or flexible spending account. Insured earnings does not include bonuses, commissions ,
overtime pay, expense accounts , stock options and any other extra compensation . We do not include pay for
hours worked or billed over 40 per week. Earnings based on excluded income and employer contributions
deposited into such 401 (k) ; 403(b); 457; or similar plan are excluded .
GP-1-LTD07-12.13                                                                                           P383.1837




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Option E

Insured Earnings: Only a covered person 's earnings from the employer wil l be included as insured earnings.
We calculate benefit amounts and limits based on the amount of the covered person 's insured earnings as of
the Redetermination date immediately prior to the start of his or her disability. See the "Redetermination"
section of th is plan.
For Partners and S Corporation Shareholders:
Insured earnings means the sum of the amounts listed below, divided by 12.
(a)    His or her compensation as an employee or S Corporation shareholder, as reported on his or her
       Federal Income Tax Return , Form 1040, for the prior calendar year, less the gross total of unadjusted
       employee business expenses as included on the correspond ing Schedule A-Itemized Deductions;
(b)    His or her non-passive income (loss) from trade or business as reported on Schedule E-Part II of his or
       her Federal Income Tax Return , Form 1040, for the prior calendar year, less any expenses incurred and
       reported elsewhere on his or her Return ; and
(c)    His or her contributions during the prior calendar year, deposited into a: (a) cash or deferred
       compensation plan , or salary reduction plan , qualified under IRC Section: 401 (k) ; 403(b) ; 457; or similar
       plan; and (b) elective employee pre-tax deferrals to a Section 125 plan or flexible spending account.
The covered person may not have been a partner or S Corporation shareholder for the entire previous
calendar year. In this case , the covered person 's earnings are based on the monthly average of the sum of
the listed amounts, averaged for the full number of months that he or she was a partner or an S Corporation
shareholder during such calendar year.
For Sole Proprietors:
Insured earnings means: (a) the average monthly net profit as determined from Schedule C - Part II of the
covered person 's Federal Income Tax Returns, Form 1040, for the prior calendar year; plus (b) the covered
person's average monthly contribution during the prior calendar year deposited into a: (i) cash or deferred
compensation plan , or salary reduction plan , qualified under IRC Section : 401 (k); 403(b); 457; or similar plan ;
and (ii) a Section 125 plan or flexible spending account. Month ly net profit is calculated as gross income less
total expenses. The covered person may not have been a sole proprietor for the previous calendar year. In
this case , we calculate average monthly net profit and average monthly contributions using the full number of
months that he or she was a sole proprietor during such calendar years.
For Covered Persons Who Are Compensated on Less Than a 12 Month Basis:
Insured earnings means the covered person 's average rate of monthly earnings determined from his or her
annual contract salary. Insured earnings also includes the covered person 's contributions deposited into a: (a)
cash or deferred compensation plan , or salary reduction plan , qualified under IRC Section: 401 (k) ; 403(b) ;
457 ; or similar plan ; and (b) elective employee pre-tax deferrals to a Section 125 plan or flexible spending
account. Insured earnings does not include bonuses, commissions, overtime pay, expense accounts, stock
options and any other extra compensation. We do not include pay for hours worked or billed over 40 per
week. Earnings based on excluded income and employer contributions deposited into such 401 (k) ; 403(b) ;
457; or similar plan are excluded.
For Covered Persons Whose Income Is Reported on a IRS Form 1099:
Insured earnings means the covered person's average rate of monthly earnings as figured from the 1099 form
received from the employer for the prior calendar year, calculated as(a) minus(b) , divided by 12 or the number
of months the covered person worked for the employer during such calendar year, if less than 12.
(a)    his or her earned income as reported on the 1099 form .
(b)    business expenses, as reported on Schedule C - Part II of his or her Federal Income Tax Return , Form
       1040.
Insured earnings also includes the covered person 's contributions deposited into a: (a) cash or deferred
compensation plan, or salary reduction plan , qualified under IRC Section: 401 (k); 403(b) ; 457; or similar plan ;
and (b) elective employee pre-tax deferrals to a Section 125 plan or flexible spending account.


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Earn ings based on excluded income and employer contributions deposited into such 401 (k) ; 403(b) ; 457; or
similar plan are excluded.
For All Other Covered Persons:
W-2 , Preceding Calendar Year:
Insured earnings means the covered person's rate of month ly earnings as figured from the W-2 forms
received from the employer for the prior calenda r yea r. We include as earnings: (a) taxable earned income,
including: (i) bon uses; (ii) commissions ; and (iii) overtime pay; (b) elective employee pre-tax deferrals to a
Section 125 plan or flexible spending account; and (c) contributions to a cash or deferred compensation plan,
or a salary reduction plan, qualified under IRC Section 401 (k), 403(b) or 457, as reported on the covered
person 's W-2 form. We do not include as earn ings: (1 ) expense accounts and other extra compensation ; (2)
stock options exercised ; or (3) employer contributions to a cash or deferred compensation plan or salary
reduction plan. If the covered person was not employed by the employer for the entire prior calendar year,
Insured earnings are based on the month ly average of the sum of the listed amounts, averaged for the full
number of months that he or she was employed by the employer, during such calendar year.
GP-1-LTD0?-12.13                                                                                                     P383.1849


Options A and E

Maximum Capacity Earnings: During the own occupation period , the income a covered person could earn if
working to the fullest extent he or she is able to in his or her own occupation . After the own occupation
period , the income a covered person could earn if worki ng to the ful lest extent he or she is able to in any
gainful occupation. We decide the fullest extent of work a covered person is able to do based on objective
data provided by any or all of the following sources: (a) his or her treating doctor,· (b) impartial medical or
vocational exams ; (c) peer review specialists; (d) fu nctional capacities exams; and (e) other medical and
vocational specialists whose area of expertise is appropriate to the covered person's disability.

Maximum Payment Period: The longest time that benefits are paid by this plan.

Mental Illness: Means any mental disorder, regardless of cause, listed in the Diagnostic and Statistical
Manual of Mental Disorders (DSM) currently in use by the American Psychiatric Association (APA). If the APA
stops publishing the DSM , we have the right to use some other similar standard . A mental illness may be: (a)
caused by; (b) contributed to by; or (c) result in ; physical , biological or chem ical factors or symptoms. For
purposes of th is plan, mental illness does not include: (a) irreversible dementia caused by Alzheimer's
disease, stroke, trauma or viral infection ; or (b) any other condition not typically treated by a psychiatrist,
cl inical psychologist or other qualified mental health practitioner with psychotherapy or psychotropic drugs.

Monthly Benefit: Th is plan 's gross monthly benefit reduced by other income. If a covered person is working
while disa bled, his or her monthly benefit will be further reduced based on the amount of his or her disability
earnings.

No-Fault Motor Vehicle Coverage: A motor vehicle plan that pays disability or medical benefits no matter
who was at fau lt in an accident.

Objective Medical Evidence: May include but is not limited to: (a) diagnostic testing ; (b) laboratory reports;
and (c) med ical records of a doctor's exam documenting : (i) clin ical signs; (ii) presence of symptoms; and (iii)
test results consistent with generally accepted med ical standards supported by nationally recognized
authorities in the health care field .

Own Occupation: Means the occupation: (a) the covered person is routinely performing immediately prior to
disability; (b) which is the covered person's primary source of income prior to disability; and (c) for which he
or she is insured under this plan. Occupation includes any employment, trade or profession that are related in
terms of similar: (i) tasks; (ii) functions ; (ii) skills; (iv) abilities; (v) knowledge ; (vi) training ; and (vii) experience;




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required by employers from those engaged in a particu lar occupation in the general labor market in the
national economy. Occupation is not specific to a certain employer or a certain location.
GP-1 -LTD0?-12.14                                                                                          P383.02 12


Options A and E

Part-Time: The ability to work and earn between 40% and 80% of insured earnings during the own
occupation period and between 40% and 60% of insured earnings after the own occupation period .

Plan Sponsor: The employer, association, union , trustee, or other group to which this plan is issued.

Reasonable Accommodation: Any modification or adjustment to: (i) a job; (ii) an employment practice; (iii) a
work process; or (iv) the work place; that an employer will ingly provides. The modification or adjustment must
make it possible for a disabled person to: (1) reach the same level of performance as a similarly situated
non-disabled person; or (2) enjoy equal benefits and privileges of employment as are available to a similarly
situated non-disabled person. The modification or adjustment must not place an undue hardship on the
employer.

Recurring Disability: A later disability that: (a) is related to an earlier disability for which this plan paid
benefits; and (b) meets the conditions described in "Recurring Disability."

Regular and Appropriate Care: Means, with respect to a covered person 's: (a) disabling condition; and (b)
any other condition which , if left untreated , would adversely affect his or her disabling condition; he or she(i)
visits a doctor as frequently as medically required , according to generally accepted medical standards, to
effectively manage these conditions; and (ii) is receiving the most appropriate treatment, according to
generally accepted medical standards, designed to achieve maximum medical improvement in these
conditions. Treatment must be provided by a doctor(s) whose specialty is most appropriate for the covered
person's: (a) disability; and (b) any other conditions which left untreated wou ld adversely affect the covered
person's disabling condition ; according to generally accepted medical standards. Generally accepted medical
standards are those supported by nationally recognized authorities in the health care field including: the
American Medical Association (AMA) ; the AMA Board of Medical Specialties; the Food and Drug
Administration ; the Centers for Disease Control ; the National Cancer Institute; the National Institutes of Health ;
the Department of Health and Human Services; and any other agency of similar repute.

Rehabilitation Agreement: A formal agreement between : (a) a covered person ; (b) us; and (c) the covered
person's employer, if needed. It outlines the rehabilitation program in which the covered person agrees to take
part.

Rehabilitation Program: A program of work or job-related training for a covered person that we approve in
writing . Its aim is to restore his or her wage earning abilities.

Retirement Plan: A defined benefit or defined contribution plan funded wholly or in part by the employer's
deposits for a covered person's benefit. The term does not include: (a) profit sharing plans; (b) thrift plans; (c)
non-qualified deferred compensation plans; (d) individual retirement accounts; (e) tax sheltered annuities; (f)
401 (k) , 403(b), 457 or similar plans; or (g) stock ownership plans. Retirement Plan "retirement benefits" are
lump sum or periodic payments at normal or early retirement. Some retirement plans make payments for
disability (as defined by those plans) that start before normal retirement age. When such payments reduce the
amount that would have been paid at normal retirement age, they are retirement benefits. When such
payments do not reduce the normal retirement amount, they are "disability benefits."

Sickness: An illness or disease. Pregnancy is treated as a sickness under this plan.

We, Us, and Guardian: The Guardian Life Insurance Company of America.
GP-1 -L TD0?-12.15                                                                                         P383.0209




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All Options

                                 ELIGIBILITY FOR DENTAL COVERAGE
                                                                                                            P489.0005


All Options

                                            EMPLOYEE COVERAGE
                                               Eligible Employees

Subject to the Conditions of Eligibility set forth below, and to all of the other conditions of the plan, all of your
employees who are in an eligible class will be eligible if they are active full -time employees.
For purposes of this plan , we will treat partners and proprietors like employees if they meet this plan's
conditions of eligibility.
                                            Conditions of Eligibility

Full-time Requirement: We won't insure an employee unless he or she is an active full-time employee.
GP-1-EC-90-1.0                                                                                             P180 0168


All Options

Enrollment Requirement: If an employee must pay part of the cost of employee coverage, we won 't insure
him until he enrolls in the plan and agrees to make the required payments. If he does this: (a) more than 31
days after he first becomes eligible; or (b) after he previously had coverage which ended because he failed to
make a required payment, we will consider the employee to be a late entrant.
If an employee initially waived dental coverage under this plan because he or she was covered under another
group plan, and he or she now elects to enroll in the dental coverage under this plan, the Penalty for Late
Entrants provision will not apply to him or her with regard to dental coverage provided his or her coverage
under the other plan ends due to one of the following events:
      (a) termination of his or her spouse's employment;
      (b) loss of eligibility under his or her spouse's plan ;
      (c) divorce;
      (d) death of his or her spouse; or
      (e) termination of the other plan .
But the employee must enroll in the dental coverage under this plan within 30 days of the date that any of the
events described above occur.
GP-1-EC-90-2.0                                                                                             P180.0963


All Options

The Waiting Period: Employees in an eligible class are eligible for dental insurance under this plan after they
complete the service waiting period established by the employer, if any.
GP-1-EC-90-4 .0                                                                                            P489.0004




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All Options

Multiple Employment: If an employee works for both you and a covered associated company , or for more
than one covered associated company , we wi ll treat him as if only one fi rm employs him. And such an
employee will not have multiple coverage under this plan . But, if th is plan uses the amount of an employee's
earnings to set the rates , determine class, figure benefit amounts, or for any other reason , such employee's
earnings will be figured as the sum of his earnings from all covered employers.
GP- 1-EC-90-5 .0                                                                                     P1 80.0328




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All Options
                                    When Employee Coverage Starts
An employee must be actively at work, and working his or her regular number of hours, on the date his or her
coverage is scheduled to start. And he or she must have met all of the conditions of eligibility which apply to
him or her. If an employee is not actively at work on his or her scheduled effective date, we will postpone the
start of his or her coverage until he or she returns to active work .
Sometimes, a scheduled effective date is not a regularly scheduled work day. But an employee's coverage will
start on that date if he or she was actively at work, and working his or her regular number of hours, on his or
her last regularly scheduled work day.
The scheduled effective date of an employee's coverage is as follows:
      If an employee must pay part of the cost of employee coverage, then he or she must elect to enroll and
      agree to make the required payments. If he or she does this on or before the eligibility date, or within 31
      days of his or her eligibility date, coverage is scheduled to start on his or her eligibility date. If he or she
      does this more than 31 days after his or her eligibility date, his coverage is scheduled to start on the
      date he or she signs his or her enrollment form .
      On non-contributory plans, subject to all the terms of this plan , an employee's coverage is scheduled to
      start on his or her eligibility date.
GP-1-EC-90-6 .0                                                                                             P489.0245


All Options for All Classes

                                    When Employee Coverage Ends

When Employee Coverage Ends: Except as explained in the "When Active Service Ends" section of this
plan, an employee's insurance will end on the first of the following dates:
      the date an employee's active full-time service ends for any reason other than disability. Such reasons
      include death, retirement, lay-off, leave of absence, and the end of employment.
      the date an employee stops being an eligible employee under this plan .
      the date the group plan ends, or is discontinued for a class of employees to which the employee
      belongs.
      the last day of the period for which required payments are made for the employee.
Also , an employee may have the right to continue certain group benefits for a limited time after his or her
coverage would otherwise end. The plan 's benefit provisions explain these situations. Read the plan's
provisions carefully.
GP-1-EC-90-8.0                                                                                              P489.0024


All Options for All Classes

When Active Service Ends: You may continue an employee's dental expense insurance under this plan after
his active service with you ends only as follows:
      If an employee's active service ends because he is disabled you may continue his insurance subject to
      all of the terms of this plan.
      If an employee's active service ends because he goes on a leave of absence or is laid off, you may
      continue his insurance for the rest of the policy month in which the leave or layoff starts, plus 1 more full
      policy month(s) . However, if the employee joins any armed force before this period ends, you may
      continue his insurance until the date he becomes a member of such armed force.
      If you continue an employee's benefits under this plan as set forth above, it must be based on a plan
      which prevents individual selection by you.


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     And, any such continuation is subject to the payment of premiums, and to all of the other terms and
     conditions of this plan.
     The amount of an employee's insurance during any such continuation will be the amount in force on his
     last day of active service, subject to any reductions that would have otherwise applied if he had
     remained an active employee.
GP-1-EC-90-7.0                                                                                            P489.0002

All Options


                      An Employee's Right To Continue Group Insurance
                            During A Family Leave Of Absence

Important Notice: This section may not apply to your plan . The employee must contact you to find out if you
must allow for a leave of absence under federal law. In that case the section applies.

If An Employee's Group Coverage Would End: Group coverage may normally end for an employee
because he or she ceases work due to an approved leave of absence. But, the employee may continue his or
her group coverage if the leave of absence has been granted : (a) to allow the employee to care for a seriously
injured or ill spouse, child, or parent; (b) after the birth or adoption of a child ; (c) due to the employee's own
serious health condition ; or (d) because of any serious injury or illness arising out of the fact that a spouse,
child , parent, or next of kin , who is a covered servicemember, of the employee is on active duty(or has been
notified of an impending call or order to active duty) in the Armed Forces in support of a contingency
operation . The employee will be required to pay the same share of the premium as he or she paid before the
leave of absence.

When Continuation Ends: Insurance may continue until the earliest of the following:
     The date the employee returns to active work.
     The end of a total leave period of 26 weeks in one 12 month period , in the case of an employee who
     cares for a covered servicemember. This 26 week total leave period applies to all leaves granted to the
     employee under this section for all reasons.
     The end of a total leave period of 12 weeks in : (a) any 12 month period , in the case of any other
     employee; or (b) any later 12 month period in the case of an employee who cares for a covered
     servicemember.
     The date on which the employee's coverage would have ended had the employee not been on leave.
     The end of the period for which the premium has been paid.

Definitions: As used in this section, the terms listed below have the meanings shown below:

     Active Duty: This term means duty under a call or order to active duty in the Armed Forces of the
     United States.

     Contingency Operation: This term means a military operation that: (a) is designated by the Secretary
     of Defense as an operation in which members of the armed forces are or may become involved in
     military actions, operations, or hostilities against an enemy of the United States or against an opposing
     military force; or (b) results in the call or order to, or retention on , active duty of members of the
     uniformed services under any provision of law during a war or during a national emergency declared by
     the President or Congress.

     Covered Servicemember: This term means a member of the Armed Forces, including a member of the
     National Guard or Reserves, who for a serious injury or illness: (a), is undergoing medical treatment,
     recuperation, or therapy; (b) is otherwise in outpatient status; or (c) is otherwise on the temporary
     disability retired list.



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      Next Of Kin: This term means the nearest blood relative of the employee.

     Outpatient Status: This term means, with respect to a covered servicemember, that he or she is
     assigned to: (a) a military medical treatment facil ity as an outpatient; or (b) a unit established for the
     pu rpose of providing command and control of members of the Armed Forces receiving medical care as
     outpatients.

     Serious Injury Or Illness: This term means, in the case of a covered servicemember, an injury or
     illness incurred by him or her in line of duty on active duty in the Armed Forces that may render him or
     her medically unfit to perform the duties of his or her office, grade, rank , or rating,
GP-1-EC-90-7.0                                                                                         P449. 0523


All Options

                                                Definitions
GP-1 -EC-90-DEF-1                                                                                      P180.0155


All Options

Eligible Dependent is defined in the provision entitled "Dependent Coverage".
GP-1 -EC-90-DEF-2                                                                                      P180.0156


All Options

Employee means a person who works for the employer at the employer's place of business, and whose
income is reported for tax purposes using a W-2 form .
GP-1 -EC-90-DEF-3                                                                                      P180.0311


All Classes

Full-time means the employee regularly works at least the number of hours in the normal work week set by
the employer (but not less than 24 hours per week) , at his employer's place of business.
GP-1-EC-90-DEF-4                                                                                       P180.0493


All Options

Plan means the Guardian group plan purchased by the employer, except in the prov1s1on entitled
"Coordination of Benefits" where "plan" has a special meaning . See that provision for details.
GP-1 -EC-90-DEF-6                                                                                      P180.0160


All Options

We, Us, Our and Guardian mean The Guardian Life Insurance Company of America .
GP-1-EC-90-DEF-9                                                                                       P180.0163


All Options

You and Your means the employer who purchased th is plan.
GP-1-EC-90-DEF-10                                                                                      P180.0164




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All Options

                                              Dependent Coverage
GP-1-DEP-90-1 .0                                                                                       P200.0305


All Options

Eligible Dependents For Dependent Dental Benefits: An employee's eligible dependents are: (a) his or her
legal spouse; (b) his or her dependent children who are under age 26.
GP-1-DEP-90-2.0                                                                                        P489.0486


All Options

Adopted Children and Step-Children: An employee's "dependent children" include his or her legally
adopted children and , his or her step-children. We treat a child as legally adopted from the time the child is
placed in the employee's home for the purpose of adoption . We treat such a child this way whether or not a
final adoption order is ever issued .

Dependents Not Eligible: We exclude any dependent who is insured by this plan as an employee. And we
exclude any dependent who is on active duty in any armed force.
GP-1-DEP-90-3.0                                                                                        P489.0500


All Options

Handicapped Children: An employee may have an unmarried child with a mental or physical handicap, or
developmental disability, who can't support himself or herself. Subject to all of the terms of this coverage and
the plan , such a child may stay eligible for dependent benefits past this coverage's age limit.
The child will stay eligible as long as he or she stays unmarried and unable to support himself or herself, if:
(a) his or her conditions started before he or she reached the age limit; (b) he or she became insured before
he or she reached the age limit, and stayed continuously insured until he or she reached such limit; and (c)
he or she depends on the employee for most of his or her support and maintenance.
But, for the child to stay eligible, the employee must send us written proof that the child is handicapped and
depends on the employee for most of his or her support and maintenance. We can ask for periodic proof that
the child 's condition continues. But, after two years, we can 't ask for this proof more than once a year.
The child 's coverage ends when the employee's does.
GP-1-DEP-90-4 .0                                                                                       P489.0027


All Options

Waiver of Dental Late Entrants Penalty: If an employee initially waived dental coverage for his or her
spouse or eligible dependent children because they were covered under another group plan, and he or she
now elects to enroll them in the dental coverage under this plan , the Penalty for Late Entrants provision will
not apply to them with regard to dental coverage provided their coverage under the other plan ends due to
one of the following events:
      (a)   termination of his or her spouse's employment;
      (b)   loss of eligibility under his or her spouse's plan ;
      (c)   divorce;
      (d)   death of his or her spouse; or
      (e)   termination of the other plan .
But the employee must enroll his or her spouse or eligible dependent children in the dental coverage under
this plan within 30 days of the date that any of the events described above occur.


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And , the Penalty for Late Entrants provisions for dental coverage will not apply to the employee's spouse or
eligible dependent children if: (a) he or she is under legal obligation to provide dental coverage due to a
court-order; and (b) he or she enrolls them in the dental coverage under th is plan within 30 days of the
issuance of the court-order.
GP-1-D EP-90-5.0                                                                                    P200.0771




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All Options for All Classes

When Dependent Coverage Starts: In order for an employee's dependent coverage to begin he or she must
already be insured for employee coverage or enroll for employee and dependent coverage at the same time.
Subject to the "Exception" stated below and to all of the terms of this plan , the date an employee's
dependent coverage starts depends on when he or she elects to enroll his or her initial dependents and
agrees to make any required payments.
If the employee does this on or before his or her elig ibility date, the dependent's coverage is scheduled to
start on the later of the employee's eligibility date and the date the employee becomes insured for employee
coverage.
If the employee does this within the enrollment period , the coverage is scheduled to start on the date the
employee becomes insured for employee coverage.
If the employee does this after the enrollment period ends , each of the employee's initial dependents is a late
entrant and is subject to any applicable late entrant penalties. The dependent's coverage is scheduled to start
on the date the employee signs the enrollment form.
Once an employee has dependent coverage for his or her initial dependents, he or she must notify us when
he or she acquires any new dependents and agree to make any additional payments required for their
coverage .
If an employee does th is within 31 days of the date the newly acquired dependent becomes eligible, the
dependent's coverage will start on the date the dependent first becomes eligible. If an employee fails to notify
us on time , the newly acquired dependent, when enrolled , is a late entrant and is subject to any applicable
late entrant penalties. The late entrant's coverage is scheduled to start on the date the employee signs the
enrollment form.
GP-1-DEP-90-6.0                                                                                             P489.0247


All Options

Exception: If a dependent, other than a newborn child , is confined to a hospital or other health care facility ; or
is unable to carry-out the normal activities of someone of like age and sex on the date his or her dependent
benefits would otherwise start, we'll postpone the effective date of such benefits until the day after his or her
discharge from such facility ; or until he or she resumes the normal activities of someone of like age and sex.
GP-1-D EP-90-7. 0                                                                                           P200.0708


All Options

Newborn Children: We cover an employee's newborn child for dependent benefits, from the moment of his
or her birth if: (a) the employee is already covered for dependent child coverage when the child is born ; or (b)
the employee enrolls the child and agrees to make any required premium payments within 90 days of the date
the child is born or by the next premium due date, if later. If the employee fails to do this , once the child is
enrolled , the child is a late entrant, is subject to any applicable late entrant penalties, and will be covered as of
the date the employee signs the enrollment form .
GP-1-DEP-90-8.0                                                                                             P489.0083




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All Options

When Dependent Coverage Ends: Dependent coverage ends for all of an employee's dependents when his
or her employee coverage ends. But if an employee dies while insured , we'll automatically continue dependent
benefits for those of his or her dependents who were insured when he or she died. We'll do this for six
months at no cost, provided : (a) the group plan remains in force ; (b) the dependents remain eligible
dependents; and (c) in the case of a spouse, the spouse does not remarry .
If a surviving dependent elects to continue his or her dependent benefits under this plan 's "Federal
Continuation Rights" provision , or under any other continuation provision of this plan , if any, this free
continuation period will be provided as the first six months of such continuation . Premiums required to be paid
by, or on behalf of a surviving dependent will be waived for the first six months of continuation , subject to
restrictions (a) , (b) and (c) above. After the first six months of continuation , the remainder of the continuation
period , if any, will be subject to the premium requirements , and all of the terms of the "Federal Continuation
Rights" or other continuation provisions.
Dependent coverage also ends for all of an employee's dependents when the employee stops being a
member of a class of employees eligible for such coverage. And it ends when this plan ends, or when
dependent coverage is dropped from this plan for all employees or for an employee's class.
If an employee is required to pay all or part of the cost of dependent coverage, and he or she fails to do so,
his or her dependent coverage ends. It ends on the last day of the period for which he or she made the
required payments, unless coverage ends earlier for other reasons .
An individual dependent's coverage ends when he or she stops being an eligible dependent. This happens to
a child at 12:01 a.m. on the date the child attains this plan 's age limit. It happens to a spouse when a
marriage ends in legal divorce or annulment.
Read this plan carefully if dependent coverage ends for any reason. Dependents may have the right to
continue certain group benefits for a limited time.
GP-1-DEP-90-9.0                                                                                            P489.0505


All Options

                                                  Definitions
GP-1-DEP-90-DEF-1                                                                                          P200.0210


All Options

Eligibility Date for dependent coverage is the earliest date on which : (a) the employee has dependents; and
(b) is eligible for dependent coverage.
GP-1-DEP-90-DEF-2                                                                                          P200.0211


All Options

Eligible Dependent is defined in the provision entitled "Dependent Coverage."
GP-1-DEP-90-DEF-3                                                                                          P200.0212


All Options

Enrollment Period means the 31 day period which starts on the date that the employee is eligible for
dependent coverage.
GP-1-DEP-90-DEF-4                                                                                          P200.0213




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All Options

Initial Dependents means those eligible dependents the employee has at the time he or she first becomes
eligible for employee coverage. If at this time he or she does not have any eligible dependents, but later
acquires them , the first eligible dependents he or she acquires are his or her initial dependents.
GP-1-DEP-90-DEF-8                                                                                P200.0217


All Options

Newly Acquired Dependent means an eligible dependent the employee acquires after he or she already has
coverage in force for in itial dependents.
GP-1-DEP-90-DEF-9                                                                                P200.0218


All Options

Plan means the Guardian group plan purchased by the employer, except in the prov1s1on entitled
"Coordination of Benefits" where "plan" has a special meaning. See that provision for details.
GP-1-DEP-90-DEF-11                                                                               P200.0220


All Options

We, Us, Our and Guardian means The Guard ian Life Insurance Company of America .
GP-1-DEP-90-DEF-14                                                                               P200.0223


All Options

You and Your means the employer who purchased this plan .
GP-1-DEP-90-DEF-15                                                                               P200 0224




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All Options

                                   DENTAL EXPENSE INSURANCE
This insurance will pay many of a covered person 's dental expenses. We pay benefits for covered charges
incurred by a covered person. What we pay and terms for payment are explained below.
GP-1 -DG2000                                                                                            P498.0007


All Options

      DentalGuard Preferred - This Plan's Dental Preferred Provider Organization

This plan is designed to provide high quality dental care whi le controlling the cost of such care. To do this,
the plan encourages a covered person to seek dental care from dentists and dental care facilities that are
under contract with Guardian's dental preferred provider organization (PPO), which is called DentalGuard
Preferred.
The dental PPO is made up of preferred providers in a covered person's geographic area. Use of the dental
PPO is voluntary. A covered person may receive dental treatment from any dental provider he or she
chooses. And he or she is free to change providers anytime.
This plan usually pays a higher level of benefits for covered treatment furnished by a preferred provider.
Conversely, it usually pays less for covered treatment furnished by a non-preferred provider.
When an employee enrolls in this plan, he or she and his or her dependents receive a dental plan ID card and
information about current preferred providers.
A covered person must present his or her ID card when he or she uses a preferred provider. Most preferred
providers prepare necessary claim forms for the covered person, and submit the forms to us. We send the
covered person an explanation of this plan's benefit payments, but any benefit payable by us is sent directly
to the preferred provider.
What we pay is based on all of the terms of this plan. Please read this plan carefully for specific benefit
levels, deductibles, payment rates and payment limits.
A covered person may call the Guardian at the number shown on his or her ID card should he or she have
any questions about this plan.
GP-1-DGY2K-PPO                                                                                          P498.0169


All Options

                                             Covered Charges

If a covered person uses the services of a preferred provider, covered charges are the charges listed in the
fee schedule the preferred provider has agreed to accept as payment in full, for the dental services listed in
this plan's List of Covered Dental Services.
If a covered person uses the services of a non-preferred provider, covered charges are reasonable and
customary charges for the dental services listed in this plan's List of Covered Dental Services.
To be covered by this plan, a service must be: (a) necessary; (b) appropriate for a given condition; and (c)
included in the List of Covered Dental Services.
We may use the professional review of a dentist to determine the appropriate benefit for a dental procedure or
course of treatment.
By reasonable , we mean the charge is the dentist's usual charge for the service furnished . By customary, we
mean the charge made for the given dental condition isn't more than the usual charge made by most other
dentists. But, in no event will the covered charge be greater than the 90th percentile of the prevailing fee data
for a particular service in a geographic area.




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When certain comprehensive dental procedures are performed , other less extensive procedures may be
performed prior to, at the same time or at a later date. For benefit purposes under this plan, these less
extensive procedures are considered to be part of the more comprehensive procedure. Even if the dentist
submits separate bills, the total benefit payable for all related charges will be limited to the maximum benefit
payable for the more comprehensive procedure. For example, osseous surgery includes the procedure scaling
and root planing . If the scaling and root planing is performed one or two weeks prior to the osseous surgery,
we may only pay benefits for the osseous surgery.
We only pay benefits for covered charges incurred by a covered person while he or she is insured by this
plan. A covered charge for a crown, bridge or cast restoration is incurred on the date the tooth is initially
prepared . A covered charge for any other dental prosthesis is incurred on the date the first master impression
is made. A covered charge for root canal treatment is incurred on the date the pulp chamber is opened . A
covered charge for orthodontic treatment is incurred on the date the active orthodontic appliance is first
placed. All other covered charges are incurred on the date the services are furnished. If a service is started
while a covered person is insured , we '// only pay benefits for services which are completed within 31 days of
the date his or her coverage under this plan ends.
We also cover charges for dental care related services (e.g., general anesthesia, inpatient and outpatient
hospital charges or ambulatory surgical facility services) performed in connection with dental procedures in a
hospital or ambulatory surgical facility, if:
  (a) the provider treating the patient certifies that, because of the patient's age or condition or problem,
      hospitalization or general anesthesia is required in order to safely and effectively perform the
      procedures; and
  (b) the patient is:
      (i)       a child under seven (7) years of age who is determined by two (2) licensed dentists to require ,
                without delay, necessary dental treatment in a hospital or ambulatory surgical center for a
                significantly complex dental condition ; or
      (ii)      a person with a diagnosed serious mental or physical condition; or
      (iii)     a person with a significant behavioral problem as determined by the covered person's physician .
GP-1 -DGY2K-CC                                                                                          P498.2991


All Options

                                            Alternate Treatment

If more than one type of service can be used to treat a dental condition , we have the right to base benefits on
the least expensive service which is within the range of professionally accepted standards of dental practice
as determined by us. For example, in the case of bilateral multiple adjacent teeth , or multiple missing teeth in
both quadrants of an arch , the benefit will be based on a removable partial denture. In the case of a
composite filling on a posterior tooth, the benefit will be based on the corresponding amalgam filling benefit.


                                                Proof of Claim

So that we may pay benefits accurately, the covered person or his or her dentist must provide us with
information that is acceptable to us. This information may, at our discretion , consist of radiographs, study
models , periodontal charting , narratives or other diagnostic materials that document proof of claim and support
the necessity of the proposed treatment . If we don't receive the necessary information, we may pay no
benefits, or minimum benefits. However, if we receive the necessary information within 15 months of the date
of service, we will redetermine the covered person 's benefits based on the new information.
GP-1-DGY2K-AT                                                                                           P498.0002




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All Options

                                         Pre-Treatment Review
When the expected cost of a proposed course of treatment is $300.00 or more, the covered person's dentist
should send us a treatment plan before he or she starts. This must be done on a form acceptable to
Guardian. The treatment plan must include: (a) a list of the services to be done, using the American Dental
Association Nomenclature and codes; (b) the itemized cost of each service; and (c) the estimated length of
treatment In order to evaluate the treatment plan, dental radiographs , study models and whatever else will
document the necessity of the proposed course of treatment, must be sent to us.
A treatment plan should always be sent to us before orthodontic treatment starts.
We review the treatment plan and estimate what we wi ll pay. We will send the estimate to the covered person
and/or the covered person 's dentist. If the treatment plan is not consistent with accepted standards of dental
practice, or if one is not sent to us, we have the right to base our benefit payments on treatment appropriate
to the covered person 's condition using accepted standards of dental practice.
The covered person and his or her dentist have the opportunity to have services or a treatment plan reviewed
before treatment begins. Pre-treatment review is not a guarantee of what we will pay. It tells the covered
person, and his or her dentist, in advance, what we would pay for the covered dental services listed in the
treatment plan. But, payment is conditioned on: (a) the services being performed as proposed and while the
covered person is insured ; and (b) the deductible, payment rate and payment limits provisions, and all of the
other terms of this plan
Emergency treatment, oral examinations, evaluations, dental radiographs and teeth cleaning are part of a
course of treatment, but may be done before the pre-treatment review is made.
We won't deny or reduce benefits if pre-treatment review is not done. But what we pay will be based on the
availability and submission of proof of claim
GP-1-DGY2K-PTR                                                                                        P498.0003




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All Options

                                     Benefits From Other Sources
Other plans may furnish benefits similar to the benefits provided by this plan. For instance, an employee may
be covered by this plan and a similar plan through his or her spouse's employer. He or she may also be
covered by this plan and a med ical plan . In such instances, except for covered charges for dental care related
s~rvices, we coordinate our benefits with the benefits from that other plan . We do this so that no one gets
more in benefits than the charges he or she incurs. Read "Coordination of Benefits" to see how this works.
Regarding covered charges for dental care related services, as explained in Covered Charges, this plan will
pay benefits for such covered charges before the benefits available under any medical plan .
GP-1-DGY2K-OS-AR-07                                                                                      P498.2979


All Options

                         The Benefit Provision - Qualifying For Benefits
GP-1 -DGY2K-BEN                                                                                          P498.0084


All Options

Penalty For Late Entrants: During the first 6 months that a late entrant is covered by this plan, we won 't pay
for the following services:
      All Group II Services
      Treatment of TMJ and Craniomandibular Disorders.
During the first 12 months a late entrant is covered by this plan, we won 't pay for the following services:
      All Group Ill Services.
During the first 24 months a late entrant is covered by this plan, we won't pay for the following services:
      All Group IV Services.
Charges for the services we don't cover under this provision are not considered to be covered charges under
this plan , and therefore can't be used to meet this plan's deductibles.
We don 't apply a late entrant penalty to covered charges incurred for services needed solely due to an injury
suffered by a covered person while insured by this plan.
A late entrant is a person who: (a) becomes covered by this dental plan more than 31 days after he or she is
eligible; or {b) becomes covered again , after his or her coverage lapsed because he or she did not make
required payments.
GP-1-DGY2K-LE-AR-02                                                                                      P498.2024


All Options

How We Pay Benefits For Group I, II and Ill Non-Orthodontic Services: There is no deductible for Group
I services. We pay for Group I covered charges at the applicable payment rate.
The benefit year deductibles, shown in the schedule, apply to Group II and Ill services. There are different
benefit year deductible amounts for services provided by a preferred provider and a non preferred provider.
Each covered person must have covered charges from these service groups which exceed each applicable
deductible before we pay him or her any benefits for such charges. These charges must be incurred while the
covered person is insured .
Covered charges used to satisfy a covered person 's Non-PPO deductible are also credited toward his or her
PPO deductible. And covered charges used to satisfy a covered person 's PPO deductible are also credited
toward his or her Non-PPO deductible.



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Once a covered person meets the deductible, we pay for his or her Group II and Ill covered charges above
that amount at the applicable payment rate fo r the rest of that benefit year.
GP-1-DGY2K-BP                                                                                                                     P498.01 95


All Options
Al l covered cha rges must be incurred while insu red . And what we pay is subject to the benefit year payment
limit shown in the schedu le and to all of the terms of th is plan.
GP- 1-DGY2K-BP                                                                                                                    P498.02 10


All Options

A covered person may be eligible for a rollover of a portion of his or her unused benefit year payment limit for
Group I, II and Ill Non-Orthodontic Services. See "Rollover of Benefit Year Payment Limit for Group I, II and Il l
Non-Orthodontic Services" for details .
GP-1-DG-ROLL-04-2 .1                                                                                                              P498.2 168


All Options

Rollover of Benefit Year Payment Lim it for Group I, II and Ill Non-Orthodontic Services: A covered
person may be eligible for a rollover of a portion of his or her unused benefit year payment limit for Group I, II
and Ill Non-Orthodontic Services as follows:
If a covered person submits at least one claim for covered charges during a benefit year and , in that benefit
year, receives benefits that are in excess of any deductible or co-pay fees , and that, in total , do not exceed
the Rollover Threshold, he or she may be entitled to a Reward.

Note: If all of the benefits that a covered person receives in a benefit year are for services provided by a
preferred provider, he or she may be entitled to a greater Reward than if any of the benefits are for services
of a non-preferred provider.

Rewards can accrue and are stored in the covered person's Bank. If a covered person reaches his or her
benefit year payment limit for Group I, II and Ill Non-Orthodontic Services, we pay benefits up to the amount
stored in the covered person 's Bank. The amount of Reward stored in the Bank may not be greater than the
Bank Maximum.

A covered person 's Bank may be eliminated , and the accrued Reward lost, if he or she has a break in
coverage of any length of time, for any reason .

The amounts of this plan 's Rollover Threshold, Reward, and Bank Maximum are:
       Rollover Threshold . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $500.00
       Reward (if all benefits are for services provided by a preferred provider) . . . . . . . . . . . . . . . . $350.00
       Reward (if any benefits are for services provided by a non-preferred provider)                        . . . . . . . . . . . $250.00
       Bank Maximum          .. . .. . .. .. . .... . ... .. .. . ............ . . . . .. . ...... .. .... $1 ,000.00
If th is plan 's dental coverage first becomes effective in October, November or December, this rollover
provision will not apply until January 1 of the first full benefit year. And , if the effective date of a covered
person's dental coverage is in October, November or December, this rollover provision will not apply to the
covered person until January 1 of the next full benefit year. In either case:
       only claims incurred on or after January 1 will count toward the Rollover Threshold; and
       Rewards will not be applied to a covered person 's Bank until the benefit year that starts one year from
       the date the rollover provision first applies.




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If charges for any dental services are not payable for a covered person for a period set forth in the provisions
of this plan called Penalty for Late Entrants, this rollover provision will not apply to the covered person until
the end of such period . And , if such period ends within the three months prior to the start of this plan's next
benefit year, this rollover provision will not apply to the covered person until the next benefit year, and :
       only claims incurred on or after the start of the next benefit year will count toward the Rollover
       Threshold; and
      Rewards will not be applied to a covered person's Bank until the benefit year that starts one year from
      the date the rollover provision first applies.
Definitions of terms used in this provision :
"Bank" means the amount of a covered person 's accrued Reward.
"Bank Maximum" means the maximum amount of Reward that a covered person can store in his or her
Bank.
"Reward" means the dollar amount wh ich may be added to a covered person's Bank when he or she
receives benefits in a benefit year that do not exceed the Rollover Threshold.
"Rollover Threshold" means the maximum amount of benefits that a covered person can receive during a
benefit year and still be entitled to receive a Reward.
GP-1-DG-ROLL-04-2                                                                                       P498.9356


All Options

How we pay benefits for Group IV Orthodontic Services: This plan provides benefits for Group IV
orthodontic services only for covered dependent children who are less than 19 years old when the active
orthodontic appliance is first placed .
We pay for Group IV covered charges at the applicable payment rate. There may be different payment rates
wh ich apply to covered charges for services from a preferred provider and a non-preferred provider.
Using the covered person 's original treatment plan, we calculate the total benefit we will pay. We divide the
benefit into equal payments, which we will spread out over the shorter of: (a) the proposed length of
treatment; or (b) two years.
We make the initial payment when the active orthodontic appliance is first placed . We make further payments
at the end of each subsequent three month period , upon receipt of verification of ongoing treatment. But,
treatment must continue and the covered person must remain covered by this plan. We limit what we pay for
orthodontic services to the lifetime payment limit shown in the schedule. What we pay is based on all of the
terms of this plan.
We don't pay for orthodontic charges incurred by a covered person prior to being covered by this plan. We
limit what we pay for orthodontic treatment started prior to a covered person being covered by this plan to
charges determined to be incurred by the covered person while covered by this plan. Based on the original
treatment plan, we determine the portion of charges incurred by the covered person prior to being covered by
th is plan, and deduct them from the total charges. What we pay is based on the remaining charges. We limit
what we consider of the proposed treatment plan to the shorter of the proposed length of treatment, or two
years from the date the orthodontic treatment started .
The benefits we pay for orthodontic treatment won 't be charged against a covered person's benefit year
payment limits that apply to all other services.
The negotiated discounted fees for orthodontics performed by a preferred provider include: (a) treatment plan
and records, including initial , interim and final records ; (b) orthodontic retention , including any and all
necessary fixed and removable appliances and related visits; and (c) limited , interceptive and comprehensive
orthodontic treatment, with associated : (i) fabrication and insertion of any and all fixed appliances; and (ii)
periodic visits.
There is a separate negotiated discounted fee for orthodontic treatment which extends beyond 24 consecutive
months.



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The negotiated discounted fee for orthodontics performed by a preferred provider does not include: (a) any
incremental charges for orthodontic appliances made with clear, ceramic, white lingual brackets or other
optional material; (b) procedures, appliances or devices to guide minor tooth movement or to correct harmful
habits; (c) retreatment of orthodontic cases , or changes in orthodontic treatment necessitated by any kind of
accident; (d) replacement or repair of orthodontic appliances damaged due to the neglect of the patient; (e)
orthognathic surgery and associated incremental charges; (f) extractions performed solely to facilitate
orthodontic treatment; and (g) orthodontic treatment started before the member was eligible for orthodontic
benefits under this plan.
Whether or not a charge is based on a discounted fee , it will be counted toward a covered person's
orthodontic lifetime payment limit under this plan.
GP-1-DGY2K-OR                                                                                                                   P498.0068-R


All Options

TMJ and Craniomandibular Disorders: We pay benefits for dental services for the necessary diagnostic,
non-surgical and surgical treatment of temporomandibular and craniomandibular joint disorders in a covered
person. We cover charges for such conditions as a result of: (1) an accident, (2) a trauma, (3) a congenital
defect, (4) a developmental defect or (5) radiographic evidence of pathology.
Subject to all other terms of this plan, we pay benefits for these covered charges at a Payment Rate of 50%
and subject to the deductible for Group II and Ill services, up to a lifetime maximum of $500. We won 't pay for
TMJ or craniomandibular treatment done in the first 6 consecutive months a late entrant is insured by this
plan .
Under this plan's dental expense provisions, we don't cover any charges for the medical treatment of TMJ.
GP-1-DNTL-90-16.1-AR-02                                                                                                            P497.1483


All Options

 Non-Orthodontic Family Deductible Limit: A covered family must meet no more than three individual
benefit year deductibles in any benefit year. Once this happens, we pay benefits for covered charges incurred
 by any covered person in that covered family, at the applicable payment rate for the rest of that benefit year.
The charges must be incurred while the person is insured. What we pay is based on this plan's payment
limits and to all of the terms of this plan.
GP-1-DGY2K-FL                                                                                                                   P498 0085-R


All Options

Payment Rates: Benefits for covered charges are paid at the following payment rates:

     Benefits for Group I Services performed by
     a preferred provider . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 100%

     Benefits for Group I Services performed by
     a non-preferred provider . . . . . . . . . . . .                . . .............. . ......... .. ........ 100%

     Benefits for Group II Services performed by
     a preferred provider . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 100%

     Benefits for Group II Services performed by
     a non-preferred provider . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 80%

     Benefits for Group Ill Services performed by
     a preferred provider . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 60%

     Benefits for Group Ill Services performed by


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     a non-preferred provider . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50%

     Benefits for Group IV Services performed by
     a preferred provider . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50%

     Benefits for Group IV Services performed by
     a non-preferred provider      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50%
GP-1-DGY2K-PR                                                                                                                       P498.0092


All Options

After This Insurance Ends: We don't pay for charges incurred after a covered person's insurance ends. But,
subject to all of the other te rm s of this plan, we 'll pay for the following if the procedure is finished in the 31
days after a covered person's insurance under th is plan ends: (a) a bridge or cast restoration , if the tooth or
teeth are prepared before the covered person's insurance ends; (b) any other dental prosthesis, if the master
impression is made before the covered person's insurance ends; and (c) root canal treatment, if the pulp
chamber is opened before the covered person 's insurance ends .
We pay benefits for orthodontic treatment to the end of the month in which the covered person 's insurance
ends.
GP-1 -DGY2K-END                                                                                                                     P498.0137

                                                      Special Limitations
GP-1-DGY2K-LMT                                                                                                                      P498.0140


All Options

Teeth Lost, Extracted or Missing Before A Covered Person Becomes Covered By This Plan: A
covered person may have one or more congenitally missing teeth or may have had one or more teeth lost or
extracted before he or she became covered by this plan. We won 't pay for a dental prosthesis which replaces
such teeth unless the dental prosthesis also replaces one or more elig ible natural teeth lost or extracted after
the covered person became covered by this plan.
GP-1-DGY2K-TL                                                                                                                       P4 98.0149


All Options

If This Plan Replaces The Prior Plan: This plan may be replacing the prior plan you had with another
insurer. If a covered person was insured by the prior plan and is covered by this plan on its effective date, the
following provisions apply to such covered person.
      Teeth Extracted While Insured By The Prior Plan - The 'Teeth Lost, Extracted or Missing Before A
      Covered Person Becomes Covered By Th is Plan" provision above, does not apply to a covered
      person 's dental prosthesis which replaces teeth: (a) that were extracted while the covered person was
      insured by the prior plan; and (b) for wh ich extraction benefits were paid by the prior plan.
       Deductible Credit - In the first benefit year of this plan, we reduce a covered person's deductibles
       required under this plan, by the amount of covered charges applied against the prior plan's deductible.
       The covered person must give us proof of the amount of the prior plan 's deductible which he or she
       has satisfied .
      Benefit Year Non-Orthodontic Payment Limit Credit - In the first benefit year of this plan, we reduce
      a covered person 's benefit year payment limits by the amounts paid or payable under the prior plan.
      The covered person must give us proof of the amounts applied toward the prior plan's payment limits.




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       Orthodontic Payment Limit Credit - We reduce a covered person's orthodontic payment limits by the
       amounts paid or payable under the prior plan. The covered person must give us proof of the amounts
       applied toward the prior plan 's payment lim its .
GP-1-DGY2K-PP                                                                                              P498.0141


All Options

                                                      Exclusions

We will not pay for:
       Any service or supply which is not specifically listed in this plan 's List of Covered Dental Services.
       Any procedure performed in conjunction with , as part of, or related to a procedure which is not covered
       by this plan.
       Educational services, including , but not limited to, oral hygiene instruction, plaque control , tobacco
       counseling or diet instruction.
       Precision attachments and the replacement of part of a precision attachment, magnetic retention or
       overdenture attachments.
       Overdentures and related services, including root canal therapy on teeth supporting an overdenture.
       Any restoration , procedure, appliance or prosthetic device used solely to: (1) alter vertical dimension;
       (2) restore or maintain occlusion, except to the extent that this plan covers orthodontic treatment; (3)
       treat a condition necessitated by attrition or abrasion; or (4) splint or stabilize teeth for periodontal
       reasons .
       The use of general anesthesia, intramuscular sedation , intravenous sedation or inhalation sedation ,
       including but not limited to nitrous oxide, except when administered in conjunction with covered
       periodontal surgery, surgical extractions, the surgical removal of impacted teeth , apicoectomies, root
       amputations and services listed under the "Other Oral Surgical Procedures" section of this plan.
       The use of local anesthetic.
       Cephalometric radiographs , oral/facial images , including traditional photographs and images obtained by
       intraoral camera , except when performed as part of the orthodontic treatment plan and records for a
       covered course of orthodontic treatment.
      Replacement of a lost, missing or stolen appliance or dental prosthesis or the fabrication of a spare
      appliance or dental prosthesis.
       Prescription medication.
       Desensitizing medicaments and desensitizing resins for cervical and/or root surface.
       Duplication of radiographs, the completion of claim forms , OSHA or other infection control charges.
       Pulp vitality tests or caries susceptibility tests.
       Bite registration or bite analysis.
       Gingival curettage.
      The localized delivery of chemotherapeutic agents.
      Tooth transplants.
      Maxillofacial prosthetics that repair or replace facial and skeletal anomalies, maxillofacial surgery,
      orthognathic surgery or any oral surgery requ iring the setting of a fracture or dislocation.
      Temporary or provisional dental prosthesis or appliances except interim partial dentures/stayplates to
      replace anterior teeth extracted while insured under this plan .
      Any service or procedure associated with the placement, prosthodontic restoration or maintenance of a
      dental implant and any incremental charges to other covered services as a result of the presence of a



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       dental implant.
       Any service furnished solely for cosmetic reasons . This includes, but is not limited to: (1)
       characterization and personalization of a dental prosthesis; (2) facings on a dental prosthesis for any
       teeth posterior to the second bicuspid; (3) bleaching of discolored teeth ; and (4) odontoplasty.
      Replacing an existing appliance or dental prosthesis with a like or unlike appliance or dental prosthesis;
      un less (1) it is at least 10 years old and is no longer usable; or (2) it is damaged while in the covered
      person 's mouth in an injury suffered wh ile insured , and can 't be made serviceable.
       A fixed bridge replacing the extracted portion of a hemisected tooth or the placement of more than one
       unit of crown and/or bridge per tooth.
       The replacement of extracted or missing th ird molars/wisdom teeth .
      Treatment of congenital or developmental malformations, or the replacement of congenitally missing
      teeth .
      Any endodontic, periodontal, crown or bridge abutment procedure or appliance performed for a tooth or
      teeth with a guarded , questionable or poor prognosis.
       Any procedure or treatment method which does not meet professionally recognized standards of dental
       practice or which is considered to be experimental in nature.
      Treatment needed due to: (1) an on-the-job or job-related injury; or (2) a condition for which benefits
      are payable by Worker's Compensation or similar laws.
      Treatment for which no charge is made. This usually means treatment furnished by: (1) the covered
      person's employer, labor union or similar group, in its dental or medical department or clinic; (2) a
      facility owned or run by any governmental body; and (3) any public program , except Medicaid , paid for
      or sponsored by any governmental body.
       Evaluations and consultations for non-covered services; detailed and extensive oral evaluations.
      The repair of an orthodontic appliance.
      The replacement of a lost or broken orthodontic reta iner.
GP-1-DGY2K-EXC-AR-O2                                                                                 P498.1805-R

All Options

                                  List Of Covered Dental Services

The services covered by this plan are named in this list. Each service on this list has been placed in one of
four groups. A separate payment rate applies to each group. Group I is made up of preventive services .
Group II is made up of basic services. Group Ill is made up of major services. Group IV is made up of
orthodontic services.
All covered dental services must be furnished by or under the direct supervision of a dentist. And they must
be usual and necessary treatment for a dental condition.
GP-1-DNTL-90-13                                                                                        P490.0048


All Options

                               Group I - Preventive Dental Services
                                         (Non-Orthodontic)
GP-1-DNTL-90-14                                                                                        P498.8633




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All Options

Prophylaxis and Fluorides
   Prophylaxis - limited to a total of 1 prophylaxis or periodontal maintenance procedure (considered under
   "Periodontal Services") in any 6 consecutive month period. Allowance includes scaling and polishing
   procedures to remove coronal plaque, calcu lus, and stains.
   - Adult prophylaxis covered age 12 and older.
   Additional prophylaxis when needed as a result of a medical (i.e., a non-dental) condition - covered once in
   12 months, and only when the additional prophylaxis is recommended by the dentist and is a result of a
   medical condition as verified in writing by the patient's medical physician . This does not include a condition
   which could be resolved by proper oral hygiene or that is the result of patient neglect.
   Fluoride treatment, topical application - limited to covered persons under age 14 and limited to 1
   treatment(s) in any 6 consecutive month period .

Office Visits, Evaluations and Examination
   Office visits, oral evaluations , examinations or limited problem focused re-evaluations - limited to a total of 1
   in any 6 consecutive month period.
   Emergency or problem focused oral evaluation - limited to a total of 1 in a 6 consecutive month period.
   Covered if no other treatment, other than radiographs , is performed in the same visit.
  After hours office visit or emergency palliative treatment and other non-routine, unscheduled visits. Limited
  to a total of 1 in a 6 consecutive month period. Covered only when no other treatment, other than
  radiographs, is performed during the same visit.
GP-1-DNTL-90-14                                                                                            P498.5008


All Options

Space Maintainers
   Space Maintainers - limited to covered persons under age 16 and limited to initial appliance only. Covered
   only when necessary to replace prematurely lost or extracted deciduous teeth. Allowance includes all
   adjustments in the first six months after insertion, limited to a maximum of one bilateral per arch or one
   unilateral per quadrant, per lifetime.
      -   Fixed - unilateral
      -   Fixed - bilateral
      -   Removable - bilateral
      -   Removable - unilateral
   Recementation of space maintainer performed more than 12 months after the initial insertion

Fixed and Removable Appliances
   Fixed and Removable Appliances To Inhibit Thumbsucking - limited to covered persons under age 14 and
   limited to initial appliance only. Allowance includes all adjustments in the first 6 months after insertion.
GP-1 -DNTL-90-15                                                                                           P498.0182




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All Options

Radiog ra phs
   - Allowance includes evaluation and diagnosis.
     Full mouth, complete series or panoramic radiog raph - Eith er, but not both, of the following procedures,
     limited to one in any 60 consecutive month period .
        - Full mouth series, of at least 14 fil ms incl ud ing bitewings
          Panoramic film , maxilla and mand ible, with or without bitewing rad iographs.
   Other diagnostic radiographs :
   - Bitewing films - limited to either a maximum of 4 bitewing films or a set (7-8 films) of vertical bitewings,
     in one visit, once in any 12 consecutive month period:
   - lntraoral periapica l or occlusal films - single film s
GP-1-DNTL-90- 15                                                                                        P498. 0183


All Options

Dental Sealants
   - Dental Sealants - permanent molar teeth only - Top ical application of sealants is limited to the
     unrestored , permanent molar teeth of covered persons under age 16 and limited to one treatment, per
     tooth , in any 36 consecutive month period .
GP-1-DN TL-90-14                                                                                        P498. 01 84


All Options

                                      Group II - Basic Dental Services
                                              (Non-Orthodontic)

Diagnostic services - Allowance includes examination and diagnosis.
  Consultations - Diagnostic consu ltation with a dentist other than the one providing treatment, limited to one
  consultation for each covered dental specialty in any 12 consecutive month period. Covered only when no
  other treatment, other than radiographs , is performed during the visit.
  Diagnostic Services : Allowance includes examination and diagnosis.
     Diagnostic casts when needed to prepare a treatment plan for three or more of the fol lowing performed
     at the same time in more than one arch : dentures, crowns, bridges, inlays or onlays.
     Histopathologic examinations when performed in conjunction with a tooth related biopsy.

Restorative Services - Multiple restorations on one surface will be considered one restoration . Benefits for
the replacement of existing amalgam and resin restorations will only be considered for payment if at least 12
months have passed since the previous restoration was placed if the covered person is under age 19, and 36
months if the covered person is age 19 and older. Also see the "Major Restorative Services" section.
  Ama lgam restorations - Allowance includes bonding agents, liners, bases, polishing and local anesthetic.
  Resin restorations - limited to anterior teeth only. Coverage for resins on posterior teeth is limited to the
  corresponding amalgam benefit. Allowance includes light cu ring , acid etching , adhesives, including resin
  bonding agents and local anesthetic.
     Silicate cement, per restoration
     Composite resin




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  Stainless steel crown , prefabricated resin crown , and resin based composite crown - limited to once per
  tooth in any 24 consecutive month period. Stainless steel crowns , prefabricated resin crowns and resin
  based composite crowns are considered to be a temporary or provisional procedure when done within 24
  months of a permanent crown. Temporary and provisional crowns are considered to be part of the
  permanent restoration .
   Pin retention , per tooth , covered only in conjunction with a permanent amalgam or composite restoration,
   exclusive of restorative material.
GP-1-DNTL-90-15                                                                                      P498.2892


All Options

Periodontal Services - Allowance includes the treatment plan , local anesthetic and post-treatment care.
Requires documentation of periodontal disease confirmed by both radiographs and pocket depth probings of
each tooth involved.
   Periodontal maintenance procedure - limited to a total of 1 prophylaxis or periodontal maintenance
   procedure(s) in any 6 consecutive month period . Allowance includes periodontal pocket charting , scaling
   and polishing . (Also see Prophylaxis under "Preventive Services") Coverage for periodontal maintenance is
   considered upon evidence of completed active periodontal therapy (periodontal scaling and root planing or
   periodontal surgery).
   Scaling and root planing , per quadrant - limited to once per quadrant in any 24 consecutive month period.
   Covered when there is radiographic and pocket charting evidence of bone loss.
  Full mouth debridement - limited to once in any 36 consecutive month period. Considered only when no
  diagnostic, preventive, periodontal service or periodontal surgery procedure has been performed in the
  previous 36 consecutive month period .
GP-1 -DNTL-90-15                                                                                     P498.0220


All Options

Non-surgical extractions - Allowance includes the treatment plan , local anesthetic and post-treatment care.
   Uncomplicated extraction , one or more teeth
   Root removal non-surgical extraction of exposed roots

Surgical Extractions - Allowance includes the treatment plan, local anesthetic and post-surgical care.
Services listed in this category and related services, may be covered by your medical plan.
  Surgical removal of erupted teeth, involving tissue flap and bone removal
  Surgical removal of residual tooth roots
  Surgical removal of impacted teeth

Other Oral Surgical Procedures - Allowance includes diagnostic and treatment radiographs, the treatment
plan , local anesthetic and post-surgical care. Services listed in this category and related services, may be
covered by your medical plan.
  Alveoloplasty , per quadrant
  Removal of exostosis, per site
  Incision and drainage of abscess
  Frenulectomy, Frenectomy, Frenotomy
  Biopsy and examination of tooth related oral tissue
  Surgical exposure of impacted or unerupted tooth to aid eruption
  Excision of tooth related tumors, cysts and neoplasms
  Excision or destruction of tooth related lesion(s)
  Excision of hyperplastic tissue
  Excision of pericoronal gingiva , per tooth
  Oroantral fistula closure



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   Sialolithotomy
   Sialodochoplasty
   Closure of salivary fistula
   Excision of salivary gland
   Maxillary sinusotomy for removal of tooth fragment or foreign body
   Vestibuloplasty
GP-1-DNTL-90-15                                                                                        P498.1078


All Options

Other Services
   General anesthesia, intramuscular sedation, intravenous sedation , non intravenous sedation or inhalation
   sedation , including nitrous oxide, when administered in connection with covered periodontal surgery,
   surgical extractions, the surgical removal of impacted teeth , apicoectomies, root amputations, surgical
   placement of an implant and services listed under the "Other Oral Surgical Procedures" section of this
   plan .
   Injectable antibiotics needed solely for treatment of a dental condition .
GP-1-DNTL-90-15                                                                                        P498.0224


All Options

                                    Group Ill - Major Dental Services
                                             (Non-Orthodontic)

Major Restorative Services - Crowns, inlays, onlays , labial veneers, and crown buildups are covered only
when needed because of decay or injury, and only when the tooth cannot be restored with amalgam or
composite filling material. Post and cores are covered only when needed due to decay or injury. Allowance
includes insulating bases, temporary or provisional restorations and associated gingival involvement. Limited to
permanent teeth only. Also see the "Basic Restorative Services" section .
   Single Crowns
      Resin with metal
      Porcelain
      Porcelain with metal
      Full cast metal (other than stainless steel)
      3/4 cast metal crowns
      3/4 porcelain crowns
   Inlays
   Onlays, including inlay
   Labial veneers
   Posts and buildups - only when done in conjunction with a covered unit of crown or bridge and only when
   necessitated by substantial loss of natural tooth structure.
      Cast post and core in addition to a unit of crown or bridge, per tooth
      Prefabricated post and composite or amalgam core in addition to a unit of crown or bridge, per tooth
   Crown or core buildup, including pins
   Implant supported prosthetics - Allowance includes the treatment plan and local anesthetic.
     Abutment supported crown
     Implant supported crown
     Abutment supported retainer for fixed partial denture
     Implant supported retainer for fixed partial denture
     Implant/abutment supported fixed denture for completely edentulous arch
     Implant/abutment supported fixed denture for partially edentulous arch
GP-1 -DNTL-90-16                                                                                       P498.1080



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All Options

Prosthodontic Services - Specialized techniques and characterizations are not covered. Allowance includes
insulating bases, temporary or provisional restorations and associated gingival involvement. Limited to
permanent teeth only.
  Fixed bridges - Each abutment and each pantie makes up a unit in a bridge
     Bridge abutments - See inlays, onlays and crowns under "Major Restorative Services"
     Bridge Panties
        Resin with metal
        Porcelain
        Porcelain with metal
        Full cast metal
  Dentures - Allowance includes all adjustments and repairs done by the dentist furnishing the denture in the
  first 6 consecutive months after installation and all temporary or provisional dentures. Temporary or
  provisional dentures, stayplates and interim dentures older than one year are considered to be a permanent
  appliance.
     Complete or Immediate dentures, upper or lower
     Partial dentures - Allowance includes base, clasps, rests and teeth
        Upper, resin base, including any conventional clasps, rests and teeth
        Upper, cast metal framework with res in denture base, including any conventional clasps, rests and
        teeth
        Lower, resin base, including any conventional clasps, rests and teeth
        Lower, cast metal framework with resin denture base, including any conventional clasps, rests and
        teeth
        Interim partial denture (stayplate}, upper or lower, covered on anterior teeth only
        Removable unilateral partial, one piece cast metal, including clasps and teeth
     Simple stress breakers, per unit
GP-1-DNTL-90-16                                                                                          P498.1086


All Options

Crown and Prosthodontic Restorative Services - Also see the "Major Restorative Services" section .
  Crown and bridge repairs - allowance based on the extent and nature of damage and the type of material
  involved .
  Recementation, limited to recementations performed more than 12 months after the initial insertion .
     Inlay or onlay
     Crown
     Bridge
  Adding teeth to partial dentures to replace extracted natural teeth
  Denture repairs - Allowance based on the extent and nature of · damage and on the type of materials
  involved .
     Denture repairs , metal
     Denture repairs , acrylic
     Denture repair, no teeth damaged
     Denture repair, replace one or more broken teeth
     Replacing one or more broken teeth, no other damage



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  Denture rebase, full or partial denture - limited to once per denture in any 24 consecutive month period .
  Denture rebases done within 12 months are considered to be part of the denture placement when the
  rebase is done by the dentist who furnished the denture. Limited to rebase done more than 12 consecutive
  months after the insertion of the denture.
  Denture reline, full or partial denture - limited to once per denture in any 24 consecutive month period.
  Denture relines done within 12 months are considered to be part of the denture placement when the reline
  is done by the dentist who furnished the denture. Limited to reline done more than 12 consecutive months
  after a denture rebase or the insertion of the denture.
  Denture adjustments - Denture adjustments done within 12 months are considered to be part of the denture
  placement when the adjustment is done by the dentist who furn ished the denture. Limited to adjustments
  that are done more than 6 consecutive months after a denture rebase, denture reline or the initial insertion
  of the denture.
  Tissue conditioning - Tissue conditioning done within 12 months is considered to be part of the denture
  placement when the tissue conditioning is done by the dentist who furnished the denture. Limited to a
  maximum of 1 treatment, per arch , in any 12 consecutive month period.
GP-1-DNTL-90-16                                                                                      P498.0226


All Options

Endodontic Services - Allowance includes diagnostic, treatment and final radiographs, cultures and tests,
local anesthetic and routine follow-up care , but excludes final restoration.
  Pulp capping , limited to permanent teeth and limited to one pulp cap per tooth , per lifetime.
    Pulp capping , direct
    Pulp capping , indirect - includes sedative filling.
  Vital pulpotomy, only when root canal therapy is not the definitive treatment
  Gross pulpal debridement
  Pulpal therapy, limited to primary teeth only coinsurance
  Root Canal Treatment
     Root canal therapy
     Root canal retreatment, limited to once per tooth , per lifetime
     Treatment of root canal obstruction , no-surgical access
     Incomplete endodontic therapy , inoperable or fractured tooth
     Internal root repair of perforation defects
  Other Endodontic Services
    Apexification , limited to a maximum of three visits
    Apicoectomy , limited to once per root, per lifetime
    Root amputation , limited to once per root, per lifetime
    Retrograde filling , limited to once per root, per lifetime
    Hemisection , including any root removal , once per tooth
GP-1-DNTL-90-16                                                                                      P4980227


All Options

Periodontal surgery - Allowance includes the treatment plan , local anesthetic and post-surgical care.
Requires documentation of periodontal disease confirmed by both radiographs and pocket depth probings of
each tooth involved.
  The following treatment is limited to a total of one of the following , once per tooth in any 12 consecutive
  months.
     Gingivectomy, per tooth (less than 3 teeth)
     Crown lengthening - hard tissue




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  The following treatment is limited to a total of one of the following once per quadrant, in any 36 consecutive
  months.
     Gingivectomy or gingivoplasty, per quadrant
     Osseous surgery, including scaling and root planing , flap entry and closure, per quadrant
     Gingival flap procedure, including scaling and root planing, per quadrant
     Distal or proximal wedge, not in conjunction with osseous surgery
     Surgical revision procedure, per tooth
  The following treatment is limited to a total of one of the following, once per quadrant in any 36 consecutive
  months.
  Pedicle or free soft tissue grafts , including donor site, or subepithelial connective tissue graft procedure,
  when the tooth is present , or when dentally necessary as part of a covered surgical placement of an
  implant.
  The following treatment is limited to a total of one of the following, once per area or tooth , per lifetime.
     Guided tissue regeneration , resorbable barrier or nonresorbable barrier bone replacement grafts, when
     the tooth is present
  Periodontal surgery related
     Limited occlusal adjustment - limited to a total of two visits, covered only when done within a 6
     consecutive month period after covered scaling and root planing or osseous surgery. Must have
     radiographic evidence of vertical defect or widened periodontal ligament space .
     Occlusal guards, covered only when done within a 6 consecutive month period after osseous surgery,
     and limited to one per lifetime
GP-1-DNTL-90-16                                                                                             P498.0230


All Options

                                   Group IV - Orthodontic Services

Orthodontic Services
  - Any covered Group I, II or Ill service in connection with orthodontic treatment.
  - Transseptal fiberotomy
  - Surgical exposure of impacted or unerupted teeth in connection with orthodontic treatment - Allowance
    includes treatment and final radiographs , local anesthetics and post-surgical care.
  - Treatment plan and records , including initial, interim and final records.
  - Limited orthodontic treatment, lnterceptive orthodontic treatment or Comprehensive orthodontic treatment,
    including fabrication and insertion of any and all fixed appliances and periodic visits.
  - Orthodontic retention, including any and all necessary fixed and removable appliances and related visits -
    limited to initial appliance(s) only.
GP-1-DNTL-90-17                                                                                          P498.0083-R




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All Options

                                                   Definitions

The terms that are italicized throughout this plan, are defined in this section .

Active Orthodontic means an appliance, like a fixed or removable appliance, braces or a functional orthotic
used for orthodontic treatment to move teeth or reposition the jaw.

Anterior Teeth means the incisor and cuspid teeth. The teeth are located in front of the bicuspids
(pre-molars) .

Appliance means any dental device other than a dental prosthesis.

Benefit Year means a 12 month period which starts on January 1st and ends on December 31st of each
year.

Covered Dental Specialty means any group of procedures which falls under one of the following categories,
whether performed by a specialist dentist or a general dentist: restorative/prosthodontic services; endodontic
services, periodontic services, oral surgery and pedodontics.
GP-1-DGY2K-D1                                                                                          P498.0008


All Options

Covered Family means an employee and those of his or her dependents who are covered by this plan.

Covered Person means an employee or any of his or her covered dependents.

Dental Prosthesis means a restorative service which is used to replace one or more missing or lost teeth
and associated tooth structures. It includes all types of abutment crowns, inlays and onlays, bridge panties,
complete and immediate dentures, partial dentures and unilateral partials. It also includes all types of crowns,
veneers, inlays, onlays, implants and posts and cores.

Dentist means any dental or medical practitioner we are required by law to recognize who: (a) is properly
licensed or certified under the laws of the state where he or she practices; and (b) provides services which
are within the scope of his or her license or certificate and covered by this plan.

Emergency Treatment means bona fide emergency services which: (a) are reasonably necessary to relieve
the sudden onset of severe pain , fever, swelling , serious bleeding , severe discomfort, or to prevent the
imminent loss of teeth ; and (b) are covered by this plan.

Injury means all damage to a covered person 's mouth due to an accident which occurred while he or she is
covered by this plan, and all complications arising from that damage. But the term injury does not include
damage to teeth, appliances or dental prostheses which results solely from chewing or biting food or other
substances.
GP-1-DGY2K-D2                                                                                          P498.0014




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All Options

Non-Preferred Provider means a dentist or dental care facility that is not under contract with DentalGuard
Preferred as a preferred provider.

Orthodontic Treatment means the movement of one or more teeth by the use of active appliances. It
includes: (a) treatment plan and records, including initial , interim and final records; (b) periodic visits, limited
orthodontic treatment, interceptive orthodontic treatment and comprehensive orthodontic treatment, including
fab rication and insertion of any and all fixed appliances; (c) orthodontic retention, including any and all
necessary fixed and removable appliances and related visits.

Payment Limit means the maximum amount this plan pays for covered services during either a benefit year
or a covered person 's lifetime, as applicable.

Payment Rate means the percentage rate that this plan pays for covered services.

Plan means the Guardian group dental plan purchased by the planholder.

Posterior Teeth means the bicuspid (pre-molars) and molar teeth . These are the teeth located behind the
cuspids.

Preferred Provider means a dentist or dental care facility that is under contract with DentalGuard Preferred
as a preferred provider.

Prior Plan means the planholder's plan or policy of group dental insurance which was in force immediately
prior to this plan. To be considered a prior plan, this plan must start immediately after the prior coverage
ends.

Proof of Claim means dental radiographs , study models, periodontal charting, written narrative or any
documentation that may validate the necessity of the proposed treatment.

We, Us, Our and Guardian mean The Guardian Life Insurance Company of America.
GP-1-DGY2K-D3                                                                                              P498.0016




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All Options

                     ELIGIBILITY FOR VISION CARE EXPENSE COVERAGE
                                                                                                              P505.0053


All Options

                                          EMPLOYEE COVERAGE
                                              Eligible Employees

Subject to the Conditions of Eligibility set forth below, and to all of the other conditions of the plan , all of your
employees who are in an eligible class will be eligible if they are active full-time employees.
For purposes of this plan , we will treat partners and proprietors like employees if they meet this plan's
conditions of eligibility.

                                           Conditions of Eligibility

Full-time Requirement: We won 't insure an employee unless he or she is an active full-time employee.
GP-1-EC-90-1.0                                                                                               P180.0168


All Options

Vision Enrollment Requirement: An employee must enroll and agree to make required payments within 31
days of his or her eligibility date. If he or she fails to do so, he or she can't enroll until this plan 's next vision
open enrollment period .
This plan's vision open enrollment period occurs from October 15th to November 15th of each year.
Once an employee enrolls in this plan , he or she can 't drop his or her vision coverage until this plan 's next
vision open enrollment period. And if he or she drops his or her vision coverage, he or she can't enroll again
until the next vision open enrollment period .
If the employee initially waived vision coverage under this plan because he or she was covered for vision care
benefits under another group plan , and he or she wishes to enroll in this plan because his or her coverage
under the other plan ends, he or she may do so without waiting until the next vision open enrollment period .
However, his or her coverage under the other plan must have ended due to one of the following events: (a)
termination of a spouse's employment; (b) loss of eligibility under a spouse's plan; (c) divorce; (d) death of a
spouse; or (e) termination of the other plan . But the employee must enroll in this plan within 30 days of the
date that any of these events occur.
GP-1-EC-90-2.0                                                                                               P505.0070


All Classes

The Waiting Period: Employees in an eligible class are eligible for insurance under this plan after they
complete the service waiting period established by the employer, if any.
GP-1-EC-90-4 .0                                                                                              P180.0936


All Options

Multiple Employment: If an employee works for both you and a covered associated company, or for more
than one covered associated company, we will treat him as if only one firm employs him. And such an
employee will not have multiple coverage under this plan. But, if this plan uses the amount of an employee's
earnings to set the rates, determine class, figure benefit amounts, or for any other reason , such employee's
earnings will be figured as the sum of his earnings from all covered employers.
GP-1-EC-90-5.0                                                                                               P180.0328



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All Options for All Classes
                                    When Employee Coverage Starts
An employee must be actively at work, and working his or her regular number of hours , on the date his or her
coverage is scheduled to start. And he or she must have met all of the conditions of eligibility which apply to
him or her . If an employee is not actively at work on his or her scheduled effective date, we will postpone the
start of his or her coverage until he or she returns to active work .
Sometimes, a scheduled effective date is not a regularly scheduled work day. But an employee's coverage will
start on that date if he or she was actively at work , and working his or her regular number of hours, on his or
her last regularly scheduled work day.
The scheduled effective date of an employee's coverage is as follows :
      If an employee must pay part of the cost of employee coverage , then he or she must elect to enroll and
      agree to make the required payments. If he or she does this on or before the eligibility date, or within 31
      days of the eligibility date, his or her coverage is scheduled to start on his or her eligibility date. If he or
      she does this more than 31 days after his or her eligibility date, his or her coverage is scheduled to start
      on the date he or she signs his or her enrollment form .
      On non-contributory plans, subject to all the terms of this plan , an employee's coverage is scheduled to
      start on his or her eligibility date.
GP-1-EC-90-6 .0                                                                                             PS0S.0605


All Options for All Classes

                                    When Employee Coverage Ends

When Employee Coverage Ends: Except as explained in the "When Active Service Ends" section of this
plan , an employee's insurance will end on the first of the following dates:
      the date an employee's active full-time service ends for any reason other than disability. Such reasons
      include death , retirement, lay-off, leave of absence, and the end of employment.
      the date an employee stops being an eligible employee under this plan .
      the date the group plan ends, or is discontinued for a class of employees to which the employee
      belongs.
      the last day of the period for which required payments are made for the employee.
Also, an employee may have the right to continue certain group benefits for a limited time after his or her
coverage would otherwise end. The plan 's benefit provisions explain these situations. Read the plan 's
provisions carefully.
GP-1-EC-90-8.0                                                                                              P489.0024


All Options for All Classes

When Active Service Ends: You may continue an employee's vision expense insurance under this plan after
his active service with you ends only as follows:
      If an employee's active service ends because he is disabled you may continue his insurance subject to
      all of the terms of this plan.
      If an employee's active service ends because he goes on a leave of absence or is laid off, you may
      continue his insurance for the rest of the policy month in which the leave or layoff starts, plus 1 more full
      policy month(s) . However, if the employee joins any armed force before this period ends, you may
      continue his insurance until the date he becomes a member of such armed force.
      If you continue an employee's benefits under this plan as set forth above, it must be based on a plan
      which prevents individual selection by you .


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      An d, any such con tin uation is subject to the payment of premiums, and to all of the other terms and
      cond itions of this plan.
      The amount of an employee's insurance during any such continuation will be the amount in force on his
      last day of active service, subject to any red uctions that would have otherwise appl ied if he had
      remained an active employee.
GP- 1-EC-90-7.0                                                                                           P505. 0073


All Options


                      An Employee's Right To Continue Group Insurance
                            During A Family Leave Of Absence

Important Notice: Th is section may not apply to your plan . The employee must contact you to find out if you
must allow for a leave of absence under federal law. In that case the section applies.

If An Employee's Group Coverage Would End: Group coverage may normally end for an employee
because he or she ceases work due to an approved leave of absence . But, the employee may continue his or
her group coverage if the leave of absence has been granted: (a) to allow the employee to ca re for a seriously
injured or ill spouse, chi ld, or parent; (b) after the birth or adoption of a child ; (c) due to the employee's own
serious health cond ition ; or (d) because of any serious injury or illness arising out of the fact that a spouse,
ch ild , parent, or next of kin , who is a covered servicemember, of the employee is on active duty(or has been
notified of an impend ing call or order to active duty) in the Armed Forces in support of a contingency
operation. The employee will be requi red to pay the same share of the premium as he or she paid before the
leave of absence.

When Continuation Ends: Insurance may continue until the earliest of the following :
      The date the employee returns to active work.
      The end of a total leave period of 26 weeks in one 12 month period , in the case of an employee who
      cares for a covered servicemember. Th is 26 week tota l leave period applies to all leaves granted to the
      employee under th is section for all reasons .
      The end of a total leave period of 12 weeks in : (a) any 12 month period , in the case of any other
      employee; or (b) any later 12 month period in the case of an employee who cares for a covered
      servicemember.
      The date on wh ich the employee's coverage wou ld have ended had the employee not been on leave.
      The end of the period for which the premium has been paid.

Definitions: As used in this section , the terms listed below have the meanings shown below:

      Active Duty: This term means duty under a call or order to active duty in the Armed Forces of the
      United States.

      Contingency Operation: This term means a military operation that: (a) is designated by the Secretary
      of Defense as an operation in which members of the armed forces are or may become involved in
      military actions, operations, or hostilities against an enemy of the United States or against an opposing
      military force ; or (b) results in the call or order to, or retention on , active duty of members of the
      uniformed services under any provision of law during a war or during a national emergency declared by
      the President or Congress.

      Covered Servicemember: This term means a member of the Armed Forces, including a member of the
      National Guard or Reserves, who for a serious injury or illness: (a), is undergoing med ical treatment,
      recuperation , or therapy; (b) is otherwise in outpatient status; or (c) is otherwise on the temporary
      disability retired list.



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     Next Of Kin: This terni means the nearest blood relative of the employee.

     Outpatient Status: This term means, with respect to a covered servicemember, that he or she is
     assigned to: (a) a military medical treatment facility as an outpatient; or (b) a unit established for the
     purpose of providing command and control of members of the Armed Forces receiving medical care as
     outpatients.

     Serious Injury Or Illness: This term means, in the case of a covered servicemember, an injury or
     illness incurred by him or her in line of duty on active duty in the Armed Forces that may render him or
     her medically unfit to perform the duties of his or her office, grade, rank, or rating ,
GP-1-EC-90-7.0                                                                                        P449.0523


All Options

                                                Definitions
GP-1-EC-90-DEF-1                                                                                      P180.0155


All Options

Eligible Dependent is defined in the provision entitled "Dependent Coverage".
GP-1-EC-90-DEF-2                                                                                      P180.0156


All Options

Employee means a person who works for the employer at the employer's place of business, and whose
income is reported for tax purposes using a W-2 form.
GP-1-EC-90-DEF-3                                                                                      P180.0311


All Classes

Full-time means the employee regularly works at least the number of hours in the normal work week set by
the employer (but not less than 24 hours per week) , at his employer's place of business.
GP-1 -EC-90-DEF-4                                                                                     P180.0493


All Options

Plan means the Guardian group plan purchased by the employer, except in the provIsIon entitled
"Coordination of Benefits" where "plan" has a special mean ing . See that provision for details.
GP-1-EC-90-DEF-6                                                                                      P180.0160


All Options

We, Us, Our and Guardian mean The Guardian Life Insurance Company of America .
GP-1-EC-90-DEF-9                                                                                      P180.0163


All Options

You and Your means the employer who purchased this plan.
GP-1-EC-90-DEF-10                                                                                     P180.0164




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All Options

                                          Dependent Coverage
GP-1-DEP-90- 1.0                                                                                        P200.0305


All Options

Eligible Dependents For Dependent Vision Care Benefits: An employee's eligible dependents are: (a) his
or her legal spouse; (b) his or her unmarried dependent children who are under age 26; and (c) his or her
unmarried dependent children, from age 26 until their 26 birthday, who are enrolled as full-time students at
accredited schools.
An unmarried dependent child who is not able to remain enrolled as a ful l-time student due to a medically
necessary leave of absence may continue to be an elig ible dependent until the earlier of: (a) the date that is
one year after the first day of the medically necessary leave of absence; or (b) the date on which coverage
would otherwise end under th is plan . The employee must provide written certification by a treating physician
which states that the ch ild is suffering from a serious illness or injury and that the leave of absence is
medically necessary.
GP-1-DEP-90-2.0                                                                                         P505.0642


All Options

Adopted Children and Step-Children: An employee's "unmarried dependent children" include his or her
legally adopted children and , if they depend on the employee for most of their support and maintenance, his
or her step-children . We treat a ch ild as legally adopted from the time the child is placed in the employee's
home for the purpose of adoption . We treat such a ch ild this way whether or not a final adoption order is ever
issued.

Dependents Not Eligible: We exclude any dependent who is insured by this plan as an employee. And we
exclude any dependent who is on active duty in any armed force .
GP-1-DEP-90-3.0                                                                                         P264.0005


All Options

Handicapped Children: An employee may have an unmarried child with a mental or physical hand icap, or
developmental disability, who can 't support himself or herself. Subject to all of the terms of this coverage and
the plan , such a child may stay eligible for dependent benefits past this coverage's age limit.
The child will stay eligible as long as he or she stays unmarried and unable to support himself or herself, if:
(a) his or her conditions started before he or she reached the age limit; (b) he or she became insured before
he or she reached the age limit, and stayed continuously insured until he or she reached such limit; and (c)
he or she depends on the employee for most of his or her support and maintenance.
But, for the ch ild to stay eligible, the employee must send us written proof that the child is handicapped and
depends on the employee for most of his or her support and maintenance. We can ask for periodic proof that
the chi ld's condition continues. But, after two years, we can 't ask for this proof more than once a year.
The child 's coverage ends when the employee's does.
GP-1-DEP-90-4.0                                                                                         P489.0027




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All Options for All Classes

When Dependent Coverage Starts: In order for an employee's dependent coverage to begin, he or she
must already be insured for employee coverage , or enroll for employee and dependent coverage at the same
time. Subject to the "Exception" stated below and to all of the terms of this plan , the date an employee's
dependent coverage starts depends on when he or she elect to enroll all of his or her initial dependents and
agree to make any required payments.
If the employee does this on or before his or her eligibility date, his or her dependent coverage is scheduled
to start on the later of the date he or she signs the enrollment form and the date he or she becomes covered
for employee coverage.
If the employee does this during the enrollment period , his or her dependent coverage is scheduled to start on
the date the employee becomes insured for employee coverage.
If the employee does this after the enrollment period ends, he or she can't enroll his or her initial dependents
until the next vision open enrollment period .
Once the employee has coverage for his or her initial dependents, he or she must notify us when he or she
acquires any new dependents, and agree to make any additional payments required for the coverage. If the
employee does this within 31 days of the date the newly acquired dependent becomes eligible, the
dependent's coverage will start on the date the dependent becomes eligible. If the employee fails to notify us
on time, he or she can 't enroll the newly acquired dependent until the next vision open enrollment period.
Once a dependent is enrolled for vision care expense insurance, the coverage can 't be dropped until the next
vision open enrollment period . And once coverage is dropped for a dependent, the dependent can't be
enrolled again until the next vision open enrollment period.
GP-1 -DEP-90-6.0                                                                                          P505.0606


All Options

Exception: If a dependent, other than a newborn child , is confined to a hospital or other health care facility ; or
is unable to carry-out the normal activities of someone of like age and sex on the date his or her dependent
benefits would otherwise start, we'll postpone the effective date of such benefits until the day after his or her
discharge from such facility ; or until he or she resumes the normal activities of someone of like age and sex.
GP-1-DEP-90-7 .0                                                                                          P200.0708


All Options

Newborn Children: We cover an employee's newborn child from the moment of birth if the employee is
already insured for dependent vision coverage , and he or she notifies us within 31 days of the child 's birth. If
the employee fails to notify us on time, he or she can 't enroll the child until the next vision open enrollment
period.
If the newborn child is the employee's first eligible dependent, we cover the child from the moment of birth if
the employee enrolls for dependent coverage and agrees to make any required payments within 31 days of
the child's birth. If the employee fails to enroll on time, he or she can 't enroll the child until the next vision
open enrollment period .
If the newborn child is not the employee's first eligible dependent, but the employee did not previously enroll
his or her other eligible dependents for vision care expense coverage, the employee can enroll the child
during the next vision open enrollment period , if he or she also enrolls all of his or her other eligible
dependents at this time.
GP-1-DEP-90-8.0                                                                                           P505.0068




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All Options

When Dependent Coverage Ends: Dependent coverage ends for all of an employee's dependents when his
or her employee coverage ends. But if an employee dies while insured , we'll automatically continue dependent
benefits for those of his or her dependents who were insured when he or she died. We'll do this for six
months at no cost, provided: (a) the group plan remains in force ; (b) the dependents remain eligible
dependents; and (c) in the case of a spouse, the spouse does not remarry.
If a surviving dependent elects to continue his or her dependent benefits under this plan 's "Federal
Continuation Rights" provision , or under any other continuation provision of this plan , if any, this free
continuation period will be provided as the first six months of such continuation. Premiums required to be paid
by, or on behalf of a surviving dependent will be waived for the first six months of continuation, subject to
restrictions (a), (b) and (c) above. After the first six months of continuation , the remainder of the continuation
period , if any, will be subject to the premium requirements, and all of the terms of the "Federal Continuation
Rights" or other continuation provisions.
Dependent coverage also ends for all of an employee's dependents when the employee stops being a
member of a class of employees eligible for such coverage . And it ends when this plan ends, or when
dependent coverage is dropped from this plan for all employees or for an employee's class.
If an employee is required to pay all or part of the cost of dependent coverage, and he or she fails to do so,
his or her dependent coverage ends. It ends on the last day of the period for which he or she made the
required payments, unless coverage ends earlier for other reasons .
An individual dependent's coverage ends when he or she stops being an eligible dependent. This happens to
a child at 12:01 a.m. on the date the child attains this plan's age limit, when he or she marries , or when a
step-child is no longer dependent on the employee for support and maintenance. It happens to a spouse when
a marriage ends in legal divorce or annulment.
Read this plan carefully if dependent coverage ends for any reason . Dependents may have the right to
continue certain group benefits for a limited time.
GP-1-DEP-90-9.0                                                                                           P489.0050


All Options
                                                  Definitions
GP-1-DEP-90-DEF-1                                                                                         P200.0210


All Options

Eligibility Date for dependent coverage is the earliest date on which : (a) the employee has dependents; and
(b) is eligible for dependent coverage.
GP-1 -DEP-90-DEF-2                                                                                        P200.0211


All Options

Eligible Dependent is defined in the provision entitled "Dependent Coverage."
GP-1-DEP-90-DEF-3                                                                                         P200.0212


All Options

Enrollment Period means the 31 day period which starts on the date that the employee is eligible for
dependent coverage.
GP-1-DEP-90-DEF-4                                                                                         P200.0213




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All Options

Initial Dependents means those eligible dependents the employee has at the time he or she first becomes
eligible for employee coverage. If at this time he or she does not have any eligible dependents, but later
acquires them , the first eligible dependents he or she acquires are his or her initial dependents.
GP-1-DEP-90-DEF-8                                                                                P200.0217


All Options

Newly Acquired Dependent means an eligible dependent the employee acquires after he or she already has
coverage in force for initial dependents.
GP-1-DEP-90-DEF-9                                                                                P200.0218


All Options

Plan means the Guardian group plan purchased by the employer.
GP-1-DEP-90-DEF-11                                                                               P264.0065


All Options

We, Us, Our and Guardian means The Guardian Life Insurance Company of America.
GP-1-DEP-90-DEF-14                                                                               P200.0223


All Options

You and Your means the employer who purchased this plan.
GP- 1-DEP-90-DEF-15                                                                              P200.0224




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All Options
                                        VISION CARE BENEFITS
This insurance will pay many of an employee's and his or her covered dependent's vision care expenses.
What we pay and the terms for payment are explained below.
GP-1-DAVIS-05-VIS                                                                                         P505.0363


All Options

                     This Plan's Vision Care Preferred Provider Organization

Davis Vision:This plan is designed to provide a high quality vision care benefit while controlling the cost of
such care. To do this, the plan encourages a covered person to seek vision care from doctors and vision care
facilities that belong to Davis Vision 's Preferred Provider Network.
This vision care preferred provider organization (PPO) is made up of preferred providers in a covered person's
geographic area. A vision care preferred provider is a vision care practitioner or a vision care facility that: (a)
is a credentialed provider in Davis Vision's network; and (b) has a current participatory agreement in force with
Davis Vision .
Use of the vision care PPO is voluntary. A covered person may receive vision care from either a preferred
provider or a non-preferred provider. And, he or she is free to change providers at any time. But, this plan
usually pays more in benefits for covered services furnished by a vision care preferred provider. Conversely, it
usually pays less for covered services not furnished by a vision care preferred provider.
When an employee and his or her dependents enroll in this plan , they will get an enrollment packet which will
tell them how to obtain benefits and information about current vision care preferred providers.
What we pay is based on all of the terms of this plan . The covered person should read this material with care
and have it available when seeking vision care. Read this plan carefully for specific benefit levels, frequencies,
copayments and payment limits.
The covered person can call Davis Vision if he or she has any questions after reading this material.

Choice of Preferred Providers: When a person becomes enrolled in this plan , he or she will receive
information about Davis Vision preferred providers in his or her area. A covered person may receive vision
services from any current Davis Vision preferred provider.
When a covered person wants to receive services from a preferred provider, he or she must contact the
preferred provider before receiving treatment. The preferred provider will contact Davis Vision to verify the
covered person's eligibility before any treatment takes place.
It is not necessary to submit a claim for services or supplies from a preferred provider.

Non-Preferred Providers:lf a covered person receives services or supplies from a non-preferred provider, he
or she must submit a claim form along with the itemized bill to Davis for claims payment. All claims must be
sent to Davis within 90 days of the date services are completed or supplies are received.
Claims for services or supplies from a non-preferred provider must be sent to:
                                   Davis Vision - Vision Care Processing Unit
                                                 P.O. Box 1525
                                               Latham, NY 12110


GP-1-DAVIS-05-PPOA                                                                                        P505.0365




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All Options
                                              Appeals Process
In the event that a claim is denied , Davis Vision will consult with the provider involved with the covered
person 's vision care treatment. If the issue cannot be resolved , the provider or patient has the right to request
a review of the adverse determination . The provider, covered person or patient may appeal denied
authorizations or claim decisions. Should a covered person request a review of an authorization or cla im
decision , Davis Vision must notify the covered person , or his or her designee, within five (5) business days of
receipt of the request and the review must be conducted by a clinical peer who was not involved in the
orig inal vision care determination. Pre-service review decisions are to be completed within fifteen (15) days
and post-service review decisions are to be comp leted within th irty (30) days, or as required by state statute,
from the date that Davis Vision receives notification from the covered person or his or her designee and be
mailed with in five (5) days of the date of decision. Denials can be appealed through Davis Vision 's Grievance
Resolution process or as per plan contract. A covered person has the right to appeal through an external
review organization at any time during the grievance process. A covered person has the right to designate a
representative, includ ing his or her provider, to act on his or her behalf with regard to review of a vision care
claim determination . Use of the Appeals Process does not waive the covered person's legal rights .

                                            Grievance Process

Registering a Complaint or Grievance: A covered person has the right to file a grievance or make an
appeal to any claim decision at any time. The covered person has the right to designate a representative to
file complaints and appeals on his or her behalf.
A covered person is entitled to a copy of the Grievance Resolution process upon request and a copy will be
provided to a covered person should the determination be made that vision care benefits are not available.
Davis Vis ion defines a "grievance" as a complaint that may or may not require specific corrective action and
is made:
  1.   via the telephone.
  2.   in writing to Davis Vision.
  3.   via the Davis Vision Website.
A "grievance" or complaint can arise from and includes but is not limited to the following:
  1. benefit denials;
  2. an adverse determination as to whether a service is covered pursuant to the terms of the contract;
  3. difficulty accessing or utilizing a benefit, and issues regard ing the quality of vision care services;
  4. challenges with vision care services or products received ;
  5. dissatisfaction with the resolution of a complaint/grievance or appeal.

Verbal Grievances and Telephone Communication: A covered person may file a verbal grievance by
contacting Davis Vision . Registering a complaint or grievance by telephone will be considered filing a "formal
grievance". A Davis Vision associate will acknowledge receipt of all complaints in writing within five (5)
business days from the date the complaint or appeal is received .
A covered person has access to the Davis Vis ion toll free number twenty-four (24) hours a day seven (7) days
a week to voice any concern or grievance and also has the right to contact his or her Human Resources
Department or Benefits Administration Department. The Davis Vision Toll Free number is: 1 (800) 584-1487




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Written Grievances: Written notice of grievances received via e-mail , U.S. Mail or other written
correspondence will be acknowledged within five (5) business days. All written correspondence should be
addressed to:
Davis Vision
159 Express Street
Plainview, New York 11803
Attention : Quality Assurance/Patient Advocate Department
A covered person can register any concern or grievance                    by   logging   on   to   Davis'   website:
www .davisvision .com and entering the "Contact Davis Vision" area.


                                     Internal Grievance Procedure

Appeal Level 1: Upon receipt of a concern or grievance by a Davis Vision associate, the covered person is
contacted by telephone, or in writing , with in five (5) business days to confirm that the concern or grievance
was received and is being investigated . Every attempt is made to contact the covered person or his or her
designated representative . Contact may include, but is not limited to, telephone contact, e-mail or U.S. Mail. A
designated Davis Vision associate reviews the appeal with the covered person and may request additional
information. Details of the complaint are documented in the covered person 's file. The covered person is
given the associate's name, phone number, department and the estimated time needed to perform the
research . The covered person is informed of his or her right to have a representative, including his or her
provider, present during the review of the concern and final outcome of the investigation . The covered person
is informed of his or her right to appeal to an external review organization at any time during the grievance
procedure or as required by state statute.
The review committee will include a licensed (peer) health care professional when grievances pertain to
clin ical decisions. All decisions are reviewed and approved by the Vice President of Professional Affairs , a
licensed optometrist.
The investigation may involve contacting the provider or the point of service location to determine the cause of
the concern . If necessary, the Regional Quality Assurance Representative (ROAR) or Professional Field
Consultant (PFC) will be contacted and a site visit may be scheduled . Davis Vision will contact the covered
person when further information is required and inform him or her of the status of the investigation or the need
for more information .
The determination will be communicated to the covered person within fifteen (15) days for pre-service review
decisions and within thirty (30) days for post-service review decisions, or as required by state statute. An
additional ten (10) days may be requested in order to complete further research . The written decision will be
mailed to the covered person within five (5) days of the decision . The appeal determination will include the
following :
    the decision , and will include a summary of the facts related to the issue,
    the criteria that was used , summary of the evidence, including the documentation supporting the decision ,
    a statement indicating that the decision will be final and binding unless the covered person appeals in
    writing to the Quality Assurance/Patient Advocate Department within fifteen (15) business days of the date
    of the notice of the decision ,
    a copy of the appeals process, if applicable, and
    the name, position , phone number, and department of the person(s) responsible for the decision .
The decision of the Quality Assurance/Patient Advocate Department shall be final and binding unless appealed
by the covered person to Davis Vision within fifteen (15) business days of the date of notice of the decision.
GP-1-DAVIS-05-APP-2                                                                                         P505.0367




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All Options

Appeal Level 2: Should Davis Vision uphold a denial , as the result of a Level 1 review, The covered person
has the right to request a Level 2 appeal.
A Level 2 appeal will not include Associate(s) or licensed (peer) health care professional(s) that were involved
in the Level 1 review.
A Level 2 appeal requires the covered person to contact Davis Vision in writing or by telephone within fifteen
(15) days following receipt of the Level 1 summary statement. The covered person requesting a Level 2
appeal must indicate the reason they believe the denial of coverage/benefit was incorrect. Davis Vision
reserves the right to request further information from the covered person or provider.
Davis Vision has thirty (30) days, or as required by state statue, from the date the requested information is
received , to respond to the Level 2 pre-service review. Davis Vision has thirty (30) days, or as required by
state statute, from the date the requested information is received , to respond to the Level 2 post-service
review . The Vice President of Professional Affairs will review all clinical appeals. A Davis Vision associate(s)
and a Regional Quality Assurance Representative(s) (ROAR), a licensed optometrist, not involved in the initial
determination will review the Level 1 decision . If the Level 2 appeal upholds the Level 1 determination, the
covered person will be notified in writing of this decision . Notification will include, but not be limited to:
    the decision , and contain a summary stating the nature of the concern and the facts related to the issue,
    the criteria that was used , summary of the evidence, including documentation that was used to support
    the decision ,
    a statement indicating that the decision will be final and binding unless the covered person appeals in
    writing or by telephone to the Quality Assurance/Patient Advocacy Department within forty-five (45) days
    of the date of the notice of the Level 2 decision ,
    a copy of the appeals process, if applicable, and
    the name, position , phone number, and department of person(s) responsible for the decision.


                                     External Grievance Procedure

External Review: A covered person , as required by state statute, has the right to request an impartial review
of concerns that resulted in a denial of coverage. A covered person who has exhausted the internal appeals
process may appeal the final decision if the denial for services was not deemed medically necessary or the
requested service was deemed lnvestigational or Experimental.
An external review organization will refer the case for review by a neutral, independent practitioner
experienced in vision care. Davis Vision will provide all requested documentation to the external review
organization. The external review organizations will have up to thirty (30) days, or as required by state statute,
to make their determination .

External Review Process: A covered person has the right to an external review of a denial of coverage. A
covered person has the right to an external review of a final adverse decision under the following
circumstances:
    the covered person has been denied a vision care service, which should have been covered under the
    terms of the contract.
    services were denied on the basis that requested services were not medically necessary.
    a treatment or service that will have a significant positive impact on the covered person has been denied
    and any alternative service or treatment will not affect the covered person's ocular health and/or produce
    a negative outcome.
    services denied are related to a current illness or injury.
    the cost of the requested services will not exceed that of any equally effective treatment.




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    the denied service, procedure or treatment is a covered benefit under the covered person 's policy.
    The covered person has exhausted all internal appeal processes with an adverse determination upheld at
    each level.
lnvestigational or Experimental Treatment means an approved ocular diagnostic procedure warranted by the
ocular health of the covered person and the subsequent diagnostic findings could alter the covered person 's
treatment plan . The risk of a negative outcome utilizing the approved treatment would be no greater than
utilizing an alternative treatment.
The vision care provider may contact the appropriate State Agency to determine if other documentation may
be required for the appeal process.
Once the determination is made, notification is made, in writing , within two (2) business days. This notification
will include an explanation and the clinical criteria used in the decision.
GP- 1-DAVIS-05-APP-2                                                                                     P505.0368


All Options

                                           How This Plan Works
We pay benefits for the covered charges a covered person incurs as follows . What we pay is subject to all of
the terms of this plan . Read the entire plan to find out what we limit or exclude.
Covered charges are the usual charges for the services and supplies described below. We pay benefits only
for covered charges incurred by a covered person while he or she is insured by this plan. Charges in excess
of any payment limits shown in this plan are not covered charges.
When a payment limit is for a pair of materials (such as lenses) , the limit is halved if only one item is
purchased.
GP-1-DAVIS-05-HPW                                                                                        P505.0369


All Options

Copays: A covered person must pay a copay each time he or she receives a vision examination . A covered
person must pay a copay each time he or she receives any vision materials covered by this plan.
GP-1-DAVIS-05-COP                                                                                        P505.0371


All Options

How We Cover Vision Examinations: A covered person must pay a $10.00 copay each time he or she
receives a vision examination . If the vision examination is performed by a preferred provider, we pay benefits
in full for the exam in excess of the copay. If the vision examination is performed by a non-preferred provider,
we pay benefits in excess of the copay up to $50.00.
We pay benefits for one vision examination in any calendar year.
A vision examination includes:
    case history - chief complaint, eye and vision history, medical history;
    entrance distance acuities;
    external ocular evaluation including slit lamp examination ;
    internal ocular examination ;
    tonometry;
    distance refraction - objective and subjective;
    binocular coordination and ocular motility evaluation ;
    evaluation of papillary function ;



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    biomicroscopy;
    gross visual fields ;
    assessment and plan ;
    advice to a Covered Person on matters pertain ing to vision care;
    form completion - school , motor vehicle, etc.
If the doctor recommends vision correction , we cover the fitting of eyeglasses and follow-up adjustments.
GP-1-DAVIS-05-VE                                                                                          PS0S.0663


All Options

How We Cover Vision Materials : We pay benefits for either glass or plastic prescription single vision ,
bifocal, trifocal or lenticular lenses . We pay benefits for frames . We pay benefits for prescription contact
lenses.
In any calendar year, we pay benefits for either one pair of standard lenses or one pair of contact lenses, but
not both.
In any period of 2 calendar years, we pay benefits for one set of frames.
GP-1 -DAVI S-05-VM                                                                                        PS0S.0677


All Options

How We Cover Standard Lenses: A covered person must pay a $20.00 copay each time he or she
purchases standard lenses. If the lenses are received from a preferred provider, we pay benefits in full for the
lenses in excess of the copay. If the lenses are received from a non-preferred provider, we pay benefits in
excess of the copay up to:
    $48.00 for single vision lenses;
    $67 .00 for bifocal lenses;
    $86.00 for trifocal lenses; and
    $126.00 for lenticular lenses:·:
We cover one pair of standard lenses in any calendar year.
We cover charges for glass or plastic lenses in single vision, bifocal or trifocal prescriptions, including charges
for the following cosmetic extras;
    oversized lenses;
    fashion and gradient tinting of plastic lenses ;
    polycarbonate lenses (for children up to age 20 and monocular I individuals and Covered Persons with
    prescriptions of greater than +/-6.00 diopters);
    glass-grey #3 prescription sunglasses.
The following cosmetic lens extras are not covered . But if a covered person purchases his or her lenses from
a preferred provider, the price will be discounted as follows :
    standard progressive addition lenses - $50
    premium progressives (Varilux, Kodak, Seiko, Rodenstock) - $90
    photochromatic lenses - single vision or multifocal - $20
    scratch resistant coating - single vision or multifocal - $20
    ultra violet coating - $12
    blended invisible bifocal lenses - $20


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    intermediate Lenses - $30
    plastic photosensitive lenses - $65
    polarized lenses - $75
    hi-Index lenses - $55
    supershield (scratchguard) coating - $20
    glare resistant treatment (multi layer hydrophobic) - $35
    premium glare resistant treatment - $48
GP- 1-DAVIS-05-S L                                                                                     P505.0686


All Options

How We Cover Elective Contact Lenses: We cover charges for standard , soft, daily-wear, disposable or
planned replacement contact lenses, but only in lieu of standard lenses and frames .
If we cover charges for elective contact lenses, we will not cover charges for standard lenses and frames until
the next following calendar year.
A covered person must pay a $20.00 copay each time he or she purchases elective contact lenses.
If the contact lenses are purchased from a non-preferred provider, we pay benefits in excess of the copay up
to a maximum of $105 .00.
If the contact lenses are purchased from a preferred provider, we pay benefits in excess of the copay as
follows :
      If a preferred provider offers Davis' elective contact lenses collection (the formulary) , we cover any
      elective contact lenses selected from the formulary in full in excess of a $20.00 copay.
      We cover non-formulary elective contact lenses in full to the retail elective contact lenses allowance of
      $120.00. The copay is waived.
      If a covered person receives a vision examination from a preferred provider, he or she will receive a
      discount on the cost of a pair of non-formulary elective contact lenses, including evaluation and fitting,
      from the same preferred provider*.
      The discount is an amount equal to 15% of the preferred provider's usual and customary fee in excess
      of the copay and retail elective contact lenses allowance.
      *At Wal-Mart locations, covered persons will receive Wal-Mart's every day low price on purchases of
      elective contact lenses.
We cover one pair of elective contact lenses in any calendar year.
GP-1-DAVIS-05-ECL                                                                                      P505.0694


All Options

How We Cover Necessary Contact Lenses: We cover charges for necessary contact lenses, including
charges for related professional services:
    only if the lenses are needed for the correction of keratoconus ; and
    the covered person complies with the following requirements regarding prior notification .
The covered person or the provider must send a completed request to Davis Vision for necessary contact
lenses for the correction of keratoconus before the lenses are dispensed. If the required notification is not
obtained , no benefits will be paid for such lenses.




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A covered person must pay a $20.00 copay each time he or she purchases necessary contact lenses . If the
contact lenses are purchased from a preferred provider, we pay benefits in full for the lenses in excess of the
copay. If the contact lenses are purchased from a non-preferred provider, we pay benefits in excess of the
copay up to a maximum of $210.00.
GP-1-DAVIS-05-NCL                                                                                       P505.0385


All Options

How We Cover Frames: A covered person must pay a copay each time he or she purchases a set of
frames .
If the frames are purchased from a non-preferred provider, we pay benefits in excess of a $20.00 copay up to
$48 .00.
If the frames are purchased from a preferred provider, we pay benefits in excess of the copay as follows:
     If a preferred provider offers Davis' Tower designer frame collection (the Tower) , we cover any Fashion
     or Designer Collection frame selected from the Tower in excess of a $20.00 copay . We cover any
     Premier Collection frame selected from the Tower in full in excess of a $45.00 copay.
     We cover a non-Tower frame in excess of a $20.00 copay up to the retail frame allowance of $120.00.
     If a covered person receives a vision examination from a preferred provider, he or she will receive a
     discount on the cost of purchasing a pair of non-Tower frames from the same preferred provider*.
     The discount is an amount equal to 20% of the preferred provider's usual and customary fee in excess
     of the copay and retail frame allowance.
     *At Wal-Mart locations, covered persons will receive Wal-Mart's every day low price on frame purchases.
We cover one set of frames in any period of 2 calendar years.
GP-1-DAVIS-05-FRM                                                                                       P505.0714


All Options

                                                  Exclusions
    We won 't pay for orthoptics or vision training and any associated supplemental training .
    We won 't pay for medical or surgical treatment of the eyes.
    We won 't pay for any eye examination or corrective eyewear required by an employer as a condition of
    employment.
    We won't pay for piano lenses (lenses with less than a +/-.38 diopter power) .
    We won't pay for two sets of glasses in lieu of bifocals.
    We won 't pay for replacement of lenses and frames furnished under this Plan which are lost or broken ,
    except at normal intervals when services are otherwise available.
    We won 't pay for necessary contact lenses prescribed for a covered person affected with keratoconus for
    which prior notification was not sent to Davis Vision .
    We won 't pay for lens cosmetic extras that are not specifically listed in this Plan as covered .
GP-1-DAVIS-05-EXC                                                                                       P505.0389




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All Options

                                               DEFINITIONS
"Blended Lenses" means bifocals which do not have a visible dividing line .
"Coated Lenses" means substance added to a finished lens on one or both surfaces.
"Copay" means a charge, expressed as a fixed dollar amount, required to be paid by or on behalf of a
covered person before any benefits are paid by th is plan.
"Covered Person" with respect to vision care insurance means an employee or eligible dependent who meets
th is plan's eligibility criteria and who is covered under this Plan .
"Customary" means, when referring to a covered cha rge, that the charge for the covered vision condition is
not more than the usual charge made by most other doctors with similar training and experience in the same
geographic area.
"Keratoconus" means a development or dystrophic deformity of the cornea in which it becomes cone shaped
due to a thinning and stretch ing of the tissue in its central area.
"Lenticular Lenses" means high-powered lenses with the desired prescription power found only in the central
portion . The outer carrier portion has a front surface with a chang ing radius of curvature.
"Non-Preferred Provider" with respect to vision care insurance, means any optometrist, ophthalmologist or
optician or other licensed and qualified vision care provider who has not entered into a contract with Davis
Vision to provide vision care services and/or vision care materials on behalf of the covered persons of the
plan . "Orthoptics" means the teach ing and training process for the improvement of visual perception and
coordination of two eyes for efficient and comfortable binocular vision .
"Oversize Lenses" means larger than a standard lens blank to accommodate prescriptions.
"Photochromic Lenses" means lenses which change color with the intensity of sunlight.
"Plan" means the Davis Vision group policy of vision care services described herein.
"Plano Lenses" means lenses which have no refractive power (lenses with less than a +/-. 38 diopter power).
"Preferred Provider" with respect to vision care insurance means an optometrist, ophthalmologist or optician
or other licensed and qualified vision care provider who has entered into a contract with Davis Vision to
provide vision care services and/or vision care materials on behalf of covered persons of the plan .
"Standard Lenses" means regular glass or plastic lenses. See "Exclusions" for what we limit or exclude.
"Tinted Lenses" means lenses which have an additional substance added to produce constant tint.
"Usual" means when referring to a covered charge that the charge is the doctor's standard charge for the
service furnished . If more than one type of service can be used to treat a vision condition , "usual" refers to
the charge for the least expensive type of service which meets the accepted standards of vision care practice.
GP-1-DAVIS-05-DEF                                                                                      P505.0391




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Options A and E
           ATTACHED TO AND MADE PART OF GROUP INSURANCE POLICY NO. G -00464537-

                                                     issued by

                             The Guardian Life Insurance Company of America

                                     (herein called the Insurance Company)

                                                        to
                                    FUTUREFUEL CHEMICAL COMPANY

                                         (herein called the Policyholder)
The Policyholder and the Insurance Company hereby agree that the Group Policy is hereby amended effective
on the effective date of any Dependent Life Insurance as follows :
The Life Insurance eligibility provisions applicable to dependent coverage are modified to provide that:
  (a)     an employee's dependent child is a child under age 26;
  (b)     marital status, residency and financial dependency requirements do not apply to an employee's
          dependent child ; except as stated in item (c):
  (c)     a handicapped ch ild can stay eligible for dependent coverage past age 26 if such child is unmarried
          and is unable to support himself or herself; and
  (d)     reference to an individual dependent's coverage ending when he or she marries or is no longer
          dependent on the employee for support and maintenance, except as stated for a handicapped child
          past the age limit, is deleted .
The foregoing amendment shall form a part of said Group Policy, provided both the Policyholder and the
Insurance Company have hereto applied their respective signatures, and is subject to the agreements and
covenants therein contained .


Dated at                              This                               Day of


                                               FUTUREFUEL CHEMICAL COMPANY
                                               Full or Corporate Name of Policyholder


                                                     BY: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Witness                                                                     Signature and Title


                                                         The Guardian Life Insurance Company of America




                                                                      Vice President, Risk Mgt. & Chief Actuary
GUR-1                                                                                                      P531.0022




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Options A and E
           ATTACHED TO AND MADE PART OF GROUP INSURANCE POLICY NO. G -00464537-

                                                      issued by

                              The Guardian Life Insurance Company of America

                                      (herein called the Insurance Company)

                                                         to
                                     FUTUREFUEL CHEMICAL COMPANY

                                          (herein called the Policyholder)
The Policyholder and the Insurance Company hereby agree that the Group Policy is hereby amended effective
on the effective date of any Dependent Voluntary Accidental Death and Dismemberment Insurance as follows:
The Voluntary Accidental Death and Dismemberment Insurance eligibility provisions applicable to dependent
coverage are modified to provide that:
  (a)     an employee's dependent ch ild is a child under age 26 ;
  (b)     marital status, residency and financial dependency requirements do not apply to an employee's
          dependent child ; except as stated in item (c);
  (c)     a handicapped ch ild can stay eligible for dependent coverage past age 26 if such child is unmarried
          and is unable to support himself or herself; and
  (d)     reference to an individual dependent's coverage ending when he or she marries or is no longer
          dependent on the employee for support and maintenance, except as stated for a handicapped child
          past the age limit, is deleted .
The foregoing amendment shall form a part of said Group Policy, provided both the Policyholder and the
Insurance Company have hereto applied their respective signatures, and is subject to the agreements and
covenants therein contained.


Dated at                               This                              Day of


                                                FUTUREFUEL CHEMICAL COMPANY
                                                Full or Corporate Name of Policyholder


                                                      BY: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Witness                                                                      Signature and Title


                                                          The Guardian Life Insurance Company of America




                                                                       Vice President, Risk Mgt. & Chief Actuary
GUR-1                                                                                                   P531.0021



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All Options
           ATTACHED TO AND MADE PART OF GROUP INSURANCE POLICY NO. G -00464537-

                                                      issued by

                             The Guardian Life Insurance Company of America

                                      (herein called the Insurance Company)

                                                         to
                                     FUTUREFUEL CHEMICAL COMPANY

                                          (herein called the Policyholder)
Effective on the latter of (i) the original effective date of the Policy; or (ii) the effective date of the any
applicable amendment requested by the Policyholder and approved by the Insurance Company, this rider
amends the Dental Expense Insurance provisions of the Group Policy as follows :
     The Alternate Treatment provision is changed to read as follow when titanium or high noble metal (gold)
     is used in a dental prosthesis.
     If more than one type of service can be used to treat a dental condition, we have the right to base
     benefits on the least expensive service which is within the range of professionally accepted standards of
     dental practice as determined by us. For example, in the case of bilateral multiple adjacent missing teeth,
     or multiple missing teeth in both quadrants of an arch the benefit will be based on a removable partial
     denture. In the case of titanium or high noble metal (gold) used in a dental prosthesis, the benefit will be
     based on the noble metal benefit. In the case of a composite filling on a posterior tooth , the benefit will
     be based on the corresponding covered amalgam filling benefit.
This rider is part of the Policy. Except as stated in this rider, nothing contained in this rider changes or affects
any other terms of this Policy.


Dated at                               This                               Day of


                                                FUTUREFUEL CHEMICAL COMPANY
                                                Full or Corporate Name of Policyholder


                                                      BY: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Witness                                                                      Signature and Title


                                                          The Guardian Life Insurance Company of America




                                                                       Vice President, Risk Mgt. & Chief Actuary
GP-1-A-DGOPT-10                                                                                            P531 .0025




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All Options
           ATTACHED TO AND MADE PART OF GROUP INSURANCE POLICY NO. G -00464537-

                                                     issued by

                              The Guardian Life Insurance Company of America

                                     (herein called the Insurance Company)

                                                        to
                                     FUTUREFUEL CHEMICAL COMPANY

                                         (herein called the Policyholder)
The Policyholder and the Insurance Company hereby agree that the Group Policy is hereby amended effective
March 1, 2012 as follows :
The Vision Insurance eligibility provisions applicable to dependent coverage are modified to provide that:
  (a)     an employee's dependent child is a child under age 26 ;
  (b)     marital status , residency and financial dependency requirements do not apply to an employee's
          dependent child; except as stated in item (c);
  (c)     a handicapped child can stay eligible for dependent coverage past age 26 if such child is unmarried
          and is unable to support himself or herself; and
  (d)     reference to an individual dependent's coverage ending when he or she marries or is no longer
          dependent on the employee for support and maintenance, except as stated for a handicapped child
          past the age limit, is deleted .
The foregoing amendment shall form a part of said Group Policy, provided both the Policyholder and the
Insurance Company have hereto applied their respective signatures, and is subject to the agreements and
covenants therein contained.


Dated at                              This                               Day of


                                               FUTUREFUEL CHEMICAL COMPANY
                                               Full or Corporate Name of Policyholder


                                                     BY: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Witness                                                                     Signature and Title


                                                         The Guardian Life Insurance Company of America




                                                                      Vice President, Risk Mgt. & Chief Actuary
GUR-1                                                                                                   P505.1197




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All Options
          ATTACHED TO AND MADE PART OF GROUP INSURANCE POLICY NO. G -00464537-

                                                      issued by

                 THE GUARDIAN LIFE INSURANCE COMPANY OF AMERICA
                                                7 Hanover Square
                                            New York, New York 10004

                                                          to
                                      FUTUREFUEL CHEMICAL COMPANY

                                           (herein called the Policyholder)
Effective the later of (i) January 1, 2015, (ii) your first renewal date thereafter or (iii) the effective date of this
amendment requested by the Policyholder and approved by Guardian , this rider amends your plan as follows:

                                          ADDITIONAL SERVICES
Guardian has arranged to make available selected services for eligible Guardian policyholders and/or covered
persons who may be entitled to receive certain services and supplies from various companies.
The additional services and supplies identified below, and agreed to by the providers of these services, are
not provided by Guardian . Guardian assumes no liability for the services or supplies provided under these
programs, nor for the amounts charged by the companies providing such service and supplies.
Policyholders and/or covered persons will be provided with complete details regarding available services and
supplies; associated fees or charges ; discounts; eligibility requirements; and conditions , terms and limitations
and a telephone number to call with questions about the service.
The policyholder and/or covered persons may be eligible for the following service(s) and/or discounts:
       Comprehensive Employee Assistance Program (EAP) Services, e.g. Worklife Services.
       Estate Planning Services.
       Travel Services.
       Vision Services and Discounts e.g. Vision Access and Discounts on Vision Care Services and Supplies
       Not Covered by Your Plan.
When this plan ends, access to the services ends for the policyholder and for all persons covered under the
plan . When a policyholder no longer meets the conditions for eligibility for a service, access to that service
ends for the policyholder and for all persons covered under the plan.
When a covered person's coverage under this plan ends, access to the services ends for that person . When
a covered person no longer meets the conditions for eligibility for a service, access to that service ends for
the covered person.
Guardian reserves the right to terminate, modify or replace any service at any time.




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Dated at                       This                              Day of


                                        FUTUREFUEL CHEMICAL COMPANY
                                        Full or Corporate Name of Policyholder


                                              BY: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Witness                                                              Signature and Title


                                                  The Guardian Life Insurance Company of America




                      Raymond Marra, Senior Vice President, Group and Worksite Markets
GP-1 -A-VAP-15                                                                             P531 .0474




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All Options
                                   COORDINATION OF BENEFITS

Important Notice: This section applies to all group dental benefits under th is plan. It does not apply to any
death , dismemberment, or loss of income benefits that may be provided under this plan .

Purpose: When a covered person has dental coverage under more than one plan, this section allows this plan
to coordinate what it pays with what other plans pay. This is done so that the covered person does not collect
more in benefits tha n he or she incurs in charges.

                                                Definitions

Allowable Expense: Th is term means a dental care service or expense that is covered , at least in part, by
any of the plans which cover the person . This includes: (a) deductibles; (b) coinsurance; and (c) copayments.
When a plan provides benefits in the form of services , the reasonable cash value of each service will be
considered an allowable expense and a benefit paid .
An expense or service that is not covered by any of the plans is not an allowable expense. Examples of other
expenses or services that are not allowable expenses are:
  (1) The amount a benefit is reduced by the primary plan because a person does not comply with the plan 's
      provisions is not an allowable expense. Examples of these provisions are preferred provider
      arrangements.
  (2) If a person is covered by two or more plans that compute their benefit payments on the basis of
      reasonable and customary charges , any amount in excess of the primary plan 's reasonable and
      customary charges for a specific benefit is not an allowable expense.
  (3) If a person is covered by two or more plans that provide benefits or services on the basis of negotiated
      fees, an amount in excess of the primary plan 's negotiated fees for a specific benefit is not an
      allowable expense.
If a person is covered by one plan that computes its benefits or services on the basis of reasonable and
customary charges and another plan that provides its benefits or services on the basis of negotiated fees , the
primary plan 's payment arrangements will be the allowable expense for all plans. However, if the provider has
contracted with the secondary plan to provide the benefit or service for a specific negotiated fee or payment
amount that is different than the primary plan 's payment arrangement and if the provider's contract permits ,
the negotiated fee or payment shall be the allowable expense used by the secondary plan to determine its
benefit.

Claim: This term means a request that benefits of a plan be provided or paid .

Claim Determination Period: This term means a calendar year. It does not include any part of a year during
which a person has no coverage under this plan , or before the date this section takes effect.

Coordination Of Benefits: This term means a provision which determines an order in which plans pay their
benefits, and which permits secondary plans to reduce their benefits so that the combined benefits of all plans
do not exceed total allowable expenses.

Custodial Parent: This term means a parent awarded custody by a court decree. In the absence of a court
decree, it is the parent with whom the child resides more than one half of the calendar year without regard to
any temporary visitation .

Group-Type Contracts: This term means contracts: (a) which are not available to the general public; and (b)
can be obtained and maintained only because of membership in or connection with a particular organization or
group. This includes, but is not limited to , franchise and blanket coverage.




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Hospital Indemnity Benefits: This term means benefits that are not related to expenses incurred . This term
does not include reimbursement-type benefits even if they are designed or administered to give the insured
the right to elect indemnity-type benefits at the time of cla im .

Plan: This term means any of the following that provides benefits or services for dental care or treatment: (1)
group or blanket policies; (2) group subscriber contracts of hospital and medical service corporations; (3)
union welfa re plans, employer or employee benefit organization plans, or worker's compensation insurance; (4)
group-type contracts ; (5) med ical and hospital benefits under either group or individual "no-fault" contracts ,
but as to the traditional automobile tort liability contracts , only the medical benefits written on a group or
group-type basis; (6) amounts of group or group-type hospital indemnity benefits in excess of $30.00 per day;
and (7) governmental benefits, except Medicare, as permitted by law.
This term does not include: (a) individual or family insurance; (b) individual or family subscriber contracts ; (c)
amounts of group or group-type hospital indemnity benefits of $30.00 or less per day; (d) school accident
coverage ; (e) Medicare, Medicaid , and coverage under other governmental plans, unless permitted by law.
This term also does not include any plan that this plan supplements. Plans that this plan supplements are
named in the benefit description .
Each type of coverage listed above is treated separately. If a plan has two parts and coordination of benefits
applies only to one of the two , each of the parts is treated separately.

Primary Plan: This term means a plan that pays first without regard that another plan may cover some
expenses. A plan is a primary plan if either of the following is true: (1) the plan either has no order of benefit
determination rules , or its rules differ from those explained in this section; or (2) all plans that cover the
person use the order of benefit determination rules explained in this section, and under those rules the plan
pays its benefits first.

Secondary Plan: This term means a plan that is not a primary plan .

This Plan: This term means the group dental benefits provided under this group plan .
GP-1-R-COB-05                                                                                             P555.0206


All Options

                                    Order Of Benefit Determination
The primary plan pays or provides its benefits as if the secondary plan or plans did not exist.
A plan may consider the benefits paid or provided by another plan to determine its benefits only when it is
secondary to that other plan. If a person is covered by more than one secondary plan, the rules explained
below decide the order in which secondary plan benefits are determined in relation to each other.
A plan that does not contain a coordination of benefits provision is always primary.
When all plans have coordination of benefits provisions, the rules to determine the order of payment are listed
below. The first of the rules that applies is the ru le to use.

Non-Dependent Or Dependent: The plan that covers the person other than as a dependent (for example, as
an employee, member, subscriber, or retiree) is primary. The plan that covers the person as a dependent is
secondary.

Child Covered Under More Than One Plan: The order of benefit determination when a child is covered by
more than one plan is:
  (1) If the parents are married, or are not separated (whether or not they ever have been married), or a
      court decree awards joint custody without specifying that one party must provide health care coverage,
      the plan of the parent whose birthday is earlier in the year is primary. If both parents have the same
      birthday, the plan that covered either of the parents longer is primary. If a plan does not have this
      birthday rule , then that plan's coordination of benefits provision will determine which plan is primary.



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  (2) If the specific terms of a court decree state that one of the parents must provide health care coverage
      and the plan of the parent has actual knowledge of those terms, that plan is primary. Th is rule applies
      to claim determination periods that start after the plan is given notice of the court decree.
  (3) In the absence of a court decree, if the pare nts are not married, or are separated (whether or not they
      ever have been married), or are divorced, the order of benefit determination is: (a) the plan of the
      custodial parent; (b) the plan of the spouse of the custodial parent; and (c) the plan of the noncustodial
      parent.

Active Or Inactive Employee: The plan that covers a person as an active employee, or as that person 's
dependent, is primary. An active employee is one who is neither laid off nor retired. The plan that covers a
person as a laid off or retired employee, or as that person's dependent, is secondary. If a plan does not have
th is rule and as a result the plans do not agree on the order of benefit determination , th is rule is ignored.

Continuation Coverage: The plan that covers a person as an active employee, member, subscriber, or
retired employee, or as that person 's dependent, is primary . The plan that covers a person under a right of
continuation provided by federal or state law is secondary. If a plan does not have this rule and as a result the
plans do not agree on the order of benefit determination , this rule is ignored.

Length Of Coverage: The plan that covered the person longer is primary.

Other: If the above rules do not determine the primary plan , the allowable expenses will be shared equally
between the plans that meet the definition of plan under th is section . But, th is plan will not pay more than it
would have had it been the primary plan.
                                 Effect On The Benefits Of This Plan

When This Plan Is Primary: When this plan is primary, its benefits are determined before those of any other
plan and without considering any other plan's benefits.

When This Plan Is Secondary: When this plan is secondary, it may reduce its benefits so that the tota l
benefits paid or provided by all plans during a claim determination period are not more than 100% of tota l
allowable expenses.

                      Right To Receive And Release Needed Information
Certain facts about dental care coverage and services are needed to apply these rules and to determine
benefits payable under this plan and other plans. This plan may get the facts it needs from , or give them to,
other organizations or persons to apply these rules and determine benefits payable under this plan and other
plans which cover the person claiming benefits. This plan need not tel l, or get the consent of, any person to
do this. Each person claim ing benefits under this plan must provide any facts it needs to apply these rules
and determine benefits payable.

                                            Facility Of Payment
A payment made under another plan may include an amount that should have been paid by this plan . If it
does, this plan may pay that amount to the organization that made the payment. That amount will then be
treated as though it were a benefit paid by th is plan . Th is plan will not have to pay that amount again.
As used here, the term "payment made" includes the reasonable cash value of any benefits provided in the
form of services.

                                            Right Of Recovery
If the amount of the payments made by this plan is more than it should have paid under this section , it may
recover the excess: (a) from one or more of the persons it has paid or for whom it has paid ; or (b) from any
other person or organization that may be responsible for benefits or services provided for the covered person .
As used here, the term "amount of the payments made" includes the reasonable cash value of any benefits
provided in the form of services.




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                                          Small Claims Waiver
This plan does not coordinate payments on cla ims of less than $100.00. But, if during any claim determination
period more allowable expenses are incurred that raise the claim above $100 .00, this plan will count the entire
amount of the cla im when it coord inates payments.
GP-1-R-C OB-05                                                                                         P555.0207




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All Options
         ATTACHED TO AND MADE A PART OF GROUP INSURANCE POLICY NO. G-00464537-

                                                     issued by

                             The Guardian Life Insurance Company of America

                                      (herein called the Insurance Company)

                                                         to
                                     FUTUREFUEL CHEMICAL COMPANY

                                          (herein called the Policyholder)

As of January 1, 2011 , this plan is amended , as explained below, with respect to any of this plan's provisions.
As used in this rider:
"Covered Person" means an employee or dependent, including the legal representative of a minor or
incompetent, insured by this plan .
"Reasonable pro-rata Expenses" are those costs, such as lawyers fees and court costs, incurred to effect a
third party payment, expressed as a percentage of such payment.
"Third Party" means anyone other than The Guardian , the employer or the covered person.
We will not pay any benefits under this plan , to or on behalf of a covered person , who has received payment
in whole or in part from a third party, or its insurer for past or future medical or dental charges or loss of
earnings, resulting from the negligence, intentional act, or no-fault tort liability of a third party.
If a covered person makes a claim to us for medical, dental or loss of earnings benefits under this plan prior
to receiving payment from a third party or its insurer, the covered person must agree, in writing , to pay us
from any amount of money they receive from the third party, or its insurer, as permitted by law.
The repayment will be equal to the lesser of: (a) the amount of benefits paid by us; or (b) 50% of the gross
aggregate amount recovered by the covered person. However, the covered person may deduct the
reasonable pro-rata expenses, incurred in effecting the third party payment, from the repayment to us .
The repayment agreement will be binding upon the covered person whether: (a) the payment received from
the third party, or its insurer, is the result of a legal judgement, an arbitration award , a compromise settlement,
or any other arrangement; or (b) the third party, or its insurer, has admitted liability for the payment; or (c) the
medical or dental charges or loss of earnings are itemized in the third party payment.




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This rider is a part of th is plan. Except as stated in this rider, nothing contained in this rider changes or affects
any other terms of this plan.


Dated at                               This                               Day of


                                                FUTUREFUEL CHEMICAL COMPANY
                                                Full or Corporate Name of Policyholder


                                                      BY: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Witness                                                                       Signature and Title


                                                          The Guardian Life Insurance Company of America




                                                                         Vice President, Risk Mgt. & Chief Actuary
GP-1-SUBR-AR-93                                                                                             P600.0015




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All Options

                                   STATEMENT OF ERISA RIGHTS
As a participant, an employee is en titled to certain rights and protections under the Employee Retirement
Income Secu rity Act of 1974 (ERISA) . ERISA provides that all plan participants shall be entitled to:

Receive Information About The Plan and Benefits
(a)   Exa mine, without charge, at the plan administrator's office and at other specified locations, such as
      worksites and union halls, all documents govern ing the plan , including insurance contracts and collective
      bargaining agreements, and a copy of the latest annual report (Form 5500 Series) filed by the plan with
      the U. S. Department of Labor and available at the Public Disclosure Room of the Employee Benefits
      Security Administration .
(b)   Obta in , upon written request to the plan administrator, copies of documents governing the operation of
      the plan , including insurance contracts, collective bargaining agreements and copies of the latest annual
      report (Form 5500 Series) and updated summary plan description. The administrator may make a
      reasonable charge for the copies.
(c)   Rece ive a summary of the plan 's ann ual financial report. The plan administrator is required by law to
      furn ish each participant with a copy of this summary ann ual report.

Continue Group Health Plan Coverage
Continue health ca re coverage for the employee, his or her spouse or dependents if there is a loss of
coverage under the plan as a result of a qualifying event. The employee and his or her dependents may have
to pay for such coverage. The employee should review the summary plan description and the documents
governing the plan on the ru les governing his or her COBRA continuation coverage rights.

                                Prudent Actions By Plan Fiduciaries
In addition to creating rights for plan participants, ERISA imposes duties upon the people who are responsible
for the operation of the employee benefit plan. The people who operate the plan , called "fiduciaries" of the
plan , have a duty to do so prudently and in the interest of plan participants and beneficiaries. No one,
including the employer, an employee's union , or any other person may fire an employee or otherwise
discriminate against him or her in any way to prevent the employee from obtaining a welfare benefit or
exercising his or her rights under ERISA.

                               Enforcement Of An Employee's Rights
If an employee's claim for a welfare benefit is denied or ignored , in whole or in part, he or she has a right to
know why th is was done, to obtain copies of documents re lating to the decision without charge, and to appeal
any denial , all with in certain time schedules.
Under ERISA, there are steps an employee can take to enforce the above rights . For instance, if an employee
requests a copy of plan documents or the latest annual report from the plan and does not receive them within
30 days, he or she may file suit in a state or Federal court. In such a case, the court may require the plan
administrator to provide the materials and pay the employee up to $110.00 a day until he or she receives the
material, unless the materials were not sent because of reasons beyond the control of the administrator. If an
employee has a claim for benefits which is den ied or ignored , in whole or in part, he or she may file suit in a
federal court. If it should happen that plan fiduciaries misuse the plan 's money or if an employee is
discriminated against for asserting his or her rights, the employee may seek assistance from the U.S.
Department of Labor, or he or she may file suit in a Federal court. The court will decide who should pay court
costs and legal fees . If an employee is successful , the court may order the person he or she sued to pay
these costs and fees . If the employee loses, the court may order him or her to pay these costs and fees, for
example, if it finds that the employee's cla im is frivolous.

                                       Assistance with Questions




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If an employee has questions about the plan , he or she should contact the plan administrator. If an employee
has questions about this statement or about his or her rights under ERISA, or if the employee needs
assistance in obtaining documents from the plan administrator, he or she should contact the nearest office of
the Employee Benefits Security Administration , U.S. Department of Labor listed in the telephone directory or
the Employee Benefits Security Administration , U.S. Department of Labor, 200 Constitution Avenue N.W. ,
Washington D.C. 20210. An employee may also obtain certain publications about his or her rights and
responsibilities under ERISA by calling the publications hotline of the Employee Benefits Security
Administration .

                              Qualified Medical Child Support Order
Federal law requires that group health plans provide medical care coverage of a dependent child pursuant to a
qualified medical child support order (QMCSO) . A "qualified medical child support order" is a judgment or
decree issued by a state court that requires a group medical plan to provide coverage to the named
dependent child(ren) of an employee pursuant to a state domestic relations order. For the order to be qualified
it must include:
     The name of the group health plan to which it applies.
     The name and last known address of the employee and the child(ren).
     A reasonable description of the type of coverage or benefits to be provided by the plan to the child(ren).
     The time period to which the order applies.
A dependent enrolled due to a QMCSO will not be considered a late enrollee in the plan.
Note: A QMCSO cannot require a group health plan to provide any type or form of benefit or option not
otherwise available under the plan except to the extent necessary to meet medical child support laws
described in Section 90 of the Social Security Act.
If an employee has questions about this statement, he or she should see the plan administrator.
                                                                                                       P800.0066




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All Options

                                  The Guardian's Responsibilities
                                                                                                    P800.0037


All Options
The dental expense benefits provided by this plan are guaranteed by a policy of insurance issued by The
Guardian . The Guardian also supplies administrative services, such as claims services, including the payment
of claims, preparation of employee certificates of insurance, and changes to such certificates.
                                                                                                    P800.0041


All Options
The vision care expense benefits provided by this plan are guaranteed by a policy of insurance issued by The
Guardian . The Guardian also supplies administrative services, such as claims services, including the payment
of claims, preparation of employee certificates of insurance, and changes to such certificates.
                                                                                                    P800.0043


All Options
The Guardian is located at 7 Hanover Square, New York, New York 10004.
                                                                                                    P800.0038




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           DISABILITY AND GROUP HEALTH BENEFITS CLAIMS PROCEDURE
If an employee seeks benefits under the plan he or she should complete, execute and submit a claim form.
Claim forms and instructions for fil ing claims may be obtained from the Plan Administrator.
Guardian is the Claims Fiduciary with discretionary authority to determine eligibility for benefits and to construe
the terms of the plan with respect to claims. Guardian has the right to secure independent professional
healthcare advice and to require such other evidence as needed to decide an employee's claim.
In addition to the basic claim procedure explained in the employee's certificate, Guardian will also observe the
procedures listed below. These procedures are the minimum requirements for benefit claims procedures of
employee benefit plans covered by Title 1 of the Employee Retirement Income Security Act of 1974("ERISA")

                                                  Definitions
"Adverse determination" means any denial, reduction or termination of a benefit or failure to provide or make
payment(in whole or in part) for a benefit. A failure to cover an item or service: (a) due to the application of
any utilization review; or (b) because the item or service is determined to be experimental or investigational , or
not medically necessary or appropriate, is also considered an adverse determination .
"Group Health Benefits" means any dental, out-of-network point-of-service medical, major medical, vision care
or prescription drug coverages which are a part of this plan.
"Pre-service claim" means a claim for a medical care benefit with respect to which the plan conditions receipt
of the benefit, in whole or in part, on approval of the benefit in advance of receipt of care.
"Post-service claim" means a claim for payment for medical care that already has been provided.
"Urgent care claim" means a claim for medical care or treatment where making a non-urgent care decision :
(a) could seriously jeopardize the life or health of the claimant or the ability of the claimant to regain maximum
function , as determined by an individual acting on behalf of the plan applying the judgment of a prudent
layperson who possesses an average knowledge of health and medicine; or (b) in the opinion of a physician
with knowledge of the claimant's medical condition , would subject the claimant to severe pain that cannot be
adequately managed without the care.
Note: Any claim that a physician with knowledge of the claimant's medical condition determines is a claim
involving urgent care will be treated as an urgent care claim for purposes of this section .
                              Timing For Initial Benefit Determination
The benefit determination period begins when a claim is received. Guardian will make a benefit determination
and notify a claimant within a reasonable period of time, but not later than the maximum time period shown
below. A written or electronic notification of any adverse benefit determination must be provided.

Disability Benefits Guardian will provide a benefit determination not later than 45 days after the date of
receipt of a claim. This period may be extended by up to 30 days if Guardian determines that an extension is
necessary due to matters beyond the control of the plan , and so notifies the claimant before the end of the
initial 45-day period. Such notification will include the reason for the extension and a date by which the
determination will be made. If prior to the end of the 30-day period Guardian determines that an additional
extension is necessary due to matters beyond the control of the plan , and so notifies the claimant, the time
period for making a benefit determination may be extended for an additional period of up to 30 days. Such
notification will include the special circumstances requiring the extension and a date by which the final
determination will be made.
A notification of an extension to the time period in which a benefit determination will be made will include an
explanation of the standards upon which entitlement to a benefit is based, any unresolved issues that prevent
a decision of the claim, and the additional information needed to resolve those issues.
If a claimant fails to provide all information needed to make a benefit determination, Guardian will notify the
claimant of the specific information that is needed as soon as possible but no later than 45 days after receipt
of the claim .




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If Guardian extends the time period for making a benefit determination due to a claimant's failu re to submit
information necessary to decide the claim , the claimant will be given at least 45 days to provide the requested
information . The extens ion period will beg in on the date on which the claimant responds to the request for
add itional information .

Group Health Benefits

Urgent Care Claims. Guardian will make a benefit determination within 72 hours after receipt of an urgent
ca re claim .
If a claima nt fails to provide all information needed to make a benefit determination , Guardian will notify the
cla imant of the specific information that is needed as soon as possible but no later than 24 hours after receipt
of the claim. The claimant will be given not less than 48 hours to provide the specified information .
Guardian will notify the claimant of the benefit determination as soon as possible but not later than the earlier
of:
      the date the requested information is received ; or
      the end of the period given to the cla imant to provide the specified additional information .
The required notice may be provided to the cla imant orally within the required time frame provided that a
written or electronic notification is furnished to the claimant not later than 3 days after the oral notification .

Pre-Service Claims. Guardian will provide a benefit determination not later than 15 days after receipt of a
pre-service claim . If a claimant fails to provide all information needed to make a benefit determination ,
Guard ian wi ll notify the claimant of the specific information that is needed as soon as possible but no later
than 5 days after receipt of the claim . A notification of a failure to follow proper procedures for pre-service
claims may be oral , unless a written notification is requested by the claimant.
The time period for providing a benefit determination may be extended by up to 15 days if Guardian
determines that an extension is necessary due to matters beyond the control of the plan , and so notifies the
claimant before the end of the initial 15-day period .
If Guardian extends the time period for making a benefit determination due to a claimant's failure to submit
information necessary to decide the claim , the claimant will be given at least 45 days to provide the requested
information. The extension period will beg in on the date on which the claimant responds to the request for
add itional information .

Post-Service Claims. Guardian will provide a benefit determination not later than 30 days after receipt of a
post-service claim . If a claimant fails to provide all information needed to make a benefit determination ,
Guardian will notify the claimant of the specific information that is needed as soon as possible but no later
than 30 days after receipt of the claim .
The time period for comp leting a benefit determination may be extended by up to 15 days if Guardian
determines that an extension is necessary due to matters beyond the control of the plan, and so notifies the
claimant before the end of the initial 30-day period.
If Guardian extends the time period for making a benefit determination due to a cla imant's failure to submit
information necessary to decide the claim , the claimant will be given at least 45 days to provide the requested
information . The extension period will begin on the date on which the claimant responds to the request for
add itional information .

Concurrent Care Decisions. A reduction or term ination of an approved ongoing course of treatment(other
than by plan amendment or termination) will be regarded as an adverse benefit determination . This is true
whether the treatment is to be provided(a) over a period of time; (b) for a certa in number of treatments; or (c)
without a finite end date. Guardian will notify a claimant at a time sufficiently in advance of the reduction or
termination to allow the claimant to appeal.
In the case of a request by a claimant to extend an ongoing course of treatment involving urgent care,
Guard ian will make a benefit determination as soon as possible but no later than 24 hours after receipt of the
claim.


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                                      Adverse Benefit Determination
If a claim is den ied, Guardian will provide a notice that will set forth :
       th e specific reason (s) for the adverse determ ination;
       reference to the specific plan provision(s) on wh ich the determination is based ;
       a description of any additional material or information necessary to make the claim valid and an
       explanation of why such material or information is needed ;
       a description of the plan 's clai m review procedures and the time limits applicable to such procedures,
       includi ng a statement indicating that the claimant has the right to bring a civil action under ERISA
       Section 502(a) following an adverse benefit determination ;
       identification and description of any specific internal rule , guideline or protocol that was re lied upon in
       making an adverse benefit determination , or a statement that a copy of such information will be
       provided to the claimant free of charge upon request;
       in the case of an adverse benefit determination based on medical necessity or experimental treatment,
       notice will either include an explanation of the scientific or clinical basis for the determination , or a
       statement that such explanation wi ll be provided free of charge upon request; and
       in the case of an urgent care adverse determination, a description of the expedited review process.

                              Appeal of Adverse Benefit Determinations
If a claim is wholly or partially denied , the claimant wil l have up to 180 days to make an appeal.
A request for an appeal of an adverse benefit determination involving an urgent care claim may be submitted
orally or in writing. Necessary information and commu nication regard ing an urgent care claim may be sent to
Guardian by telephone, facsimile or similar expeditious manner.
Guardian wi ll conduct a full and fair review of an appeal wh ich includes providing to claimants the following :
       the opportunity to submit written comments, documents, records and other information relating to the
       claim ;
       the opportunity, upon request and free of charge, for reasonable access to, and copies of, all
       documents, records and other information relating to the cla im; and
       a review that takes into account all comments, documents , records and other information submitted by
       the cla imant relating to the claim, without regard to whether such information was submitted or
       considered in the initial benefit determination.
In reviewing an appeal, Guardian will
       provide for a review conducted by a named fiduciary who is neither the person who made the initial
       adverse determination nor that person 's subordinate;
       in deciding an appeal based upon a medical judgment, consult with a health care professional who has
       appropriate training and experience in the field of med icine involved in the medical judgment;
       identify medical or vocational experts whose advice was obtained in connection with an adverse benefit
       determination ; and
       ensure that a health care professional engaged for consultation regard ing an appeal based upon a
       med ical judgment shall be neither the person who was consu lted in connection with the adverse benefit
       determination , nor that person 's subordinate.
Guardian will notify the claimant of its decision regarding review of an appeal as follows :

Disability Benefits Guardian will notify the cla imant of its decision not later than 45 days after receipt of the
request for review of the adverse determination . This period may be extended by an additional period of up to
45 days if Guardian determines that special circumstances require an extension of the time period for
processing and so notifies the claimant before the end of the initial 45-day period .




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A notification with respect to an extension will indicate the special circumstances requiring an extension of the
time period for review, and the date by which the final determination will be made.

Group Health Benefits

Urgent Care Claims. Guardian will notify the claimant of its decision as soon as possible but not later than 72
hours after receipt of the request for review of the adverse determination.

Pre-Service Claims. Guardian will notify the claimant of its decision not later than 30 days after receipt of the
request for review of the adverse determination .

Post-Service Claims. Guardian will notify the claimant of its decision not later than 60 days after receipt of
the request for review of the adverse determination.

                                      Alternative Dispute Options
The claimant and the plan may have other voluntary alternative dispute resolution options, such as mediation .
One way to find out what may be available is to contact the local U S Department of Labor Office and the
State insurance regulatory agency.
                                                                                                        PS00.0057




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                       GROUP HEAL TH BENEFITS CLAIMS PROCEDURE
If an employee seeks benefits under the plan he or she should complete, execute and submit a cla im form .
Claim forms and instructions for filing claims may be obtained from the Plan Admin istrator.
Guardian is the Claims Fiduciary with discretionary authority to determine eligibility for benefits and to construe
the terms of the plan with respect to claims. Guardian has the right to secure independent professional
healthcare advice and to require such other evidence as needed to decide an employee's claim.
In addition to the basic claim procedure explained in the employee's certificate, Guardian will also observe the
procedures listed below. These procedures are the minimum requirements for benefit claims procedures of
employee benefit plans covered by Title 1 of the Employee Retirement Income Security Act of 1974("ERISA")

                                                  Definitions
"Adverse determination" means any denial, reduction or termination of a benefit or failure to provide or make
payment (in whole or in part) for a benefit. A failure to cover an item or service: (a) due to the application of
any utilization review; or (b) because the item or service is determined to be experimental or investigational, or
not medically necessary or appropriate, is also considered an adverse determination.
"Group Health Benefits" means any dental , out-of-network point-of-service medical , major medical, vision care
or prescription drug coverages which are a part of this plan.
"Pre-service claim" means a claim for a medical care benefit with respect to which the plan conditions receipt
of the benefit, in whole or in part, on approval of the benefit in advance of receipt of care.
"Post-service claim" means a claim for payment for medical care that already has been provided .
"Urgent care claim" means a claim for medical care or treatment where making a non-urgent care decision :
(a) could seriously jeopardize the life or health of the claimant or the ability of the claimant to regain maximum
function , as determined by an individual acting on behalf of the plan applying the judgment of a prudent
layperson who possesses an average knowledge of health and medicine; or (b) in the opinion of a physician
with knowledge of the claimant's medical condition, would subject the claimant to severe pain that cannot be
adequately managed without the care.
Note: Any claim that a physician with knowledge of the claimant's medical condition determines is a claim
involving urgent care will be treated as an urgent care claim for purposes of this section .
                              Timing For Initial Benefit Determination
The benefit determination period begins when a claim is received. Guardian will make a benefit determination
and notify a claimant within a reasonable period of time, but not later than the maximum time period shown
below. A written or electronic notification of any adverse benefit determination must be provided.

Urgent Care Claims. Guardian will make a benefit determination within 72 hours after receipt of an urgent
care claim .
If a claimant fails to provide all information needed to make a benefit determination , Guardian will notify the
claimant of the specific information that is needed as soon as possible but no later than 24 hours after receipt
of the claim . The claimant will be given not less than 48 hours to provide the specified information.
Guardian will notify the claimant of the benefit determination as soon as possible but not later than the earlier
of:
      the date the requested information is received ; or
      the end of the period given to the claimant to provide the specified additional information .
The required notice may be provided to the claimant orally within the required time frame provided that a
written or electronic notification is furnished to the claimant not later than 3 days after the oral notification .




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Pre-Service Claims. Guardian will provide a benefit determination not later than 15 days after receipt of a
pre-service claim . If a claimant fails to provide all information needed to make a benefit determination,
Guardian will notify the claimant of the specific information that is needed as soon as possible but no later
than 5 days after receipt of the claim . A notification of a failure to follow proper procedures for pre-service
claims may be oral , unless a written notification is requested by the claimant.
The time period for providing a benefit determination may be extended by up to 15 days if Guardian
determines that an extension is necessary due to matters beyond the control of the plan, and so notifies the
claimant before the end of the initial 15-day period .
If Guardian extends the time period for making a benefit determination due to a claimant's failure to submit
information necessary to decide the claim , the claimant will be given at least 45 days to provide the requested
information. The extension period will begin on the date on which the claimant responds to the request for
additional information.

Post-Service Claims. Guardian will provide a benefit determination not later than 30 days after receipt of a
post-service claim . If a claimant fails to provide all information needed to make a benefit determination ,
Guardian will notify the claimant of the specific information that is needed as soon as possible but no later
than 30 days after receipt of the claim.
The time period for completing a benefit determination may be extended by up to 15 days if Guardian
determines that an extension is necessary due to matters beyond the control of the plan, and so notifies the
claimant before the end of the initial 30-day period.
If Guardian extends the time period for making a benefit determination due to a claimant's failure to submit
information necessary to decide the claim , the claimant will be given at least 45 days to provide the requested
information. The extension period will begin on the date on which the claimant responds to the request for
additional information.

Concurrent Care Decisions. A reduction or termination of an approved ongoing course of treatment (other
than by plan amendment or termination) will be regarded as an adverse benefit determination. This is true
whether the treatment is to be provided: (a) over a period of time; (b) for a certain number of treatments; or
(c) without a finite end date. Guardian will notify a claimant at a time sufficiently in advance of the reduction or
termination to allow the claimant to appeal.
In the case of a request by a claimant to extend an ongoing course of treatment involving urgent care,
Guardian will make a benefit determination as soon as possible but no later than 24 hours after receipt of the
claim .
                                      Adverse Benefit Determination
If a claim is denied , Guardian will provide a notice that will set forth:
       the specific reason(s) for the adverse determination ;
       reference to the specific plan provision(s) on which the determination is based ;
       a description of any additional material or information necessary to make the claim valid and an
       explanation of why such material or information is needed ;
       a description of the plan's claim review procedures and the time limits applicable to such procedures,
       including a statement indicating that the claimant has the right to bring a civil action under ERISA
       Section 502(a) following an adverse benefit determination ;
       identification and description of any specific internal rule , guideline or protocol that was relied upon in
       making an adverse benefit determination, or a statement that a copy of such information will be
       provided to the claimant free of charge upon request;
       in the case of an adverse benefit determination based on medical necessity or experimental treatment,
       notice will either include an explanation of the scientific or clinical basis for the determination, or a
       statement that such explanation will be provided free of charge upon request; and
       in the case of an urgent care adverse determination , a description of the expedited review process.



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                            Appeal of Adverse Benefit Determinations
If a claim is wholly or partially denied, the claimant will have up to 180 days to make an appeal.
A request for an appeal of an adverse benefit determination involving an urgent care claim may be submitted
orally or in writing. Necessary information and communication regarding an urgent care claim may be sent to
Guardian by telephone, facsimile or similar expeditious manner.
Guardian will conduct a full and fair review of an appeal which includes providing to claimants the following :
      the opportunity to submit written comments, documents, records and other information relating to the
      claim ;
      the opportunity, upon request and free of charge , for reasonable access to, and copies of, all
      documents, records and other information relating to the claim ; and
      a review that takes into account all comments, documents, records and other information submitted by
      the claimant relating to the claim , without regard to whether such information was submitted or
      considered in the initial benefit determination.
In reviewing an appeal, Guardian will
      provide for a review conducted by a named fiduciary who is neither the person who made the initial
      adverse determination nor that person 's subordinate;
      in deciding an appeal based upon a medical judgment, consult with a health care professional who has
      appropriate training and experience in the field of medicine involved in the medical judgment;
      identify medical or vocational experts whose advice was obtained in connection with an adverse benefit
      determination; and
      ensure that a health care professional engaged for consultation regarding an appeal based upon a
      medical judgment shall be neither the person who was consulted in connection with the adverse benefit
      determination , nor that person's subordinate.
Guardian will notify the claimant of its decision regarding review of an appeal as follows:

Urgent Care Claims. Guardian will notify the claimant of its decision as soon as possible but not later than 72
hours after receipt of the request for review of the adverse determination.

Pre-Service Claims. Guardian will notify the claimant of its decision not later than 30 days after receipt of the
request for review of the adverse determination .

Post-Service Claims. Guardian will notify the claimant of its decision not later than 60 days after receipt of
the request for review of the adverse determination .

                                        Alternative Dispute Options
The claimant and the plan may have other voluntary alternative dispute resolution options, such as mediation.
One way to find out what may be available is to contact the local U.S Department of Labor Office and the
State insurance regulatory agency.
                                                                                                         PB00.0056




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  Options A and E


LIFE AND ACCIDENTAL DEATH AND DISMEMBERMENT INSURANCE CLAIMS PROCEDURE
  Claim forms and instructions for filing claims may be obtained from the Plan Administrator.
  Guardian is the Claims Fiduciary with discretionary authority to determine eligibility for benefits and to construe
  the terms of the plan with respect to claims.
  In addition to the basic claim procedure explained in the employee's certificate, Guardian will also observe the
  procedures listed below. These procedures are the minimum requirements for benefit claims procedures of
  employee benefit plans covered by Title 1 of the Employee Retirement Income Security Act of 1974
  ("ERISA"):
  (a)    If a claim is wholly or partially denied , the claimant will be notified of the decision within 90 days after
         Guardian received the claim.
  (b)    If special circumstances require an extension of time for processing the claim, written notice of the
         extension shall be furnished to the claimant prior to the termination of the initial 90-day period. In no
         event shall such extension exceed a period of 90 days from the end of such initial period. The
         extension notice shall indicate the special circumstances requiring an extension of time and the date by
         which The Guardian expects to render the final decision .
  (c)    If a cla im is denied, Guardian will provide a notice that will set forth:
        (1)    the specific reason(s) the claim was denied;
        (2)    specific references to the pertinent plan provision on which the denial is based;
        (3)    a description of any additional material or information needed to make the claim valid , and an
               explanation of why the material or information is needed ;
        (4)    an explanation of the plan 's claim review procedure.
  A claimant must file a request for review of a denied claim within 60 days after receipt of written notification of
  denial of a claim.
  (d)    Guardian will notify the claimant of its decision within 60 days of receipt of the request for review. If
         special circumstances require an extension of time for processing , The Guardian will render a decision
         as soon as possible, but no later than 120 days after receiving the request. The Guardian will notify the
         claimant about the extension.

  The claims procedures applicable to disability benefits under this plan apply to an employee's application for
  an extension of life insurance benefits due to total disability under an Extended Life Benefit under this plan.
                                                                                                            PS00.0070




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                        *END OF POLICY DOCUMENT*
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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                           NORTHERN DIVISION

 DANAL. DEW,                             )
         Plaintiff,                      )
 V.                                      )    Case NQ 3:22-cv-_ _ __
                                         )
 GUARDIAN LIFE INSURANCE                 )
 COMPANY OF AMERICA, and                 )
 JOHN DOE 1,                             )
          Defendant.                     )

                       AFFIDAVIT PURSUANT TO
                  ARKANSAS CODE ANNOTATED§ 16-56-126

             Comes Barrett S. Moore, attorney for the Plaintiff Dana L. Dew,

 and being first duly sworn, states as follows:

             1.   I am counsel for the Plaintiff in the above-captioned matter.

 This affidavit is being filed simultaneously with the complaint in this matter

 as it includes allegations against "John Doe 1." Plaintiff is uncertain about the

 true identity of the Plan Administrator for the long-term disability policy

 issued by Guardian Life Insurance Company of America for the actions

 described in the Complaint. Given that lack of knowledge, Plaintiff is suing

 the John Doe Defendant for the purpose of later substituting in the true

 insurer if, in fact, that is appropriate. ARK. CODE ANN.§ 16-56-126.


                                                                 i     EXHIBIT

                                                                 I~
                                                                  ~
                                                                  ~
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                FURTHER AFFIANT SAYETH NOT.




 STATE OF ARKANSAS                   )
                                     ) ss.
 County of Independence              )

     f(\-,...., SUBSCRIBED and SWORN to before me on this I ~i:f,__ day of
 -   ~ --'-~ - + -- - - ' 2022 .
     -+




                                      ~~                  N ary Puhl           c
                                                                                     -

 My Commission Expires:                             DANA J. REYNOLDS
                                                  NOTARY PUBLIC - ARKANSAS
                                             1      INDEPENDENCE COUNTY
                                                 My Commission Expires 09-17-203 1
                                                     Commission No. 12716 164




                                     -2-
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                                           BLAIR & STROUD
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                                          500 EAST MAIN• SUITE 201
                                                P.O. BOX 2135
                                        BATESVILLE. ARKANSAS 72503

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ROBERT D. STROUD, PLLC                         (870) 793-8350                          TELECOPIER
BARRETT S . MOORE, PLLC                                                                (870) 793-3989
ALEXANDRA C. BENTON
                                          Writer's Direct Email
                                           acb@blastlaw.com



                                          March 12, 2021
                                          Via U.S. Mail
           GUARDIAN
           Group Long Term Disability
           P.O. Box 14333
           Lexington, KY 40512

                          Re: Insured Name - Dana Dew
                              Group Plan #: 00464537

           Dear Ladies & Gentlemen:

                       I represent the above-named insured in connection with a
           potential long term disability claim issued to her through Future Fuel
           Chemical Company.

                        I would appreciate very much if you would send me the latest
           updated summary, plan description, and a complete copy of your file
           including the latest annual report, any terminal report, the bargaining
           agreement, trust agreement, contract, or other instruments under which
           the plan is established or operated. Please also furnish me the name of
           the plan administrator.

                          Thank you for your kind attention to this matter.




                                                                                       EXHIBIT

                                                                                        C.
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P.O. BOX 2135
BATESVILLE. ARKANSAS 72503


        _Guardian
        March 12,    2021
        Page 2


                       With best regards, I am

                                                 Very truly yours,

                                                 BLAIR & STROUD


                                                 Gf-~
                                                 Alexandra C. Benton
        ACB/lp

        CC via email:        Dana Dew
                           Case 3:22-cv-00122-KGB Document 1 Filed 05/18/22 Page 188 of 200




              8 Guardian'
              December 14, 2018



              Futurefuel Chemical Company                                                             Group Long Term Disability
              2800 Gap Road PO Box 2357                                                               PO Box 14333
 ....0
 N
              Batesville, AR 72503                                                                    Lexington KY 40512
 N                                                                                                    \•rww.guardiananytirn_e.c9_1J_l
 a,
  g>          Important information regarding the below referenced claim.
 a.
               Claim Number: 94908
 ~
 ~             Insured Name: Dana Dew
 0             Group Plan#: 00464537
 0
 0
 0
              Dear Plan holder:
 co

 0-
 CIO
              We have completed our review of Dana Dew's Long-Term Disability claim and have determined that benefits are



 --
 ~            payable. With the completion of the elimination period, benefit payments commenced on 1 l / 16 / 2018.
 "I:!'
              Benefits will be paid as long as Dana Dew continues to satisfy all the terms of the Plan. Periodically, we will request
 <'i

 --
 0
 0
              medical updates to certify his or her continued eligibility for benefits, and financial records for proof of any
              current earnings. We also request that Dana Dew applies for and provides proof of any other income that he or
              she may become eligible for as a result of "Disability" .

 "
 0,
 0
 0            If Dana Dew is entitled to receive any of the following: Social Security Disability, Social Security Early Retirement,
 0
              Social Security Retirement, Dependent Social Security, Social Security Supplemental Income, Widows, Workers

 --
 co
 "I:!'        Compensation, State Disability, Part Time Earnings, Retirement, Pension or any other income, please contact our
 N            office immediately. The entitlement to any of these benefits may affect the gross monthly benefit.


 -
 CIO
 0
 N
 C
              If Dana Dew receives any retroactive lump sum award, for which we integrate with, the claim will be recalculated
              to reflect the deduction as of the original entitlement date. Dana Dew will be responsible for any overpayment
              that may occur on his or her claim due to the above noted information .
 ..J



              If you have any questions, please contact our Customer Service Department at 800 538 4583 .

              Sincerely,

              Group LTD Case Manager
              Toll Free: 800 538 4583
              Fax: 610 807 8221

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         Guardian Anytime home page.


                                                                                                                                        EXHIBIT
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                                          BLAIR & STROUD
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BARRETT S. MOORE, PLLC                                                                     (870) 793-3989
ALEXANDRA C. BENTON                       Writer's Direct Email
                                           acb@blastlaw.com




                                            July 9,   2021
                                   Via U.S. Mail & Facsimile
           The Guardian Life Insurance Company of America
           Attn: Appeals Committee
           P.O. Box 14333
           Lexington, KY 40512
           Fax:   610-807-8221


                         Re: My client and your claimant: Dana Dew
                             Group Claim No: #000094908
                             Policy No.: #00464537

            Dear Guardian Life Insurance Company:

                         I have your January 12, 2020 denial of Ms. Dew's claim for
            long-term disability benefits. Please accept this letter and its attachments
            as an appeal under the Employee Retirement Income Security Act of1974,
            as amended ("ERISA"). This letter and its attachments should be made
            a part of your administrative record.

                                       L Preliminary Points

                         Request for File. I initially requested Ms. Dew's file on
            March 12, 2021. On or about May 7, 2021, your office mailed a letter
            enclosing a CD-ROM which was password protected, but failed to provide
            me with the password to access the file. On May 24, 2021 I sent another
            letter requesting the password with no response. In June, 2021, after
            calling multiple times with no response, my office was finally provided
            the password via telephone, with less than thirty (30) days left to submit
            this appeal. If there are any other documents not included in the CD-
            ROM, please produce them to me. I also request you confirm th~---~~-~
            produced documents comprise your entire file.                           f EXHIBIT
                                                                                     I E
                                                                                     I
           Case 3:22-cv-00122-KGB Document 1 Filed 05/18/22 Page 190 of 200



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P.O. BOX 2135
BATESVILLE. ARKANSAS 72503


        The Guardian Life Insurance Company of America
        July 9, 2021
        Page 2

                   Abuse of Discretion. After reviewing your file, the initial
        review seems to be the product of an arbitrary decision or Guardian's
        whim.

                     Guardian's status as the source of payments and as the de
        facto plan administrator creates a conflict of interest. If we are forced to
        seek redress in the Eastern District of Arkansas, the Court will consider
        this conflict of interest in weighing your decision. McAllister v. Life Ins.
        Co. Of North America, No. 4:08-cv-3619-WRW, 2009 WL 1286328 (E.D.
        Ark. May 7, 2009). The McAllister case is worth reading. There, an
        insurer disregarded the obvious affects of medication on a claimant's
        ability to work.

                     Please remember your duty under ERISA. As the de facto
         plan administrator, Guardian's must discharge its fiduciary "duties with
         respect to a plan solely in the interest of the participants and their
         beneficiaries." 29 U.S.C. § 1104(a)(1). Disregarding the bulk of the
         medical records, misrepresenting notes, and only relying upon Dr.
         Benton's notes, all falls below this standard. Guardian's has behaved
         more like an insurance company striving to save its retention dollars than
         a Plan Administrator under ERISA.

                                     II. On the Merits

                      Ms. Dew Meets the Definition of Disability. The policy
         defines disability as suffering from a condition rendering her unable to
         perform the major duties of any gainful work on a full-time basis. Under
         that definition, Ms. Dew is precluded from any gainful work on a full-
         time basis based on the evidence in the record which includes self-reports
         by Ms. Dew as well as objective findings from her medical records and the
         opinion of her primary care physician, Dr. Greg Neaville, among others.
         Ms. Dew suffers from rocky mountain spotted fever, syncope, depression,
         hyperlipidemia, neuropathy, dysrhythmia, obesity, anxiety, muscle
         cramps, obstructive sleep apnea, chronic pain in her lower back and legs,
         joint pain, and wrist pain, all of which are not controlled at rest.
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        The Guardian Life Insurance Company of America
        July 9 1 2021
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                     It appears that you have decided Ms. Dew is capable of
        working in some other full-time job based upon your internal nurse claim
        manger and in-house vocational rehabilitation staff. Contrary to their
        erroneous findings, none of the medical evidence demonstrates Ms. Dew
        is capable of performing the material and substantial duties of any gainful
        work, even on a part time basis, much less a full-time basis.

                     In a September 23 2020 evaluation, Dr. Neaville noted Ms.
                                       1

        Dew could not perform sitting, standing, or walking for over fifteen (15)
        minutes in an 8-hour work day. Additionally, even if Ms. Dew was
        allowed the option for positional changes between sit/stand/walk, Dr.
        Neaville opined Ms. Dew would still not be able to work a full 8-our work
        day. In this report, Dr. Neaville noted Ms. Dew could occasionally
        lift/carry up to 5 lbs at most, could not push/pull any weight, could use
        her hands for simple grasping, could not bend/stoop, squat/crouch,
        kneel, crawl, or climb ladders. Only occasionally could Ms. Dew climb
        stairs or reach out, but could frequently reach above her shoulder and
        drive. Ms. Dew cannot work at heights, operate heavy machinery, be
        exposed to vibration, operate computer/ office devices, be exposed to
        marked temperature changes, or be exposed to dust, fumes, gases, or
        chemicals. Dr. Neaville specifically noted Ms. Dew's restrictions are
        permanent and are based on the self reports by the patient as well as the
        objective findings.

                     Insufficient and Contrary Evidence. Your denial decision
         seems to hinge upon two factors: (1) you believe Dr. Benton's Physical
         Capabilities Evaluation supports the finding Ms. Dew is able to perform
         some work; and (2) you believe Ms. Dew is able to perform the duties of
         a sedentary level occupation. Your purely internal TSA-LMS alleges Ms.
         Dew could perform the major duties on a full time basis of either a
         customer complaint clerk (DOT: 241.367-014), an order clerk (DOT: 249-
         362-026)1 or a skip tracer (DOT: 241.367-026). Neither of these points are
         supported by the objective medical evidence nor the subjective patient
         reports, and the evidence does not support your decision.
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        The Guardian Life Insurance Company of America
        July 9, 2021
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                   1.     Dr. Benton's Physical Capabilities Evaluation on
         September 30,   2020 states "unable to sit. [sic] stand or walk, lift up to 5
         lbs. Unable to push or pull - permanent restrictions - Dr. Benton. AOL's-
         typical day consists of going from recliner to bed and back son and
         daughter in law moved to assist with her care. They do all the
         housework." Just two months later, Dr. Benton's notes, "Chronic pain
         syndrome is managed by PM clinic. States pain has been worse over the
         past few days. Sensory neuropathy-condition varies at times, c/ o
         worsening symptoms with chronic pain and neuropathic pain in legs.
         Depressive disorder .... " After noting all of this, your assessed that Ms.
         Dew has the ability for sedentary work, stating "Although claimant
         continues to experience neuropathy, and limited range of motion which
         would affect her ability to stand and walk, medical supports her ability to
         sit for an 8-hr work day and for use of her upper extremities giving her
         sedentary capabilities. It is unlikely that her functionality will progress
         beyond sed [sic]."

                    Why would Dr. Benton note such severe limitations in
         September, then in November note worsening symptoms, but then you
         come to the conclusion Ms. Dew is able to perform any work at all?

                        2. As it pertains to Ms. Dew's vocational skills, the TSA-
         LMS found that Ms. Dew has the ability for sedentary work irrespective
         of her continuing neuropathy and limited range of motion which affects
         her ability to stand and walk. The RN opined that the medical does not
         support her ability to sit for an 8-hour work day and for use of her upper
         extremities given her sedentary capabilities.

                    As a customer complaint clerk (DOT: 241.367-014), an
         employee would be expected to examine merchandise to determine
         accuracy of complaints; follow up on recommended adjustments to -
         ensure customer satisfaction; and key information into computer to
         obtain computerized records.
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                      As Dr. Neaville's evaluation noted, if Ms. Dew was allowed
          the option for positional changes between sit/ stand/walk, she would still
          not be able to work a full 8-our work day. In this report, Dr. Neaville
          noted Ms. Dew could not bend/stoop, squat/crouch, kneel, crawl, or
          climb ladders. Only occasionally could Ms. Dew climb stairs or reach out,
          but could frequently reach above her shoulder and drive. Ms. Dew
          cannot work at heights, operate heavy machinery, be exposed to
          vibration, operate computer/office devices, be exposed to marked
          temperature changes, or be exposed to dust, fumes, gases, or chemicals.
          You chose to ignore Dr. Neaville's opinions here altogether.

                      As an order clerk (DOT: 249. 362-026), an employee would be
          expected to process orders for material or merchandise received by mail,
          telephone, or personally from customer of company employee,
          manually or using computer or calculating machine: edit orders
          received for price and nomenclature; inform customer of unit prices,
          shipping date, anticipated delays, and any additional information needed
          by customer, using mail or telephone; write or type order forms, or
          enter data into computer to determine total cost for customer; and
          record or file copy of orders received according to expected delivery
          date. Again, the evidence in the record shows Ms. Dew can only
          occasionally reach out and cannot operate computer/ office devices. You
          again ignored Dr. Neaville's opinions here. It is a far cry to think someone
          who suffers from neuropathy and a myriad of other disabilities and
          limitations would be able to perform these job duties given the objective
          medical evidence in the record in conjunction with the subjective reports
          from Ms. Dew.

                       As a skip tracer (DOT: 241.367-026), an employee would be
          expected to search city and telephone directories, street listings, inquire
          at the post office; interview, telephone, or write former neighbors,
          stores, friends, relatives, and former employers to elicit information
          pertaining to whereabouts of skips; follow up each lead and prepare
          reports of investigation to creditor; trace individuals for purposes of
          serving legal papers; and contact debtors by mail or phone to attempt
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        The Guardian Life Insurance Company of America
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        collection of money owed. Yet again, the evidence in the record shows
        Ms. Dew can only occasionally reach out and cannot operate
        computer/office devices. For a third time you ignored Dr. Neaville's
        opinions here.

                    Your record similarly includes a long list of current pain
        medications for Ms. Dew, but does not have a prescription profile for her.
        I have enclosed a copy of her prescription profile for your review. Ms.
        Dew has been prescribed the following:

                       •     Celestone soluspan
                       •     duloxetine - 30mg
                       •     lasix
                       •     methocarbamol
                       •     metoprolol - 50mg
                       •     mirtazapine - 30mg
                       •     potassium chloride
                       •     proair
                       •     medical marijuana
                             hydrocodone/ acetaminophen - 5-325 tb
                       •     fluticasone - 5omcg nasal spray
                       •     prednisone - 10mg
                             doxycycline monohydrate - 100mg
                       •     rifampin - 300mg
                             atorvastatin - 20mg
                             diazepam - 10mg

                    The combined effect of these strong pain killers, muscle
        relaxers, and anti-depressants also precludes Ms. Dew from being able to
        work. While under the influence of these necessary drugs, she would be
        unable to consistently meet with customers, sell products, take stock of
        inventory, enter data, ship products, investigate, and create reports.
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                       Ms. Dew is unable to perform the substantial and material
          duties of any occupation. She survives through the extended use of
          multiple medications, with her family's routine assistance, and under the
          care of multiple medical professionals. Ms. Dew cannot sit for prolonged
          periods, stand for prolonged periods, and otherwise attend a full time job
          for an 8-hour work day and perform any job duties. Ms. Dew has memory
          and mental issues, including depression, that impede her ability to work.
          She is also experiencing chronic pain. Your contrary conclusion is adrift
          from the record.

                     Ms. Dew therefore respectfully requests you reconsider your
          decision and continue her long-term disability benefits.

                        With best regards, I am

                                                  Very truly yours,

                                                  BLAIR & STROUD


                                                  {!/-~
                                                  Alexandra C. Benton
          ACB/lp

          Enclosures

          CC via email:      Dana Dew
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8 Guardian·
November 19, 2021



                                                                                  Guardian Life Insurance Company
                                                                                  Attn: LTD Appeals Department
Alexandra C. Benton                                                               PO Box 14333
Blair & Stroud                                                                    Lexington, KY 40512
500 East Main, Suite 201                                                          www.guardiananytime.com
POBox2135
Batesville, Arkansas 72503




Important information regarding the below referenced claim.
I Claim Number: 94908
 Insured Name: Dana Dew
 Group Plan#: 464537

Dear Ms. Benton:

This letter is to advise you that the Guardian has completed the reconsideration review regarding Dana Dew's claim for                ~
Long Term Disability (LTD) benefits under the group Plan issued to Future Fuel Chemical Co.

After a thorough review of Ms. Dew's fife, the additional information submitted on appeal, and in conjunction with the
provisions of group Plan #0046453 7, we find that we are unable to provide further benefits, as the information on file at
present does not support her continued disability as defined by the plan. This letter contains a summary of our decision
and the policy provisions on which the decision is based.

Please note the following provisions applicable to this claim:

    "Disability or Disabled: These terms mean that a current sickness or injury causes physical or mental impairment to
    such a degree that the covered person is:

    (1) During the elimination period and the own occupation period, not able to perform, on a fulf-time basis, the major
    duties of his or her own occupation.

    (2) After the end of the own occupation period, not able to perform, on a full-time basis, the major duties of any gainful
    work.

    The covered person is not disabled if he or she earns, or is able to earn, more than this plan's maximum allowed disability
    earnings.




                                                                                                                            EXHIBIT

                                                                                                                             F
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    The covered person may be required, on average, to work more than 40 hours per week. In this case, he or she is not
    disabled if he or she is able to work for 40 hours per week.

    Neither: (a) loss of a professional or occupational license; or (b) receipt of or entitlement to Social Security disability
    benefits; in and of themselves constitute disability under this plan.

    Gainful Occupation or Gainful Work: Work for which a covered person is, or may become, qualified by: (a) training; (b)
    education; or (c) experience. When a covered person is able to perform such work on a full-time basis, he or she can be
    expected to earn at least 60% of his or her indexed insured earnings within 12 months of returning to work.

    "When Payments End: Your benefits from this Certificate will end on the earliest of the dates shown below:

        •    The date You are no longer Disabled
        •    The date You fail to provide Proof of Loss as required by this Certificate.
        •    The date You are able to perform themajordutiesofYourOwn Occupation on a Full-Time basis with
             Reasonable Accommodation.
        •    After the Own Occupation period, the date You are able to perform the major duties of any Gainful Work on a
             Full- Time basis with Reasonable Accommodation.
        •    The date Youdie.
        •    The end of the Maximum Payment Period.
        •    The date no further benefits are payable under any provision in this Certificate that limits the Maximum
             Payment Period.
        •    The date You are no longer receiving Regular and Appropriate Care from a Doctor.
        •    The date payments end in accordance with a Rehabilitation Agreement.
        •    The date You refuse to take part in a Rehabilitation Program."


The following is a summary of our review and decision:

Our office received notice of Ms. Dew's claim for disability benefits on October 9, 2018. The information provided
Indicated that Ms. Dew was having pain in her back, neck, and legs as well as numbness and weakness affecting ability to
stand or walk. Upon receipt of information from Ms. Dew's employer and medical providers, it was determined that she
was disabled under the policy and eligible for benefits as outlined in our letter dated December 13, 2018.

On August 18, 2020, Ms. Dew was notified that the definition of disability would change following 24 months of benefits,
which would be November 16, 2020. In order to be considered disabled beyond 24 months, Ms. Dew would have to be
unable to perform the major duties of any gainful work. As part of this review, additional medical Information was
requested and obtained regarding Ms. Dew's conditions and functional ability. It was determined that while Ms. Dew
continued to experience neuropathy and limited range of motion, there was no objective information to support that
she had limitations or restrictions with respect to sitting or use of her upper extremities. It was concluded that Ms. Dew
could work in a sedentary capacity. A Transferable Skills Analysis (TSA) and Labor Market Survey {LMS) were obtained,
to determine if Ms. Dew had the transferrable skills to perform work in a sedentary position and would allow her to earn
her a gainful salary. The results of these reviews found that Ms. Dew had the ability to perform work and earn a gainful
wage by working as a Customer Compliant Clerk, Order Clerk or Skip Tracer.

On January 12, 2021, Ms. Dew was notified that her claim was being denied as she no longer met the definition of
disability beyond the 24 months, and no benefits would be paid beyond December 15, 2020. The letter outlined that
there was no objective evidence that precluded her from performing sedentary work on a full-time basis, and that
occupations did exist which would allow her to earn a gainful wage.
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Our office received a letter from you dated March 12, 2021, indicating that you represented Dana Dew regarding her
claim for LTD benefits. On June 23, 2021, we received a letter directly from Ms. Dew indicating she wished to appeal the
LTD Life insurance and LTD insurance decisions made on her claim. She included additional medical records from her
treating providers with th is letter. On July 9, 2021 , you wrote our office notifying us that you wished to appeal Ms.
Dew's claim for LTD benefits. Your letter also contained a copy of Ms. Dew's prescription history. On August 19, 2021,
you provided additional medical records to support Ms. Dew's claim for disability benefits.

In review of t he file , Ms. Dew was seen by Janice Benton, APRN, on November 10, 2020, for a routine follow up. The
records Indicate that Ms. Dew was examined and was ambulating normally and did have limited ROM In neck, shoulders,
back, hips and left leg and feet.

On January 7, 2021, Ms. Dew saw Dana D. Fryman, NP for transition of care. The examination indicates that Ms. Dew
was healthy appearing; well nourished and well developed and was ambulating normally. Her mental state was normal
mood and affect as well as active and alert. Her motor strength and tone were normal. She had normal gait and station.
During this visit Ms. Dew did have irregular gait with pain in lower extremities. She did get a CPAP machine that she had
been wearing at night and stated that it had been beneficial.

Ms. Dew was seen again on January 14, 2021 , she reported weight loss of 35 pounds in a month and exercise
intolerance; however, at the time of this visit she weighed 217 pounds and the office visit on November 10, 2020,
indicates Ms. Dew as weighing 220 pounds. She reported muscle aches, muscle weakness, joint pain and back pain, but
no swelling in the extremities, neck pain, or difficulty walking. She reported weakness, numbness, and dizziness but no
loss of consciousness, no seizures, no migraines, no headaches. Upon examination, she was found to have some
tenderness in the right upper quadrant of her abdomen, which she indicates had been there for the last 6 months or
longer. Her muscle tone and motor strength were normal, and she had normal gait and station.

During appeal, the claim was reviewed and referred to a Nurse Case Manager with Guardian for review. It was
determined that a Peer Physician Review would be needed. Therefore, Ms. Dew's medical records were sent to a third-
party vendor, who had them reviewed by Kevin Kohan, D.O., who is board-certified in physical medicine & rehabilitation
pain medicine.

Based on the information reviewed, Ms. Dew does have a long history of neck and low back pain secondary to cervical
and lumbar stenosis, and she was also diagnosed with carpal tunnel syndrome. Dr. Kohan indicated that Ms. Dew had
impairments including neck pain, pain radiating into bilateral lower extremities, left greater than right, along with
difficulty with ambulation, decreased grip strength and reduced range of motion. Dr. Kohen found that these conditions
required limitations and restrictions as no standing or walking more than 30 minutes at a time, for up to 3 hours per day
each, and no restriction with respect to sitting with the opportunity to change positions. Ms. Dew should not lift, carry,
push, or pull more than 15 pounds with both upper extremities more than occasionally. In addition, Ms. Dew would be
capable of climbing stairs, balancing, stooping , kneeling, crouching on an occasional basis. Her bilateral upper
extremities would be unrestricted at desk level but limited to occasional reaching overhead and below shoulder level.
She would have the ability to use her upper extremities for fingering and/or keyboarding, fine manipulation, simple and
firm grasping.

Dr. Kohen was asked about the EMG/NCS performed on May 9, 2019 , and he indicated that it revealed a moderate
median mononeuropathy at the left wrist and a mild mononeuropathy at the right wrist. The limitations Dr. Kohen set
forth above takes the into consideration when he indicates she would be capable of fine manipulation and simple/firm
grasping on an occasional basis .

Your appeal letter indicates that Ms. Dew has memory and mental issues, including depression, which impedes her
ability to work. The records do show a history of anxiety. It is noted in the medical record dated November 10, 2020
that Ms. Dew was upset and crying over several family members passing away and found out her sister had cancer. She
reported depression, sleep disturbances and anxiety but reports feeling safe in her relationship, no alcohol abuse, no
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hallucinations, or suicidal thoughts. Her level of distress at that time was noted on exam as severe distress with
anxiety, crying and upset. On her next office visit of January 7, 2021, she continues to report depression and anxiety
but no sleep disturbance, no mood swings, no memory loss, no agitation, and no dementia or delirium. Ms . Dew
provided our office with a current treating physician list on September 15, 2020, and did not indicate she was being seen
by any psychiatrist, psychologist or therapist. Ms. Dew was seen in the pain management clinic by Dr. Rossetti on
August 26, 2020, where she reported depression and anxiety. Upon examination at this appointment, her Neurology-
mental state indicated that both recent and remote memory appears to be normal. On appeal, we did not receive any
medical records or information that would indicate that Ms. Dew was receiving treatment for any mental illness or had
significant memory issues which would preclude her from work.

Ms. Dew's claim was also reviewed by a Guardian's Vocational Rehabilitation Specialist. Under the terms of the policy,
to be considered disabled beyond 24 months of benefits, Ms. Cohen would have to be unable of performing the major
duties of any gainful work, which is defined as work in which she maybe qualified by training, education, or experience.
In addition, Ms. Dew would need to be unable of earning at least 60% of her indexed insured earnings within 12 months
of returning to work, which is $13 . 7 5 per hour. Taking into consideration the restrictions and limitations outlined by Dr.
Kohen. and information related to Ms. Dew's education, training and background, a new TSA and LMS were performed .
Based on the results of this TSA and LMS, positions were found that were within Ms. Dew's limitations and restrictions
and would allow her to earn a gainful wage. These positions included Customer Complaint Clerk; Information Clerk; and
Call Out Operator/Credit Clerk.

A complete copy of the Peer Review, TSA, LMS and any medical records received during the appeal of Ms. Dew's claim
was sent to you on October 8, 2021, for your review and response, if any. To date, no response was received.

Based on the information obtained and received in Ms. Dew's claim for disability benefits, there is no objective evidence
to indicate that Ms. Dew is precluded from performing any gainful work at the end of her 24 months or benefits , or
November 16, 2020, as outlined above. Therefore, Ms. Dew would not be considered disabled under the terms of the
policy and no further benefits would be owed to Ms. Dew. Her claim shall remain closed.

Guardian has not relied upon any internal rule, guideline or protocol in relation to the review and determination of your
claim for benefits.

If your Plan is governed by the Employee Retirement Income Security Act (ERISA) 1974, as amended, you are hereby
notified of the following:

You have the right to bring a civil suit under federal law and you are entitled to receive, upon request, and without
charge, reasonable access to copies of documents, records or other information relevant to this determination. You
may have other alternative dispute resolution options, such as mediation. One way to find out what may be available Is
to contact the local U.S. Department of Labor Office and the State Insurance Regulatory Agency.

Please refer to the following provision in the Plan of insurance:

             Limitations ofActions You can't bring a legal action against this plan until 60 days from the date you file proof
             of loss . And you can't bring legal action against this plan after three years from the date you file proof ofloss.

Please note that the above noted limitation that applies to this claim will expire on November 19, 2024.

Please note your certificate of coverage ("Certificate") or policy of group insurance ("Policy") may contain language that
reserves to Guardian the discretion to make certain decisions. These are known as "discretionary clauses." Guardian's
handling of your claim will not be adjudicated any differently regardless of whether your Policy or Certificate contains a
discretionary clause. In the event that you file suit against Guardian related to your claim, Guardian will not seek
discretionary review in court for any claim where a discretionary clause is banned by law or regulation.
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This is Guardian 's final position on this matter as all administrative remedies have been exhausted. Please note that we
are not waiving our defenses under the terms of the Plan or as provided by law.

Sincerely,




Kim Hunter
Appeals Case Manager
Group Life & Disability Claims
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